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              APPENDIX A
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About Your Benefits: Health Care Benefits
SUMMARY PLAN DESCRIPTION


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Effective Date: January 1, 2019
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                                                                                         INTRODUCTION



Introduction
IBM BENEFITS PROGRAMS
Your IBM benefits are a key component of your total compensation and offer a broad foundation upon
which you can build to provide for your needs and the well-being of your family. IBM continually
reviews these programs and compares then1 with those of other organizations to maintain their
competitiveness and ensure they reflect your needs.

We encourage you to become familiar with the coverage provided by IBM and the benefits options
available to you. Then you can determine whether to supplement your coverage through IBM with
additional individual coverage.

You can also help IBM in the way you use the Company's health care benefits programs. By doing your
part as a health care consumer to contain health care costs, you not only reduce your expenses but also
help make it possible for IBM to continue to offer these valuable benefit plans. For example, while you
should always seek professional medical help when it is needed, you can ask questions about the
treatment programs your doctor prescribes and utilize a Voluntary Nurse Helpline (if available) for
information. You can also use network providers and facilities and look into alternative approaches to
hospitalization or surgery that n1ay be covered by the plans. And, of course, nothing is better than the
overall advantages of maintaining a healthy lifestyle.

All treatments, services or supplies must be medically necessary and appropriate for the condition being
treated, as determined by or on behalf of the Plan Administrator. Except where applicable state law or
regulation requires a different definition, "Medically Necessary" or "Medical Necessity" means those
health care services provided according to generally accepted standards of practice in the medical or
dental professions and is further described in "What's Covered under the Medical Plan Options" section.

ELIGIBILITY
Unless otherwise noted, the plans described in this book are available to all regular full-time, regular
part-tin1e and retiree supplemental employees of International Business Machines Corporation, or those
subsidiaries of IBM authorized to participate in the plans, regularly assigned in the United States of
America, its territories and possessions and the Commonwealth of Puerto Rico.

Except as specifically noted with respect to supplemental employees (who are eligible only for medical,
dental and vision options, the Employee Assistance Program and the flexible spending accounts), the
plans are not available to other categories of e1nployees, such as supplemental employees. Please refer to
the eligibility section of each program for details on who is eligible to participate.

IF YOU HAVE QUESTIONS
If you have any questions about your IBM benefit plans, or the information provided here, contact the
IBM Benefits Center - Provided by Fidelity at 866-937-0720 (TTY: 800-426-6537). Outside the U.S. dial
your country's toll-free AT&T Direct® access number, then enter 866-937-0720.




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Contacts
 PLAN                               CONTACT             PHONE NUMBERS                           WEB SITE
  MEDICAL
  IBM PPO                           Aetna Inc.          855-888-9046                            www.aetna.com
                                                        International: 860-273-0123
  IBM PPO Plus
                                                        TTY: 800-628-3323
  IBM Exclusive Provider
                                    Anthem Blue         800-238-6597                            www.anthem.com
  Organization
                                    Cross and Blue      International: 800-238-6597
  IBM PPO with HSA                  Shield              Hearing Impaired members can dial 711
  IBM Enhanced PPO with HSA                             and provide the Anthem Customer
                                                        Service number to the relay operator

                                    United Healthcare   877-2224261                             www.myuhc.com
  Health Plan Administrators                            International: 877-265-9200
  depend on where you live.
                                                        TTY: 877-218-7138
  See "Health Plans by
  Regional Location" for details.

  MEDICAL: Out-of-Are;i:11 Options
  IBM PPO                           United Healthcare   877-2224261                             www.myuhc.com
                                                        International: 877-265-9200
  IBM PPO Plus
                                                        TTY: 877-218-7138
  IBM PPO with HSA

  IBM Enhanced PPO with HSA

  MEDICA~: HMOs
  Health Maintenance                See the Health Plan Detail Sheets for phone numbers and web site addresses
  Organizations (HMOs)

  GLOBAL HEALTH
                                                        800-441-2668                            www.Cignaenvoy.com
  IBM Global Assignee Medical       Cigna Global
  Plan                              Health Benefits     International: Use the country's
                                                        AT&T code or 302-797-3100
                                                        (reverse charges accepted)
                                                        Direct Fax: (302) 797-3150

  TRANSITIONAL MEDICAL
  Transitional Medical Program      I BM Benefits       866-937-0720                            Not available
  (TMP)                             Center - Provided   International: Dial AT&T Direct
                                    by Fidelity         Service Access number, then
                                                        866-937-0720
                                                        TTY: 800-426-6537

  PRESCRIPTION DRUGS
  IBM Managed Pharmacy              CVS Caremark        855465-0030                             www.caremark.com
  Program                                               TTY: 800-863-5488




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                                                                                                           CONTACTS


 PLAN                          CONTACT            PHONE NUMBERS                        WEBSITE
  MENTAL HEALTH/SUBSTANCE USE
  IBM Managed Mental           Optum by United      800-445-9720                       www.liveandworkwell.com
  Health Care Program          Behavioral           International: 267-216-3277        Access Code = IBM
                               Health               TTY: Dial 711 and enter 800-445-
                                                    9720

  Employee Assistance          Optum by United      800-445-9720                       www.liveandworkwell.com
  Program                      Behavioral           International: 267-216-3277        Access Code = IBM
                               Health               TTY: Dial 711 and enter 800-445-
                                                    9720

  CARE MANAGEMENT
  Disease Management           Contact the health plan directly
  Program
  Care Coordination Services   Contact the health plan directly

  DENTAL
  1BM Dental Plus              MetLife              800-872-6963                       www.metlife.com/mybenefits
  IBM Dental Basic                                  International: AT&T Access
                                                    Code+ 800-962-1401
                                                    TTY: 800-843-2896

  VISION
  Vision Plan                  Anthem Blue          855-765-4552                       www.anthern.corn
                               View Vision          TTY: 866-308-5375                  Employer ID= IBM


  EyeMed Vision Discount       EyeMed Vision        855-245-0621
  Plan                         Care

  FLEXIBLE SPENDING ACCOUNTS
  Health Care Spending         Acclaris             888-880-2775                       www.acclarisonline.com
  Account (HCSA)                                    Fax: 813-830-7900

  Dependent Care Spending      Acclaris             888-880-2775                       www.acclarisonline.com
  Account (DCSA)                                    Fax: 813-830-7900




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VOICE RESPONSE UNITS AND CUSTOMER SERVICE REPRESENTATIVES
The Voice Response Units (VRUs) and toll-free nu1nbers for customer service representatives are
provided as a convenience. While there is every intention to answer your questions accurately, responses
are necessarily given in summary forn1 and n1ay not fully anticipate or describe all nuances surrounding
each question. Errors due to miscommunication by either party or other causes are also possible. In any
event, neither the VRUs nor the customer service representatives are authorized to give you binding
advice or to change the terms of the plans.

All details furnished by the VRUs or customer service representatives, including eligibility for benefits,
must necessarily be governed by the availability of correct personnel data and the provisions contained in
About Your Benefits and other plan documents, as they might be amended and in effect on the date for
which benefit coverage is sought. Plan documents, insurance policies, IBM's corrected records, other
controlling documents or the applicable law will control in the event of any conflict between the terms of
the Plans and the information provided by the VRUs or customer service representatives.

Before calling a customer service center or making a decision based on information you receive from the
VRUs or customer service representatives, you should review About Your Benefits, your e1nployment
records and other plan docun1ents which are available upon request. You may request written
information from the Office of the Plan Administrator, IBM Benefits Center, PO Box 770003, Cincinnati,
OH 45277-1060.

IBM BENEFITS CENTER AT 866-937•0720
To help you with enrollment, general benefits information and questions, the IBM Benefits Center -
Provided by Fidelity is available to you virtually 24 hours a day, 7 days a week by phone or online
through NetBenefitss 1v1 at netbenefits.cmn/ibm. The Benefits Center is administered by Fidelity
Investn1ents, the service provider for administration of IBM's benefit plans. You may call the voice
response unit (VRU} for automated information at any tin1e. Service representatives are available
business days (excluding holidays recognized by the New York Stock Exchange except Good Friday)
between 8:30 a.m. and 8:30 p.m., Eastern time.

Hearing Impaired Access
Dial 800-426-6537, available on business days (excluding holidays recognized by the New York Stock
Exchange) between 8:30 a.m. and 8:30 p.m., Eastern time.

Overseas Access
Dial your country's toll-free AT&T Direct® access number, then enter 866-937-0720.

NETBENEFITS AT NETBENEFITS.COM/IBM
Fidelity NetBenefits® is your source for benefit transactions and information virtually 24 hours a day,
7 days a week. Each time you log in to NetBenefits you need to enter your Social Security number and
Personal Identification Number (PIN). If you prefer not to use your Social Security number, you can
establish a Customer ID by clicking the "Create or Change your Customer ID" link on the NetBenefits
login screen or by calling the IBM Benefits Center - Provided by Fidelity.

Establishing a PIN
When you access NetBenefits or call the IBM Benefits Center, you will need a Personal Identification
Number (PIN). Your PIN provides another level of security to ensure that only you can access your
benefits information. For your protection, keep your PIN confidential.




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You can establish your PIN directly on NetBenefits at netbenefits.com/ibm or by calling the IBM
Benefits Center at 866-937-0720. Your PIN cannot be your date of birth or your Social Security
number. It also cannot contain multiple repetitive digits or be in ascending or descending order.

NETBENEFITS MOBILE APP
If you prefer, you can enroll or check your benefits elections right on your smartphone. Download the
NetBenefits® mobile app from the App Store"' or Google PlayTM Store and get access to your IBM
benefits.

CAFEWELL AT CAFEWELL.COM/IBM
Cafe Well is your one-stop-shop for benefits information, the Health Incentive and Rewards Program
and wellbeing resources. Cafe Well offers a personalized experience with progran1 recommendations
unique to you and the capability to deliver to you the right information at the right time to support
your health and wellbeing. In addition, it offers access to your health plan benefits. Visit
www.cafewell.com/ibm to create your account and begin taking advantage of this valuable resource.

YOU ANO IBM WEB SITE AT W3.IBM.COM
IBM's intranet contains inforn1ation about all of your employee benefit progran1s, including summary
plan descriptions, forms and other resources. Throughout this SPD, IBM's intranet will be referred to as
"w3."




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                                                                  ABOUT THE PERSONAL BENEFITS PROGRAM



About the Personal Benefits Program
YOUR PERSONAL BENEFITS PROGRAM CHOICES
The Personal Benefits Program is a "flexible benefits" plan that allows you to personalize your health care
coverage to best fit your unique situation, Depending on your eligibility, the Personal Benefits Program
provides you with a choice of options, as highlighted below.
  Option                                 Description

  MEDICAL COVERAGE -            All options include Mental Health/Substance Use and Prescription Driig
  Coverage

  IBM PPO and IBM PPO Plus               Coverage for medical, surgical, prescription drug and hospitalization expenses from inM
                                         network providers only; outMofMnetwork services will generally not be covered (for more
                                         details see "Out-Of-Network Medical Coverage').

  IBM Exclusive Provider Organization    Coverage for medical, surgical, prescription drug and hospitalization expenses from in-
  (EPO)                                  network providers only; out-of-network services will generally not be covered. There are
                                         fixed copayments for Inpatient and Emergency room services.

  IBM PPO with Health Savings Account    Coverage for medical, surgical, prescription drug and hospitalization expenses from in-
  (HSA) and IBM Enhanced PPO with        network providers after you meet a high annual individual/family deductible: also allows
  Health Savings Account (HSA)           you to contribute to a Health Savings Account (HSA). Out-of-network services will
                                         generally not be covered (for more details see "Out-Of-Network Medical Coverage').

  Health Maintenance Organization        A managed care option that provides coverage for medical, surgical, prescription drug
  (HMO)                                  and hospitalization expenses from in-network providers only; out-of-network services
  Depending on geographic location       will generally not be covered.

  No Coverage                            Waive coverage for the plan year and receive $30 cash back per month

  DENTAL COVERAGE

  IBM Dental Plus                        Comprehensive coverage for preventive and diagnostic treatment, basic and major
                                         restorative services up to an annual maximum benefit of $2,000 per covered individual.
                                         Orthodontia is covered up to a lifetime maximum of $2,500. Orthodontia services are
                                         not applied to the annual maximum.

  lBM Dental Basic                       Basic coverage for preventive and diagnostic treatment and basic restorative services
                                         only, up to an annual maximum benefit of $500 per covered individual.

  No Coverage                            Waive coverage for the plan year.

  VISION COVERAGE

  IBM Vision Plan                        Coverage for routine eye exams and eyewear both in and out of the Anthem Blue View
                                         Vision network.

  EyeMed Vision Discount Plan            A discount program, provided at no cost to you, for eye exams, eyewear and other
                                         vision care services from network providers.

  No Coverage                            Waive coverage for the plan year.

  FLEXIBLE SPENDING ACCOUNTS

  Health Care Spending Account           Contribute from $1 O per month up to $2,650 annual maximum ($220.83/month if
                                         participating for 12 months) on a pretax basis for eligible out-of-pocket health care
                                         expenses recognized by the IRS.

  Dependent Care Spending Account        Contribute from $20 up to $5,000 annual maximum ($417/monthly if participating for 12
                                         months) on a pretax basis for eligible out-of-pocket dependent care expenses
                                         recognized by the IRS so that you, and your spouse if applicable, can work.




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                                                                        ABOUT THE PERSONAL BENEFITS PROGRAM


Note: Employees who are on International Assignment and are designated as eligible will be enrolled in the IBM
Global Assignee Medical Plan and receive their medical, dental, vision, pharmaCJJ and mental health benefits
through Cigna Global Health Benefits.

ELIGIBILITY
IBM requires Social Security numbers be provided for all employees and dependents in order to be
enrolled in IBM health benefits so IBM or its Plan Administrators can perform Coordination of Benefits
validations and report data to the Centers for Medicare and Medicaid Services as required.

Eligible Employees
Eligibility begins on your first day of regular employment and there are no pre-existing condition
exclusions. You are eligible to participate in the Personal Benefits Program for coverage under the IBM
medical, dental and vision options, the Employee Assistance Program (EAP), Health Care Spending
Account (HCSA) and Dependent Care Spending Account (DCSA) if you are a:
    •     Regular full-time or regular part-time employee of IBM receiving wages reportable on Form W-2
          through IBM payroll, its subsidiaries authorized to participate in the Plans, and
               You are regularly assigned in the United States of America, one of its territories or
               possessions or the Con1monweaith of Puerto Rico and
               You are in active status and actively at work.
    •     Regular full-time or regular part-time employee, as described above, on an approved leave of
          absence with benefits.*
    •     Long-term supplemental employee .
    •     Retiree supplemental employee (not eligible for the IBM Health Care Spending Account or the
          Dependent Care Spending Account).

   If you go on a leave of absence, you are no longer eligible to participate in the DCSA. You will resume eligibility once you return
   to regular full-time or regular part-time status. If you are participating in the HCSA, you need to contact the IBM Benefits Center -
   Provided by Fidelity to discontinue participation in the HCSA. If you do not, you will continue participation and be billed for your
   contributions on a post-tax basis.

I/You Live In Hawaii
The Hawaii Prepaid Health Care Act requires that all employees in Hawaii working at least 20 hours a
week, for 4 consecutive weeks, must be enrolled in coverage. Therefore, in addition to the above, non-
regular employees in Hawaii who meet this requirement will be eligible to participate in the Personal
Benefits Program. In accordance with Hawaii state law, any employee who resides in Hawaii and wishes
to decline (opt out) of medical coverage must complete and sign Hawaii Form HC-5, and submit the
completed form to the IBM Benefits Center - Provided by Fidelity. This form is available on the following
Hawaii government web site: http://www.hawaii.gov/labor /formsall.shtml and is listed under
"Prepaid Healthcare." The completed form may be mailed or faxed to the IBM Benefits Center. If the
form is not submitted, eligible employees will be automatically enrolled for employee-only coverage in
the IBM Self-Managed Plan (Hawaii).

Health care coverage for employees in Hawaii who become disabled fro1n working will be continued at
the same contribution rate for a period of three months following the month in which the employee
became disabled from working.

Please contact the IBM Benefits Center to request a copy of the Supplement to About Your Benefits for Hawaii
Employees Enrolled in the Self-Managed Plan (Hawaii).




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                                                            ABOUT THE PERSONAL BENEFITS PROGRAM


I/You Are Receiving SW Benefits
Employees receiving benefits under the IBM Short Term Disability (STD) Plan are also eligible for
coverage under the IBM Medical and Dental Benefits Plan.

If You Are on International Assignment
Employees who are designated as on an International Assignment, or a Global IBMer Assignment under
the Global Mobility Framework or as a 100% Travel Auditor deemed to be eligible for the IBM Global
Assignee Medical Plan and receive medical, dental, vision, pharmacy and mental health coverage
through Cigna Global Health Benefits. Go to www.CignaEnvoy.com to review the benefits at a glance
document or the plan certificate, which provides full details on the plan provisions.

I/You Are on Long-Term Disability
Eligibility for employees receiving monthly benefits under the IBM Medical Disability Income Plan
(MDIP) or the IBM Long Term Disability Plan (LTD), and their dependents, is determined under the IBM
Benefits Plans for Retired Employees. Please refer to the Summary Plan Description About Your Benefits:
Post Employment for eligibility criteria and descriptions of health care coverage available to you.

Eligible Spouse/Domestic Partner
    •     Your spouse (same or opposite sex), if the marriage met the laws of the jurisdiction in which it
          was entered into.
    11    Your don1estic parh1er who meets IBM's eligibility criteria as defined later in this section.
    •     Your common-law spouse may be eligible in certain circumstances. To meet the eligibility criteria
          to add a common-law spouse to your health coverage, you must:
              Reside in a state that recognizes comn10n-law marriage
              Openly represent yourselves as husband and wife to government and tax authorities as well
              as to your relatives, friends, neighbors, coworkers and acquaintances with whom you
              associate. It is expected that you file your income taxes as "married"
              Change your status to "married" at IBM and ensure that your IRS form W-4 reflects
              "n1arried"
              Not be legally married to another person


Eligible Children
An eligible child maintains eligibility up to the end of the month in which the child reaches his or her 261h
birthday as long as he or she continues to meet all other eligibility requirements where applicable. In no
event will any child who is a ward of the state or a foster child be eligible under the Plan.

Your eligible children include:
    •     Your natural and legally-adopted children up to age 26
    •     Your stepchildren up to age 26 (including the children of your same-sex spouse or your eligible
          domestic partner)
    •     Other Children up to age 26. Other Children means children for whom IBM determines that you
          have been granted permanent legal guardianship by a court of law. You will be considered to
          have permanent legal guardianship if both of the following requirements are met:
              The child is subject to a court order under which you, the employee, have been granted
              permanent legal guardianship of the child's person and property.




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                                                               ABOUT THE PERSONAL BENEFITS PROGRAM


             Permanent legal guardianship of the child's person and property must be obtained through a
             court of law. IBM requires that the court papers specifically state the guardianship is
             permanent and is for both person and property, even if the child does not own any property
             when the permanent legal guardianship is obtained. A letter signed by one or both natural
             parents, even if notarized, will not suffice as evident of permanent legal guardianship.
             Guardianship may not be joint guardianship with the child's natural parents.
             A Parent/Child Relationship exists between an employee and a child when, in the absence of
             the natural parents (except as provided below), the employee has both the rights and
             responsibilities of a parent.
             Court-ordered custody or legal guardianship does not in itself satisfy this requirement.
             Generally, a parent/ child relationship will not be found to exist for the purposes of the Plan
             while the child has a known natural parent. However, in determining whether a parent/ child
             relationship exists, the Plan Administrator may disregard a natural parent in certain
             circumstances (e.g., if the child's natural parents are incarcerated, institutionalized, a danger
             to the child (a court order of protection with no visitation must be provided), or their
             whereabouts are unknown).

Note: Other children determined to be eligible before January 1, 2009, remain eligible as long as they continne to
meet the requirements noted above.

A dependent child who meets the above eligibilihJ requirements must also meet certain tax requirements to also be
eligible for tax-free coverage. Refer to the "lRS Requirements Regarding the Tax-Free Status of Dependent
Children" section for further information regarding a dependent's status for tax-free coverage. It is your
responsibili~/ to notifiJ the IBM Benefits Center - Provided by FidelihJ if any eligible child does not meet the IRS
requirements as stated in the above referenced section.

If You Have a Child with a Disability
Your mentally or physically disabled child may be eligible for coverage beyond age 26 if IBM determines,
on the basis of the child's condition, that your child is:
    •    Mentally or physically disabled and the disability existed prior to the child's 26th birthday
    •    Incapable of self-support due to the mental or physical disability
    •    Urunarried
    •    Receiving over 50% of support from you, the employee, for maintenance and support (SSI or
         SSDI income may be used in determining whether your child is principally dependent upon you)
    •    The child must have been eligible under the Plan immediately before reaching age 26, or in the
         case of an employee hired after the child has attained age 26, a child who would have been
         eligible under the Plan if the employee had been employed by IBM at such time

If you think your child will meet the above criteria at age 26, you must request continuation of IBM health
benefits by completing the "Application for Coverage of Disabled Dependent Child" and submitting it to
the IBM Benefits Center - Provided by Fidelity within the window of time that begins 60 days prior to the
child's 26th birthday and ends 60 days after the child's 26'" birthday. Applications are available on w3,
NetBenefits or by calling the IBM Benefits Center.

Once your application is approved, coverage will re1nain in effect for as long as you remain an eligible
employee and your dependent meets the eligibility criteria as determined by the Plan and as may be
modified thereafter. It is your responsibility to notify the IBM Benefits Center to remove your child if he
or she no longer meets the eligibility criteria for continued coverage beyond age 26.




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You may opt out or waive coverage for one year for your dependent child and re-enroll your child during
the next or subsequent annual enrollment period as long as you, the employee, and your child continue
to meet the eligibility criteria. Once any of the five conditions (outlined in the bullets above) is not met by
a child beyond the age of 26, coverage will be discontinued and will not be reinstated, even if later the
child again meets all or any of the five conditions.

Eligibility for a Same-Sex Domestic Partner
Information regarding the definition of a domestic partner and about covering a don1estic partner is
available by contacting the IBM Benefits Center - Provided by Fidelity or reviewing a copy of the Spouse
and Domestic Partner Information Guide, available fron1 NetBenefits and w3.

Please note that enrolling a dmnestic partner has certain tax implications. For details, see "Paying for
Your Benefits" later in this section.

Equal Benefits Ordinances (EBOs) - Eligibility for Same-Sex and Opposite-Sex Domestic Partner
The State of California (and other localities in California) and the City of Seattle, Washington
implemented regulations known as "Equal Benefits Ordinance" (EBO). These regulations require
en1ployers who are engaged in contract work within the State or California (or other localities in
California) or the City of Seattle, Washington to provide/ extend health and other employer benefits
equally to those employees who work on state or municipal contracts (and their same-sex or opposite sex
domestic partners) when such contracts contain EBO provisions.

Information regarding Equal Benefits Ordinances (EBOs) is available by contacting the IBM Benefits
Center - Provided by Fidelity or reviewing a copy of the Spouse and Domestic Partner Information Guide,
available from NetBenefits and w3.

Your Responsibilities Regarding Eligibility
As a condition of eligibility for benefits, you must follow and allow the Plan Administrator and health
plan administrators to follow the operating procedures established for the functioning of the Plans. This
includes, for example, the furnishing of Social Security nun1bers to health plan administrators and the
furnishing of reports on benefit payments and precertifications to Plan participants.

It is your responsibility to ensure the data on your eligibility record is current. This includes notifying
IBM of a change in a family member's eligibility status as well as address updates. You must enroll new
eligible family members and/ or notify IBM of a change in a family member's eligibility status within 30
days of the event.

To enroll or change a family member's status, login to NetBenefits or call an IBM Benefits Center -
Provided by Fidelity representative. Addresses must be updated in Workday, available on w3. If you are
not actively working, call the IBM Benefits Center to update your address. Other group health plan
coverage information should be updated through the health plan of the plan in which you are enrolled.

IBM's Right to Verify Eligibility
IBM reserves the right to require documentation to support the eligibility of any dependent enrolled in an
IBM benefit plan, such as a marriage certificate, affidavit of domestic partnership, a copy of a recent
Federal Tax Return (e.g., 1040), birth certificate or adoption papers. The Plan Administrator may require
verification that your enrolled dependents meet the eligibility requirements described previously. If the
Plan Administrator learns you have not notified the IBM Benefits Center - Provided by Fidelity regarding
an enrolled dependent who does not 1neet IBM's eligibility criteria for coverage or does not meet IRS
eligibility requirements for tax-free coverage, that dependent will be re1noved fro1n coverage and will




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remain ineligible for future coverage. The Plan Administrator has the right to take additional actions, as
explained in 11 Fraudulent Enrollments," below.

The Plan Administrator has the sole discretion to make the final decision with respect to eligibility under
the Plan. The decision will take into account any factors determined to be relevant within the intent of the
Plan and consistent with the tax-qualified status of the Plan.

Fraudulent Enrollments
It is a crime to knowingly, and with intent to injure, defraud, or deceive the con1pany 1 provide any
fraudulent information, including enrolling an individual whom you know is not eligible to participate in
the IBM health plans or continuing to maintain coverage for an individual whom you know is not
eligible. These actions, as well as the submission of materially false information, may result in rescinding
your coverage under the IBM health plans, retroactive to the date of the fraudulent act, and you may be
subject to prosecution and punishment under state and/ or federal law. The IBM health plans would
terminate coverage of a participant or beneficiary for a reason such as fraud.

When You Are No Longer Eligible
If you stop being an eligible employee - for example, you transfer to an ineligible job classification or
separate from en1ployment - your participation in the Personal Benefits Program will end. You may be
eligible to continue your n1edical, dental, vision and Health Care Spending Account coverage. For more
information, see "Transitional Medical Program (IMP)" in the Administrative Information section.

If you are leaving the Company and meet certain age and service requirements, you may be eligible to
continue certain benefits coverage (after or instead of Transitional Medical Program coverage), and/ or to
access your Future Health Account (to be used for assistance in paying premiums for IBM medical, dental
and vision benefits). See About Your Benefits: Post Employment and About Your Benefits: Future Health
Account (FHA), which can be accessed from w3.

In the event you become eligible again to participate in the Personal Benefits Program (for example, you
are rehired), you will generally be treated as a new en1ployee and must re-enroll in your benefits.

ENROLLING IN YOUR BENEFITS
Coverage Tiers
You n1ay elect different coverage leve]s for different options within the Plan, but you cannot elect to cover
eligible family men1bers under an option in which you are not also enrolled. Each coverage option
available to you will have a monthly contribution amount, with a separate amount for employee,
spouse/ domestic partner and each child.

You designate in your election the individuals you will cover:
    •    Yourself
    •    An eligible spouse/ domestic partner
    •    Each eligible child

You elect the types of coverage and the dependents you are covering, and then add up the separate
monthly contribution amounts. You will pay the "child" amount for any eligible children regardless of
their age. Only an eligible spouse/ domestic partner is subject to the "spouse/ domestic partner" amount.

IBM requires Social Security numbers be provided for all employees and dependents in order for them to
be enrolled in IBM health benefits so IBM or its Plan Administrators can perform Coordination of Benefits
validations and report data to the Centers for Medicare and Medicaid Services as required.



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HOW TO ENROLL

1. Log in to NetBenefits at netbenefits.com/ibm or on the NetBenefits app. If this is your first time visiting the site, you will be
   prompted to create a PIN.
2. From the Health & Insurance tab, select My Enrollments and follow the screen prompts to enter information about your eligible
   family members whom you wish to enroll.
3. Make your benefits selections through your Enrollment Worksheet.
4. Click "Save All Elections" to process your selections. Review and print the confirmation screen.
5. You will receive a confirmation e-mail, which you should review for accuracy.
6. If you prefer to enroll by phone, call an IBM Benefits Center-Provided by Fidelity service representative.

Note: You, your spouse/domestic partner and dependent children must be enrolled in order to receive IBM medical, dental and
vision coverage.



Enrolling In Your Benefits as a New Hire
If you are a new e1nployee, you will receive an e-mail notice directing you to NetBenefits to review your
personalized plan options and costs within a few days of your date of hire. You must enroll by the
enrollment deadline date indicated in your materials. The options you select and their associated contributions
will be retroactive to your date of hire.

If you enroll by the enrollment deadline, your elected coverage will be effective as of your date of hire. If
your date of hire falls within a pay period, you will be charged the full amount for that pay period.
Eligible medicat dental and vision expenses incurred after your date of hire, but before you make your
enrollment election, will be reimbursed under the provisions of the options you enroll in.

Once enroJlment is completed, your elections will remain in effect until the end of the plan year. You may
not change your elections until the next annual enrollment unless you experience a qualified status
change (see "Changing Coverage Due to a Qualified Status Change" in the Administrative Information
section).

I/You Do Not Make Your Elections by the Deadline
If you do not make your elections by your enrollment deadline, you will be deemed to have opted out of
medical, dental and vision coverage and the Health Care Spending Account and Dependent Care
Spending Account for the remainder of the plan year. You also will be deemed to have opted out of the
Health Incentives and Rewards Program.

Annual Enrollment
Each year during annual enrollment, usually held in the fall, you will have the opportunity to review
your benefits elections and make changes to your medical, dental and vision coverage for yourself and
your eligible family members. If eligible, you also may elect to contribute pretax dollars from your pay to
the Health Care Spending Account (HCSA) and/ or the Dependent Care Spending Account (DCSA).

Your new elections will remain in effect for the upcoming plan year (normally January 1st through
December 31 st), unless you experience a qualified status change which permits you to make a change
during the year. Permissible changes outside of the annual enrollment period, such as adding a new
dependent, must be made within 60 days of the event by contacting the IBM Benefits Center - Provided
by Fidelity. If you do not make the election within 60 days of the event, you will have to wait until the
next annual enrollment period. For 1nore inforn1ation about qualified status changes, see "Changing
Coverage Due to a Qualified Status Change" in the Administrative Information section.




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If you do not make an election during annual enrollment, you will automatically be enrolled in the same
medical, dental and vision coverage you had in the plan year just ending (provided the same plans
continue to be available), but with no contributions to the Health Care Spending Account and Dependent
Care Spending Account for the upcoming plan year.


HOW TO ENROLL A NEW DEPENDENT

You must enroll a newly-eligible family member in your benefits options, even if your monthly contributions will not increase because
you are already enrolled in the maximum family coverage. Failure to do so will result in the dependent not being covered under the
Plan, and you will not be able to enroll your new dependent until the next annual enrollment period.

Two ways to request your change in coverage:

     Call the IBM Benefits Center- Provided by Fidelity at 866-937-0720. Representatives are available business days (excluding
     holidays recognized by the New York Stock Exchange} between 8:30 a.m. and 8:30 p.m., Eastern time.
     Log in to NetBenefits at netbenefits.com/ibm.

IBM reserves the right to require documentation supporting eligibility of your dependents such as a marriage certificate, affidavit of
domestic partnership, a copy of a recent Federal Tax Return (e.g., 1040), birth certificate or adoption papers.




PAYING FOR YOUR BENEFITS
You and IBM share the cost of your benefits. Your total monthly contribution will be deducted from your
paycheck on a pretax basis, before federal income taxes, Social Security taxes and most state income taxes
are withheld. In the event your pay is insufficient to pay the necessary monthly contributions for all of
your elections, you may be asked by the Plan Administrator to pay directly for your coverage, or your
coverage may be reduced under one or more of the benefits plans. If your coverage is reduced, you may
not increase or begin coverage again until the next time you are eligible to make an election.

If you increase your coverage during the year due to a qualified status change, such as adding a
dependent, the new monthly charges will go into effect the first of the month following the date of the
event.

If you elect "No Coverage" as your option for medical, you will receive a $30 credit each month in your
paycheck, which will be treated as taxable income.

If you decline IBM coverage as a new hire or during the annual enrollment period, you may not change
your election until the next annual enrollment period, unless you have a qualified status change that
allows you to enroll during the year.

If you are not in active pay status - for example, on an approved leave of absence with benefits - you
will need to pay your contribution monthly. Contributions will be due on the first of each calendar month
with a grace period through the end of each calendar month. If payment in full is not received by the end
of the grace period (end of the calendar month), you will be defaulted to "No Coverage" effective the end
of the month in which the last full payment was received. It is your responsibility to ensure payment
arrives on time. IBM and its contract administrators shall not be responsible for lost or misdirected mail.




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Tobacco Surcharge for Medical Coverage
A $50 per month surcharge will apply for IBMers and their enrolled spouses/ domestic partners who use
any tobacco products. This surcharge was instituted to help offset the additional healthcare costs
typically incurred by tobacco users. For purposes of this surcharge, a tobacco product is defined as" any
product derived from tobacco that is intended for human consumption" (U.S. Food and Drug
Administration) and includes cigarettes, cigars, pipe tobacco, roll-your-own tobacco, smokeless tobacco
and e-cigarettes.

You will be asked to indicate whether you and your covered spouse/ domestic parh1er, if applicable, have
used any tobacco products within the last six months when you enroll in your medical plan coverage.
You will select one of the following options for yourself and a separate option for your covered
spouse/ domestic parh1er:
    •    Non-Tobacco User: Select this option if you have not used any tobacco products since July 1.
    •    Tobacco User: Select this option if you have used any tobacco products since July 1 and do not
         wish to participate in your health plan administrator's tobacco cessation program.
    •    Cessation Program: Select this option if you have used any tobacco products since July 1 of the
         prior year but agree to complete your health plan administrator's tobacco cessation program by
         June 30 of the current year. (For new hires, the deadline is six n1onths from your enrollment or by
         December 31, whichever occurs first.)

(Note: If your healthcare provider advises that participating in a tobacco cessation program is medically
inappropriate for you due to a health factor, you should select the Cessation Program option and then contact the
IBM Benefits Center - Provided [,y FidelihJ to initiate a medical review of your situation.)

Tobacco Surcharge Details
The table below provides information about the tobacco surcharge that may be added to your
contributions for medical coverage each month, depending on the option you (and your spouse/ domestic
partner, if applicable) select.

                                                                                                  Total monthly surcharge as
Option                 Result                                                                     of January 1 of the current
                                                                                                  year
                       If you and/or your covered spouse/domestic partner indicate that you       No monthly surcharge will apply
                       have not used any tobacco products since July 1, the tobacco               for each individual indicating that
Non-Tobacco User       surcharge(s) will not apply to your contributions for the current year's   they have not used any tobacco
                       medical coverage.                                                          products since July 1.

Tobacco User           If you and/or your spouse/domestic partner indicate that you have          A $50 monthly surcharge will
                       used any tobacco products since July 1, the tobacco surcharge(s)           apply for each individual
                       will apply to your contributions for the current year's medical            indicating that they have used
                       coverage.                                                                  any tobacco products since July 1
                                                                                                  and do not want to participate in
                                                                                                  their health plan administrator's
                                                                                                  tobacco cessation program.




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                                                                                              Total monthly surcharge as
Option               Result                                                                   of January 1 of the current
                                                                                              year
Cessation Program    If you and/or your covered spouse/domestic partner indicate that you     A $50 monthly surcharge will
                     have used any tobacco products since July 1, the tobacco                 apply for each individual
                     surcharge{s) will apply to your contributions for the current year's     indicating that they have used
                     medical coverage. However, you will have an opportunity to earn a        any tobacco products since July 1
                     refund of the surcharges you pay if you satisfy the requirements of      but agree to complete their health
                     your health plan administrator's tobacco cessation program.              plan administrator's tobacco
                     (Note: Although you may choose to participate in other tobacco           cessation program. Surcharges
                     cessation programs, you will not be eligible to receive a refund         will be discontinued - and
                     unless you complete the program offered by your IBM health plan.)        surcharges paid to date will be
                                                                                              refunded - if individuals
                                                                                              complete their health plan's
                     To be eligible for a refund of the tobacco surcharge, you and/or your
                                                                                              tobacco cessation program and
                     covered spouse/domestic partner must meet the health plan's
                                                                                              certify their completion on
                     tobacco cessation program requirements and then complete the
                                                                                              http://tobaccocert.com/ibm by
                     certification process on http://tobaccocert.com/ibm by June 30 of the
                                                                                              June 30 of the current year. (For
                     current year. (For new hires, the deadline is 6 months from your
                                                                                              new hires, the deadline is 6
                     enrollment or by December 31, whichever occurs first.) If you and/or
                                                                                              months from your enrollment or
                     your covered spouse/domestic partner successfully complete the
                                                                                              by December 31, whichever
                     program's requirements and certify by this date, you will be eligible
                                                                                              occurs first)
                     for a refund of the tobacco surcharges you paid from your effective
                     date. If you and/or your covered spouse/domestic partner do not
                     complete the program requirements and/or do not complete the
                     certification process on http://tobaccocert.com/ibrn by the deadline
                     above:
                        You will not be eligible for a refund of the tobacco surcharges you
                        have paid in the current year.
                        The applicable $50 per month surcharge will continue to apply for
                        your coverage and/or your covered spouse's/domestic partner's
                        covera e for the remainder of the current Ian ear.


About tile Cessation Program Option
If you select the cessation program option, you can begin the program through your health plan now.
Regardless of when you begin, you must complete the program and certify your completion by June 30 of
the current year in order to discontinue the monthly surcharge and receive a refund of surcharges paid to
date. (For new hires, the deadline is six months from your enrollment or by December 31, whichever
occurs first.) Whether you are able to stop using tobacco or not, completing the program and certification
process will meet this requirement.

The cessation program will include telephonic coaching with a qualified health coach who will help you
develop a 12-week cessation or maintenance plan, point you to useful resources to support your efforts
and provide follow-up coaching calls. You must complete at least three total calls with the coach in order
to qualify for a refund of your Tobacco Surcharge payments. These calls are typically around 30 minutes
in length. There is no cost to you or your family members to participate in the program. (Note: If you are
hard of hearing and telephonic coaching is not an option for you, please contact the IBM Benefits Center/or an
alternative.)

To begin the telephone coaching program, call the number for your health plan administrator's tobacco
cessation program listed below. After you complete the program requirements, you will need to complete
the certification process on www.tobaccocert.com/ibm by the deadline above, in order to receive a
refund of the Tobacco Surcharges you have paid.




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  Health Plan Administrator                              Tobacco Cessation Program Phone Number

                                                   IBM Plans

  Aetna (Healthy Lifestyle Coaching Program)                                      866-213-0153
                                                                               (TTY: 877-301-5038

  Anthem                                                                         877-252-8410
                                                                              (TTY: 800-842-4681)
  UnitedHealthcare (Optum)                                                        800-468-1057
                                                                            (TTY: 711, 800-478-1057)
  Cigna Global Assignee Health Plan                                               800-411-2668
                                                     HMOs

  Humana (Puerto Rico)                                         Optum's Clinical Referral Line (CRL) at 800-445-9720
                                                                            (TTY: 711, 800-445-9720)
  Kaiser                                                                          866-862-4295


A Note About Taxes and Imputed Income
Tax Implications of Enrolling a Same-Sex Spouse/Domestic Partner
If you elect to cover your eligible same-sex domestic partner (or his or her children) and he or she does
not qualify as a dependent under Internal Revenue Code (!RC) Section 152, you generally must pay
federal income and payroll taxes (and, in most states, state taxes) on a portion of the applicable premiun1.
This is called imputed income, and that value will be reported on your Form W-2.

If you think your domestic partner would qualify as your eligible family member, please contact the IBM
Benefits Center - Provided by Fidelity or visit w3 or NetBenefits for a copy of the Spouse and Domestic
Partner Information Guide, which contains information on eligibility, affidavits, tax ilnplications,
enrolln1ent, etc. If you have questions about your state's tax rules, you should contact your local state tax
department or your personal tax advisor.

Generally, a domestic partner is considered to be "qualified" as a "dependent relative" only if more than
half of the partner's support for the year comes from the employee, and the partner resides in and is a
member of the household maintained and occupied by the employee for the entire tax year and the
domestic partner cannot be claimed as a dependent relative of another taxpayer. If your dmnestic partner
does not meet the definition of a" dependent relative," he or she will be considered a "non-qualified"
dependent and you will be treated as having imputed income equal to the value of his or her coverage.
Imputed income will also apply to the enrolled children of your domestic partner whom you have not
legally adopted. You should consult your personal tax advisor regarding tax rules and consequences.

IRS Requirements Regarding tlte Tax-Free Status of Dependent Children
According to federal tax laws, dependent children n1ust meet certain tax requirements to be enrolied in
IBM health coverage on a tax-free basis. Dependent children who do not meet these requiren1ents may
still be enrolled in IBM health coverage; however, the value of their coverage will be considered imputed
income to you and you will be taxed accordingly.

Most dependent children who meet IBM's requirements for coverage also meet the federal income tax
law requirements. Dependent children who meet IBM's requirements for coverage but do not meet the
federal income tax law requirements for tax-free health coverage include children who do not have a
legally recognized relationship to you, such as children of an eligible domestic partner/ same-sex spouse
whom you have not legally adopted.

It is your responsibility to notify the IBM Benefits Center - Provided by Fidelity if for any reason your
enrolled dependent children do not meet the requiren1ents for tax-free health coverage.



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You should consult Internal Revenue Service rules or your personal tax advisor if you have questions
concerning the tax dependent status of your dependent children.

LIVE WELL. LIVE BETTER. INCENTIVES AND REWARDS
The Live Well. Live Better. incentive and rewards program makes good health rewarding.

All IBMers can take steps to healthier living
Head to CafeWell for all the details on how IBM supports your personal health and wellbeing goals.
There, you'll find a wealth of programs and resources that help you, whether you're looking to get
physically active, shed a few pounds, develop a plan for retirement or improve your resilience. You'll
also find links to your personal health plan ad1ninistrators. Re1ne1nber to invite your covered
spouse/ dmnestic partner to register.

Effective January 1, 2019, you and your covered spouse/ domestic partner must complete Ready! Set! Co!
to be eligible for any of the rewards program.

A $100 device subsidy is available for all eligible IBMers who complete Ready, Set, Co! and join a
recmnmended a Live Well. Live Better. Rewards Program. You can use this subsidy toward a device that
can help you meet your personal health and wellness goals. Plus, take advantage of quarterly wellness
drawings for new program completions each quarter.

Fifty IBMers per quarter will have a chance to win 2,400 BluePoints (a $600 value), which can be
redeemed for any number of valuable items. Complete recommended programs throughout the year and
eligible employees gain entry to win BluePoints - IBM's digital recognition currency. BluePoints are
redeemed by selecting frmn a broad range of merchandise, entertainment and travel options. You earn
one sweeps entry per new program completion per quarter by you and your covered spouse/ partner. For
the final quarter (Q4), completions must be earned by December 1 of the current plan year.

Earn additional HSA conttibutions ftom IBM
If you' re enrolled in a medical plan option featuring an HSA, you can earn up to $300 for individual
coverage or $850 for family coverage just by completing Ready, Set, Go!. The money goes into your HSA,
which means you can use it to offset health care expenses now, or save for future health care expenses.

Get started by going to CafeWell and completing Ready, Set, Co! - and make sure your covered
spouse/ don1estic partner does the san1e so you earn the rnaximun1 reward. Ready, Set, Go! must be
completed by December 1, 2019.

Here's a look at what you can earn:

                                                                                           Non•HSA Plan
                                                            HSA Plan Options
                                                                                             Options
                                               Individual Coverage     Family Coverage
 IBM Gives You    IBM base contributions
                  (prorated on a pay period          $250                  $500
                  basis)
                  HSA Jump•Start                     $250                  $250
                  Contribution                                                              Not applicable
 You Earn         Ready•Set•Go contribution
                  program completion on              $300                  $850
                  CafeWefl

                  Total IBM contribution             $800                 $1600
                  potential




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Remember, IBM's contributions count toward the IRS annual HSA maximums.

Note: Both employee and spouse/domestic partne,; if applicable, must complete the Ready, Set, Go 1 program to earn
the family coverage contribution. If you only have covered child dependents, you will be able to earn all of the
incentives on behalf of the family.

PLAN INFORMATION
The Personal Benefits Program is a cafeteria plan within the meaning of Section 125 of the Internal
Revenue Code. The program was established and effective as of April 1, 1994. The Personal Benefits
Progran1 does not provide any kind of insurance or other coverage. These coverages are provided under
the various benefit plans identified earlier in this section.




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Administrative Information

ID CARDS
Employees enrolled in the IBM Medical and Dental Benefits Plan for Regular Full-time and Regular Part-
time Employees (the "Plan") under the IBM PPO, IBM PPO Plus, IBM EPO, IBM PPO with HSA, or IBM
Enhanced PPO with HSA medical options will receive an ID card for medical coverage and a separate ID
card for prescription drug coverage.

The ID card contains information to ensure you receive the correct negotiated rates from participating
providers and facilities. Your ID card must be presented to all providers at the time of appointment or
when you receive services, or to a participating pharmacy at the tin1e of prescription drug purchase.
Failure to show your ID card may cause you and IBM to lose access to any applicable discount fee
arrangen1ents.

If you and your spouse/ domestic partner are each eligible for IBM benefits and one of you is enrolled as
a dependent of the other, only the enrolling employee's ID card should be presented.

You may request additional ID cards for your family members directly from the health plan.

HOW TO FILE A CLAIM
Medical Claims
In-Network Medical Claims
If you receive care from an in-network provider, you generally do not have to file any claims. Your
network provider will file all claims for you. Simply show your medical ID card at the time you receive
services. Your network provider bills the health plan directly. Once the claim is processed by the medical
plan, payment will be made directly to the network provider. Subsequently, your provider will bill you
for your remaining share of the cost (e.g., coinsurance or deductible).

However, if you have other medical coverage, including Medicare, and the Plan is secondary, you must
first file claims with the primary plan and then submit your claims following the out-of-network
procedures described below - even if you received care from an in-network provider. For more
information when you have other coverage, see "Coordinating Coverage" later in this section.


EXPLANATION OF BENEFITS (EOB)

In most cases, you will receive an Explanation of Benefits (EOB) statement from the health plan. In certain circumstances where
there is no member liability, an EOB may not be produced.

If you receive EOB statements from your health plan, lt is your responsibility to:

     Verify the EOB statements for medical, surgical and hospital care accurately reflect services rendered, e.g., patient, dates of
     service, charges and provider. (Due to negotiated or discounted rates with respect to hospital services, it may not be possible
     to verify dollar or rate amounts reflected on the statement.)
     Retain copies of claims and EOB statements for your records.



Out-of-Network Medical Claims with Approved Exceptions
The IBM Plan only allows payment for out-of-network claims for certain exception situations such as
medical emergencies. See the full list of approved exceptions in the "Out-of-Network Medical Coverage"
section. If your claim falls under one of the exceptions, the IBM Plan will pay benefits for these approved
services as if the provider was an in-network provider, using the in-network coinsurance or copay, along




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with the in-network deductible and out-of-pocket maximum that would have applied if the services were
provided by an in-network provider.

You are responsible for the difference between the amount the Plan pays in benefits and the amount
billed by the out-of-network provider.

Some providers will submit your claim to the medical plan administrator on your behalf, other providers
may request payment in fuII and submit a claitn to your medical plan administrator for reimbursement.
In certain circumstances (i.e. high cost hospital bills), your medical plan ad1ninistrator will not want you
to pay for services until they have had the opportunity to negotiate a lower cost with the provider.

The provider wil1 be reimbursed directly if authorization for assignment is indicated on the form.
Generally, if benefits are not assigned, payment from the health plan administrator will be made to you.

Out-of-Area Medical Options
In certain geographies where there is not a robust network of medical providers, affected employees will
be offered Out-of-Area (OOA) plan options, administered by United Healthcare which provide the same
benefits coverage as described in this Summary Plan Description. The IBM EPO is not available to those
who are offered OOA plan options. If this situation applies to you, it will be indicated in your enrollment
materials.

With these plan options you can choose to use either in- or out-of-network providers without needing to
ensure the service falls under the category of an approved exception. You will pay less out of pocket if
you use provider's that participate with United Healthcare's provider network. Under the OOA plan
options the IBM Plan will pay benefits for eligible services as if the provider was an in-network provider,
based on the billed amount (or lower negotiated amount, if applicable) using the in-network coinsurance
or copay, along with the in-network deductible and out-of-pocket maximum that would have applied if
the services were provided by an in-network provider.

You are responsible for the difference between the amount the Plan pays in benefits and the an1ount
billed by the provider.

Some providers will submit your claim to the medical plan administrator on your behalf, other providers
n1ay request payment in full and subn1it a claim to your n1edical plan administrator for reimbursen1ent.
In certain circumstances (i.e. high cost hospital bills), your medical plan administrator will not want you
to pay for services until they have had the opportunity to negotiate a lower cost with the provider.

The provider will be reimbursed directly if authorization for assignment is indicated on the form.
Generally, if benefits are not assigned, payment from the health plan administrator will be made to you.

You can submit out-of-area bills to the Plan as described in the "How to File Out-of-Network Medical
Clahns" section.

Prescription drug and mental health/ substance use benefits renrnin subject to the in-network and out-of-
network requirements, as described in the "IBM Managed Pharmacy Program" and "IBM Managed
Mental Health Care Program" sections of this book.

Medical Expenses Incurred While Traveling Outside of the U.S.
Medical expenses incurred while outside of the United States are eligible for consideration as long as they
are rendered in accordance with all Plan provisions. All bills or invoices should be legible and in English,
if possible. If translation to English is not possible, the health plan administrator will perform the
translation services when the bill is submitted. All bills should be sent to the appropriate health plan


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administrator. All claims will be reimbursed in U.S. dollars. The exchange rate will be taken from a
recognized publication as selected by the health plan administrator, using the rate effective on the date of
discharge for inpatient hospital charges, and the date the service was rendered for all other eligible
charges.

How to File Out-of-Network Medical Claims
Pay1nent for" approved" services received out-of-network is based on the in-network rate. See the section
"Out-of-Network Medical Coverage" for a description of these services.

A separate claim form is required for each fan1ily n1ember. You will receive an Explanation of Benefits
(EOB) statement from the health plan administrator detailing the services rendered. You should obtain a
copy of the bill from the provider to enable accurate verification of the EOB statement. You must verify
the information contained on the EOB statement received from the health plan administrator against the
actual charges, dates of service, etc. If any discrepancies are found, you must advise the health plan.

Complete and sign the appropriate Plan claim form, available from the IBM Benefits Center - Provided
by Fidelity or on NetBenefits. Ensure all required information, including your member ID number, is
provided on the claim form and accompanying bills. Only you have the authority to sign the form
certifying the validity of the claim.

The provider will be reimbursed directly if authorization for assignment is indicated on the form.
Generally, if benefits are not assigned, payment from the health plan administrator will be made to you.

    •     Attach itemized bills and EOB statements from other insurance coverage (if applicable) to the
          claim form and mail to the health plan administrator at the address on the claim form. Canceled
          checks or cash register receipts will not be accepted. Ensure the accuracy and validity of all bills
          submitted for payment and make sure there is a specific treatment or diagnosis written on the
          bill. See the reverse side of the claim form which lists the information that must be included on
          the bills to avoid possible suspension or rejection of your claims.
    •     Advise the health plan administrator of your plan option if charges submitted for reimbursement
          are eligible for coverage under another employer's plan. Respond promptly to the health plan
          ad1ninistrator' s inquiries concerning the possibility of other coverage.
    11    If you have a written predetern1ination of benefits from the health plan administrator of your
          plan option, attach a copy to your claim form.
    11    In determining the appropriate reimbursement for surgical claims, the health plan administrator
          may request a copy of the surgeon's operative report.
    11    Include English translation of diagnosis, fees and treatment for services rendered outside of the
          U.S., if available. If the provider or facility is not able to provide a bill or claim information in
          English, the health plan administrator will perforn1 translation and currency exchange services
          for you.
    •     In most instances, the claim will be processed and payment mailed within 30 days of receipt.
          Therefore, you should allow for mailing time plus the 30 days needed for processing before
          calling to follow up on the status of a claim. In some circumstances, however, due to the
          complexity of the claim, additional medical and technical reviews may be necessary resulting in a
          longer than nonnal processing tin1e.

In determining whether a benefit is payable (and, if so, the benefit amount), the Plan Administrator and
the health plan administrator may consult physicians, dentists and other experts selected by IBM for
advice on 1nedical necessity and other pertinent factors and may require that the patient be personally




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examined by those expert(s). For determination of medical appropriateness, the health plan administrator
may also contact your physician as needed.

The benefit on any assigned claim will be calculated the same way as if the claim had not been assigned;
for example, in calculating the amount due, the Plan will take credit for any benefit advances or over-
payments previously paid for charges by the same or any other provider. In certain circumstances where
there is no member liability under the Plan option, an Explanation of Benefits will not be produced.

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mailed via internal mail from an.IBM locatjon.

Keep Copies for Your Records
Keep a copy of the claim form and bills for your records. You are responsible for reconciling submitted
charges with claims paid as reported on the EOB statement from the health plan administrator. Copies
will not be provided by the health plan.

Your Responsibility
It is your responsibility to follow the applicable claim filing procedures, and to advise the health plan
administrator of any discounts or price adjustments made by the provider. A provider who waives or
refunds deductibles, copayments and/ or coinsurance amounts is entering into a discount arrangement
with the employee. The benefit payment is calculated based on the amount actually charged after any
discounts, rebates, waivers or refunds of copayments or deductibles. Thus, failure to notify the health
plan administrator or the IBM Benefits Center - Provided by Fidelity of such a price adjustment may
result in an overpayment of benefits. It therefore constitutes a serious violation of the provisions of the
IBM Medical and Dental Benefits Plan and may be grounds for disciplinary action, including termination
of coverage.

It is a crime to knowingly, and with intent to injure, defraud, or deceive the company, provide any
fraudulent information, including filing a clailn that contains any false, inc01nplete, or 111isleading
information. These actions, as we11 as the submission of materially false inforn1ation, may result in
rescinding your coverage under the IBM health plan(s), retroactive to the date of the fraudulent act, and
you may be subject to prosecution and punishment under state and/ or federal law. The IBM health
plan(s) would terminate coverage of a participant or beneficiary for a reason such as fraud.

HospitaVFacilihJ Billing
Inpatient and outpatient hospital claims cannot be reimbursed directly to you. Negotiated prices, which
create savings for you and IBM, will only take effect if the health plan administrator pays hospitals
directly for covered charges. Present your identification card at the time services are rendered; do not pay
up front. Hospital inquiries should be referred directly to the health plan administrator. If you pay a
hospital for outpatient and inpatient services, the health plan administrator will reimburse the hospital
for the eligible covered charges and you will have to obtain a refund directly from the hospital.




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Note: IBM recommends that you do not pay the hospital any amounts other than copayments until you receive your
EOB. You may not receive the discounted rate if you pay the hospital directly.
    •    Iupatient Charges: Hospitals will send a bill for charges directly to the health plan administrator
         and then bill you for any balance remaining after benefits have been paid to the facility by the
         health plan administrator.
    •    Outpatient Charges: In most cases, facilities will send a bill for eligible charges to the health plan
         administrator and then bill you for any balance remaining after benefits have been paid to the
         facility. If hospitals request a payment at the time of service, they may request the coinsurance
         payment (the amount not reimbursable by the Plan) and not the total charges. It is the hospital's
         own particular billing practices which determine whether payment will be required at the time of
         service or at a later date. In certain circumstances, such as a mother and newborn child, billing
         may be separate.

Hospital Bill Reconciliation
As a result of applicable state laws and/ or contracts between some facilities and the health plan
administrator, actual payments that a facility will accept as payment in full may vary from the facility's
nominal charges. For exa1nple, in some areas of the country, payments to hospitals for inpatient stays are
based on a patient's medical diagnosis rather than on the fee-for-service and per-diem charges which
appear on the hospital's invoices. This payment methodology is referred to as a DRG (Diagnosis Related
Group) methodology. Under a DRG system, a hospital receives a predetermined amount for the care of a
patient with a specific diagnosis. Length of stay and non-operative services rendered to the patient while
in the hospital do not affect the payment amount. A hospital's bill, nevertheless, will show charges at the
hospital's standard rates on a fee-for-service basis, even if the DRG methodology actually applies instead.
Similarly, a negotiated or discounted rate may apply at times, but might not be reflected on the billing
you receive from the hospital.

In these situations, the benefit which the Plan pays may equal a different percent of the total amount the
facility accepts as payment in full than that specified under the IBM Plan. In any case, the amount of your
coinsurance will never be more that it would have been had the hospital required payment for the
services at its full nominal rates.

Any questions regarding specific charges and reimbursements should be directed to the health plan
administrator.

Managed Mental Health Care Program Claims
Claims processing is handled by Optum by United Behavioral Health, the administrator for the Managed
Mental Health Care Program. Opt.um will pay eligible mental health/ substance use claims.

In-Network Managed Mental Health Care Program Claims
Network providers submit claims directly to Optum for their treatment services and are paid directly by
Optum for covered services under the Plan. The provider will bill you for any applicable deductibles,
coinsurance or copayments.

For claims paid for the IBM PPO, IBM PPO Plus, IBM PPO with HSA, IBM Enhanced PPO with HSA and
IBM EPO options, Optum will send you an Explanation of Benefits (EOB) statement. Verify it for
accuracy and retain it for your records. You must bring any discrepancies to the attention of Optmn's
Member Services Department.

Out-of-Network Managed Mental Health Care Program Claims
If you use an eligible practitioner or eligible program/ facility not in the Optum network or if you use a
network practitioner and you do not precertify outpatient care, the provider will bill you for the charges.



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It is your responsibility to submit out-of-network claim forms to Optum for reimbursement of these
charges. You must submit claims for out-of-network reimbursement directly to Opium. All out-of-
network claims are subject to medical necessity review by Optun1 upon submission.

Out-of-nehvork claims may be submitted online at www.liveandworkwell.com, or 1nail completed out-
of-network claims, together with any required paperwork, to:
    Opium
    P.O. Box 30755
    Salt Lake City, UT 84130-0755

Out-of-Network Facilities and Hospitals
If you use an out-of-network facility, the facility may submit a bill to Opium. You will then receive an
Explanation of Benefits (EOB) statement from Opium (and a bill from the facility for any ineligible
amount Opium does not pay to the facility). However, an out-of-network facility may bill you directly.
You should not pay the hospital bill until the hospital has submitted claims to Opium and the amount for
which you are financially responsible has been determined. Ren1en1ber that out-of-network, non-urgent,
residential and day rehabilitation care outside your state of residence or immediate bordering state is not
covered.

I/Your IBM Plan Is Secondary
If your IBM benefit plan provides secondary coverage, you are required to submit an EOB statement from
your primary carrier with every claim submitted. All claims are subject to a medical necessity review at
Opium's discretion.

International Clahns
There are generally no participating providers or facilities overseas, therefore no precertification is
required for employees and their eligible dependents who receive care overseas. Claims will be
rehnbursed, subject to Plan limitations, at the in-network level for 1nedically necessary services rendered
by an eligible provider and/ or eligible facility.

To file an international claim, submit a Mental Health Care Program Claim Form to Opium along with
the complete supporting provider documentation and itemized bills in English. All claims will be paid in
U.S. dollars. The exchange rate will be taken from a recognized exchange rate publication, as selected by
Optum, using the rate effective on the date of discharge for inpatient hospital charges and the date the
service was rendered for all other eligible charges.

Dental Claims
Generally, your network dentist will submit your claim directly to MetLife and you will not need to
obtain a claim form.

If you do need to file a claim for dental treatment, follow these steps:
    •    Obtain an IBM MetLife Dental Claim Form from www.metlife.com/mybenefits, w3 or by calling
         MetLife at 800-872-6963.
    •    Bring the claim form with you to the dental appointment.
    •    Complete and sign the IBM MetLife Dental Claim Form at the time services are provided. The
         IBM employee must sign the claim form certifying the validity of the claim. Claims will only be
         processed for covered eligible family members who are listed on your benefits on file with IBM.
    •    Ask your dentist to complete the "Dentist Section" on the claim form and return it to MetLife at
         the address on the form. You may also submit the claim form yourself with the appropriate
         supporting documentation (e.g., itemized bill).


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    •    Your dentist may submit an electronic clailn only if he or she maintains the appropriate
         "signature on file."
    •    Payment will be made to you or your dentist as indicated on the claim form .

Claims for services must be received at the MetLife clain1 office no later than December 31 st of the year
following the year charges are incurred.

Note that if you aud your spouse/domestic partner are eligible for IBM dental coverage each in your own tight and
one of you is enrolled as a dependent of the other, all claims must be filed by the Plan participant only.

How to File a Claim for Orthodontic Treatment
When sub1nitting a clain1 for comprehensive orthodontic treatn1ent, it is only necessary to submit the
claim once, at the beginning of the active treahnent period. However, MetLife may request additional
information periodically to verify that you or your dependent is still receiving active treatment. Payment
will be n1ade to you or the dentist, as indicated on the claim form. You must remain enrolled in the
Dental Plus option while undergoing orthodontic treatment to continue to be eligible for the benefit.

Flexible Spending Accounts (FSA) Claims:
Health Care Spending Account (HCSA) and Dependent Care Spending Account (DCSA)
To receive reimburse1nent from your account for eligible non-reimbursed health care expenses, (HCSA)
or eligible child care expenses (DCSA) you should access your HCSA account on Acclaris by going to
www.acclarison1ine.c01n. Once on the Acclaris website you can click on 'Enter New Clain1' and fill in the
required fields. Once you have completed the required fields you can upload your supporting
documentation for your expense.

Examples of supporting documentation would be:
    •    Explanation of Benefits, if applicable. If an expense is of a type covered by a company's benefits plan
         or another source, you must attach a copy of the Explanation of Benefits (EOB) statement or other
         evidence indicating the an1ount of reimbursement you have already received for the claim.
    •    Evidence of Expense. If an eligible expense is not of a type covered by a benefit plan or any other
         source, you n1ust provide acceptable evidence of your expense, such as a bill from the provider.
         Generally, cancelled checks and cash register "receipts" are not acceptable evidence of your
         expense. However, a receipt indicating the amount paid for eligible prescription drugs is
         acceptable, as long as the prescription medication name is printed on the receipt. The bill or
         receipt n1ust contain the following information
             Name of employee or dependent for whom the service/product was provided
             Date the expense was incurred (i.e., date the service was rendered or product was supplied)
             Provider's nan1e and address
             Type of service/name of product provided and
             Amount of expense.
    •    Provider Certification, for certain expenses. For example, for the expenses listed below, you n1ay be
         required to sub1nit certification from your provider indicating the specific medical disorder, the
         specific treatment needed, duration of treatment and how this treatment will alleviate the
         medical condition. While this list includes most of the expenses for which a doctor's certification
         may be required, it is not all inclusive. To determine whether you n1ay be required to submit
         such a certification, contact Acclaris. Exainples of expenses that require certification from your
         provider are
             Therapy (speech, physical, massage, etc.)



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            Durable medical equipment
            Allergy relief equipment
            Capital expenses
            Special school or tutor for a dependent with a learning disability and
            Weight loss programs (requires doctor's statement indicating a diagnosis of obesity, diabetes
            or hypertension).

If your claim is approved, you will receive reimbursement directly fron1 Acclaris. Make sure you sign up
for direct deposit on the Acclaris website to receive your reimbursement faster and having it directly
deposited into your checking or savings account. If you do not sign up for direct deposit, there is a
1ninimum reimbursement amount of $25. Please note: a check is not mailed until you accmnulate $25 or
more in reimbursements. Reimbursements are made daily. In most cases, claims will be processed within
10 business days from receipt. Account and claim pay1nent information is available on the Acclaris web
site or by calling Acclaris.

HCSA Claims Submission Deadline
A run-out period for claims submission is provided through June 30 th immediately following the close of
the plan year to allow time for any outstanding claims incurred in the prior plan year or any grace period
that may apply to be sent to Acclaris.

Claims postmarked after June 30 th for the immediately preceding plan year, including claims for
reimbursement of eligible expenses incurred during any grace period related to that plan year, will be
ineligible for reimbursement. However, if you have missed the deadline for claims for the preceding plan
year, claims incurred during any grace period can be submitted against your HCSA for the plan year in
which the grace period occurs if you are participating in the Plan for that plan yea(. For information
about grace periods, see "Health Care Spending Account Grace Period" in the Health Care Spending
Account section.

DCSA Claims Submission Deadline
A run-out period from January 1st through June 30 th of the following year is provided to allow time for
any outstanding claims from the previous year to be received and processed. Claims postmarked after
June 30 th for expenses incurred in the preceding plan year will be ineligible for reimbursement.
All questions regarding claim payments or account balances should be directed to Acclaris.

CHANGING COVERAGE DUE TO A QUALIFIED STATUS CHANGE
During the year, you may be eligible to make certain changes to your benefits options if you experience a
qualified status change to your family, employment or coverage status. These types of changes are
limited by the IRS under Section 125 of the Internal Revenue Code. (However, please note the types of
circumstances for which the Personal Benefits Program allows a change, and the types of changes
allowed, are not necessarily all those that the IRS would permit.)

Examples of qualified status changes for which the Personal Benefits Program allows a change are:
    •    Marriage or divorce
    •    Entering or terminating a domestic partnership
    •    Birth or adoption of a child
    •    Death of your spouse/ domestic partner or dependent
    •    You or your spouse/ domestic partner taking an unpaid leave of absence
    •    You or your dependent gains or loses other coverage



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You Must Request Your Change within 60 Days
If you have a qualified status change during the plan year, you must call the IBM Benefits Center -
Provided by Fidelity or log in to NetBenefits to make eligible changes to your coverage within 60 days of
the date of the qualified status change. Otherwise, you will not be able to make changes until the next
annual enrollment period and your changes will not take effect until the next plan year. If you make your
change within 60 days of the event, Qualified Status Changes related to a child's birth will be retroactive
to the child's birthdate. Other Plan changes are generally effective on the first of the month following
your request. If you are adding an eligible family member, keep in mind that you may be required to
submit documentation to support the eligibility of your new dependent.

Any requested change in coverage must be consistent with the qualified status change. For example, if
you are single and get married, or become eligible for domestic partner coverage, you can add coverage
for your new spouse/ domestic partner by changing from "Self only" to "Self plus spouse/ domestic
partner."

Changing a Family Member's Eligibility Status
You must call the IBM Benefits Center - Provided by Fidelity or log in to NetBenefits within 60 days of
any event that causes an enrolled family member to become ineligible for coverage under the provisions
of the Plan. Note the individual losing coverage may be eligible to elect continuation coverage under the
Transitional Medical Program.

Qualified Status Changes At-A-Glance
The following chart shows some of the more com1non events for which you can nrnke changes in coverage.

  Event                                     Medical/DentalNision                  HCSAIDCSA

                                           May increase coverage category or      May begin or increase contribution
   Gain a Dependent
                                           change plan options.                   amount.
     Birth
     Adoption
     Stepchild
     Change in custody
     Marriage
     Domestic partnership
   Lose a Dependent                        May decrease coverage category.        May cancel or decrease contribution
     Divorce                               May not change options (see medical    amount.
                                           and dental "No Coverage" options for
     Death                                 exceptions).
     Dependent loses eligibility
     Termination of domestic partnership
   Spouse/Domestic Partner/Same-Sex        May increase coverage category or      May begin or increase contribution
   Spouse Loses Health and Welfare         elect medical and dental coverage if   amount.
   Coverage Elsewhere                      you previously waived coverage and
                                           were covered by your spouse or
                                           domestic partner. May also change
                                           Plan option.
   Move Out of the HMO or IBM EPO          May change medical or dental option.   No changes allowed.
   Service Area                            May not change coverage category.


Note: Due to IRS regulations, HCSA/DCSA cannot reimburse expenses for domestic partners who do not meet the
applicable tax law definition of"dependent." Also, a domestic partner cannot be treated as "married" for pu111oses of
determining the employee's maximum allowable contribution to the DCSA,

Events that Do Not Count as Qualified Status Changes
Only events that are considered qualified status changes permit you to make certain changes to your
benefits during the year. The following events do not qualify as qualified status changes:



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    •     A mistake in enrollment, such as selection of the wrong plan option
    •     Attaining an annual or lifethne maxin1um during the plan year
    •     Your physician or hospital does not participate or stops participating in the Plan's network

If You Change Medical Options During the Plan Year
If you experience a qualified status change and change your medical options during the year, amounts
accrued toward satisfying your prior option's annual deductibles and out-of-pocket maximums for that
year will be applied toward satisfying the new option's a1mual deductibles and out-of-pocket maximums
- but only up to the amounts of the deductible and out-of-pocket maximum of the plan in which you
have newly enrolled. Excess anrnunts will not be reimbursed.

You must notify the health plan for your new option directly to receive any applicable credits toward
deductible and out-of-pocket maximum. You will be asked to provide a copy of the latest Explanation of
Benefits (EOB) statement from your prior health plan. (If you and your spouse are both eligible for IBM
coverage, and as a result of a qualified status change you change your enrollment from being prin1ary to
being a dependent of your spouse, deductibles and out-of-pocket maximums are not transferable.) There
will be no carryover of credits against deductibles from one plan year to another.

If you leave a medical plan option which does not have a deductible and change to a medical plan option
that has a deductible, you must meet the new plan's deductible before you become eligible to receive
benefits. Alternatively, if you leave a medical plan option where you have accumulated amounts towards
or have met the deductible and change to a plan that does not have a deductible, there is no deductible
transfer or credit.

For more details about qualified status changes, call the IBM Benefits Center.

COORDINATING COVERAGE

IBM Couples
If you and your spouse/ domestic partner both work for IBM and are eligible to participate in the
Personal Benefits Progra1n to elect 111edical, dental and vision coverage through IBM, you 1nust choose
each plan year whether to enroll for individual coverage separately or as an eligible family member
under the other's coverage. You must each separately elect to participate in the Health Incentives to be
eligible to receive them.

Because of the special tax consequences for same-sex spouse/ domestic partner benefits, you should
consider the financial effects of your enrollment decisions. Please see the Spouse and domestic Partner
Information Guide, available on w3 or NetBenefits.

As an IBM couple, you can enroll for coverage in one of two ways:
    11    You and your spouse/ domestic partner can enroll individually, and each of you can choose your
          own options. However, each of you will pay your own contributions and will need to satisfy
          separate deductibles and out-of-pocket maximums based on the options you choose. Eligible
          family members may be covered by you or your spouse/ domestic partner. An employee can
          enroll:
              All dependent children together under one employee, or
              Split the children between each employee parent.
          Enrollment does not have to be the same for medical, dental and vision - different con1binations
          of enrol1ment can be used; however, the children can never be enrolled twice.



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    •    One of you can enroll for coverage as a plan participant and cover the other as a family member,
         along with any eligible children. The IBM spouse/ domestic partner who is covered as a family
         1nember would elect no coverage.

No Duplicate IBM Coverage
A person who has IBM medical, dental or vision coverage in one capacity will not have further IBM
coverage under the san1e or any other IBM-sponsored medical, dental or vision benefits Plan in any other
capacity. For example:
    •    A person covered as an IBM employee will not also be covered as a retired IBM employee.
    •    A person covered as the spouse/ domestic partner of an IBM employee will not also be covered as
         the surviving spouse or as the surviving dmnestic partner of a deceased IBM employee.
    •    A person covered as an eligible dependent child of one IBM parent will not also be covered as an
         eligible dependent child of the other IBM parent for the same Plan option.
    •    A person who has coverage as an eligible dependent child of a parent will not also be covered as
         an eligible dependent child of a stepparent, or as an eligible surviving child of a deceased parent.

As explained previously in "IBM Couples," special rules apply in the case of spouses/ domestic partners
who each have individual IBM coverage in their own right (that is, on account of being an active, inactive
or retired IBM employee, or an MDIP or LTD benefits recipient). Neither will have secondary IBM
coverage as the spouse/ domestic partner of the other. Likewise, there is no duplication of Plan
maximums. Charges will only be eligible under and applied to the primary employee's maximums. If
you have a qualified status change and change your enrollment from being primary to being a dependent
of your spouse/ domestic partner, deductibles and out-of-pocket maximums do not transfer even if you
stay in the same Plan option.

If You or a Family Member Have Other Coverage
If you or an eligible family member have other group health plan coverage in addition to IBM coverage,
IBM medical and dental benefits will be coordinated with the other coverage to avoid duplication of
payment. When the IBM Plan's responsibility for benefits is secondary to that of the other coverage, the
IBM Plan will not pay a benefit for an eligible expense until the other coverage has paid, and the IBM
benefit amount which would normally apply will be reduced by the amount the other coverage paid.

It is your responsibility to keep your other coverage information current by promptly reporting changes
to the health plan you are enrolled in. It is your responsibility to provide updates to your other health
coverage information. If you do not respond to a request(s) by your health plan to update your other
coverage information, your claims may be denied until the plan receives your information.

Some providers give a discount when the IBM Plan has primary responsibility for payment. If you use
one of these providers, the IBM benefit will be calculated using the discount price, even if in your case the
IBM Plan was not primary and you therefore did not receive the discount.

Even when IBM coverage is secondary, the IBM Plan will not pay benefits for ineligible expenses, such as
the difference between private room charges and semi-private room charges. Likewise, the IBM Plan will
not waive deductibles or out-of-pocket copay1nent requirements, even in situations where IBM coverage
is secondary. For more information, see "Coordinating Benefits with Another Health Plan" in this section.




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Coverage for Medicare-Eligible Dependents
As an active employee, the IBM medical plan options provide primary coverage for you and any of your
covered dependents, even if anyone is eligible for Medicare. Therefore, if you cover a Medicare-eligible
dependent, the IBM Plan will provide your dependent's primary coverage and Medicare will provide
secondary coverage.

IBM coverage is primanJ for the Medicare-eligible domestic partner or Medicare-eligible same gender spouse of an
active employee. Please be aware it is important for the Medicare-eligible domestic partner or Medicare-eligible sanie
sex spouse to apply for enrollment in Medicare in a timely manner (when first eligible for Medicare); otlzenvise their
Medicare coverage may be delayed, and they may incur a surcharge on their Medicare monthly premiums as a
penalh; for late enrollment.

Note: There are a few rare circumstances when Medicare will pay primanJ over your medical coverage as an active
employee, such if you have End Stage Renal Disease (ESRD). Refer to the government regulations on who pays
primanJ found on Medicare.gov.

Coverage for prescription drugs under all options under the IBM medical plan for active employees meets
Medicare's "creditable coverage" standard, which means IBM's coverage, on average for all plan
participants, is expected to pay out as much as the standard Medicare prescription drug coverage.
Medicare-eligible individuals may be enrolled in IBM medical coverage that provides coverage for
prescription drugs or a Medicare prescription plan, but not both. Do not enroll your dependent in
coverage under the IBM medical plan for active employees if they are enrolled in Medicare Part D.

Coordinating Benefits with Another Health Plan
If you or your eligible family members are covered by the IBM Medical, Dental or Vision Plans and by
certain other types of coverage, the IBM Plans will coordinate your benefits with other health coverage.
The plan that pays first depends on which plan is primary and which plan is secondary. The primary
plan pays first. Generally, IBM's Plans are primary for a covered active employee and secondary for a
spouse who also is covered by his or her own employer's plan. A plan without a Coordination of Benefits
(COB) provision pays before a plan that has a COB provision.

The primary plan for your covered eligible dependent children is determined by the birthday rule - the
plan of the parent whose birthday occurs first during the calendar year pays first. For example, if you and
your spouse are covered by different group plans and you each cover your dependent children and your
birthday is in June and your spouse's birthday is in October, your plan is the primary plan for your
children and your spouse's plan is the secondary plan. If both parents have the same birthday (based on
month and day only), primary coverage is from the plan of the parent who has had coverage longer. See
below for special rules if the child's parents are divorced or legally separated.

When filing claims, you should always file the claim with the primary plan first. If you are unsure which
plan is primary and which is secondary, contact the IBM Benefits Center - Provided by Fidelity.

IBM's Plan Is Primary to Another Employa's Plan When the Patient Has
   IBM Coverage as                                        And, the Other Coverage as

      An active or inactive employee, or an MDIP or LTD     The eligible spouse/domestic partner or surviving
      benefits recipient.                                   spouse/surviving domestic partner of an employee of
                                                            another employer.
      An active employee.
                                                            A retired employee of another employer.
      The eligible dependent child of his or her parent
      with the earlier birthday (based on month and day     The eligible dependent child of his or her parent with the
      only).                                                later birthday (based on month and day only).
      The spouse/domestic partner or eligible dependent     The spouse/domestic partner or eligible dependent child
      child of an active IBM employee.                      of a retired employee of another employer.




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IBM's Plan Is Secondary to Another Employer's Plan When the Patient Has
  IBM Coverage as                                            And, the Other Coverage as

         The spouse/domestic partner of an active or           An employee or retiree of another employer.
         inactive employee, or of an MDIP or LTD benefits      The eligible dependent child of his or her parent with the
         recipient.                                            earlier birthday (based on month and day only).
         The eligible dependent child of his or her parent     An active employee of another employer.
         with the later birthday (based on month and day
                                                               The spouse/domestic partner or eligible dependent child
         only).                                                of an active employee of another employer.
         An inactive employee or an MDIP or LTO benefits
         recipient.
         The spouse/domestic partner or eligible dependent
         child of an inactive employee, MDIP or LTD
         benefits recipient.



Coordinating Benefits in the Situation of Divorce or Separation
If a child's natural parents are legally separated or divorced, and the child is covered under one
employer's plan as the child of one natural parent and under another employer's plan as the child of the
other natural parent or stepparent, (or, if both parents have coverage under the IBM Plan), the order of
responsibility for payment of benefits will be determined in accordance with the following rules:
    •       A court decree stating that the IBM Plan or the IBM employee's coverage is primary will not be
            controlling.
    •       If a court decree specifically designates one of the child's natural parents as having financial
            responsibility for the child, then the plan of the natural parent having financial responsibility for
            the child under the court decree is primary over the other natural parent's plan.
    11      If the court decree does not specifically designate one parent as having financial responsibility, or
            if the court decree provides for any form of joint or shared financial responsibility, then the plan
            of the natural parent with whom the child resides for the majority of the calendar year is primary.
            If custody is joint, and the child is not determined to reside with one parent for the majority of
            the calendar year, the plan of the natural parent with the earlier birthday (month and day only) is
            primary.
    •       The plan of a natural parent with custody of the child normally is primary over the plan of a
            stepparent married to that natural parent.
    •       The plan of a natural parent who is neither specifically designated in the court order as having
            financial responsibility nor has custody of the child, normally has last responsibility for benefits.

"Financial responsibility" means that the parent having financial responsibility for the child provides
more than half of the child's financial support each year.

The IBM Plans Do Not Coordinate When Benefits Are Provided from Other Sources
    •       Benefits will not be payable when charges for treahnent of an illness or injury are compensable
            under a workers' compensation law.
    •        Benefits will not be payable when any of the charges for treatment of an illness or injury are
             provided for under federal, state or municipal laws or regulations.
    •        No benefits are payable when any of the charges for treahnent of an illness or injury are provided
             in hospitals of the federal, state or municipal governments unless the amount charged would be
             payable by the individual irrespective of the existence of the IBM Medical and Dental Benefits
             Plan.




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    •    If a child becomes a ward of the state, the child is no longer an eligible dependent, and benefits
         are not payable by the IBM Medical and Dental Benefits Plan.
    •    If payments are received fron1 such other sources as described above after payn1ent of benefits
         from the IBM Plan, IBM will expect reimbursement when the payment by the other source is
         made. Please refer to "Recovery Provisions."


IBM MEDICAL COVERAGE AND MEDICAID
Effect of Medicaid on IBM Coverage
The IBM Medical and Dental Benefits Plan will enroll participants and eligible family members, and
determine and pay benefits, without taking into account their receipt of, or eligibility for, medical
assistance under a federally-approved state Medicaid program. However, the IBM Plan will honor:
    •    Any assigrunent of rights which was made by or on behalf of a participant or eligible family
         member, if the assignment was legally required by a federally approved state Medicaid program.
    •    Any rights which a state has under state law to be reimbursed from benefits legally owed by the
         Plan for items or services for a participant or eligible fan1ily member, to the extent the state's
         Medicaid program has paid for those items or services.

Medicaid/State Child Health Insurance Plans (CHIP)
Eligible employees and their eligible dependents are allowed to enroll in the IBM health benefits plan
mid-year if:
    •    Their coverage is lost under their respective state Medicaid or CHIP; or
    •    They become eligible for premium assistance under their respective state Medicaid or CHIP.

If you are not already enrolled in the IBM health benefits plan when one of the above events occurs, you
will be able to enroll yourself and your eligible dependent(s) within 60 days of the date of the event.

Coverage will be effective retroactive to the date of the loss of Medicaid or CHIP coverage or the date you
become eligible for premium assistance under Medicaid or CHIP, as applicable.

Enrollment requests received later than 60 days after one of the above events will not be accepted.
However, you will have an opportunity to enroll during the next annual enrollment period.

Medicaid and the Children's Health Insurance Program (CHIP) Offer Free or Low-Cost Health Coverage to
Children and Families
If you are eligible for health coverage from your employer, but are unable to afford the premiums, some
States have premium assistance programs that can help pay for coverage. These States use funds from
their Medicaid or CHIP programs to help people who are eligible for employer-sponsored health
coverage, but need assistance in paying their health premiun1s.

If you or your dependents are already enrolled in Medicaid or CHIP and you live in a State listed below,
you can contact your State Medicaid or CHIP office to find out if premium assistance is available.

If you or your dependents are NOT currently enrolled in Medicaid or CHIP, and you think you or any of
your dependents might be eligible for either of these programs, you can contact your State Medicaid or
CHIP office or dial 877-KIDS NOW or www.insurekidsnow.gov to find out how to apply. If you qualify,
you can ask the State if it has a program that might help you pay the premiums for an employer-
sponsored plan.




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If you or your dependents are eligible for premium assistance under Medicaid or CHIP, as well as eligible
under your employer plan, your employer must allow you to enroll in your employer plan if you aren't
already enrolled. This is called a "special enrollment'' opportunity, and you must request coverage
within 60 days of being determined eligible for premium assistance. If you have questions about
enrolling in your employer plan, contact the Deparhnent of Labor at www.askebsa.dol.gov or call
866-444-EBSA (3272).

If you live in one of the following states, you may be eligible for assistance paying your employer
health plan premiums. The following list of states is current as of January 31, 2019. Contact your State
for more information on eligibility.

                  ALABAMA - Medicaid                                               ALASKA - Medicaid
 Website: http://myalhipp.com/                              The AK Health Insurance Premium Payment Program
 Phone: 855-692-5447                                        Website: http://myakhipp.com/
                                                            Phone: 866-251-4861
                                                            Email: CustomerService@MyAKHIPP com
                                                            Medicaid Eligibility:
                                                            http://d hss. al as ka. gov/d pa/Pages/med ica id/d efau It. as px




                                                            www.medicaid.qeorgia.gov
                                                            - Click on Health Insurance Premium Payment (HIPP)
                                                            Phone: 404-656-4507

                   INDIANA - Medicaid                                                IOWA - Medic~id
 Healthy Indiana Plan for low-income adults 19-64           Website: http://dhs.iowa.gov/hawk-i
 Website: http://www. in .gov/fssa/hip/                     Phone: 800-257-8563
 Phone: 877-438-4479
 All other Medicaid
 Website: http://www.indianamedicaid.com
 Phone 800-403-0864




                                                            assistance/index.html
                                                            Phone: 800-442-6003
                                                            TTY: Maine relay 711

       MASSACHUSETTS - Medicaid and CHIP                                        MINNESOTA- Medicaid
 Website:                                                   Website:
 http: llwww. mass. gov/eohhs/gov/departments/masshealth/   https://mn.gov/dhs/peop!e-we-serve/senlors/health-care/health-
 Phone: 800-862-4840                                        care-prog rams/programs-and-services/ other-ins ura nee. js p
                                                            Phone: 800-657-3739 or 651-431-2670




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                  MISSOURI - Medicaid                                         MONTANA - Medicaid
Website:                                                  Website:
http://www.dss.mo.gov/mhd/participants/pages/hipp.htm     http://dphhs.mt.gov/MontanaHealthcarePrograms/HIPP
Phone: 573-751-2005                                       Phone: 800-694-3084


                 NEBRASKA - Medicaid                                            NEVADA - Medicaid
Website: http://www.ACCESSNebraska.ne.qov                 Medicaid Website: http://dhcfp.nv.gov
Phone: 855-632-7633                                       Medicaid Phone: 800-992-0900
Lincoln: 402-473-7000
Omaha: 402-595-1178

             NEW HAMPSHIRE - Medicaid                                 NEW JERSEY - Medicaid and CHIP
Website: https://www.dhhs.nh.gov/oii/hipp.htm             Medicaid Website:
Phone: 603-271-5218                                       http://www.s tate .nj. us/hum anservlces/
Toll-Free: 800-852-3345, ext 5218                         dmahs/clients/medicaid/
                                                          Medicaid Phone: 609-631-2392
                                                          CHIP Website: http://www.nifamilycare.org/index.html
                                                          CHIP Phone: 800-701-0710




Website:
http://www.nd.gov/dhs/services/medica!serv/medicaid/
Phone: 844-854-4825


             OREGON - Medicaid and CHIP                                   PENNSYLVANIA- Medicaid
Website: http://heallhcare.oregon.gov/Paqes/index.aspx    Website:
http://www.oreqonhealthcare.gov/index-es.html             http://www. dhs. pa.gov/provider/med ica lass istance/l1ealthi ns ura
Phone: 800-699-9075                                       ncepremiumpaymenthippprogram/index.htm
                                                          Phone: 800-692-7462




 CHIP Website: http://health.utah.gov/chip
 Phone: 877-543-7669


            VIRGINIA - Medicaid and CHIP                                    WASHINGTON - Medicaid

 Medicaid Website:                                        Website: http://www.hca.wa.gov/free-or-low-cost-health-
 http://www.coverva.org/programs premium assistance.cfm   care/proqram-administration/premiurn-payment-prograrn
 Medicaid Phone: 800-432-5924                             Phone: 800-562-3022 ext. 15473
 CHIP Website:
 http://www.coverva.org/programs premium assistance.cfm
 CHIP Phone: 855-242-8282




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               WEST VIRGINIA - Medicaid                                 WISCONSIN - Medicaid and CHIP
 Website: http://mywvhipp.com/                             Website:
 Toll-free phone: 855-MyWVHIPP (855-699-8447)              https: //www.d hs. wisconsi n. gov/publicati ons/p 1/p 10095. pdf
                                                           Phone: 800-362-3002

                  WYOMING - Medicaid

 Website: https://health.wyo.gov/healthcarefin/medicaid/
 Phone: 307-777-7531



To see if any other states have added a premium assistance program since January 31, 2019, or for more
information on special enrollment rights, contact either:

U.S. Department of Labor                                   U.S. Department of Health and Human Services
Employee Benefits Security Administration                  Centers for Medicare & Medicaid Services
www.dol.gov/ ebsa                                          www.cms.hhs.gov
866-444-EBSA (3272)                                        877-267-2323, Menu Option 4, Ext. 61565

0MB Control Number 1210-0137 (expires 12/31/2019)

COORDINATING IBM MEDICAL COVERAGE WITH MEDICARE
If you or a family member covered under the IBM Medical and Dental Benefits Plan for Regular Full-time
and Regular Part-time Employees become eligible for Medicare coverage (due to attainment of age 65 or
disability), you, or your family member, are not required to enroll in Medicare due to your employment
status. However, if you or your dependent enrolls in Medicare, then the IBM Medical and Dental Benefits
Plan for Regnlar Fnll-time and Regular Part-time Employees will be primary to Medicare and Medicare will
pay secondaiy. When you leave IBM, you will be required to enroll in Medicare unless you, or your
spouse, are employed somewhere else and enrolled in another employer's group health plan.

Note: There are a Jew rare circumstances when Medicare will pay primanJ over your medical coverage as an active
employee, such as if you have End Stage Renal Disease (ESRD ). Refer to the government regulations on who pays
priniary found on Medicare.gov.

If you are not employed, and you are Medicare eligible, and eligible for retiree medical benefits through
IBM, you and your Medicare-eligible dependents may be eligible to enroll in medical or prescription drug
coverage through the Via Benefits Medicare marketplace and your non-Medicare eligible dependents
may be eligible to enroll in coverage through the IBM Benefits Plan for Retired Employees.

If you are not employed, and are not Medicare eligible but have a Medicare eligible spouse or domestic
partner, their Medicare coverage will be primary over IBM coverage through The IBM Benefits Plan for
Retired Employees. The IBM Benefits Plan for Retired Employees does not coordinate with Medicare Part D
plans so your eligible family members should not enroll in both an IBM Plan and a Medicare Part D
prescription drug plan.

Under federal law, where an individual's Medicare coverage would be secondary to that of IBM's Plan
the individual can opt to receive Medicare as primary coverage by specifically rejecting IBM coverage.
However, if the individual chooses to have Medicare as prin1ary coverage, no secondary or
supplementary coverage will be available for the individual through IBM under any medical plan.

The federal government has indicated that an employee is considered to be in current employment status
if the employee is working for the employer or is receiving payments from the employer which are
subject to FICA tax.


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Note: The Medicare program and Iazos are subject to change. Also, the Medicare laws are quite complex and subject
to government interpretation. You should consult your local Social SecurihJ office for more detailed or current
information about Medicare.

Note: The Balanced Budget Act of1997 allows physicians or practitioners to sign "private contracts" with Medicare
beneficiaries for which no claim can be submitted to Medicare by either the provider or beneficiary. Services provided
under "private contracts" are not covered by Medicare.

If eligible individuals enroll in Medicare Part B, and choose to enter into a "private contract" arrangement with one
or more providers, they have, in effect, "opted out" of Medicare for the services provided by these providers. No
benefits will be paid by the IBM Plan for services rendered by providers with whom such "p11vate contracts" have
been made.

Enrollment in Medicare
If you are, or your spouse is, actively employed, and have medical coverage through your active
employment, you do not have to enroll in Medicare until such time as employment ends.

               r,
The Medicare You guide and other information about Medicare are available online at Medicare.gov or
from your local Social Security office. It is important not to miss a deadline for applying for enrollment in
Medicare. Enrollment in Medicare Parts A and B occurs automatically for some people who have been
receiving monthly income benefits from Social Security before age 65. Anyone else will not be enrolled in
Medicare unless he or she applies. lf enrollment is not autonrntic in your case, it is important to apply for
enrollment in a timely manner; otherwise your coverage may be delayed, and you may incur a surcharge on your
Medicare monthly prerniums as a penalhJ for late enrollment.

    •    If you decide to not enroll in Medicare Part B when you are first eligible, when you do enroll, you
         may have to pay a late enrollment penalty for as long as you have Medicare. Your monthly
         premium for Part B may go up 10% for each full 12-month period that you could have had Part B
         but did not sign up for it.
    •    If you decide to not join a Medicare drug plan when you're first eligible, and you don't have
         other creditable prescription drug coverage (and you don't get Extra Help), you'll likely pay a
         late enrollment penalty if you join a Medicare Part D plan later.

Note: The Medicare program and laws are subject to change. Also, the Medicare laws are quite complex and subject
to government in.tn7Jretation. You should consult your local Social SecurihJ office for more detailed or current
information about Medicare.

Note: If you and/or your eligible dependents become eligible for Medicare due to disabilihJ, you must enroll in
Medicare and contact the IBM Benefits Center - Provided by FidelihJ directly to report the Medicare Parts A and B
effective dates.

Medicare Part D Creditable Coverage
All of the active IBM Plan options provide creditable coverage under Medicare Part D. This means IBM
has determined the IBM Plan options are, on average for all plan participants, expected to pay out as
much as the standard Medicare prescription drug coverage will pay. This is important because if you or
your Medicare-eligible dependents do not get Medicare prescription drug coverage (or creditable
coverage), when you are eligible for Medicare, you may have to pay a higher premium for Medicare Part
D prescription drug coverage if you join later. You will have to pay that higher premium as long as you
have Medicare Part D prescription drug coverage.




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The IBM Plan options are reviewed annually to determine if they provide creditable coverage. The results
are listed in the IBM Notice of Creditable Coverage, which can be found on w3 "Legal notices/formal HR
documents."

OVERPAYMENT OF BENEFITS
The clain1s adn1inistrator will determine in its sole discretion whether an overpayment has been made to
a participant or on a participant's behalf. An overpayment described in this section may occur for any
reason, including because of fraud against the plan or because of a mistake made by the claims
administrator.

If a benefit payment is made by the Plan, to you, or on your behalf, which exceeds the benefit amount
that you are entitled to receive, the Plan has the right to require the return of the overpayment. The Plan
has the right to reduce, by the amount of the overpayment, any future benefit payment made to, or on
behalf of, a Participant in the Plan.

IF YOU RECEIVE AN OVERPAYMENT OF BENEFITS
It is your responsibility to reimburse the Plan if you and/ or your covered family members receive an IBM
benefit payment to which you (or they) are not entitled - for example, because of an administrative
error, dental or health plan processing error, Workers' Compensation payments, payment from another
benefit plan, Medicare or other source prilnary over the IBM coverage (e.g., autmnobile insurance or
proceeds from litigation). If such an overpayment occurs for any reason, you are obligated to reimburse
the IBM Plan for the amount of the overpayment.

Failure to reimburse IBM may result in any or all of the following actions: Collection measures by IBM
and/ or a debt collector, application of all or any portion of an overpayment toward satisfaction of other
claims for benefits, loss of eligibility under the IBM Plans, termination of IBM employment, civil litigation
and crin1inal prosecution. See "Recovery Provisions" below for more information.

If a third party receives an overpayment of benefits
If the claims administrator, in its discretion, paid benefits on behalf of a participant directly to a provider,
the clain1s administrator n1ay recover an overpayment that the Plan makes to such provider on such
participant's behalf by reducing future payments to the provider by the amount of the overpayment.
These future payments may be benefits payable to such participant, to other participants in this Plan, or
to participants in other health plans that are administered by the claims administrator. If these future
payments are benefits payable to participants under a health plan other than this Plan, the claims
administrator will credit this Plan with the amount of the future payments that such other health plan
nrnkes. However, the claims ad1ninistrator will not offset future payments that it would otherwise make
to a provider on behalf of a participant in another plan by an overpayment the claims administrator has
n1ade to the provider under the Plan unless the provider has affirmatively consented in writing to repay
overpayments through offsets and agreed not to attempt to recover such offsets from affected
participants through balance billing or otherwise.

Conversely, if the claims administrator determines in its sole discretion that a self-insured health plan
that the claims administrator administers, other than this Plan, has overpaid a provider, the claims
administrator has the right to reduce, by the amount of such overpayment, any future payments that the
clain1s administrator would otherwise make to such provider on behalf of a participant in this Plan. In
this situation, the claims administrator credits the other self-insured health plan that previously overpaid
the provider with the amount of the future payments that this Plan makes on behalf of participants in this
Plan. However, the claims administrator will not offset future payments that it would otherwise make to
a provider on behalf of a participant in the Plan by an overpayment the claims administrator has made to
the provider under another plan unless the provider has affirmatively consented in writing to repay



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overpayments through offsets and agreed not to attempt to recover such offsets from affected
participants through balance billing or otherwise.

THIS RIGHT DOES NOT AFFECT ANY OTHER RIGHT OF RECOVERY THE PLAN MAY HAVE WITH
RESPECT TO OVERPAYMENTS

RECOVERY PROVISIONS
Benefits under the IBM Plan are coordinated not only with other group health benefit plans but also with
other sources of payment. "Other sources of payment" include, but are not limited to, automobile
insurance, awards, judgments or settlements in connection with tort claims, malpractice claims, product
liability claims or contract claims, regardless of whether any portion of the award, judgment or settlement
is specifically allocated or attributed to health or medical care expenses. IBM coverage is secondary, to the
fullest legally-permissible extent, to such other sources of payment. If you or your covered dependent
have a clalln for benefits under an auto insurance policy or health insurance policy, you or the covered
dependent should submit a claim under that policy before submitting a claim for IBM benefits.

If payment(s) from the other source(s) plus payment(s) by the IBM Plan exceed 100% of the medical
expense incurred, the excess is an overpayment of IBM benefits and is subject to the provisions of this
section. You or the covered dependent or the legal representatives, estate or heirs of you or the covered
dependent, shall promptly reimburse to the IBM Plan from any settlement, verdict or insurance proceeds
received by you or the covered dependent (or by their legal representatives, estate or heirs), the amount
of such overpayment.

In order to secure the rights of the Plan under this section, you or the covered dependent hereby: (1)
grants to the Plan a first priority equity lien against the proceeds of any such settlement, verdict or other
amounts received by you or the covered dependent; (2) assigns to the Plan any benefits you or the
covered dependent may have under any automobile policy or other coverage, to the extent of the Plan's
claim for reimbursement; and (3) holds any payment received from a third party arising from an illness,
injury, or condition, whether recovered through a settlement, judgment, or otherwise, in a constructive
trust for the benefit of the Plan, until the Plan releases its rights to the funds. You or the covered
dependent (or his or her legal representatives, heirs or estate) will sign and deliver, at the request of the
Plan or its agents, any docu1nents needed to protect such lien or to make such assignn1ent of benefits.

The Plan is entitled to full reimbursement of its overpayment on a first-dollar basis from any third party
payments (before subtraction of attorneys' fees and other expenses), even if payment to the Plan results in
a recovery to you or the covered dependent that is insufficient to make him whole (i.e., the "make whole"
and "common fund" doctrines do not apply). In addition, the Plan is entitled to full recovery regardless
of whether any liability for the payment is admitted by the third party and regardless of whether the
settlement or judgment received by you or the covered dependent identifies the medical benefits the Plan
provided or purports to allocate any portion of such settlement or judgment to payment of expenses
other than medical expenses. The Plan is entitled to recover from any and all settlements or judgments,
even those designated as pain and suffering, non-economic damages and/ or general damages only.

You or the covered dependent will cooperate with the Plan and its agents, and will sign and deliver any
docmnents the Plan or its agents reasonably request to protect the Plan's right of reimbursement, provide
any relevant information and take such actions as the Plan or its agents reasonably request to assist the
Plan in making a full recovery of the amount of the overpayment described previously. You or the
covered dependent will not take any action that prejudices the Plan's right of reimbursement. The Plan
will be responsible for only those legal fees and expenses to which it agrees in writing. If the Plan must
institute legal action against you or the covered dependent to recover the overpayment, you or the
covered dependent will be liable for all costs of collection, including reasonable attorney's fees.



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When another party is, or may be considered, liable for your or the covered dependent's injury, sickness
or other condition (including insurance carriers who are so liable) for which the Plan has made an
overpayment as described above, the Plan is subrogated to all of the rights of you or the covered
dependent against any party liable for your or the covered dependent's injury or illness or for the
payment for the medical treatment of such injury or occupational illness (including any insurance
carrier), to the extent of the overpayment. The Plan may assert this right independently of you or the
covered dependent.

You or the covered dependent are obligated to cooperate with the Plan and its agents in order to protect
the Plan's subrogation rights. Cooperation means providing the Plan or its agents with any relevant
information requested by them, signing and de1ivering such docun1ents as the Plan or its agents
reasonably request to secure the Plan's subrogation clain1 and obtaining the consent of the Plan or its
agents before releasing any party from liability for payment of medical expenses.

I/you or the covered dependent enters into litigation or settlement negotiations regarding the obligations of other
parties, you or the covered dependent must not prejudice, in any way, the subrogation rights of the Plan under this
section,

WHEN COVERAGE ENDS
Your Coverage
Coverage under the IBM Plan's medical, dental and vision options ends in the month you separate as follows:
    •     If you are enrolled in a fully insured option (i.e., HMO), active coverage usually ends on the last
          day of the month in which you separate.
    •     If you are enrolled in a self-insured option (i.e., IBM PPO, IBM PPO Plus, etc.) active coverage
          will end on the 15"' of the month in which you separate if the separation date is between the 1st
          and the 15 th of the month. If you separate after the 15 th of the month, coverage will end on the last
          day of the month.

The above will apply when any of the following occurs:
    •     Your regular IBM employment tern1inates.
    •     Your retiree supplemental or long-term supplemental IBM employment terminates.
    •     You begin an approved leave of absence without benefits.
    •     You retire (see About Your Benefits: Post Employment on w3 under "Legal Notices" for information
          about the benefits you may be eligible to receive).

When you begin Long Term Disability benefits (see About Your Benefits: Post Emplm;ment on w3 under
"Legal Notices" for information about the benefits you may be eligible to receive), your coverage will end
on the last day of the month in which your status is updated to Long Term Disability.

In the event of the employee's death:
    •     If there are no surviving dependents enrolled in the plans, coverage will end on the date of death.
    •     If there are surviving dependents enrolled in the plans, coverage remains in effect until the end of
          the month in which the employee died if the employee was enrolled in a fully insured option. If
          the employee was enrolled in a self-insured option, coverage will end on the 15th of the month if
          the date of death is between the 1st and 15th of the month. If the date of death is after the 15th of
          the month, coverage will end on the last day of the month.
    11    If there are surviving dependents enrolled in an HMO, coverage in these options will cease at the
          end of the month in which the employee died.



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Please note that expenses incurred after the time coverage ceases are not eligible for benefits.

Your Dependents' Coverage
Your dependents' coverage will end on the last day of the payroll period, as described above, in which
your active coverage terminates for any reason. In the event of your death, your surviving dependents
may elect to continue coverage through the Transitional Medical Program.

In all other circumstances, your dependents' coverage will terminate at the end of the month for any of
the following reasons:
    ■    Your spouse loses eligibility for coverage as a result of divorce.
    •    The dissolution of your domestic partnership.
    •    Your dependent children lose eligibility for coverage as a result of their ceasing to meet any one
         of the criteria of eligible dependent below as a result of:
             Reaching age 26.
             No longer meeting disability requirements.
             Any other reason for which they cease to meet the eligibility criteria.


COBRA Benefits through the Transitional Medical Program (TMP)
There are alternatives available to you, your spouse/ domestic parh1er or your eligible family members
for continuing coverage after eligibility ends under the IBM Plans. To continue coverage under any of the
Plans for which you're eligible, you have the option to purchase continuation coverage for a lin1ited time
(generally up to 18 months or up to 36 months depending on the event that caused termination of
benefits) at group rates through the Transitional Medical Program (TMP). For complete details about
continuing coverage through the TMP, see "Transitional Medical Program (TMP)" later in this section.
Please note the terms TMP and COBRA are used interchangeably throughout this section.

Converting Your Coverage
There is no conversion privilege under the IBM PPO, IBM PPO Plus, IBM Exclusive Provider
Organization, IBM PPO with HSA, or IBM Enhanced PPO with HSA. TMP is the only option to continue
coverage when your coverage under any of these options ceases.

If you have been receiving your medical and/ or dental coverage through an HMO, you can request
further information on conversion privileges directly from the HMO.

TRANSITIONAL MEDICAL PROGRAM (TMP)
To continue coverage under the Plan, you have the option to purchase continuation coverage for a limited
time (generally up to 18 months or up to 36 months depending on the event that caused termination of
benefits) at group rates through the Transitional Medical Program (TMP). TMP satisfies the requirements
of federal legislation entitled the Consolidated Omnibus Budget Reconciliation Act o/1985, or COBRA, and
follows the mandates established by this law. COBRA continuation coverage is a temporary continuation
of health care coverage when coverage would end because of a life event, known as a" qualifying event."

Qualified Beneficiaries
COBRA continuation coverage must be offered to each" qualified beneficiary." A qualified beneficiary is
any individual who, on the day before the qualifying event, is covered under the IBM group health plans
because he or she is a covered employee or dependent of a covered employee. You, your spouse and your
dependent children could become qualified beneficiaries if coverage under the IBM group health plans is
lost because of a qualifying event. Each qualified beneficiary has an independent right to elect COBRA




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continuation coverage. Qualified beneficiaries also include any children born to you or placed for
adoption with you during the COBRA continuation coverage period.

You are qualified to purchase TMP if you lose coverage under the IBM group health plans for any of the
following reasons:
    •    You are an employee participating in the plans and
             Your employment terminates (including retirement) other than for gross misconduct, or
             You begin an approved leave of absence without health care benefits or
             Your en-1.ployment status changes to part-time or non-regular and no health care benefits are
             provided.
    •    Your dependents are qualified to purchase TMP if they lose coverage under the IBM group
         health plans for any of the following reasons
             Your employment status ends or changes as described above
             You and your spouse divorce
             You die while participating in the Plans as an employee and your spouse/ dependents are not
             eligible for continuous health care benefits
             Your child loses eligible dependent child status or
             You become entitled to Medicare and opt out of the IBM group health plans.

Dmnestic Partners
Although not legally required to do so, IBM has decided to make continuation coverage available for
purchase by a forn1er domestic partner. The san1e rules (for example, the rules regarding notification of
qualifying events and election of continuation coverage) apply as for a spouse.

If you are covered by the San Francisco Equal Benefits Ordinance, see section titled San Francisco, CA,
Equal Benefits Ordinance (EBO) for more information on continuation coverage.

When Continuation Coverage Is Available
The IBM health plans offer continuation coverage to qualified beneficiaries through TMP only after the
COBRA administrator has been notified that a qualifying event has occurred.

Notification of Qualifying Events
When the qualifying event is the termination of employment, the employment status changes described
previously or the employee's death, the employer must notifi; the COBRA administrator of the qualifying
event.

The employee, qualified beneficiary or the employee's or qualified beneficiary's representative must
notify the COBRA administrator when the qualifying event is:
    •    Divorce of the covered employee and his or her spouse.
    •    Dependent child losing eligible-dependent child status.
    •    A second qualifying event after a qualified beneficiary has become entitled to COBRA
         continuation coverage through TMP. For example, you terminate employment (other than for
         gross n1isconduct). You, your spouse and dependents elect continuation coverage through TMP
         for a maximum period of 18 months. During the continuation coverage period, you die. Your
         spouse and dependents have experienced a second qualifying event (your death) and may elect
         to receive a maxin1um of 36 months of COBRA continuation coverage.




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    111     Determination of a qualified beneficiary's (who is entitled to receive a maxilnum of 18 months of
            COBRA continuation coverage) disability by the Social Security Administration during the first
            sixty (60) days of COBRA continuation coverage.
    •       Determination by the Social Security Administration that a qualified beneficiary is no longer
            disabled.

The employee, qualified beneficiary, or representative should notify the COBRA administrator of the
qualifying event by calling the IBM Benefits Center - Provided by Fidelity.

Timing of Notification of a Qualifying Event
With respect to divorce, a child losing eligible dependent child status and the occurrence of a second
qualifying event, the employee, qualified beneficiary or representative must notify the COBRA
administrator within 60 days from the later of:
    •      The date of the qualifying event, or
    •      The date fhat the qualified beneficiary loses (or would Jose) coverage as a result of the qualifying
            event.


If notification of the qualifying event is not provided within the time period set out above, the individual
affected will lose his or her right to COBRA continuation coverage. The individual affected will not be able
to enroll in TMP and will be responsible for all health care expenses incurred after medical coverage ends.

With respect to a disability determination, the qualified beneficiary must provide notification of the
disability determination wifhin 60 days after the latest of:
    •      The date of the Social Security Administration disability determination;
    ■      The date on which the qualifying event occurs; or
    •      The date on which the qualified beneficiary loses (or would lose) coverage due to the qualifying
           event.

The qualified beneficiary must provide notification to the COBRA administrator of the disability
determination before the end of fhe initial 18 months of COBRA coverage.

If an individual received a Social Security Adn1inistration disability detern1ination before his or her
qualifying event, and he or she has not received a subsequent Social Security Administration
determination that he or she is no longer disabled, then he or she has 60 days from the date of the
qualifying event to provide notice of disability.

With respect to a determination by the Social Security Administration that a qualified beneficiary is no
longer disabled, notification must be provided within 30 days after fhe date of the Social Security
Administration's final determination that a qualified beneficiary is no longer disabled.

Summary of Notification Rules


  Qualifying Event                                  Contact the COBRA Administrator Within 60 Days

        Divorce                                     You, your qualified beneficiary or representative must notify the COBRA
                                                    Administrator within 60 days of the later of:
        A child losing eligible dependent child
        status                                        The date of the qualifying event or
        The occurrence of second qualifying event     The date that the qualified beneficiary loses (or would lose) coverage as a
                                                      result of the qualifying event.




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  Qualifying Event                             Contact the COBRA Administrator Within 60 Days

  •       Disability determination             The qualified beneficiary must notify the COBRA Administrator of the disability
                                               determination within 60 days of:
                                                  The date of the Social Security Administration disability determination
                                                  The date on which the qualifying event occurs or
                                                  The date on which the qualified beneficiary loses (or would lose) coverage
                                                  due to the qualifying event



How to Elect COBRA Continuation Coverage
The time for enrolling in COBRA continuation coverage expires 60 days after the dale of the official TMP
notification from the IBM Benefits Center or 60 days after the individual's IBM coverage ceases,
whichever is later.

To enroll in COBRA continuation coverage, log in lo NetBenefits or call the IBM Benefits Center -
Provided by Fidelity.

If COBRA continuation coverage is not elected within the time period set out above, the individual affected
will lose his or her right to COBRA continuation coverage. The individual affected will not be able to enroll
in TMP and will be responsible for all health care expenses incurred after medical coverage ends.

No physical examination or other evidence of insurability is required to enroll in TMP.

How TMP Continuation Coverage Is Offered
After the COBRA administrator receives notice that a qualifying event has occurred, TMP continuation
coverage is offered lo each qualified beneficiary. The COBRA administrator provides a COBRA
enrollment notice by mail within 14 days after receiving notice of the qualifying event and each qualified
beneficiary has an independent right to elect TMP continuation coverage.

Covered employees may elect TMP continuation coverage on behalf of their spouses and parents may
elect TMP continuation coverage on behalf of their children. It is critical that you (or anyone who may
become a qualified beneficiary) maintain a current address with the COBRA administrator to ensure that
you receive a COBRA enrollment notice following a qualifying event and to protect your family's rights.

Duration of TMP Continuation Coverage
TMP continuation coverage is a te1nporary continuation of coverage. It lasts for up to a total of 36 months
when the qualifying event is:
      •       The death of the employee.
      •       The divorce of the covered employee and his or her spouse.
      •       A dependent child losing eligible dependent child status.
      •       The employee's entitlement to Medicare benefits.

When the qualifying event is the termination of employment or an employment status change (such as a
reduction of the employee's hours of employment), COBRA continuation coverage generally lasts for up
to a total of 18 months. This 18-month period of COBRA continuation coverage can be extended under
certain circumstances, as explained in the next section.

Disability Extension o/18-Month Period of Continuation Coverage
If a qualified beneficiary covered under the IBM health plan(s) is determined by the Social Security
Administration to be disabled and you notify the COBRA administrator in a timely manner as described



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previously, then you and all other qualified beneficiaries may be entitled to receive up to an additional 11
months of COBRA continuation coverage, up to a maximum of 29 months of coverage. In order for this
disability extension to apply, all of the following conditions must be met:
    •    Your COBRA qualifying event was a termination of en1ployment or reduction in hours of
         employment.
    •    The disability started at some time before the 60th day of COBRA continuation coverage and lasts
         at least until the end of the 18-month period of continuation coverage.
    •    A copy of the Notice of Award from the Social Security Administration is provided to the
         COBRA administrator within 60 days of receipt of the notice and before the end of the initial 18
         months of COBRA coverage.
    •    An increased premium of up to 150% of the monthly cost of coverage is paid, beginning with the
         19th month of coverage.

Second Qualifying Event Extension of 18-Month Period of Continuation Coi,erage
If another qualifying event occurs during the first 18 months of COBRA continuation coverage, your
spouse and dependent children can receive up to 18 additional months of COBRA continuation coverage,
up to a maximum of 36 months, if notice of the second qualifying event is properly provided. You, your
spouse and/ or your dependent children must notify the IBM Benefits Center - Provided by Fidelity
within 60 days of the date of the second qualifying event.

This extension may be available to your spouse and any dependent children receiving continuation
coverage if you die, get divorced, become entitled to Medicare or if your dependent child loses eligible
dependent child status, but only if the event would have caused your spouse or dependent child to lose
coverage under the Plan had the first qualifying event not occurred.

COBRA Qualifying Events


   Qualifying Event                                   Maximum Continuation Period

                                                      You                        Your Spouse                Your Covered Children

   You lose coverage because of an                    18 months                  18 months                  18 months
   employment status change (reduced work
   hours) or taking an approved leave
   You terminate employment for any reason            18 months                  18 months                  18 months
   (except gross misconduct)
   You become entitled to Medicare                    N/A                        36 months                  36 months

   You or your dependent is disabled - as             29 months                  29 months                  29 months
   defined by the Social Security Act - at the        (initial 18 months, plus   (initial 18 months, plus   (initial 18 months, plus
   time of the qualifying event or during the first   additional 11 months)      additional 11 months)      additional 11 months)
   60 days of COBRA continuation coverage
   Your covered child loses eligible dependent        N/A                        N/A                        36 months
   child status
   You die                                            N/A                        36 months                  36 months

   You and your spouse divorce                        NIA                        36 months                  36 months


If a covered employee becomes entitled to Medicare, and within 18 months of becoming entitled to
Medicare, he or she becon1es entitled to COBRA continuation coverage due to termination of
employment (other than for gross misconduct) or reduction in work hours, coverage for the covered
employee's dependents may be continued for up to 36 months from the date the covered employee
became entitled to Medicare.




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If you are eligible for Trade Act Assistance ("TAA'') or alternative Trade Act Assistance(" AT AA") and
did not elect COBRA continuation coverage during the COBRA election period that applied to your loss
of health care coverage due to your separation from employment, then you may have an additional
COBRA election period. You may elect COBRA continuation coverage during the 60-day period that
starts on the first day of the month that you become a T AA- or ATAA-eligible individual. Your election
for COBRA continuation coverage must not be made later than six (6) months after the date of the
TAA/ AT AA-related loss of coverage (the date that you lost health care coverage due to your separation
from employment that gives rise to you being a TAA- or ATAA-eligible individual).

What COBRA Coverage Costs
COBRA participants who elect TMP coverage must pay monthly premiums for this coverage. The cost of
COBRA continuation coverage is 102 % of the applicable premium for the plan(s) for the current plan
year. Premiums are based on the full premium cost per covered person set at the beginning of the year,
plus 2 % for administrative costs.

Payment is due at enrollment, but there is a 45-day grace period from the date you elect COBRA
continuation coverage to 1nake the initial payn1ent. The initial payment includes:
    •      Payments for coverage from the date of your loss of coverage through to the date you elect
           COBRA coverage and
    •      Any regularly scheduled monthly payment(s) that become(s) due between the date that you
           elected COBRA coverage and the end of the 45-day period.

Ongoing monthly payments are due on the first of each month, but there is a 30-day grace period (for
example, June payment is due June 1st, but will be accepted if postmarked by June 30"'). If payment is not
received within this grace period, coverage will be terminated as of the end of the last month in which
full payment was received.

The Trade Act of 2002 created a tax credit for certain individuals who become eligible for trade
adjustment assistance and for certain retired employees who are receiving pension pay1nents frmn the
Pension Benefit Guaranty Corporation (PBGC) (eligible individuals). Under the new tax provisions,
eligible individuals can either take a tax credit or get advance payment of 65% of premiums paid for
qualified health insurance, including continuation coverage. If you have questions about these new tax
provisions, you may call the Health Coverage Tax Credit Customer Contact Center toll free at 866-628-
4282. TID/TIY callers may call toll free at 866-626-4282. More information about the Trade Act is also
available atwww.doleta.gov/ tradeact/2002act index.asp.

Additional Information
If you or your dependent elects COBRA continuation coverage, it is effective as of the date of the
qualifying event, unless you waive COBRA coverage and then revoke the waiver within the 60-day
election period. In this case, your elected coverage begins on the date you revoke your waiver of the
qualifying event.

You or your dependent may change your coverage:
    111    During your benefits renewal period.
    •      If you have a qualified change in status or another change in circu1nstance recognized by the
           Internal Revenue Service (IRS) and IBM.
    •      You may enroll any newly-eligible spouse or child under plan rules.




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When COBRA Coverage Ends
COBRA continuation coverage will end on the earliest of the following dates:
    •    The date the applicable period of COBRA continuation coverage is exhausted.
    •    The date that you, your spouse or any of your covered dependents (including any domestic
         partner or children of a domestic partner) become covered under another health benefits plan not
         offered by IBM, provided the plan does not have a legally valid pre-existing condition exclusion
         or limitation affecting the qualified beneficiary. If it does, COBRA coverage for that pre-existing
         condition continues as long as you pay the premium.
    •    The date IBM stops providing group health coverage to any employee.

If a qualified beneficiary becomes entitled to Medicare after the date that COBRA continuation coverage
is elected for him or her, then the qualified beneficiary's COBRA continuation coverage may be
terminated on the date of his or her Medicare entitlement.

Continuation coverage also may be terminated for any reason that the IBM health plan(s) would
terminate coverage of a participant or beneficiary not receiving continuation coverage (such as fraud).

To voluntarily terminate COBRA coverage, you must call the IBM Benefits Center - Provided by Fidelity.
The effective date will be the first of the month following the call.

If You Have Questions
If you have questions about COBRA, please call the IBM Benefits Center - Provided by Fidelity.

You may also write to:

    IBM Benefits Center
    COBRA/TMP Administration
    P.O. Box 77003
    Cincinnati, OH 45277-0065

For more information about your rights under the Employee Retirement Income Security Act of 1974
(ERISA), including COBRA, the Health Insurance Portability and Accountability Act of 1996 (HIP AA)
and other laws affecting group health plans, contact the nearest Regional or District Office of the U.S.
Department of Labor's Employee Benefits Security Administration (EBSA) in your area or visit the EBSA
web site atwww.doJ.gov/ebsa. Addresses and telephone numbers of Regional and District EBSA Offices
are available through EBSA' s web site.

SURVIVOR BENEFITS
Normally, when an eligible regular employee dies (regardless of whether active or inactive), eligibility for
health care coverage under the IBM Plans can continue for the surviving spouse/ eligible surviving
domestic parh1er and the decedent's eligible children under the Transitional Medical Program (TMP). For
one year from the date of death, contributions will continue at the active rate and IBM will subsidize the
remaining portion of the cost. Continuation of benefits is available at full TMP rates thereafter for the
remainder of the TMP period.

However, if the employee, on the date of his or her death, either (1) was age 55 or older and had 15 or
more years of service, or (2) had 30 or 1nore years of service regardless of age, and was within five years of
meeting either of these criteria as of June 30, 1999, eligibility for coverage will continue instead under the
prior IBM retiree medical program (see About Your Benefits: Post Employment on w3 under "Legal
Notices").



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In such cases, eligibility continues for:
    •    The surviving eligible spouse as determined by the terms of the Plan in effect at the time of death,
         and as may be modified thereafter.
    •    The surviving eligible domestic partner, provided a valid affidavit (or other comparable state
         certificate that legalizes your relationship) is in effect, as determined by the terms of the Plan in
         effect at the time of death and as may be modified thereafter.
    •    The decedent's eligible children for as long as they would have been eligible if the employee had
         not died, as determined by the terms of the Plan in effect at the time of death, and as may be
         modified thereafter.

If you are eligible for coverage under the Future Health Account, please refer to the summary plan
descriptions About Your Benefits: Future Health Account and About your Benefits: Post Employment on w3
under "Legal Notices."




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                                                                                     IBM MEDICAL COVERAGE



IBM Medical Coverage

ABOUT YOUR MEDICAL COVERAGE
IBM offers eligible employees, and their eligible family members, medical coverage through the IBM
Medical and Dental Benefits Plan for Regular Full-time and Regular Part-time Employees. The IBM
medical options provide con1prehensive coverage for preventive care, medical care, hospitalizations and
emergency care. What differs is how you access that care and the out-of-pocket cost you pay for covered
services.

All of your IBM medical options provide coverage for:
    •    Eligible medical services - including 100% in-network coverage for eligible preventive care and
         100% in-network coverage for prilnary care. Out-of-network services are generally not covered
            (see "Out-of-Network Medical Coverage" for details).
    •    Telemedicine services .
    •    Prescription drugs when purchased through CVS Caremark (mail order or retail) or through a
         pharmacy in the CVS Caremark network.
    •    Mental health/ substance use care (out-of-network non-urgent residential and day rehabilitation
         services that are out of state or the immediate bordering state are generally not covered).
    •    Care coordination, condition managen1ent and decision support.

Note: No pre-existing condition exclusion applies to coverage under auy of the IBM Plan medical options.
EligibilihJ of medical charges does uot depend on whether the medical condition began before or after the employee
started to participate in the Plan.

YOUR MEDICAL COVERAGE OPTIONS
IBM PPO and IBM PPO Plus
The IBM PPO and IBM PPO Plus options provide in-network coverage for preventive and routine care,
medical, surgical and hospitalization expenses. There is no primary care physician (PCP) requirement,
and you may see any in-network provider you choose without a referral. Generally, out-of-network
coverage is not available (see "Out-of-Network Medical Coverage" for more details). If you choose to use
an out-of-network provider for services under the IBM Plan (other than those detailed under "Out-of-
Network Medical Coverage"), you must pay the full cost of the services you receive.

The IBM PPO and IBM PPO Plus options also include coverage for prescription drugs under the IBM
Managed Pharmacy Program and mental health/ substance use services under the IBM Managed Mental
Health Care Program. Generally, if your medical provider/ facility provides a medication as part of an
office visit, inpatient stay or outpatient procedure, this medication is covered under the medical benefit,
subject to the medical plan's cost-sharing provisions.

IBM Exclusive Provider Organization (EPO)
The IBM EPO option provides coverage for preventive and routine care, medical, surgical and
hospitalization expenses. The IBM EPO is an "in-network" only option, which means benefits are payable
only if participants seek care exclusively from eligible doctors, hospitals and other providers that belong
to the health plan's provider network There is no coverage for services received outside the network
except in en1ergencies. There is no primary care physician (PCP) requirement and you may see any
network provider you choose without a referral. There is a s1nall deductible, and there are fixed
copayn1ents for emergency romn visits and inpatient admissions for surgery or rehabilitation.




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                                                                                     IBM MEDICAL COVERAGE


The IBM EPO option also includes coverage for prescription drugs and mental health/ substance use
services under the IBM Managed Pharmacy Program and IBM Managed Mental Health Care Program. If
your medical provider/ facility provides a medication as part of an office visit, inpatient stay or
outpatient procedure, this medication is covered under the medical benefit, subject to the medical plan's
cost-sharing provisions. Note that mental health/ substance use services coverage is different under the
IBM EPO than the IBM PPO, IBM PPO Plus, IBM PPO with HSA and IBM Enhanced PPO with HSA
options. Please review the applicable sections carefully.

IBM PPO with HSA and IBM Enhanced PPO with HSA
The IBM PPO with HSA and IBM Enhanced PPO with HSA options provide in-network coverage for
preventive and routine care, medical, surgical and hospitalization expenses and prescription drugs. There
is no primary care physician (PCP) requirement, and you may see any eligible provider you choose
without a referral. You must meet the deductible before the Plan will provide medical, mental
health/ substance use or pharmacy benefits. Please note that the deductible works differently with this
plan option when more than one person is enrolled. The family deductible must be met before any family
member is eligible to receive a benefit. Generally, out-of-network coverage is not available (see "Out-of-
Network Medical Coverage" for more details). If you choose to use a provider who does not participate
in the network (other than for services detailed under "Out-of-Network Medical Coverage"), you must
pay the full cost of the services you receive.

The IBM PPO with HSA and IBM Enhanced PPO with HSA also include in-network coverage for
prescription drugs under the IBM Managed Pharmacy Program and mental health/ substance use
services under the IBM Managed Mental Health Care Program, both of which are subject to the annual
deductible. If your medical provider/facility provides a medication as part of an office visit, inpatient stay
or outpatient procedure, this n1edication is covered under the n1edical benefit, subject to the medical
plan's cost-sharing provisions. You pay 100% of the cost for all services and prescription drugs until you
satisfy the annual deductible. If more than one person is enrolled, the entire family deductible must be
met before anyone is eligible to receive a benefit Preventive drugs are not subject to the deductible when
the plan option has a Health Savings Account (HSA).

Health Savings Account (HSA)
The IBM PPO with HSA and IBM Enhanced PPO with HSA options also allow you to contribute to a tax-
advantaged Health Savings Account (HSA). The HSA is not part of the IBM Plan. The HSA provides a
savings 1nechanism for both current and future health care needs, as unused contributions accumulate
over tin1e and can be used for future 1nedical expenses. The HSA is your personal account and unused
balances re1naining at the end of the plan year remain in your account. You own your HSA and you take
it with you when you leave IBM or retire.

Note: In order to make HSA contributions, you may not have other health coverage. For this purpose, "other health
coverage" generally includes medical plans, flexible spending accounts (such as the IBM Health Care Spending
Account), healthcare reimbursement arrangements, Medicaid and Medicare coverage. Other health coverage also
includes coverage provided to you through your spouse's plan. For example, you would have impermissible other
coverage (and you would not be eligible to contribnte to an HSA) if your spou5e enrolls in family coverage in a
medical plan that is not a qualifiling HDHP (unless your spouse's plan does not cover you); or your spouse enrolls
in a general purpose flexible spending account that may be used to reimburse your expenses.

Health Maintenance Organization (HMO)
An HMO is a managed care option. You generally use the HMO' s providers for all of your care, and
typically pay a flat-dollar copayment or fee for each service. Generally, care is coordinated through a
primary care physician who refers you to a specialist or hospital as needed. Depending on the geographic
area in which you live, you may have the choice of enrolling in an HMO for the plan year. Each year,
before the annual enrollment period, eligible employees will receive a list of HM Os offered through IBM



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                                                                                IBM MEDICAL COVERAGE


and available in their area. Employees should contact the HMO's membership services department for
detailed information on specific HMO benefits.

IBM's dependent eligibility guidelines pertain to all benefit options under the IBM Plan, including
HMOs, and are not subject to any state laws mandating coverage for anyone not included in IBM's list of
eligible dependents. (Not all HMOs offer coverage to domestic partners. Please refer to the Spouse and
Domestic Partner Infonnatian Guide available on NetBenefits, w3 and through the IBM Benefits Center -
Provided by Fidelity for information about which HM Os offer coverage to domestic partners.)

Most HMOs offered through IBM are fully-insured by the insurance company that maintains the HMO
network. When you join a fully-insured HMO, you are electing an alternative to IBM medical coverage
and you are agreeing to obtain your coverage from that organization, not from an IBM Plan option.
Claims disputes and appeals are handled by the HMO. If you enroll in an HMO, you will receive a
summary plan description (which may be referred to as a Group Service Agreement or Certificate of
Coverage) directly from the HMO. If you don't receive one, contact the HMO to request a copy.

IBM Global Assignee Medical Plan
If you are a U.S. employee on international assigrunent under the Global Mobility Framework or a U.S.
employee who is a 100% Travel Auditor, your coverage under this plan will end, and you will
automatically be enrolled in the IBM Global Assignee Medical Plan effective on either the 1'1 or 16 th of the
month (whichever comes first) after your status change is updated at the IBM Benefits Center. Your
enrollment in the IBM Global Assignee Medical Plan enables your eligibility for this plan option. Your
coverage for medical, dental, vision, pharmacy and mental health {including repatriation services and
International EAP) through Cigna Global Health Benefits covers claims both inside and outside the
United States.

Upon becoming eligible for the IBM Global Assignee Medical Plan, employees should contact Cigna
Global Health Benefits directly for detailed information on their specific benefits. U.S. outbound
employees must contact the IBM Benefits Center to enroll approved family members into the IBM Global
Assignee Medical Plan. This Plan is fully-insured by Cigna Global Health Benefits, and when you are
enrolled in this Plan, you receive an alternative to IBM medical coverage and are agreeing to obtain your
coverage through Cigna Global Health Benefits, not from an IBM Plan option. You will be able to access a
summary plan description (referred to as the Certificate of Coverage) directly from CignaEnvoy.com, the
Cigna Global Health Benefits Portal. Dependent eligibility guidelines and benefit plan provisions for the
IBM Global Assignee Medical Plan are subject to state laws in Delaware as described in the Cigna Global
Health Benefits Certificate of Coverage. Employees will no longer be eligible for the IBM Global Assignee
Medical Plan after the last day of the month following their return to US Payroll. At this point U.S.
outbound employees returning to the U.S. will become eligible for the IBM Medical Plan options
available in their market area. Note: The Global Assignee Medical Plan does not qualifiJ as a high deductible
health plan and you cannot conh·ibute to a Health Savings Account (HSA) while enrolled in the Global Assignee
Medical Plan.

No Coverage
If you have medical coverage elsewhere (for example, under your spouse's plan), you can elect "No
Coverage" for the plan year and pay no monthly contribution. If you elect this option, you will be
required to confirm that you have other coverage when you enroll and you will not be able to request
coverage from IBM once the plan year starts unless you lose the coverage you had elsewhere as a result of
a qualified status change.




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Telemedicine
Telemedicine is a virtual visit with a doctor or healthcare professional, done at your convenience from
your home, work or while traveling. This program is available to participants of Anthenl, Aetna and
United HealthCare, using their telemedicine services.

Each health plan administrator administers the service differently. Please contact your health plan
administrator to review your benefit:
    •    With most plans there are no out-of-pocket fees for active employees and their dependents. If you
         are enrolled in the IBM PPO with HSA or IBM Enhanced PPO with HSA you will have to meet
         your deductible first.
    •    Based on varying state regulations around telemedicine, it is not available in all states. Your
         carrier can infonn you whether you live in a state where the program is available.

For details and to create your personal account please visit your health care adn1inistrator's site.

IBM Managed Mental Health Care Program
Depending on the IBM medical option you elect, you may receive automatic coverage under the IBM
Managed Mental Health Care Program (MMHC). The MMHC Program helps identify appropriate
treatment for mental health and substance use disorder services and provides coverage for in-patient and
out-patient treatment.

IBM Managed Pharmacy Program
If you are enrolled in the IBM PPO, IBM PPO Plus, IBM EPO, IBM PPO with HSA or IBM Enhanced PPO
with HSA, you will receive automatic coverage under the IBM Managed Pharmacy Program. The IBM
Managed Pharmacy Program provides competitive pricing on prescription drugs through a network of
participating pharmacies and mail order services. Participants in fully-insured HMOs are not eligible to
participate in this program but are eligible for prescription drug benefits under their HMO medical plan
option.

Care Management Program
The Care Management Program gives you, and your covered family members, easy access to resources
and support when you need 1nedical care. The program offers assistance in two ways.
    •    Care Coordination Se1Vices, provided by your health plan. If you require treatment for a significant
         medical condition, serious illness or injury a registered nurse, called a Care Coordinator,
         specifically assigned to you and your family, can help you:
             Learn more about your illness, n1edical condition or injury and understand your treatment
             options.
             Prepare for a healthy pregnancy.
             Help you prepare for doctor visits to facilitate more productive discussions about your care.
             Provide discharge planning for your care after a hospital stay.
             Precertify all inpatient admissions, including inpatient hospitals, inpatient skilled nursing
             facilities, inpatient rehabilitation centers, etc.
    •    Chronic Condition Management Program, provided by your health plan and Optum* (Depression
         Condition Management Only). If you are undergoing treatment for asthma, congestive heart
         failure, coronary artery disease, depression, musculoskeletal pain or diabetes, a personal Care
         Manager from your health plan or Optum can help you:
             Learn about your condition and develop ways to manage it.
             Understand your treatn1ent options.


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                Get the most out of visits with your doctor and other health care providers.
                Attain your personal health goals.
     If you are enrolled in an HMO condition management services are provided by your health plan.


Centers of Excellence
Depending on the IBM medical option you elect, as well as your regional medical plan administrator, you may have access to expert
case management programs for orthopedic services, bariatric surgery, infertility services and transplants. If you will be receiving any
of these services, call your regional health plan to speak to an expert case management nurse and discuss your options. The nurse
wlll direct you to a Center of Excellence (COE), a medical facility recognized for delivering a best-in-class member experience, with
more successful health outcomes. In most cases, you must use a COE facility or your benefit will be lower or you may have
not coverage, even if the facility is an in~network facility.


IBM MEDICAL OPTIONS AT-A GLANCE
The following charts provide an overview of the key features of the IBM medical options and what you
pay for covered services. If you obtain care out-of-network, you generally must pay the full cost of any
services you receive. (See "Out-of-Network Medical Coverage" for more details.) Information about the
HMOs available to IBM employees in certain geographic areas can be obtained directly from the HMO.

                                       IBM PPO (In-Network)                IBM PPO Plus (In-Network)           IBM EPO (In-Network
--                                                     -   -    -      -   -          - ---   -    -   -   -   Benefits Only~ - --         -

 Service
 Medical (You Pay)
 Annual Deductible                     $1,600 Individual/ $4,700           $500 Individual/ $1,500             $250 Individual/ $750
                                       Family 1                            Family 1                            Famlly 1
 Annual Out-Of-Pocket Maximum          $7,500 Individual/ $15,000          $7,500 Individual/ $15,000          $7,500 Individual/ $15,000
                                       Family                              Family                              Family
 Routine Preventive Care                0%, no deductible 1                0%, no deductible 1                 0%, no deductible 1
 Primary Care Physician                 0%, no deductible for office       0%, no deductible for office        0%, no deductible for
                                        visits                             visits                              office visits
 Urgent Care                            25%, after deductible              25%, after deductible               25%, after deductible
 Maternity Care                         0%, no deductible,                 0%, no deductible,                  0%, no deductible, pre-
                                        pre/post-natal visits              pre/post-natal visits               natal visits
 Infertility Services                   COE or if gap exception            COE or if gap exception             COE: 25% SCP, after
                                        granted: 25% SCP, after            granted: 25% SCP, after             deductible
                                        deductible                         deductible
                                                                                                               Non-COE: No coverage
                                        Non-COE: 45%, after                Non-COE: 45%, after
                                        deductible                         deductible
 Specialty Care Physician/Other         25%, no deductible (office         25%, no deductible (office          25%, no deductible (office
 Provider                               visit)                             visit)                              visit)
                                        25%, after deductible (non-        25%, after deductible (non-         25%, after deductible
                                        office visit)                      office visit)                       (non-office visit)
 Labs                                   20%, no deductible                 20%, no deductible                  20%, no deductible
 X-ray                                  20%, after deductible              20%, after deductible               0%, after deductible
 High Cost Imaging - CAT                20%, after deductible;             20%, after deductible;              20%, after deductible;
 Scan/PET Scan/MRI                      precertification required          precertification required           precertification required
 Medical Supplies/Durable Medical       20%, after deductible              20%, after deductible               0%, after deductible
 Enuinment




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                                       IBM PPO {In-Network)              IBM PPO Plus (In-Network)        IBM EPO {In-Network
                                                                                                          Benefits Onl
 Inpatient Hospitalization              Facility charges: 20%, after     Facility charges: 20%, after      $1,200 copay, after
                                        deductible                       deductible                        deductible2
                                        Professional charges: 20%        Professional charges: 20%
                                        PCP, after deductible/25%        PCP, after deductible/25%
                                        SCP, after deductible            SCP, after deductible
 Bariatric Surgery - Inpatient          COE Facility Charge: 20%,        COE Facility Charge: 20%,         COE facility charge:
 (Contact Plan Administrator)           after deductible                 after deductible                  100% coverage after
                                                                                                           $1,200 hospital
                                        Non-COE Facility Charge:         Non-COE Facility Charge:
                                        45%, after deductible 2          45%, after deductible2
                                                                                                           copayment, after
                                                                                                           deductible
                                                                                                           Non-COE: no coverage
 Bariatric Surgery - Outpatient         COE Facility Charge: 20%,        COE Facility Charge: 20%,         COE Facility Charge:
 (Contact Plan Administrator)           after deductible                 after deductible                  25%, after deductible
                                        Professional Charge: No          Professional Charge: No           Professional Charge: No
                                        charge PCP/ 25% SCP,             charge PCP/ 25% SCP,              charge PCP, no
                                        after deductible                 after deductible                  deductible/ 25% SCP,
                                                                                                           after deductible
                                        Non COE Facility Charge:         Non COE Facility Charge:
                                        45%, after deductible 2          45%, after deductible2            Non-COE Facility
                                                                                                           Charge: no coverage
 Inpatient COE applicable               COE Facility Charge: 20%,        COE Facility Charge: 20%,         COE facility charge:
 Orthopedic Surgery (knee and hip       after deductible                 after deductible                  100% coverage after
 replacement, spinal fusion, etc.)                                                                         $1,200 hospital
 (Contact Plan Administrator)           Non-COE In-network               Non-COE In-network
                                                                                                           copayment, after
                                        Facility Charge: 30%, after      Facility Charge: 30%, after
                                                                                                           deductible
                                        deductible2                      deductible 2
                                                                                                           In-Network Non-COE:
                                                                                                           10% coinsurance after
                                                                                                           $1,200 copayment after
                                                                                                           deductible
 Outpatient COE applicable              COE Facility Charge: 20%,        COE Facility Charge: 20%,         COE Facility Charge:
 Orthopedic Surgery (knee and hip       after deductible                 after deductible                  25%, after deductible
 replacement, spinal fusion, etc.)
 (Contact Plan Administrator)           Professional Charge: No          Professional Charge: No           In-Network non-COE
                                        charge PCP/ 25% SCP,             charge PCP/ 25% SCP,              facility charge: 35%, after
                                        after deductible                 after deductible                  deductible
                                        Non COE Facility Charge:         Non COE Facility Charge:          Professional Charge: No
                                        30%, after deductible2           30%, after deductible2            charge PCP, no
                                                                                                           deductible/ 25% SCP,
                                                                                                           after deductible
 Transplants                            COE Facility Charge: 20%,        COE Facility Charge: 20%,        COE facility charge:
                                        after deductible Non-COE         after deductible Non-COE         100% coverage, after
                                        Facility Charge: 45%, after      Facility Charge: 45%, after      $1,200 hospital
                                        deductible                       deductible                       copayment, after
                                                                                                          deductible
                                                                                                           Non-COE: no coverage
 Outpatient Services (Surgical and     Facility charges: 20%, after      Facility charges: 20%, after     Facility fees: 25%, after
 Non-Surgical)*                        deductible                        deductible                       deductible
                                       Professional charges: No          Professional charges: No         Professional charges: No
                                       Charge PCP/25% SCP,               Charge PCP/25% SCP,              charge PCP/25% SCP,
                                       after deductible                  after deductible                 after deductible
 Emergency Room                        20%, after deductible             20%, after deductible            $220 copayment, after
                                       PLUS $150 copay (copay            PLUS $150 copay (copay           deductible, waived if
                                       waived if admitted)               waived if admitted)              admitted. 3
                                       Physician fees: 20% PCP,          Physician fees: 20% PCP,         If not admitted, an
                                       after deductible, 25% SCP,        after deductible, 25% SCP,       additional $150 payment,
                                       after deductible                  after deductible                 after deductible will apply.
 1Annual   deductible applies to medical and mental health/substance use services combined.
 2 Transplant,  bariatric, infertility and orthopedic services must be received at a Center of Excellence (COE) to receive the highest
 benefit level. Contact your Plan Administrator for more information.




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                                       IBM PPO (In-Network)             IBM PPO Plus (In-Network)       IBM EPO (In-Network
                                                                                                        Benefits Only)
 3Out-of-network emergency room visits for emergency care will be covered at in-network level of coverage, there is no out-of-

 network emergency room coverage for non-emergencies.
 *Out-of-Network claims incurred by members in an Out-of-Area (OOA) plan option and claims received from non US providers
 are paid based on billed rate.
 *All charges associated with surgical procedures performed in a physic!an's office are reimbursed at the physician's office visit
 coinsurance rate.



                                                    IBM PPO with HSA (In-Network)             IBM Enhanced PPO with HSA (In-
                                                                                              Network}
Service
Medical (You Pay)
Annual Deductible                                   $2,700 Individual/ $5,800 Family          $1,500 Individual/ $3,000 Family
                                                    In and Out of Network Combined            ln and Out of Network Combined
                                                    Includes MH/SU and RX 2                   Includes MH/SU and RX 2
Annual Out-Of-Pocket Maximum                        $6,650 Individual/ $13,300 Family         $6,650 Individual/ $13,300 Family
                                                    Includes MH/SU & Rx                       Includes MH/SU & Rx
                                                    Embedded OOP Max"                         Embedded OOP Max*
Routine Preventive Care                              0%, no deductible                         0%, no deductible
Primary Care Physician                               0%, after deductible for office visits    0%, after deductible for office visits
Urgent Care                                          25%, after deductible                     25%, after deductible

Maternity Care                                       0%, no deductible, pre/post-natal         0%, no deductible, pre/post-natal
                                                     visits                                    visits
Infertility Services                                 COE or with gap exception                 COE or with gap exception
                                                     Inpatient: 25%, after deductible          Inpatient: 25%, after deductible
                                                     Outpatient: 30%, after deductible         Outpatient: 30%, after deductible


                                                     Non-COE: 45%, after deductible            Non-COE: 45%, after deductible
 Specialty Care Physician/Other Provider             25%, after deductible including           25%, after deductible including
                                                     office visit, inpatient services and      office visit, inpatient services and
                                                     Urgent Care clinics                       Urgent Care clinics
                                                     30%, after deductible outpatient          30%, after deductible outpatient
                                                     services and surgery                      services and surgery
 Labs                                                Inpatient: 25%, after deductible          Inpatient: 25%, after deductible
                                                     All other: 30%, after deductible          All other: 30%, after deductible
X-ray                                                Inpatient: 25%, after deductible          Inpatient: 25%, after deductible
                                                     All other: 30%, after deductible          All other: 30%, after deductible
 High Cost Imaging - CAT Scan/PET Scan/MRI           30%, after deductible;                    30%, after deductible;
                                                     precertification required 1               precertification required 1
 Medical Supplies/Durable Medical Equipment          Inpatient: 25%, after deductible          Inpatient 25%, after deductible
                                                     Outpatient: 30%, after deductible         Outpatient: 30%, after deductible

 Inpatient Hospitalization                           25%, after deductible, including          25%, after deductible, including
                                                     professional charges                      professional charges
 Bariatric Surgery - Inpatient (Contact Plan         COE Facility Charge: 25%, after           COE Facility Charge: 25%, after
 Administrator)                                      deductible                                deductible
                                                     Professional Charges: No charge           Professional Charges: No charge
                                                     PCP, after deductible/25% SCP,            PCP, after deductible/25% SCP,
                                                     after deductible                          after deductible


                                                     Non-COE Facility Charge: 45%,             Non-COE Facility Charge: 45%,
                                                     after deductible                          after deductible




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                                                                                                  IBM MEDICAL COVERAGE


                                                     IBM PPO with HSA (In-Network)             IBM Enhanced PPO with HSA (In-
                                                                                               Network)
 Bariatric Surgery - Outpatient (Contact Plan        COE Facility Charge: 30%, after           COE Facility Charge: 30%, after
 Administrator)                                      deductible                                deductible
                                                      Professional Charge: No charge           Professional Charge: No charge
                                                      PCP/ 30% SCP, after deductible           PCP/ 30% SCP, after deductible
                                                      Non-COE Facility Charge: 45%,            Non-COE Facility Charge: 45%,
                                                      after deductible                         after deductible
 Inpatient COE applicable Orthopedic Surgery         COE Facility Charge: 25%, after           COE Facility Charge: 25%, after
 (knee and hip replacement, spinal fusion, etc.)     deductible                                deductible
 (Contact Plan Administrator)
                                                     Non-COE Facility Charge: 35%,             Non-COE Facility Charge: 35%,
                                                     after deductible                          after deductible
 Outpatient COE applicable Orthopedic Surgery        COE Facility Charge: 30%, after           COE Facility Charge: 30%, after
 (knee and hip replacement, spinal fusion, etc.)     deductible                                deductible
 (Contact Plan Administrator)
                                                     Professional Charge: No charge            Professional Charge: No charge
                                                     PCP / 30% SCP, after deductible           PCP/ 30% SCP, after deductible
                                                                                               Non COE Facility Charge: 40%,
                                                                                               after deductible
                                                     Non COE Facility Charge: 40%,
                                                     after deductible
 Transplants                                         COE Facility Charge                       COE Facility Charge
                                                     Inpatient: 25%, after deductible          Inpatient: 25%, after deductible
                                                     Outpatient 30%, after deductible          Outpatient: 30%, after deductible
 Outpatient Services (Surgical and Non-              Facility charges: 30%, after              Facility charges: 30%, after
 Surgical)"                                          deductible                                deductible
                                                     Professional charges: No charge           Professional charges: No charge
                                                     PCP, after deductible/30% SCP,            PCP, after deductible/30% SCP,
                                                     after deductible                          after deductible
 Emergency Room                                      30%, after deductible, PLUS $150          30%, after deductible, PLUS $150
                                                     copay (copay waived if admitted)          copay (copay waived if admitted)
                                                     Physician fees 30%, after                 Physician fees 30%, after
                                                     deductible                                deductible
  1
   Precertification is required for non-emergency high cost diagnostic services such as CT scans, MRls, PET scans, sleep
 studies, and cardiac studies for the IBM plan to pay a benefit.
 2
  Annual deductible applies to medical, mental health/substance use and prescription drug services combined. You must meet
 the annual deductible before the Plan will provide coverage for these services, except routine preventive care services and
 medications. If more than one individual is enrolled, all family members must meet the combined family deductible before the
 Plan will begin to provide coverage for non routine preventive care services and medication.
 *All charges associated with surgical procedures performed in a physician's office are reimbursed at the physician's office visit
 coinsurance rate.


IMPORTANT TERMS

      •    Annual Benefit Maximum: TI1e maximum dollar amount or number of treatments that a plan (not
           you) will cover in a calendar year. If your expenses exceed the maximun1, you will pay the rest.
           Different types of services may have individual annual maximums. There are separate annual
           benefit maximums for each covered family n1e1nber.
      •    Annual Deductible: The annual deductible is the amount you must pay each calendar year before
           the Plan begins to pay benefits for covered medical, mental health and substance use expenses for
           you or your covered family members. There are two types of annual deductibles: individual and
           family. If more than one person is enrolled the family deductible must be met before the Plan
           begins to provide coverage. The annual deductible is applied to the out-of-pocket maximum. The
           annual deductible for health plans with an HSA also includes non-preventive prescription drug
           expenses.




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   •    Annual Out-of-Pocket Maximum: The maximum amount you will pay for eligible medical, mental
        health/substance use and prescription drug expenses under your health plan in a calendar year.
        After you reach your out-of-pocket maximum, the plan pays 100% of your eligible expenses for
        the rest of the plan year. When the annual out-of-pocket maximum is reached, if the annual
        deductible is not satisfied, it will be deemed to be satisfied.
   •    Care Coordinator: Care Coordinators are Registered Nurses who perform care coordination/ care
        management services and have substantial clinical experience specializing in complex situations.
        They are supported by Board-Certified physicians and also have access to medical specialists so
        they can identify appropriate medical practices related specifically to your condition.
   •    Center of Excellence: A medical facility recognized for delivering a best-in-class member
        experience for specific conditions, with more successful health outcomes.
   •    Coinsurance: Coinsurance is the ainount of the medical, mental health or substance use expenses
        that you pay after you have met the annual deductible, expressed as a percentage of the
        provider's negotiated fee or actual charge. Coinsurance amounts count toward your out-of-
        pocket maxirnun1.
   •    Copayment: Copayment is the amount you pay for medical, mental health or substance use
        services or prescription drugs, expressed as a flat dollar amount.
   •    Discounted Fees: Negotiated fees charged by in-network providers for services .
   •    Formulan;: A list of preferred prescription drugs reviewed and approved for clinical effectiveness
        by an independent panel of doctors and pharmacists at the organization providing the
        prescription drug coverage. If your drug is on the formulary, the plan will pay a greater benefit
        than for a drug that is not on the formulary.
   •    Out-of-Network Provider: Sornetilnes referred to as a non-network provider or non-participating
        provider, these are doctors, hospitals, specialists, labs, retail pharmacies and other health care
        professionals or facilities that do not participate in your health plan's network. Generally, the
        Plan does not cover services provided by out-of-network providers.
   •    Out-of-Pocket Costs: The amount you pay with your own money for covered expenses. This
        includes deductibles, coinsurance and copayrnents.
   •    Preauthorization. Certain medical treatments need prior approval before the plan will cover them .
        This requirement is to ensure the treahnent is appropriate, effective and medically necessary for
        the condition or diagnosis. If you do not receive approval, you will be responsible for paying the
        full cost of the treatment. Contact the health plan administrator for details.
   •    Precertification: Advance notification required by the Plan for approval of services such as certain
        major diagnostic services, such as CT scans and MTAs, a scheduled inpatient hospital stay,
        inpatient surgery, bariatric surgery, organ transplant, hon1e health care, certain orthopedic
        surgeries, infertility treatment, extended care (skilled nursing facility) and rehabilitation facility
        admissions. For an inpatient admission following an emergency room visit, notification must be
        made to the health plan administrator within 48 hours of the admission.
   •    Predetermination of Benefits: Medical information (Current Procedural Terminology (CPT) codes;
        amount of charges; diagnosis; doctor's zip code and, if required, clinical documentation)
        submitted to the health plan for the purpose of determining eligibility of treatment ahead of time,
        as well as anticipated out-of-pocket expenses.
   •    Priman; Care Physician (PCP). A physician (MD or DO) who has a primary specialty designation
        of family medicine, internal medicine, geriatric medicine, pediatric medicine; or, physician
        assistant or nurse practitioner, who provides care in an outpatient setting that promotes on-going
        care such as an office, outpatient surgery, retail walk-in clinic, nursing facility or home. Physician
        assistants and nurse practitioners are considered PCPs as long as they are employed and
        supervised by a licensed physician and submit charges through a PCP.


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    •    Prior Authon·zation. Certain prescription drugs require your physician to obtain approval from the
         Pharmacy plan administrator to ensure the Plan will provide coverage for the specific medication
         for the patient. If you fail to obtain prior authorization, you will be responsible for the entire non-
         negotiated cost of the prescription drug.

HOW THE IBM MEDICAL PLAN WORKS
In-Network Benefits
Beginning January 1, 2019, IBM's PPO options will cover in-network medical and pharmacy services
only, removing benefits for most non-en1ergency out-of-network services. There are exceptions where
out-of-network care will continue to be covered at the in-network rate, see "Out-of-Network Medical
Coverage" for more details. Since the network providers' fees are negotiated (and generaJly lower), you
are charged less. (Network fees are negotiated directly between the providers and the health plan
administrators.) Your network provider files claims for you so you don't have to do the paperwork.

Please refer to your HMO (Kaiser, Humana Puerto Rico or UPMC)' s Benefits Booklet for information on
out-of-network coverage in emergency situations.

Generally, routine preventive care is covered at 100%. Care provided by your in-network primary care
physician is covered at 100% under the IBM PPO, IBM PPO Plus and IBM Exclusive Provider
Organization (EPO) options (no deductible applies). For the IBM PPO with HSA and the IBM Enhanced
PPO with HSA, care provided by your in-network primary care physician is covered at 100% after
satisfaction of the plan's deductible. After you satisfy the in-network annual deductible, other services
may require you to pay a coinsurance amount until you reach the annual out-of-pocket maximum. Once
you reach the out-of-pocket maximum, the IBM Medical Plan options pay 100% of the negotiated rate for
eligible expenses received in-network for the remainder of the plan year. When the annual out-of-pocket
maximum is reached, if the annual deductible is not satisfied, it will be deemed to be satisfied.

Most out-of-network mental health and substance use services are still covered under the IBM PPO plan
options. See the IBM Mental Health Care Program section for details.

Out-of-Network Medical Coverage
Each time you need care, you can choose to see a provider who does not belong to the health plan's
network. However, if you choose to see an out-of-network provider, you will be responsible for the full
cost of the services. The Plan does not cover out-of-network medical expenses except for the following
approved exceptions:
    •    In an emergency. An emergency is defined as the sudden onset of an acute medical condition
         that, without hnmediate 1nedical care, could result in serious hann to your health, bodily
         functions or body parts (for example, sudden shortness of breath, uncontrolled bleeding, sudden
         severe intractable pain or any sudden onset of syn1ptoms or illnesses a reasonable person would
         consider an emergency).
    •    If you do not have the ability to choose an in-network provider-for example, if you're
         receiving care at an in-network facility like a hospital, but select services are only available
         through an out-of-network provider (such as anesthesiology or pathology /laboratory services).
    •    Out-of-network coverage wi11 still be available for mental health and substance use services, with
         a few important exceptions. Please refer to the "IBM Mental Health Care Program" section.
    •    You and your covered fan1ily men1bers can still use an out-of-network provider if there isn't an
         in- network choice within a reasonable distance. If you think this applies to you, be sure to obtain
         approval from your medical plan before making an appointment with any out-of-network
         provider.



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    •    When a patient truly needs a hospital or provider for a unique condition that cannot be
         serviced by in-network providers. If there are no in-network providers for the care you need,
         your medical plan will review the medical necessity of using out-of-network care. If the medical
         necessity for using out-of-network care is approved, an exception will be granted and the care
         will be covered as in-network. This is called a "Gap in Care" exception, and it requires approval
         before you seek out-of-network services. You will need to initiate that review process with your
         medical plan directly. If you have an exception already in place, revalidate it with your plan for
         2019.
    •    If you travel outside of the U.S., eligible charges incurred will be considered in-network.
         Generally, you will pay for medical expenses incurred outside the U.S. at the time of service and
         then submit your claim for reimbursement, along with your itemized bill and other supporting
         documentation to your n1edical plan.
    •     NOTE: Out-of-network lab or radiology services used by your provider will NOT be covered.
          This is the case even if your provider is in-network. It's important to inform your providers
          (physician, specialist, labs, pharmacies, etc.) that your plan only covers services received from in-
          network providers. If your provider recomn1ends you have a diagnostic test, see a specialist, get
          lab work done, have surgery etc., it is your responsibility to make sure you use an in-network
          provider. If you do _:µ_ot use an in-network provider, the plan will not pay any benefits (other
          than those listed above) and you will be responsible for paying the full amount of the bill.

If you have an out-of-network claim for one of the above circumstances, please refer to the section on
"Out-of-Network Medical Claims with Approved Exceptions" for additional details on how your claim
will be paid.

For 1nore information, visit the Benefits Center on Cafe Well.

Most out-of-network mental health and substance use services are still covered under the IBM PPO plan
options. See the IBM Mental Health Care Program section for details.

Transition/Continuation of Care
If as of December 31, 2018, you were using out-of-network providers for hospitalizations, pregnancy,
long- term illnesses etc., you may qualify for transition/ continuation of care. Contact your medical plan
directly for more details and to begin the transition of care process.

View the 2019 FAQs at ibmurl.hursley.ibm.com/OGMC for more details.


IF YOU LIVE OUTSIDE THE NETWORK AREA

In certain limited areas, a robust provider network is not available. Affected employees will be eligible for an Out-of-Area option
administered by United HealthCare which provides the same benefits coverage described in this Summary Plan Description, but will
provide reimbursement for covered services at the in-network level, based on the provider's actual charge. If this situation applies to
you, it will be indicated in your enrollment materials.

Those living in areas designated as Out-of-Area are offered the same PPO plan options offered to all US plan members. The IBM
EPO is not available in Out-of-Area areas.

Prescription drug and mental health/substance use benefits remain subject to the in-network and out-of-network requirements, as
described in the "IBM Managed Pharmacy Program" and "IBM Managed Mental Health Care Program" sections of this book.




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Provider Networks
Enrollees in the IBM PPO, IBM PPO Plus, IBM EPO, IBM PPO with HSA and IBM Enhanced PPO with
HSA options have access to provider networks for hospitals, facilities, physicians and other health care
providers, based on the region serviced by the health plan administrator. In-Network providers have
agreed to negotiated fees. The health plan's provider networks are separate from each other and from the
provider network available under the IBM Managed Mental Health Care and IBM Managed Pharmacy
Progran1s.

I/You Travel Wit/tin the U.S.
The health plan administrators have national networks that also cover areas outside of the regiona] areas
in which the health plan options are offered. If you are traveling, or have a child away at school, there
may be network providers available so you can take advantage of the in-network level of benefit. You
should contact your health plan administrator for assistance in identifying these in-network providers.

If You Travel Outside of the U.S.
Eligible charges incurred while traveling outside of the United States will be considered at the in-network
rehnbursement level of benefits. Exchange rates will be taken from a recognized exchange rate
publication selected by the health plan. The exchange rate used for reimbursement will be the rate
effective on the date the service was rendered.

Generally, you will pay for medical expenses incurred outside the United States at the time of service and
then submit your claim for reimbursement along with your itemized bill and other supporting
documentation to your administrator of your plan option.

Health Plan Administrators
IBM's plan options are administered on a regional basis, where the health plan was selected based on a
"best in market" approach. That means your health plan administrator depends on where you live,
regardless of the option in which you are enrolled. The following chart lists each health plan and their
assigned regional areas.

   Health Plan Administrators by Regional Location

   AETNA                           Arkansas          Connecticut        New Jersey           Texas
                                   Colorado          Delaware          Oklahoma
   ANTHEM                          Alabama           Kansas             Mississippi          Pennsylvania
                                   California        Kentucky           Missouri             Rhode Island
                                   Georgia           Louisiana          New Hampshire        South Carolina
                                   Hawaii            Maine              New York             South Dakota
                                   Illinois          Massachusetts      North Carolina        Tennessee
                                   Indiana           Michigan           North Dakota          West Virginia
                                   Iowa              Minnesota          Ohio
   UNITEDHEALTHCARE                Alaska            Idaho              New Mexico            Washington
                                   Arizona           Maryland           Oregon                Wisconsin
                                   District of       Montana            Puerto Rico           Wyoming
                                   Columbia          Nebraska           Utah
                                   Florida           Nevada             Virginia




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Note: If you reside in an Anthem market area, certain areas utilize an Alternate Network, and you must use an
Alternate Network provider to obtain the in-network benefit level. These areas are:

Area                                                         Alternate Network Name
Georgia                                                      Blue Open Access POS
Kansas City, Kansas                                          Preferred Care Blue PPO
Kansas City, Missouri                                        Preferred Care Blue PPO
St. Louis, Missouri                                          Blue Access Choice
New Hampshire                                                BlueChoice Open Access POS
New York                                                     Empire POS
Tennessee                                                    Networks

The Live/Work Rule
In certain cases, different health plans 1nay be available at your work and home locations, and you may
be eligible to enroll in the plan available in your work location. This is known as the "Live/Work Rule." If
you choose to enroll in the plan that is available in your work location, you and any family members you
cover n1ust receive care fron1 providers who are members of your work location's health plan network to
receive in-network benefits. (Note: Your work location is considered to be your work address as slwwn in Blue
Pages.) You n1ust call the IBM Benefits Center - Provided by Fidelity to enro11 in the plan available in your
work location; you ca1mot enroll in a work location plan using NetBenefits. In addition, these elections
will not carry over from plan year to plan year.

PRECERTIFICATION
All inpatient hospitalizations, treatment at extended care facilities and other services listed here must be
precertified and approved by the health plan administrator. You (or your attending physician's office or
your representative, such as a family member or friend) must call to precertify your stay. Please note the
IBM Managed Mental Health Care Program also has precertification requirements for inpatient and
certain outpatient treatment. For details, see the "IBM Managed Mental Health Care Program" section of
this Summary Plan Description.

You must precertify the following services:
    •    Outpatient, non-emergency major diagnostic services and procedures (see list in Precertification
         for Major Diagnostic Services section)
    •    Inpatient hospital admissions/ surgeries
    •    Inpatient hospital stay for childbirth that exceeds 48 hours after a normal delivery or 96 hours
         after a Caesarean delivery
    •    Inpatient emergency admissions in the United States and Puerto Rico, precertification must be
         obtained within 48 hours of ad1nission, including Saturdays and Sundays or the next business
         day
    •    Admissions to non-hospital facilities such as
             Birthing centers
             Skilled nursing facility admissions and
             Rehabilitation facility admissions




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INPATIENT MATERNITY ADMISSIONS

Under federal law, group health plans and insurance issuers may not restrict benefits for any hospital length of stay in connection
with childbirth for the mother or newborn child to less than 48 hours following a vaginal delivery, or less than 96 hours following a
caesarean delivery. However, federal law generally does not prohibit the mother's or newborn's attending provider, after consulting
with the mother, from discharging the mother or her newborn earlier than 48 hours (or 96 hours as applicable).

In any case, plans and issuers may not, under Federal law, require that a provider obtain authorization for prescribing a length of
stay not in excess of 48 hours or 96 hours as applicable. You must call to precertify your hospital stay if it goes beyond the minimum
length of stay as defined by law or you will be subject to a $150 penalty or more if the stay is determined not to be medically
necessary.



Although not mandatory, it is strongly recommended that expectant mothers continue to notify their
Care Coordinator about their pregnancy to ensure the well-being of both the mother and baby, as it
provides them an opportunity to obtain valuable literature, speak with a Registered Nurse and ask
questions that may not have occurred during an office visit with their doctor. This is especially important
if it is a high-risk pregnancy.

Precertification for Inpatient Hospital Admissions
Scheduled inpatient hospital admissions and surgeries must be precertified by calling the health plan
administrator. The precertification line is available 24 hours a day. In the event of an emergency
admission, you or your representative (such as a family member or friend) must contact the health plan
within 48 hours of the emergency admission. If the hospital offers to precertify on your behalf, they must
call within 48 hours of the emergency, including Saturdays and Sundays.

If you fail to precertify a non-mental health inpatient hospital admission or fail to notify the health plan
within 48 hours of an emergency admission, you will be charged a penalty of $150, even if your care is
determined to be medically necessary and eligible for coverage. In addition, if some or all of your care is
subsequently determined not to be eligible under the terms of the IBM Plan (for example, if it is not
medically necessary), you will be responsible for paying the cost of the stay and treatment deemed not
medically necessary. Only days that are medically necessary will be eligible for benefits consideration.

Note: This inpatient hospital precertification requirement does not apply to mental health/ substance use admissions
(see "IBM Managed Mental Health Care Program" for inpatient mental health/substance use precertification
details) and to admissions that occur outside of the United States and Puerto Rico. If IBM is not your priman;
source of coverage this requirement does not apply.

Precertification for Non-Hospital Facilities, Extended Care and Organ Transplants
If your physician has ordered any of the above services, you must contact your health plan to determine
eligibility. The health plan's Care Coordinator is required to perform a medical care review and obtain
medical information fron1 your treating physician in order to determine if the services are n1edica1ly
necessary and eligible for coverage. Claims received for these services that have not been authorized will
be denied. A utilization review to detern1ine if the treatments or services are medically necessary and
eligible for reimbursement will be required. If some or all of the services are subsequently determined not
to be eligible under the terms of the Plan (for example, if it is not medically necessary), you will be
responsible for paying the cost of the services or care deemed not medically necessary. You are required
to obtain transplant services from a Center of Excellence to receive the highest level of benefit.

Precertification for Bariatric (Gastric Bypass) Surgery
Precertification from your health plan ad1ninistrator is required in order to obtain approval for bariatric
(gastric bypass) surgery. If you, or a covered family member, are seeking approval for bariatric (gastric
bypass) surgery, you should contact your health plan for a predetermination of benefits before
scheduling the surgery. To receive approval for bariatric (gastric bypass) surgery, very specific medical


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guidelines and criteria must be met, and your physician must provide all appropriate medical
documentation and information. A physician's summary letter, without evidence of contemporaneous
oversight, is not sufficient. Medical records 1nust include documentation of the physician's
conte1nporaneous assessment of your progress throughout the course of treatment. You are required to
obtain bariatric services from a Center of Excellence to receive the highest level of benefit.

Precertification for Major Diagnostic Services
Precertification is required for the following outpatient, non-en1ergency major diagnostic services and
procedures:
    •    CT/CTA Scan
    •    MRI/MRA
    •    PET scan
    ■    Nuclear medicine
    •    Echocardiogram (including stress echocardiogram)
    •    Sleep studies
    •    Cardiac catheterization
    ■    Cardiac studies
    •    Electrophysiology implants
    ■    Arterial ultrasound
    •    Percutaneous coronary intervention (stents, balloon angioplasty, atherectomy)

Since the exact list of services varies by plan, please ensure that you or your physician calls your Health
Plan Administrator for 1nore information before any of the listed tests or procedures are scheduled.

Precertification for Orthopedic Surgery
Precertification from your health plan administrator is required in order to obtain approval for
orthopedic surgery. If you or a covered family member are seeking approval for orthopedic surgery, you
should contact your health plan for a predetermination of benefits before scheduling the surgery. For
certain orthopedic procedures such as knee replacement, hip replacement and spinal fusion, you are
required to obtain services from a Center of Excellence to receive the highest level of benefit.

Precertification for Infertility Services
Precertification from your health plan administrator is required in order to obtain approval for infertility
services. If you or a covered family member are seeking approval for infertility services, you should
contact your health plan for a predetermination of benefits. In some instances, you are required to obtain
services from a Center of Excellence to receive the highest level of benefit.

How to Obtain Precertification
You, your attending physician's office or personal representative such as a fa1nily member or friend must
call the health plan to precertify an inpatient hospital admission or high-cost imaging procedure or notify
the health plan within 48 hours of an emergency admission. To precertify all other services, contact the
health plan as soon as possible in advance of the service to determine eligibility. In son1e cases, the
provider may be responsible for precertifying in-network care. You should check with your health plan to
determine if your provider will do this precertification for you. In all other cases, including for any
covered out-of-network services, you must obtain the required precertification.




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Utilization Reviews
The Plan requires the health plan administrators to perform utilization reviews to determine the medical
necessity of an inpatient hospitalization, certain treabnents or services obtained either in the hospital or
outside a hospital, or eligibility of ongoing treatments or services.

This review may require a letter of medical necessity to determine eligibility. When a utilization review is
performed, you and your health care providers must allow the health plan's Care Coordinators access to
the patient's medical records and otherwise cooperate with the review procedures in order for benefits to
be paid under the Plan. IBM may require such review before, during and/ or after the inpatient
hospitalization, treatment or other service.

Utilization reviews are performed by the health plan's Care Coordinators or their agents. IBM has no
access to this information except with permission from you and/ or the patient, or when necessary for the
Plan Ad1ninistrator to review a claim, or for statistical purposes in a fonn not identifying individuals or
patients.

PREDETERMINATION OF BENEFITS
The IBM Medical Plan provides benefits only for eligible covered services as determined by the health
plan and detailed in the "What's Covered Under the IBM Medical Plan" section. Guidelines have also
been established on appropriate treatment for therapies which are reasonably necessary for the care and
treatment of a medical condition when rendered by an eligible provider.

You are strongly urged to determine eligibility of services and fees before receiving treatment to ensure a
clear understanding of all charges and reimbursements in advance. The lack of a predetermination may
result in more out-of-pocket expense than you anticipated. You should contact the health plan to obtain a
predetermination of coverage, particularly when any proposed treatment is expected to continue for any
length of time. You or your doctor may be required to submit clinical data for the health plan to
determine eligibility of services.

The following is only a sample of the treatment and therapies that might continue for a period of time, as
well as an example of the typical duration of treatment:
    •    Biofeedback Therapy - up to a maximum of 20 visits
    •    Cardiac Rehab Therapy - up to a maximum of six months
    ■    Continuous Passive Motion Therapy - up to a maximum of two weeks, must be utilized on a
         daily basis (for example: major knee or shoulder surgery)
    •    IV Therapy for Lyme Disease - up to a maximum of 28 days
    •    Physical Therapy* - up to a maximum of 40 visits per year
    ■    Chiropractic Services - up to a nrnximum of 40 visits per year
    ■    Occupational Therapy* - up to a maximum of 40 visits per year
    •    Speech Therapy* - up to a maximum of 40 visits per year.

* Medical Necessity review required for> 40 visits per year.

To request a predetermination of benefits coverage, call your health plan and provide any relevant
information such as:
    •    Current Procedural Terminology (CPT) code (medical coding used to describe the particular
         service/procedure, available from your physician), or codes (if multiple surgical procedures are
         involved)



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    •      Amount of charges
    •      Clinical information/ medical records and
    •      ZIP code where treatment will be provided (for surgical services, the surgeon's ZIP code).


IBM PPO
The IBM PPO option covers you for a range of services, including preventive care, medical care, surgery,
hospitalization emergency care, prescription drug and mental health and substance use services.
Generally, you must satisfy an annual deductible before the Plan pays benefits for most eligible services.
Under the IBM PPO you don't need to select a primary care physician (PCP) and you don't need a
referral to see a specialist. There is generally no coverage for services received outside the network,
except in emergencies and certain other situations, see "Out-of-Network Medical Coverage" for more
information.

IBM PPO COVERAGE SUMMARY
The following chart shows what you pay under the IBM PPO option for covered services after you meet
the applicable annual deductibles. If you obtain care out-of-network, you generally will be responsible for
the full cost of services received.

                                                        ln~Network
 Service
 Medical {You Pay)
 Routine Preventive Care                                 0%,   no deductible
 Primary Care Physician                                  0%, no deductible for office visits
 Maternity Care                                          0%, no deductible, pre/post natal visits
 Specialty Care Physician/Other Provider                 25%, no deductible (office visit)
                                                         25%, after deductible (non-office visit)
 Labs                                                    20%, no deductible
 X-ray                                                   20%, after deductible
 High Cost Imaging - CAT Scan/PET Scan/MRI               20%, after deductible; precertification required 1
 Medical Supplies/Durable Medical Equipment              20%, after deductible
 Inpatient Hospitalization                               Facility charges: 20%, after deductible
                                                         Professional charges: 20% PCP, after deductible/25% SCP, after
                                                         deductible2
 Outpatient Services (Surgical and Non-Surgical)*        Facility charges: 20%, after deductible
                                                         Professional charges: No Charge PCP/25% SCP, after deductible
 Emergency Room                                          20%, after deductible PLUS $150 copay (copay waived if admitted) 3
                                                         Physician Fees 20% PCP, after deductible/ 25% SCP, after deductible 3
  1 Precertification
                  is required for non-emergency high-cost diagnostic services such as CT scans, MRls, PET scans, sleep
  studies, and cardiac studies for the IBM Plan to pay a benefit.
  2Transplant,bariatric, infertility and orthopedic services must be received at a Center of Excellence (COE) to receive the
  highest benefit level.
  3AII emergency care is treated as in-network until individual is medically able to be moved to an in-network facility. Once

  individual is able to be moved, medical services received at the non-network facility are no longer covered.
  *All charges associated with surgical procedures performed in a physician's office are reimbursed at the physician's office visit
  coinsurance rate.




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ANNUAL DEDUCTIBLE
The IBM PPO requires you to satisfy an annual deductible before the Plan pays benefits. The annual
deductible applies to mental health services but does not apply to the following services:
    •    Eligible routine preventive services
    •    Doctor's office visits (excluding hospital, urgent care or E1nergency Roon1 services), telemedicine
         visits and retail clinic
    •    Lab services
    •    Nutritional counseling and
    •    Prescription drug charges .

Annual Deductible
Once you, or your covered family member, meet the individual deductible, the Plan will pay the
applicable percentage of eligible expenses you receive, based on the negotiated fee. The deductible does
not apply to eligible routine preventive services and primary care office visits. As soon as any covered
family member meets the individual deductible, the Plan will begin to pay for eligible expenses incurred
for that person. The annual deductible counts toward the annual out-of-pocket maximum.

To limit a family's total deductible expenses during the year, a family need not satisfy more than three
individual deductibles before benefits are paid for the entire family. Once the family deductible is
reached, the Plan will pay eligible expenses for every covered family member at the applicable
percentage, based on the type of service. T11erefore, for fa1nilies of four or more, it is possible to reach the
family deductible before every person meets the individual deductible.

Expenses That Do Not Count Toward the IBM PPO Annual Deductible
    •    Prescription drug charges under the IBM Managed Pharmacy Program .
    •    Mental health and substance use charges that exceed 80% of the U&P rate .


ANNUAL OUT-OF-POCKET MAXIMUM
The IBM PPO limits how much you and your covered family members have to pay out of your own
pocket each year for eligible medical expenses (including prescription drug and mental health). This is
known as your annual out-of-pocket maximum. Once you reach the out-of-pocket maximum, the Plan
will pay 100% of the negotiated fee or actual charges, or 80% of the U&P rate, whichever is less, for any
additional eligible expenses for the remainder of the plan year.

Expenses That Do Not Count Toward the IBM PPO Annual Out-of-Pocket Maximum
    ■    Penalties for purchasing a brand name drug when a generic drug with the same active ingredient
         is available under the IBM Managed Pharmacy Program.
    •    Mental health and substance use charges that exceed 80% of the U&P rate.


IBM PPO Plus
The IBM PPO Plus option covers you for a range of services, including preventive care, medical care,
surgery, hospitalizations, emergency care, prescription drugs and mental health services. You must meet
an annual deductible before the Plan pays benefits for most eligible services.




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Under the IBM PPO Plus you don't need to select a primary care physician (PCP) and you don't need a
referral to see a specialist. There is generally no coverage for services received outside the network,
except in emergencies and certain other circumstances. See "Out-of-Network Medical Coverage," for
more information.

IBM PPO PLUS COVERAGE SUMMARY
The following chart shows what you pay under the IBM PPO Plus option for covered services after you
meet any applicable annual deductibles. If you obtain care out-of-network, you generally must pay the
full cost of any services received.

                                                      ln~Network
 Service
 Medical
 Routine Preventive Care                               0%, no deductible
 Primary Care Physician                                0%, no deductible for office visits
 Maternity Care                                        0%, no deductible, pre/post-natal visits
 Specialty Care Physician/Other Provider               25%, no deductible (office visit)
                                                       25%, after deductible (non-office visit)
 Labs                                                  20%,   no deductible
 X-ray                                                 20%, after deductible
 High Cost Imaging - CAT Scan/PET Scan/MRI             20%, after deductible; precerUfication required
 Medical Supplies/Durable Medical Equipment            20%, after deductible
 Inpatient Hospitalization                             Facility charges: 20%, after deductible
                                                       Professional charges: 20°/o PCP, after deductible/25% SCP, after
                                                       deductible
 Outpatient Services (Surgical and Non-Surgical)*      Facility charges: 20%, after deductible
                                                        Professional charges: No Charge PCP/25% SCP, after deductible
 Emergency Room                                         20%, after deductible PLUS $150 copay (copay waived if admitted)
                                                        Physician Fees: 20% PCP, after deductible/ 25% SCP, after deductible

  *All charges associated with surgical procedures performed in a physician's office are reimbursed at the physician's office visit
  coinsurance rate.


ANNUAL DEDUCTIBLE
The IBM PPO Plus requires you to meet an annual deductible before the Plan pays benefits. The annual
deductible also counts toward the annual out-of-pocket maximum. The armual medical deductible
applies for mental health services but does not apply to the following services:
     •     Eligible routine preventive services
     •     Doctor's office visits (excluding hospital, urgent care and Emergency Romn services),
           telen1edicine or retail clinic Lab services
     11    Nutritional counseling and
     •     Prescription drug charges.

Expenses That Do Not Count Toward the IBM PPO Plus Annual Deductible
     •     Prescription Drug charges under the IBM Managed Pharmacy Program.
     •     Mental health and substance use charges that exceed 80% of the U&P rate.




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                                                                                              IBM MEDICAL COVERAGE


ANNUAL OUT-OF-POCKET MAXIMUM
The IBM PPO Plus limits how much you and your covered family members have to pay out of your own
pocket each year (including prescription drug and mental health). This is known as your annual out-of-
pocket maximum. Once you reach the out-of-pocket maximum, the Plan will pay 100% of the negotiated
fee or the actual charge or 80% of the U&P rate, whichever is less, for any additional eligible expenses for
the remainder of the plan year.

Expenses That Do Not Count Toward the IBM PPO Plus Annual Out-of-Pocket Maximum
     •     Penalties for purchasing a brand name drug when a generic drug with the same active ingredient
           is available under the IBM Managed Pharmacy Program.


IBM Exclusive Provider Organization (EPO)
The IBM Exclusive Provider Organization (EPO) option is available only to employees who live within
the network area. This option covers you for a range of services, including preventive care, medical care,
surgery, hospitalizations, prescription drug and mental health services that you receive in-network only.
You need to satisfy an annual deductible before the Pian pays benefits for most eligible services. Benefits
are payable only if participants seek care exclusively from doctors, hospitals and other facilities that
belong to the plan's provider network. There is no coverage for services received outside the network,
except in emergencies.

Under the IBM EPO you don't need to select a primary care physician (PCP) or obtain a referral to see a
specialist.

IBM EPO COVERAGE SUMMARY
The following chart shows what you pay under the IBM EPO option for covered services after you meet
any applicable annual deductible. You are responsible for your portion of the coinsurance until you
satisfy the annual out-of-pocket maximunl. Care received outside of the Plan's provider network will not
be covered, except in the case of an e1nergency.

                                                   You Pay {In-Network Benefits Only)
 Service
 Medical
 Routine Preventive Care                           0%, no deductible
 Primary Care Physician                            0%, no deductible for office visits
 Maternity Care                                    0%, no deductible, pre-natal visits
 Specialty Care Physician/Other Provider           25%, no deductible (office visit)
                                                   25%, after deductible (non-office visit)
 Labs                                              20%, no deductible
 X-ray                                             0%, after deductible
 High Cost Imaging - CAT Scan/PET Scan/MRI         20%, after deductible; precertification required
 Medical Supplies/Durable Medical Equipment        0%, after deductible
 Inpatient Hospitalization                         $1,200 copay, after deductible 1
 Outpatient Services (Surgical and Non-SurgicaQ*   Facility fees: 25%, after deductible
                                                   Professional charges: No charge PCP/25% SCP, after deductible




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                                                          $220 copay, after deductible, waived if admitted
                                                          If not admitted, an additional $150 payment, after deductible will apply.
 1 Transplant,
             bariatric, infertility and orthopedic services must be received at a Center of Excellence (COE) to receive the
 highest benefit level. Contact your Plan Administrator for more information.
 *AU charges associated with surgical procedures performed in a physician's office are reimbursed at the physician's office visit
 coinsurance rate.


ANNUAL DEDUCTIBLE
In-Network Deductible
The IBM EPO requires you to satisfy an annual deductible before the Plan pays benefits for in-network
services. The annual deductible also counts toward the annual out-of-pocket maximum. The annual
medical deductible applies for mental health services but does not apply to the following services:

    •    Eligible routine preventive services
    •    Doctor's office visits (excluding hospital, urgent care and Emergency Roon1 services),
         telemedicine or retail clinic
    •    Lab services
    •    Nutritional counseling and
    •    Prescription drug charges .

ANNUAL OUT-OF-POCKET MAXIMUM
The IBM EPO limits how much you and your covered family members have to pay out of your own
pocket each year including prescription drug and mental health. This is known as your annual out-of-
pocket maximum. Once you reach the out-of-pocket maximum, the Plan will pay 100% of the negotiated
fee for any additional eligible expenses for the remainder of the plan year.

Expenses That Do Not Count Toward the IBM EPO Annual Out-of-Pocket Maximum
    •    Penalties for purchasing a brand name drug when a generic drug with the same active ingredient
         is available under the IBM Managed Pharmacy Program.


IN CASE OF AN EMERGENCY
The IBM Exclusive Provider Organization (EPO) option does not provide coverage for out-of-network
medical services, unless they are received on an emergency basis. En1ergency services received out-of-
network will be paid at the in-network level. In case of an emergency, seek medical help first and then
contact your health plan within 48 hours. Failure to contact your health plan may affect your coverage for
out-of-network services.


IBM PPO with HSA, IBM Enhanced PPO with HSA
for Active Employees
OVERVIEW OF THE IBM PPO WITH HSA, IBM ENHANCED PPO WITH HSA
Like the other IBM PPO options, the IBM PPO with HSA and IBM Enhanced PPO with HSA options
provide coverage for medical, preventive, surgical, hospitalization, prescription drug and mental
health/substance use services. However, the Plans also 1neet the Internal Revenue Service (IRS) definition
of a High Deductible Health Plan (HDHP) and allow a qualifying participant to open their own Health




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Savings Account (HSA) that enables you to set aside pretax dollars to pay for current and future eligible
medical expenses.

Generally, you must meet an annual deductible before the Plan pays benefits. In addition, if more than
one person is enrolled, the entire family deductible must be met before anyone is eligible to receive a
benefit. Under the IBM PPO with HSA and the IBM Enhanced PPO with HSA you don't need to select a
primary care physician (PCP) and you don't need a referral to see a specialist. Prescription drug coverage
is provided under the IBM Managed Pharmacy Program administered by CVS Caremark. Mental
health/ substance use coverage is provided under the IBM Managed Mental Health Care Program
administered by Optum.

Under the IBM PPO with HSA and IBM Enhanced PPO with HSA, you have the freedom to select any
eligible provider (including providers for mental health/ substance use treatment) and facility of your
choice, each time you obtain care. However, there is generally no coverage for services received outside
the network, except in en1ergencies and certain other circumstances. See "Out-of-Network Medical
Coverage" for more information.

Health Savings Account (HSA)
A Health Savings Account {HSA) offers a unique, tax-advantaged way to pay for current eligible
expenses and save for future health care expenses. An HSA also gives you the flexibility to save for future
eligible health care expenses since any unused balance in your account remains invested and rolls over
frmn year to year.

The HSA is not a benefit plan sponsored by IBM. Rather, it is a separate feature that can work together
with the IBM PPO with HSA and IBM Enhanced PPO with HSA. If you enroll in one of these plan
options, you will have the opportunity to open your HSA with Fidelity Investments during your
enrollment.

Contributions to the HSA
Each year you enroll in the IBM PPO with HSA or IBM Enhanced PPO with HSA, IBM will make a
contribution to your HSA. IBM's contribution is not treated as taxable income in most states. In addition,
you can supplement IBM's contribution by 1naking your own pretax contributions to your HSA account
up to the annual maximum limit. Moreover, if you are age 55 or older, you are also eligible to make an
additional" catch-up" contribution each year, up to the annual maximum limit. IBM's contribution
amount and current year employee and catch-up contribution limits are announced each year during
annual enrollment. In order to make HSA contributions, you may not have other health coverage. For this
purpose, "other health coverage" generally includes any health plan other than a high deductible health
plan (HDHP) including medical plans, flexible spending accounts (such as the IBM Health Care Spending
Account), healthcare reimburse1nent arrangen1ents and Medicare coverage. Other health coverage also
includes coverage provided to you through your spouse's plan. For example, you would have
impermissible other coverage (and you would not be eligible to contribute to an HSA) if your spouse
enrolls in family coverage in a medical plan that is not a qualifying HDHP (unless your spouse's plan
does not cover you); or your spouse enrolls in a general purpose flexible spending account that may be
used to reimburse your expenses.

If you are only eligible to make HSA contributions for a portion of the year, your annual HSA
contribution limit, including IBM contributions, generally is prorated based on the number of months in
which you are eligible to make HSA contributions on the first day of the month. However, you may
contribute up to your annual limit at any time.




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A participant in the IBM PPO with HSA or IBM Enhanced PPO with HSA must meet certain conditions
and requirements to be eligible to establish an HSA. For more information about eligibility and the HSA
in general, please refer to the Health Savings Account Participant Information for Active Employees pamphlet
available on w3 and NetBenefits.

Contributions Summary:
Following the chart are details about how to receive IBM contributions and make your own employee
contributions.

                                                                                                 Non-HSA Plan
                                                              HSA Plan Options
                                                                                                   Options
                                                     Individual
                                                                        Family Coverage
                                                     Coverage
 IBM Gives You     IBM base contributions              $250                   $500
                   HSA Jump-Start                      $250                   $250
                   Contribution                                                                  Not applicable
 You Earn          Ready-Set-Go contribution
                   program completion on               $300                   $850
                   Caff:-We/1
                   Total IBM contribution              $800                  $1600
                   potential


IBM's Contributions: If you enroll in an HSA-eligible health plan option, IBM will contribute $250 to
your HSA if you are enrolled in single coverage and $500 to your HSA if you are enrolled in family
coverage. (Note: For anyone hired during the year, IBM cont,ibutions will be prorated on a pay pe,1od by pay
period basis.) In addition, IBM will contribute a $250 Jump Start bonus to those who enroll in a HSA-
eligible health plan option. Finally, if you enroll in an HSA-eligible health plan option, IBM will also
provide you with the opportunity to earn incentives (up to $300 for individual coverage & up to $850 for
family coverage) which will be contributed to your HSA. To earn these HSA incentives, you must
complete the "Ready! Set' Go!" program (See the current IBM Benefits Enrollment Guide for Active
Employees for more details on this program).

Your Contributions: Subject to the annual limits described above, individuals who open an HSA may
make their own HSA contributions in addition to any contributions or incentives 1nade by IBM.

The HSA contribution limit includes and is calculated on both the participant and employer (IBM)
contributions. Individuals can elect to make HSA contributions through automatic payroll deductions (on
a pretax basis) or through direct payment to the HSA trustee by personal check (on a post-tax basis). You
can make pretax contributions to your HSA via IBM payroll if you satisfy each of the following
requiren1ents:
    •    you must be enrolled in an IBM BSA-eligible health plan option,
    •    you must have opened an HSA account with the IBM designated trustee, and
    •    you must be on IBM's active payroll.
Note: IBM contributions (including those earned from Live Well. Live Better. Rewards Program) and employee
contributions will not be partially contributed to your HSA account. Any conttibutions that cam; you over the IRS
limit may be rejected In; the HSA Administrator (FidelihJ) and will not be made to your acconnt.




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2019 Total Eligible Contributions

                                                            Individual HSA election       Family HSA election
 Maximum Pavroll Deduction                                     $2,700                          $5,400
 Total IBM Contributions                                         $800                          $1,600
 fmade of u □ of the followina)
   IBM Contribution                                              $250                           $500
   Jump Start Contribution
                                                                 $250                           $250

   Health Incentives                                             $300                           $850
 Total Contributions*                                          $3,500                          $7,000


Please note: IBM reduces the maximum payroll deduction to account for IBM contributions, the Jump
Start contributions, and the Health Incentives, For 2019, the maximum payroll deduction you can make is
$5,400 for an HSA with family election and $2,700 for an individual HSA election. This allows you to
contribute the maximum possible contribution with the least out-of-pocket dollars. The chart above
shows how IBM contributions help reduce the amount you have to contribute.

Catch Up HSA Contributions
If you are age 55 or older, you can contribute up to $1,000 "catch-up" contributions (above the IRS limit of
$3,500 for individuals and $7,000 for families), Catch-up contributions can be made directly by you to
your Fidelity HSA account or by using payroll deductions, If you choose not to use payroll deductions,
you can make contributions directly to your Fidelity HSA by doing the following:

     •    Make your check out to Fidelity Brokerage Services LLC.
     •    Include your account number and the contribution year to which it should be applied.
     •    Mail your check, along with a deposit slip, to:

                Fidelity Investments
                PO Box 770001
                Cincinnati, OH 45277-000

Be sure to include a deposit slip for efficient processing. If you do not already have a deposit slip for your
HSA, you can print a generic deposit slip or request preprinted deposit slips with your account number
from Fidelity.com.

If you have questions, please call the IBM Benefits Center at 866-937-0720 (TTY: 800-426-6537). IBM
Benefits Center - Provided by Fidelity representatives are available Monday through Friday (excluding
New York Stock Exchange holidays) between 8:30 a.m. and 8:30 p.m. Eastern time.

Reimbursements from the HSA
There are multiple ways to use your HSA for payment or reimbursement of qualified medical expenses,
including:
     •    Fidelity HSA debit card.
     •    Fidelity BillPay® for Health Savings Accounts.
     •    Fidelity HSA checkbook.
     •    Pay out of pocket.




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You can take the money out of your HSA anytime, tax-free and without penalty, to pay for qualified
medical expenses. If you withdraw funds for other purposes before you are age 65, you'll pay income
taxes on the withdrawal plus a 20% penalty.

Note: While all HSA deposits and earnings are free from federal taxes, state and/or local taxes may apply. You are
solely responsible for understanding and following tax rules. Because these rules are cmnplex, we urge
you to contact a tax advisor or your HSA trustee for more specific infonnation, or if you have any
questions about your particular situation.

IBM PPO with HSA, IBM Enhanced PPO with HSA Coverage Summary
The following chart shows what you pay under IBM PPO with HSA, and IBM Enhanced PPO with HSA
for covered services after you meet any applicable annual deductibles. There is generally no coverage for
n1edical services received outside the network, except in emergencies and certain other circumstances.
    11
See Out-of-Network Medical Coverage/' for more information.

If you obtain out-of-network mental health and substance use care, you will be responsible for any
amounts that exceed 80% of the U&P rate and these amounts are not applied to the annual deductible or
the annual out-of-pocket maximum.

Note:
    •      Prescription drugs are provided directly through the IBM Managed Pharmacy Program. Prescription
           drugs are subject to the deductibles, except for preventive drugs, which are not subject to the deductible.
     •     Mental health/substance use services are provided through the IBM Mauaged Mental Health Care
           Program and are subject to the deductibles.

                                  IBM PPO with HSA (In-Network)                   IBM Enhanced PPO with HSA (In-Network)
 Service
 Medical (You Pay)
 Routine Preventive Care          0%, no deductible                               0%, no deductible
 Primary Care Physician           0%, after deductible for office visits          0%, after deductible for office visits
 Maternity Care                   0%, no deductible, pre/post-natal visits        0%,   no deductible, pre/post-natal visits
 Specialty Care                   25%, after deductible including office visit,   25%, after deductible including office visit,
 Physician/Other Provider         Urgent Care clinics and inpatient services      Urgent Care clinics and inpatient services
 Labs                             30%, after deductible                           30%, after deductible
 X-ray                            30%, after deductible                           30%, after deductible
 High Cost Imaging - CAT          30%, after deductible; precertification         30%, after deductible; precertification
 Scan/PET Scan/MRI                required 2                                      required 2
 Medical Supplies/Durable         Inpatient: 25%, after deductible                Inpatient: 25%, after deductible
 Medical Equipment
                                  Outpatient: 30%, after deductible               Outpatient: 30%, after deductible
 Inpatient Hospitalization        25%, after deductible, including professional   25%, after deductible, including professional
                                  charges 1                                       charges 1
 Outpatient Services (Surgical    Facility charges: 30%, after deductible         Facility charges: 30%, after deductible
 and Non-Surgical)*
                                  Professional charges: No charge PCP, after      Professional charges: No charge PCP, after
                                  deductible/30% SCP, after deductible 1          deductible/30% SCP, after deductible 1




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                                    IBM PPO with HSA (ln-Notwork)                     IBM Enhanced PPO with HSA (In.Network)
 Emergency Room                     30%, after deductible, PLUS $150 copay             30%, after deductible, PLUS $150 copay
                                    {copay waived if admitted)                         (copay waived if admitted)
                                     Physician Fees: 30%, after deductible             Physician Fees: 30%, after deductible
  1
   Transplant, bariatric, infertility and orthopedic services must be received at a Center of Excellence (COE) to receive the
  highest benefit level. Contact your Plan Administrator for more information.
  2
    Precertification is required for non-emergency high cost diagnostic services such as CT scans, MRls, PET scans, sleep
  studies, and cardiac studies for the IBM plan to pay a benefit.
  *All charges associated with surgical procedures performed in a physician's office are reimbursed at the physician's office visit
  coinsurance rate.


ANNUAL DEDUCTIBLE
The a,mual deductibles for the IBM PPO with HSA and IBM Enhanced PPO with HSA work differently
than under the other IBM PPO options. Here's how the annual deductible under these options works:
      •    Prescription drugs (excluding preventive drugs) and mental health/ substance use services are
           subject to the plan deductible.
      •    In all situations involving the enrolln1ent of one or more dependents, the entire fan1ily deductible
           nrnst be met before benefits are paid for any individual family member.
      •    The annual deductible also counts toward the annual out-of-pocket maximum .

The annual deductible does not apply to eligible routine preventive services or preventive drugs (refer the
appropriate sections in this document for details about the IBM PPO with I-ISA, and IBM Enhanced PPO
with HSA Preventive Drug Benefit).

Individual Deductible (applies only to participant enrolled in self-only coverage)
Once you meet the individual annual deductible, the Plan will pay the applicable percentage of eligible
expenses, based on the negotiated rate or provider's actual charge, depending on the type of service.

Family Deductible (applies to participant enrolled with one or more family members)
As soon as the family members (individually or combined) have met the family deductible, the Plan will
pay the applicable percentage of eligible expenses, based on the negotiated rate or the provider's actual
charge, depending on the type of service. If one individual meets the individual deductible but the family
deductible is not yet met, benefits will not be paid to that individual (or to the other family members) until
the family deductible is satisfied.

ANNUAL OUT-OF-POCKET MAXIMUM
The IBM PPO with HSA and IBM Enhanced PPO with HSA limits how much you and your covered
family members have to pay out of your own pocket each year for eligible medical expenses (including
pharmacy and mental health/ substance use). This is known as your annual out-of-pocket maximum.
Once you reach the individual out-of-pocket maximum, the Plan will pay 100% of the negotiated fee or
the provider's actual charge for any additional eligible expenses for the remainder of the plan year.

Once an individual meets the individual out-of-pocket maximum or the family meets the family out-of-
pocket maximum, the Plan will pay 100% of eligible expenses for all covered individuals, even if they
have not met their individual out-of-pocket maximum.




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Care Management Program
Each of the medical plan administrators have a Care Management Program, comprised of Care
Coordination and Chronic Condition Management, which provides targeted outreach by registered
nurses who will provide assistance and support to participants with general health concernsI chronic
medical conditions and conlplex medical issues.

CARE MANAGEMENT
Care Management is a voluntary service available to non-Medicare-eligible participants enrolled in the
IBM PPO, IBM PPO Plus, IBM EPO, IBM PPO with HSA and IBM Enhanced PPO with HSA.

Care Management is performed by registered nurses (called Care Coordinators) and designed to assist
you and your enrolled family 1nembers. It is not the Care Coordinator's role to recommend specific
physicians but rather to provide general 1nedical infornrntion.

A Care Coordinator may contact your physician to obtain additional inforn1ation regarding your
condition. The Care Coordinator confirms if hospital stays are 1nedically necessary and the proposed
treatinent is medically necessary for the diagnosis. They will also review opportunities for treatment to be
received in a more cost-effective setting. A Care Coordinator will confirm the nun1ber of inpatient days
for your specific medical condition with your physician and review your physician's treatment plan for
medical necessity and appropriateness. The Care Coordinator will then follow up with your physician
and/ or hospital regarding your condition before discharge to determine if additional days are necessary
and to help ensure that plans are made for your post-hospital care (if appropriate). The Care Coordinator
may also provide information about other treatment alternatives that are available. They can also assist in
helping you understand your medical condition and the level of care you and your non-Medicare-eligible
dependents need.

Care Coordination includes the following features for medical care rendered in the United States:
    •    Coordination of 1nedical treatment and assistance in arranging necessary medical resources.
    •    Support and information on up-to-date treatment programs and medical technology.
    •    Assistance with catastrophic n1edical conditions and situations such as cancer, traumatic head
         and spinal injuries and extensive burns.
    •    Guidance and care coordination involving a need for skilled 1nedical care, including referrals to
         nationwide specialty centers for bariatric surgery, infertility services, orthopedic surgeries (such
         as hip and knee replacement) and transplants. These facilities are among the most prominent in
         their field and offer sophisticated medical technology.
    •    Establishment of appropriate medical follow-up care.
    •    Health promotion.
    •    Monitoring of participants understanding of their n1edical condition and treatment plan.
    •    Educational materials.
    •    Hospital discharge planning.
    •    Complex skilled home health care assessments.
    •    Education on available services through Best Doctors.

Based upon the level of severity of the condition, ongoing telephone contact will be scheduled with a
Care Coordinator. Participants may also contact the health plan administrator's Care Coordinator directly



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to request assistance. In some instances (skilled nursing facility admissions, rehabilitation facility
admissions; bariatric surgery, infertility services, orthopedic surgeries (such as hip and knee replacement)
and organ transplants, skilled home health care), participation in Care Coordination is required.

Voluntary Nurse Helpline

The Voluntary Helpline provides you with an opportunity to talk to a registered nurse who can provide
timely health information on a wide variety of topics to help you make informed and appropriate
decisions. It is available 24 hours a day, 7 days a week, within the United States.

Examples of the support available include:
     •    Suggestions for self-care
     •    Infonnation on prevention of disease
     •    Discussion about symptoms and courses of treatn1ent
     •    Personalized education about new, ongoing or recurring health problems
     •    Questions to ask your physician
     •    Pediatric health questions
     •    Geriatric health care issues
     •    Information about diagnostic tests such as MR!s and CAT scans .

Care Coordination for Transplants
Guidance and care coordination include referrals to nationwide specialty centers for transplants and
establishment of appropriate medical follow-up care. These facilities offer sophisticated medical
technology and have established financially advantageous contracted agreements.

For certain services such as a transplant, you nmst use one of the hospitals specified as a transplant
Center of Excellence (COE) facility. If you use any other facility, even one that participates in the health
plan's overall network, a lower level of benefits or no benefits will be paid under the IBM PPO, IBM PPO
Plus, IBM PPO with HSA, and IBM Enhanced PPO with HSA options. If you are enrolled in the IBM EPO
plan and do not use a COE, you will have no medical coverage for the procedure. Please call your health
plan administrator for additional information.

 Note: In some cases a transplant nnit within a network hospital facilih; may not be part of the facili~J and may bill
for services separately. You are strongly urged to contact the health plan administrator to ensure the transplant unit
is approved and a nehvork provider so you will have a clear understanding of the benefits before seeking services.

When medical precertification has been obtained from the specialty center under this program and as
specified by the health plan administrator under this program, lodging (up to $50 a day) and travel
expenses, if more than a SO-mile drive for the patient and one family member, nrny be eligible for
reimbursen1ent in accordance with established guidelines. In order for the benefit to be payable, members
must utilize a Center of Excellence facility. Unreimbursed expenses will not apply toward the out-of-
pocket maximum. The health plan's Care Coordinator reviews the physician's treatment plan for medical
necessity and appropriateness and provides authorization for claims submitted for certain items and
services to the health plan administering the IBM Medical Plans.

In order to perform Care Coordination services, it is necessary for the health plan administrator's Care
Coordinators to receive medical information about the patient from the patient's health care providers.
The patient or an authorized representative of the patient may therefore be required to provide written
consent to release medical information.


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Centers of Excellence for Bariatric, Infertility, Orthopedic and Spine Services
IBM's health plan administrators have Centers of Excellence (CO Es), facilities and providers that meet
certain quality standards of care. In general, these providers' outcon1es are better than others. Any
member seeking care for the following surgeries or procedures must use a COE for the highest level of
coverage.

These services include:
    •    Infertility services, including, but not limited to, artificial insemination or in vitro fertilization
         (enrollment in a care management program also is required.)
    •    Orthopedic and spine surgery, including, but not limited to, knee or hip replacement or spinal
         fusion
    •    Bariatric surgery

You may qualify for travel and lodging benefits related to orthopedic and baria Irie services.

If you choose not to use a COE or enroll in the required program, your benefit for using an in-network,
non-COE provider will be the following:
    •    Infertility and bariatric:
             IBM EPO: No coverage
             IBM PPO options: You will pay 45% of the negotiated cost for in-network non-COE
             providers.
    •    Orthopedic surgery: You pay an additional 10% of the negotiated cost for your plan option

Please call your health plan administrator before seeking any of these types of services.

When medical precertification has been obtained for a bariatric or orthopedic COE, lodging and travel
expenses (up to $50 a day), if more than a 50-mile drive for the patient and one family member, may be
eligible for reimbursement in accordance with established guidelines. In order for the benefit to be
payable, members must utilize an in-network Center of Excellence facility. Unreimbursed expenses will
not apply toward the out-of-pocket maximum. The health plan's Care Coordinator reviews the
physician's treatment plan for medical necessity and appropriateness and provides authorization for
claims submitted for certain items and services to the health plan administering the IBM Medical Plans.

Extraordinary Coverage
In certain circumstances, the health plan administrators are authorized to approve coverage under the
IBM Plan for charges not generally covered. These may include charges in life-or-death situations, for
treatments as a last resort, for treatments which are not otherwise eligible or charges for a greater
quantity of services or treatments than would otherwise be covered.

In no event, however, is there authorization to approve coverage for care which is primarily custodial in
nature. And, in no event, is authorization provided to approve lifetime benefits beyond the 1naximum per
family for medical, mental health/ substance use or pharmacy benefit payments.

Approvals for extraordinary coverage are given only on a case-by-case basis. A case must be managed by
a Care Coordinator and be in case managen1ent in order to be considered for such an approval. The same
reimbursement rates which apply to services that are silnilar but are generally covered under a plan will
apply to charges for which extraordinary coverage under a plan is approved; this works within the IBM
Plan and does not provide additional financial assistance. Approval of extraordinary coverage must be




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obtained before the charges are incurred, otherwise such coverage will not be available, and benefits will
not be payable.

Referrals from Other Health Plan Administrators
Cases may also be brought to the Care Coordinator's attention by other administrators, such as, CVS
Caremark and Optum, as a result of inforn1ation obtained during normal 111edical utilization reviews. In
order for the Care Coordinator to complete an assessment of the situation, your attending physician may
be contacted to review the medical details of the case. If it is determined that the program would be
helpful, the individual will be offered this voluntary service.

Memorial Sloan Kettering Cancer Center (MSK)
If you' re facing a cancer diagnosis, you can access certain services provided by the Memorial Sloan
Kettering Cancer Center (MSK), including access to second opinions, local referrals, oncologist access to
Watson for Oncology, and more.

MSK Direct is offered to IBMers, retirees and extended family members, including but not limited to your
spouse or domestic partner, children, parents, grandparents, siblings, aunts/uncles, cousins,
nieces/nephews and in-laws. Services include:
      •     MSK Direct guided access. IBMers, retirees and extended family members worldwide can get an
            in-person appointment at one of MSK's New York or New Jersey facilities to meet with an
            oncologist and dedicated team of cancer specialists within two business days of the initial phone
            call.1
      •     Remote second opinions/local referrals. The ability to receive a remote second opinion or a
            referral to a cancer treatment facility closer to you if you cannot travel to MSK's facilities for in-
            person care.
       •    Oncologist access to Watson for Oncology trained by Memorial Sloan Kettering. If determined
            appropriate by MSK, a Watson for Oncology review may be included in the information
            considered by the MSK oncologist before receiving your treatment plan or remote second opinion
            report from MSK. Watson for Oncology is not a stand-alone offering and can only be used in
            conjunction with an in-person appointn1ent or remote second opinion. 2

The MSK hospital location is on the Upper East Side of Manhattan, New York. The state-of-the-art
outpatient facilities are in New York City (Manhattan, Brooklyn), Long Island, Westchester and New
Jersey.

To request an appointment or to contact the MSK Direct Care Advisors, call 844-350-5032, Monday
through Friday, between 8:30 a.m. to 5:30 p.m. Eastern time. Messages left outside of these hours will be
returned the next business day.
 1   Subject to availability of your medical records, your ability to travel to MSK, clinical considerations, and health insurance
     coverage for care at MSK. Watson for Oncology may not be available in every jurisdiction.

2    A Watson for Oncology report may only be generated for certain cancers. As of 2018, Watson supports: breast, lung, cervical,
     prostate, ovarian, colon, rectal and gastric (list of supported cancers are being added; check with MSK for details). Availability of
     Watson for Oncology is also subject to a confirmed diagnosis and adequate information available within a patient's medical
     records prior to an in~person appointment. The MSK Direct program does not guarantee any patient's access to Watson for
     Oncology or that it will be provided without cost MSK will determine if a report can be run and if it is clinically appropriate for
     each individual patient. Access to and use of Watson for Oncology is subject to all conditions and restrictions of each patient's
     health insurer, if any.




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CHRONIC CONDITION MANAGEMENT PROGRAM
The IBM Chronic Condition Management Program, administered by the health plan administrators and
Optum (Depression Only), is available to employees and their dependents (non-Medicare-eligible) who
are enrolled in an IBM Medical Plan.

Condition Management provides targeted outreach and one-on-one medical support, education and
assistance to eligible members with specified chronic medical conditions. Members learn specific
techniques to prevent the worsening of their medical condition. This program is completely voluntary.
Condition Management is provided by IBM dedicated Care Managers who are specifically-trained
Registered Nurses or licensed Masters-level clinicians (Depression only).

Covered Conditions
Each condition has specific evidence-based clinical guidelines which support the care plan. Condition
Management covers the following chronic illnesses:
    •    Asthma
    •    Congestive Heart Failure
    •    Coronary Artery Disease
    •    Depression
    •    Diabetes
    •    Musculoskeletal pain

Program Components
The health plan administrator and Optum Care Managers will provide you with individual support that
includes goal setting, lifestyle coaching and the following condition specific interventions:
    •    Health risk assessments and risk stratification conducted to help you evaluate your health status .
         You and your doctor will receive an individualized summary report of the risk assess1nent.
    •    Medical information regarding condition specific interventions .
    •    Consultation regarding clinical statistics and lab results .
    •    Monitoring and support for adherence to ongoing clinical goals .
    •    Periodic telephone consultations (a Care Manager will call you at scheduled intervals to review
         your health status).
    •    Educational materials based on the information you provide about your n1edical condition
         during the phone consultations which is specific to your needs.
    •    Information about a particular health care topic at any time, including special adolescent and
         pediatric materials.
    •    Access to condition n1anagement information at the administrator's web site .
    •    Access to Optum's web site at www.liveandworkwell.c01n.

Proactive Provider Interventions
Your treating physician will be notified that you have been offered Condition Management services. The
information will contain details regarding Condition Managen1ent and how it works. Your treating
physician receives copies of all health-related assessments. Based on the need, the Care Manager will
facilitate the proper level of interaction with the treating physician's office.

Your treating physician will also receive copies of Condition Management clinical practice
recommendation,;; and guidelines. Physicians will be encouraged to review these 1naterials to avoid a



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conflict in the treatment care plan. Should a conflict arise, the Care Manager will instruct you to discuss
the issue with your treating physician directly. In addition, the Care Manager will notify your physician
of any clinical conflicts identified during interactions with the patient.

Information and Support Line
You can call the toll-free Information and Support Line - 24 hours a day, 365 days per year - to talk to a
Registered Nurse about your condition, depending on the nature of your inquiry.

Confidentiality
The health plan administrator maintains the confidentiality of all patient-specific clinical information
received from patients, their family members and their health care providers. Confidential information
will not be disclosed to IBM or others without your express written consent except when required by law,
or (subject to applicable law) to a third party contracted by the Plan to review the program practices,
including its clinical records, to evaluate the program administrator.

Following IBM's strict employee health privacy and confidentiality guidelines and subject to applicable
law, our health benefits vendors will share data with each other to help identify individuals who will be
specifically and overtly contacted by a health benefits vendor(s) and ask them to participate in certain
programs, specific to their n1edicai conditions, like disease nrnnagement progran1s. These services are
provided as a voluntary benefit, providing intervention and educational strategies to help those with
chronic illness. Data sharing among the health benefits vendor(s) is conducted in accordance with the
IBM Plan's strict medical privacy and confidentiality guidelines and will remain confidential and will not
be shared outside the administration of the Plan.


What's Covered Under the Medical Plan Options

MEDICAL NECESSITY
All treatments, services or supplies must be medically necessary and appropriate for the condition being
treated, as determined by or on behalf of the plan administrator. Except where state law or regulation
requires a different definition, "Medically Necessary" or "Medical Necessity" shall mean those health
care services rendered in accordance with generally-accepted standards of practice in the medical or
dental professions, that are:
    •    Required to diagnose or treat an illness, injury, disease or its symptoms.
    •    Considered effective for the patient's medical condition, illness, injury or disease.
    •    Clinically appropriate, in terms of type, frequency, extent, site and duration.
    •    Not primarily for the convenience of the patient, patient's family or healthcare provider, a
         physician or any other healthcare provider.
    •    Rendered in the least intensive setting that is appropriate for the safe delivery of the services and
         supplies.
    •    Rendered in the most efficient and economical way; not more costly than an alternative service or
         sequence of services which would produce equivalent therapeutic or diagnostic results beneficial
         to the diagnosis or treatinent of the covered person's illness, injury or disease.
    •    Based on credible scientifically-based guidelines of national medical, research or govermnental
         agencies.




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The fact that a physician or medical professional has performed or prescribed a procedure or treatment or
the fact that it may be the only treatment for a particular injury, sickness or mental illness does not mean
it is a medically necessary covered health service under the IBM Plan.

ELIGIBLE PRACTITIONERS AND FACILITIES
    •     "Acupuncturist" - A person licensed as such by the state in which he or she practices .
     •    "Ambulatory Surgical Center" - A facility in which minor surgery is performed and the patient
          is released the same day. Facilities must meet the health plan's accreditation criteria. Prior review
          of accreditation criteria with the health plan is advised to ensure coverage.
    •     "Birthing Center" - An alternative facility for women with low-risk pregnancies who do not
          wish a hospital confinement. Facilities must meet the health plan's accreditation criteria. Prior
          review of accreditation criteria with the health plan is advised to ensure coverage.
    •     "Certified Registered Nurse Anesthetist" (CRNA) - A person licensed as such by the state in
          which he or she practices in the administration of general anesthesia services.
    •     "Certified Nurse Midwife" - A practitioner certified as a nurse-midwife by the state in which he
          or she practices and is licensed by such state to perform obstetrical services within the scope of
          practice.
    •     "Chiropractor" - A person licensed as such by the state in which he or she practices .
    •     "Christian Science Practitioner" and "Christian Science Nurse" - A person certified as such by
          the Christian Science Mother Church in Boston, Massachusetts. Note: All mental health coverage
          must meet the criteria of eligible providers under the IBM Managed Mental Health Program.
    •     "Dentist" - A person licensed as such by the state in which he or she practices .
    •     "Extended Care (Skilled Nursing) Facility" - An extended care facility must meet one or more of
          the following requirements to be eligible for coverage: approval by Medicare; approval by the
          Joint Commission on Accreditation of Healthcare Organizations CTCAHO); acceptance by the
          health plan under criteria it adopts to carry out the intent of hospital services.
          Note: Nursing homes, assisted living, convalescent homes and care which are prinian·zy custodial are not
          eligible for coverage.
    •     "Hospice" - Hospice care is a progran1 of comprehensive services provided to the terminally ill.
          While medical care is one component, the emphasis is placed on making the person comfortable,
          both physicaJly and mentally, in his or her last days. The care can be rendered either in a hospice
          facility or at home. Although the principal intent is to help terminal patients cope with illness
          while in the hmne, the agency will arrange, when necessary, for adn1ission to an accredited
          hospice facility.
    11    "Hospital" - Any institution operating, according to law, to provide for a fee medical,
          diagnostic and surgical facilities for patients. The hospital must provide supervision by a staff of
          physicians and 24-hour nursing service by registered graduate nurses.
    •     Christian Science Sanatoriums are considered eligible for confinements which would require a
          hospital confinement if treatment were being rendered under the supervision of a physician.
          Such Sanatoriu1ns 1nust be certified by The Commission for Accreditation of Christian Science
          Nursing Organizations/ Facilities, Inc.
   •       "Licensed Nutritionist" - A person licensed by the American Clinical Board of Nutritionists and
          the state in which he/ she provides general nutrition services.
   •      "Nurse" - A registered nurse (RN), licensed practical nurse (LPN), Christian Science nurse or
          other registered graduate nurse.




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    ■    "Nurse Practitioner" - A person licensed as such by the state in which he or she practices and
         who is employed and supervised by a licensed physician as defined by the IBM Plan. Physician
         assistants and nurse practitioners are considered PCPs as long as they are employed and
         supervised by a licensed physician and submit charges through a PCP.
    •    "Occupational Therapist" - A person licensed/ certified as such by the state in which he or she
         practices, or a person who is certified as such by the American Occupational Therapy
         Association.
    •    "Physical Therapist" - A certified physiotherapist.
    •    "Physician" - A person licensed by the state in which he or she is practices medicine and
         performs surgery.
    •    "Primary Care Physician" (PCP) - A physician (MD or DO) who has a primary specialty
         designation of family n1edicine, internal medicine, geriatric medicine, pediatric medicine; or,
         physician assistant or nurse practitioner, who provides care in an outpatient setting that
         promotes ongoing care such as an office, outpatient surgery, retail walk-in clinic, nursing facility
         or home.
         Note: Plzysician services rendered in an urgent care facilihJ or inpatient setting are not considered PCP
         services.
    •    "Physician Assistant" - A person licensed by the state in which he or she practices and who is
         employed and supervised by a licensed physician as defined by the IBM Plan. Physician
         assistants and nurse practitioners are considered PCPs as long as they are employed and
         supervised by a licensed physician and submit charges through a PCP.
    •    "Registered Dietician" - A person licensed by the state in which he or she practices by the
         Commission of Dietetic Registration (CDR). See "Nutritional Counseling" in "What's Covered
         Under the IBM Medical Plan" for coverage information.
    •    "Speech-Language Pathologist or Audiologist" - A person who (1) holds a certificate of clinical
         competence in speech-language pathology or audiology from the American Speech-Language-
         Hearing Association and/ or (2) is licensed by the state in which he or she practices to provide
         speech-language pathology or audiology.

In addition to the above list of eligible providers, services received from other classifications of providers
are eligible for coverage when the provider is licensed to provide those services and the provider is
participating in the health plan's network.

COVERED SERVICES
The Plan covers 1nedical services dee1ned necessary in the diagnosis and treatment of injury, illness
and/ or pregnancy, as well as certain preventive care services, when rendered by eligible providers.
Specific covered services are listed in the sections that follow.

Accidental Injury to Sound Natural Teeth
Treahnent for accidental injury to sound natural teeth is covered under the IBM PPO, IBM PPO Plus, IBM
EPO, IBM PPO with HSA and IBM Enhanced PPO with HSA provided the services are rendered within
one year of the date of the accident. Treatment for accidental injury to sound natural teeth is covered if
services have comn1enced within one year of the date of the accident. The purpose of this coverage is to
pennit the restoration of function to the accidentally-injured sound and natural teeth. Treatment must be
medically necessary as determined by the health plan administrator and a continuous course of dental
treatment for care resulting fron1 and directly related to the accident.




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Note: An "accidental injun/' is defined as an injun; caused In; external force or through abuornzal force exerted by a
hard, sometimes foreign, object in the mouth. ln neither case can the injury be brought about as part of the
prevention or treatment of a health problem.

Acupuncture
Acupuncture is covered when rendered for treatment of an eligible medical condition and only by a
licensed provider. Acupuncture services for routine preventive care and maintenance are not eligible for
reimbursement.

Ambulance Service (Air or Ground)
Eligible ambulance services will be considered at the in-network level and are covered only:

    •     When it is medically required emergency transportation to the closest hospital with necessary
          medical facilities for care
    •     When it is medically required transportation frmn an out-of-network hospital to an in-network
          hospital, as determined by the health plan or
    •     When it involves transportation from an out-of-network hospital to an in-network hospital for
          mental health/ substance use treatment, as determined and recommended by the mental health
          care Plan Administrator.

Ambulance service from the hospital to your home, rehabilitation center, nursing home, skilled nursing
facility, residential treatment center or other step-down care facility or for non-emergency situations will
only be covered where considered medically necessary and with the prior approval from the health plan
administrators.

Anesthesiology and Surgery
Anesthesiology and surgery are eligible when performed by a physician in a hospital (inpatient or
outpatient), clinic, ambulatory surgical facility, birthing center or at home. Surgical procedures performed
as part of an office visit will be subject to the surgical charge and not considered separately. Services
provided by a physician acting as an assistant surgeon in complex procedures may also be eligible if
determined to be medically necessary by the health plan.

Except in certain cases involving accidental injury (see" Accidental Injury to Sound Natural Teeth,"
above), charges for oral surgery are not eligible for benefits under the IBM medical plan options but may
be eligible under the applicable dental plan option (see the Dental Coverage section for information).

Assistant Surgeons
Assistant surgeons' fees are eligible only for complex surgical procedures where their services are
detern1ined to be n1edically necessary. Since there are limited circumstances where the services of an
assistant surgeon are considered medically necessary, you are urged, before scheduled surgery, to contact
the health plan for a predetermination. You should discuss with your surgeon whether or not assistant
surgeons will be used and understand what you will be reimbursed.

Where an assistant is 1nedically necessary, physician services are eligible. Services of nurses or other non-
physician personnel practicing independently are not eligible for coverage.

Chemotherapy/Radiation Treatment
Chemotherapy and radiation therapy are eligible when they are provided and billed by a physician or an
eligible facility. To be eligible for coverage, the following criteria must be met:
     •    Treatment must be rendered by the attending physician (e.g., treating oncologist/radiologist)
          responsible for the overall treatment plan.


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     •    Laboratory and x-ray services necessary for the preparation or administration of the treatment
          protocol which are ordered by the attending physician.
     •    Chemotherapy drugs and certain supplies must have FDA approval as chemotherapy agents and
          be prescribed by the attending physician. When purchased at a pharmacy for outpatient use, the
          drugs and certain supplies will be covered under the IBM Managed Pharmacy Program.


CVS SPECIALTY PHARMACY

If you need covered prescription medications which require special handling or administration, like chemotherapy, and are currently
receiving these medications through your doctor's office or other treatment center, you may want to consider ordering them through
the CVS Specialty Pharmacy, part of the IBM Managed Pharmacy Program. By receiving covered prescription medications this way,
you may pay less for them overall. Additionally, you may be able to have them shipped directly to you or your doctor's office at no
additional charge. Contact CVS Caremark Customer Care for more details.



Chiropractic Care
Chiropractic care rendered by a licensed provider in the treatment of a medical condition is covered,
subject to detennination of medical necessity. Chiropractic treatment is limited to no 1nore than 40 visits
annually per individual. Routine preventive care, spinal subluxation and maintenance are not eligible for
reimbursement.

Contraceptive Devices
Contraceptive devices and in1plants are eligible for coverage. Prescribed contraceptive drugs, devices or
implants methods are covered in full and are not subject to the deductible or coinsurance. Contraceptive
procedures (such as sterilization) will be covered medical services subject to applicable deductibles and
coinsurance of the plan option.

Cosmetic Surgery
Cosmetic surgery is eligible for children under the age of 13 if the surgery is necessary to ameliorate a
deformity arising from or directly related to a congenital abnormality, a personal injury resulting from
accident or trauma or a disfiguring disease. Cosmetic surgery for patients over the age of 13 is eligible
only when the surgery is necessary to correct a functional and/ or physical disability resulting from
deformity at birth or a condition arising as a result of accidental injury. The surgery must begin within six
months of the accident unless it is not medically advisable to do so. Other cosmetic surgery is not eligible.

Emergency Treatment
Coverage for emergency room visits for medical emergencies as a result of a sudden and serious illness or
accidental injury is covered. An emergency is the sudden onset of an acute medical condition that,
without inunediate 1nedical care, could result in serious harm to your health, bodily functions or body
parts (for example, sudden shortness of breath, uncontrolled bleeding, sudden severe intractable pain or
any sudden onset of symptoms or illness a reasonable person would consider an emergency).
Emergencies are covered by the IBM Plan at the in-network benefit level.

Extended Care (Skilled Nursing) Facilities
Extended care (skilled nursing) facilities may be eligible up to a maximum of 30 days per admission. This
30-day benefit may be extended based on medical necessity as determined by a Care Coordinator's
review for medical necessity. Eligible expenses include charges for room and board at the semi-private
room rate, skilled nursing, physical therapy, drugs and medical supplies.

To be eligible, the patient n1ust require full-time nursing or skilled rehabilitative services, as certified by
the patient's physician in writing. Precertification is required for benefits to be eligible. Care Coordinators
are required to perfonn a medical review and obtain 111edical information from your treating physician



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for skilled nursing facility admissions to determine if the services requested are eligible for coverage.
Claims received for skilled nursing facility admissions that have not been authorized will be denied. See
"Precertification" earlier in this section for more information.

Note: Nursing homes, assisted living, convalescent homes and care which are primarily custodial are not eligible for
coverage. Custodial care or care received in these facilities may be covered under the Long-Term Care Insurance
Program for enrolled participants. For more details regarding the Long-Tenn Care Insurance Program About Your
Benefits: Income and Asset Protection on w3 under "Legal Notices" for a description of covered services, eligibilihJ
requirements and enrollment procedures.

Treatment of Gender Dysphoria and Gender Nonconformity
Certain surgeries and therapies provided as treatment of gender dysphoria are eligible for coverage.
Eligible services include:
    •    Hormone therapy to feminize or masculinize the body as desired
    •    Laboratory testing to monitor the safety of continuous hormone therapy
    •    Psychotherapy for gender dysphoria, including individual, couple, family, or group
    •    Voice therapy /Voice lessons
    •    Surgical procedures for the Male-to-Female (MtF) Patient:
             Breast/ chest surgery: augmentation mammoplasty (implants/lipofilling);
             Genital surgery: penectomy, orchiectomy, vaginoplasty, clitoroplasty, vulvoplasty;
             Nongenital, nonbreast surgical interventions: facial feminization surgery, liposuction,
             lipofilling, thyroid cartilage reduction, gluteal augmentation (implants/lipofilling), hair
             reconstruction,
             Various aesthetic procedures:
             •    Thyroid chondroplasty (reduction in size of thyroid cartilage);
             •    Facial feminization surgery, including but not li1nited to: facial bone reduction, face
                  "lift," facial hair removal, and certain facial plastic reconstruction.
    •    Surgical Procedures for the Female-to-Male (FtM) Patient:
             Breast/ chest surgery: subcutaneous mastectomy, creation of a male chest;
             Genital surgery: hysterectomy/ salpingo-oophorectomy, reconstruction of the fixed part of
             the urethra, which can be combined with a metoidioplasty or with a phalloplasty (employing
             a pedicled or free vascularized flap), vaginectomy, scrotoplasty and implantation of erection
             and/ or testicular prostheses; and
              Nongenital, nonbreast surgical interventions: liposuction, lipofilling, pectoral implants.
             Various aesthetic procedures.
    •    Rhinoplasty
    •    Blepharoplasty

Most services and procedures are subject to prior authorization. The patient is strongly encouraged to work with a
Care Coordinator (see the Care Managenzene' section for more information).
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Hormone Therapy
The patient must meet all of the following eligibility qualifications for hormone therapy (in addition to
the overall eligibility requirements under "Eligibility" in the About the IBM Personal Benefits Program
section). For adults, the patient must:
    •    Show persistent, well-documented gender dysphoria;
    •    Have the capacity to nrnke a fully informed decision and to consent for treatment; de1nonstrable
         knowledge of what hormones 1nedica1ly can and cannot do and their social benefits and risks;
         and
    •    Be age 18 years or older (age of majority may vary by country). Adolescents under the age of 18
         may be eligible to begin feminizing/masculinizing hormone therapy, with parental consent.
         Treatment decisions should be made among the adolescent, the family and the treatment team.

If significant medical or mental health concerns are present, they must be reasonably well controlled.

Hormones should not be denied solely on the basis of blood seropositivity for blood-borne infections
such as HIV or hepatitis B or C

For adolescents, the patient n1ust meet n1inimum criteria to qualify for puberty-suppressing hormones
therapy. These include:
    •    Demonstrating a long-lasting and intense pattern of gender nonconformity or gender dysphoria
         (whether suppressed or expressed);
    •    Gender dysphoria that emerged or worsened with the onset of puberty;
    •    Any coexisting psychological, medical, or social problems that could interfere with treatment
         (e.g., that may compromise treatment adherence) have been addressed, such that the patient's
         situation and functioning are stable enough to start treatn1ent;
    •    The patient has given informed consent and the parents or other caretakers or guardians have
         consented to the treatment and are supporting the patient throughout the treatment process.

Adolescents may be eligible for puberty-suppressing hormones as soon as pubertal changes have reached
Tanner stage 2. Covered medications include
    •    GnRH analogues to suppress estrogen or testosterone production and consequently delay the
         physical changes of puberty.
    •    Progestins (most commonly medroxyprogesterone)
    •    Other medications (such as spironolactone) that decrease the effects of androgens secreted by the
         testicles of adolescents who are not receiving GnRH analogues and
    •    Continuous oral contraceptives (or depot medroxyprogesterone) may be used to suppress
         menses.

Coverage should include physician visits and laboratory testing to monitor the safety of continuous
hormone therapy.

Surgery
All of the following eligibility qualifications for genital surgery and surgery to change secondary sex
characteristics (in addition to the overall eligibility requirements described under "Eligibility" in the
About the IBM Personal Benefits Program section) must be met:
    •    Surgery must be performed by a qualified provider at a facility with a history of treating
         individuals with gender dysphoria;



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   •     The treatment plan must conform to the World Professional Association for Transgender Health
         Association (WP ATH) standards;
   •     The patient must be 18 years or older; chest surgery may be performed at an earlier age and
         preferably after ample time of living in the desired gender role and after completion of one full
         year of hormone therapy (this is intended to give the adolescent ample opportunity to experience
         and socially adjust in the desired gender role before undergoing irreversible surgery);
    •    The patient must have completed 12 months of continuous hormone therapy for those without
         conh·aindications (required for genital surgery only);
    ■    The patient must have cmnpleted 12 months of successful continuous full-time real-life
         experience in the desired gender (required for genital surgery only);
    •    If significant medical or mental health concerns are present, they must be reasonably well
         controlled; and
    •    The Physician who is performing the surgery must notify the health plan before performing the
         surgery.

Exclusions
In addition to general exclusions see ("Exclusions: What the IBM Medical Plan Does Not Cover") the
following expenses are specifically excluded with respect to treatment of gender dysphoria
    ■    Care received outside the United States
    ■    Travel and lodging expenses for care received away from home
    •    Reversal of genital surgery or reversal of surgery to revise secondary sex characteristics;
    ■    Sperm preservation in advance of hormone treatment or gender surgery;
    ■    Cryopreservation of fertilized e1nbryos; and
    •    Infertility

Hearing Care
Cochlear implants and post-cochlear implant aural therapy are eligible for coverage. Hearing aids and
devices prescribed by a physician or licensed audiologist for the correction of hearing deficiencies are
covered.

For children up to the age of six, the IBM Plan will cover the first set of hearing aids at 100% after the
annual deductible is satisfied (there is no maximum reimbursement and copays and coinsurance do not
apply). Any additional sets of hearing aids (up to the age of 6) will be covered subject to the annual
deductible, coinsurance and copays. Maximum reimbursement is $2,000 ($1,000 per ear). For all other
patients, the maximum reimbursement is $1,500 ($750 per ear) for each individual per year for hearing
devices, including repairs and batteries. If you are enrolled in an HMO, review the summary benefit
description of the HMO to understand how hearing aids are covered.

Home Dialysis
Under Social Security Administration regulations, you or your eligible dependents undergoing treatment
for permanent kidney failure become eligible for Medicare coverage of home dialysis, regardless of age,
after undergoing home dialysis treatment for a certain period of time. Contact your local Social Security
Office for information on this Medicare coverage.

Until the patient becomes eligible for Medicare coverage, home dialysis treatment for kidney failure is
eligible under the Plan. Once Medicare becomes the primary coverage, the Plan will provide secondary
benefits coverage (see "Coordinating IBM Medical Coverage with Medicare" in the Administrative
Inforn1ation section for more details).



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Home Health Care
Before arranging for skilled hmne health care or outpatient nursing services, you must contact your
health plan administrator to determine if the services are eligible for coverage. If they are determined to
be eligible, the health plan administrator will work with your physician to provide home health care by
arranging for the prescribed services and supplies. The health plan administrator is required to perform a
skilled home health care review and obtain medical information from your physician in order to
determine if the services requested are eligible for coverage. This review is intended to ensure that the
skilled hon1e health care services are medically necessary and appropriate for the medical condition.

Only skilled home health care services are eligible for coverage. In such cases, IBM will allow assignment
of these benefits directly to the provider of service and you will receive a copy of the Explanation of
Benefits (EOB) statement to allow you to verify the charges and reimbursement amount. Any
discrepancies should be reported to the health plan administrator immediately.

Claims received for home health care services that have not been authorized will be denied. A utilization
review to determine if the treatments or services are medically necessary and eligible for reimbursement
will be required. If some or all of the home health services are subsequently determined not to be eligible
under the terms of the IBM Plan (for example, if it is not medically necessary), you will be responsible for
paying the cost of the services deen1ed not medically necessary. Only skrned home health care services
approved by the health plan administrator are medically necessary and meet criteria are eligible for
benefits consideration.

Eligible services include:
    ■     Laboratory services
    •     Medical supplies
    ■     Medications as part of infusion therapy under case management
    ■     Part-time skilled home health nursing care services provided by a licensed nursing agency
          (nonagency nurses are not eligible for coverage)
    ■     Prescription medicines (other than maintenance type 1nedications routinely prescribed by the
          physician) and
    •     Speech, occupational, physical and respiratory therapy.

The following may be eligible under the normal provisions of the IBM Plan:
    11    Physician visits and
    •     Skilled follow-up care after hospitalization.

Skilled home health nursing care services consist of those services that must be performed by a registered
nurse or licensed practical nurse and meet all of the following criteria for skilled nursing services:
    •     The service(s) must be ordered by a physician.
    •     The complexity of the service(s) requires a licensed professional nurse in order to be safely and
          effectively performed and to achieve the desired medical result.
    ■     The skilled nursing service(s) must be reasonable and necessary for the treatment of the illness or
          injury, and accepted standards of medical and nursing practice.
    ■     The skilled nursing service(s) is not custodial in nature.




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The following home health care services are not eligible for coverage under the IBM Plan:
    ■    Care that provides a level of routine maintenance for the purpose of meeting personal needs and
         which can be provided by a layperson who does not have licensed or professional qualifications,
         skill or training.
    •    Hon1emaking services, such as meal preparation and housecleaning.
    ■    Custodial care, such as but is not limited to, activities of daily living, help in walking, dressing,
         eating and routine care of a patient.
    •    Care of colostomy and ileostomy bags and indwelling catheters, gastrostomy tubes and routine
         tracheoton1ies.
    •    Routine dressing changes, cast care and routine care in connection with braces and similar
         devices.
    •    Respiratory therapy - gases (including oxygen), routine administration of medical gases after a
         regimen of therapy has been established.

Home Hemophilia Treatment
Covered treatments include:
    ■    Blood products, plasn1a and therapeutic blood concentrator or anti-hemophilia factors and
    ■    Home therapy kits, infusion supplies, syringes, needles, etc. required for hon1e care.

Hospitals should be advised to bill the health plan for these fees.

Note: Any portion of the charges paid In; govemment or non-governmental agencies will not be considered for
rei1nbursement.

Hospice Care
Eligibility for hospice care is based on a written statement from the attending physician that the patient's
illness is terminal and that further medical care is only supportive in nature. Hospice care which is
provided under the direction of a hospice care agency approved by the health plan administrator is
eligible for consideration under hospital services up to a maximum of six n1onths. Hospice care beyond
six months is subject to medical necessity review and preapproval by the health plan.

Eligible services billed by an approved hospice program include palliative care, medications that require
administration by a registered nurse, licensed practical nurse or home health aide (if approved and
charged through hospice), physicians and intennittent nursing visits, respiratory equipment and therapy,
speech and physical therapy, medical supplies, rental of medical equipment, emotional support services
by accredited pastoral counselors and social workers, as well as transportation between the hmne,
hospice facility and hospital as necessary.

Home health care is covered when approved by the health plan administrator, as part of hospice.

Note: Seroices by volunteers and private duhJ nursing are ineligible under Hospice Care.

Immunizations/Vaccinations
Immunizations, whether required as the result of an accident or treatment of a medical condition (for
example, allergies, rabies) or for prevention (for example, measles, hepatitis, and so on), are covered
when the immunization is administered in the doctor's office or another 1nedical facility.

Note: Influenza virus vaccine (flu vaccine)/immunization is covered in-network regardless of the place of service
(doctor's office, clinic, local pharmaci;/dntg store, /zealtlz department, etc.) if administered by an eligible provider


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(nurse, nurse practitioner, physician or pharmacist). For influenza virus vaccine (flu vaccine) adnzinistered outside
of a doctor's office or another medical facility you must submit with the claim for benefits, the ICD10 or
CPT/diagnosis code and signature of who administered the vaccine (nurse, nurse practitioner, physician or
pharmacist). See "How to File a Claim" for reimbursement crite,ia. (Note: For the flu and shingles vaccine only, a
licensed pharmacist will be considered an eligible provider.)

Immunizations are excluded from coverage under the IBM Managed Pharmacy Program with the
following two exceptions.
    •    Flu vaccines administered by a retail pharmacist participating in the CVS Caremark vaccine
         network are covered under the pharmacy benefit.
    •    The zoster vaccine (shingles vaccine) administered by a retail pharmacist participating in the CVS
         Caremark vaccine network will be covered under the pharmacy benefit.

Please contact CVS Caremark to check if your pharmacy is in their network.

Inpatient Hospital Services
Coverage under hospital services is for confinement in a hospital or medical care in other eligible
facilities. Confinement must be medical!y necessary and ordered by a physician. If you or a family
member is admitted as an inpatient to a hospital while eligible for coverage and coverage changes during
that stay (e.g., dependent reaches age 26), all charges otherwise eligible under the Plan which are
incurred up until the date of discharge will continue to be eligible for benefits.

Hospital Room
    •    Includes meals and general nursing services .
    •    Semi-private room or ward. If the hospital has private room facilities only, the health plan
         administrator will determine the average semi-private roon1 rate for the area and benefits will be
         paid based on that rate.
    •    Private rooms only when the confinement is required for patients with certain conununicable
         diseases as determined by the health plan. (Private room coverage for reverse isolation is not
         considered eligible.) Also, if you voluntarily choose a private room, or your physician 1noves you
         to a private roon1 fro111 a semi-private, reimbursement will be limited to and based on the most
         common semi-private roon1 rate of the facility and the specific private room rate charged. The
         IBM EPO Plan copayment is for a semi-private room. If the hospital bills the higher private room
         rate, the patient is responsible for paying the difference between the semi-private room rate and
         private room rate in addition to the IBM EPO copayment. If the hospital does not bill the higher
         private room rate, the IBM EPO copayment is all the member is responsible for.

Christian Science Sanatoriums
Benefits are based on the prevailing sen1i-private roon1 rate of general-purpose hospitals in the san1e
geographic area in which the Christian Science Sanatorium is located. Personal itenis - guest meals, radio,
television, telephone, etc. - are not covered. Private and special duhJ nurses are not covered.

Medical Services and Supplies in Connection with Hospital Services
The following inpatient services and supplies are eligible regardless of the type of accommodation
occupied, when the services and supplies are ordered by a physician and approved by the hospital in the
normal course of diagnosis or treatment of an illness or injury:
    •    Anesthetic supplies and equipment
    •    Chemotherapy
    •    Dressings, plaster casts, splints, trusses, braces an~ crutches



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        •    Drugs and medication for use in the hospital including radium and radioactive substances
        •    Electrocardiograph and electroencephalograph equipment
        •    Intensive care units or coronary care facilities
        •    Laboratory examinations
     •       Nursery and premature nursery service, including infant identification bracelet, for eligible
             family members
     •       Operating, cystoscopic, delivery and recovery rooms and equipment
     •       Oxygen
     •       Physiotherapeutic equipment; physiotherapy
     •       Prosthetic, orthopedic or other devices such as bone plates and screws, tantalum mesh, nails,
             pins, bone replacen1ent prostheses, pacemakers, heart valves, vascular tubes and Iaryngectomy
             tubes requiring internal fixation by a physician, not removable by the patient at will, for which
             hospitalization would be required for removal, replacement or repair
    •        Radiation therapy
    •        Sera, biologicals, vaccines, intravenous preparations and visualizing dyes, including human
             blood or blood plasma or other human blood derivatives (this benefit includes the processing,
             storage and adn1inistration)
    •        Special equipment, including but not limited to special beds and custom-made appliances for use
             in the hospital X-ray /Imaging diagnosis, supplies and equipment.

Pre-Admission Testing
Standard hospital pre-admission tests billed by the hospital.

Inpatient Professional Fees
If eligible professional services are rendered by a salaried staff employee of the hospital and are billed by
the hospital, charges will be reimbursed under hospital services.

Other professional services billed by independent physicians or other providers who are not salaried staff
employees of the hospital, for the administration, interpretation or operation of eligible medical supplies
and treatments may be eligible for coverage under medical services and reimbursed by the Plan at the
applicable prin1ary care physician or physician specialist rate.

In Vitro Fertilization/Artificial Insemination
    •        Up to two attempts per lifetime of In Vitro Fertilization (GIFT, ZIFT), per health plan
             administrator, whether or not successful, are eligible. An attempt is defined as the actual
             procedures for retrieval, fertilization and transfer, and each of the two attempts is eligible for
             coverage.
    •        Eligible charges billed by an approved facility will be covered (if the facility is not an approved
             facility, the charges are not eligible).
    •        Eligible pre-IVF treatment (i.e., administration of fertility drugs, ultrasounds, lab tests) is also
             covered.
    •        Fertility drugs require prior authorization through CVS Caremark (see "Prior Authorization
             Program" in the IBM Managed Pharmacy Program section). To determine eligibility of fertility
             drugs, you should contact CVS Caremark, the administrator for the IBM Managed Pharmacy
             Program.
    •        Artificial insemination is also covered. There is no limit to the number of attempts.




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    •     Surrogate Parenting is not covered.

Note: You are strongly urged to obtain a predetermination of benefits from the health plan administrator before
incurring charges for In Vitro Fertilization to ensure the faciliti; is approved and yon have a clear p,ior
understanding of reimbursements. Call the health plan administrator for eligibiliti; of donors for egg/sperm, as well
as circumstances where freezing/banking/storage of sperm/embn;o and guidelines where ICSI and assisted hatching
may be covered. Surrogate parenting is not covered.

Medical Equipment
Basic medical equipment or devices are considered eligible if they are prescribed by a physician and are
medically necessary for proper care and treatment of a condition. Examples of items that may be eligible
include shoe orthotics, artificial limbs, various aids to ilnpaired organs (such as wheelchairs, heart
pacen1akers, oxygen equipment and, in some cases, hospital beds) and certain types of monitoring
devices. Coverage is provided for standard equipment and only when it is medically necessary. "Take-
home" items from a hospitat resulting from an inpatient stay or outpatient treatment, may be eligible
under the IBM Plan.

Rental of durable items should be the general practice. However, if there is evidence that the equipment
will be required long enough to justify purchase, reimbursement will be limited to the purchase price.

Certain items not necessarily therapeutic in nature, but that allow for increased safety and help prevent
injury in" activities of daily living" for individuals who are physically challenged as a result of serious
injury or illness, may be considered eligible if prescribed for such an individual by a physician.

These ite1ns include:
    •     Bath/bed/ chair lifts which enable a bedridden or wheelchair-bound patient to more readily
          move to and from the bed or bath
     •    Bath/ shower/ tub rails or grab bars which promote safer use of bathing facilities by bedridden or
          wheelchair-bound patients
     •     Bedside safety rails as an attachment to prevent falling by a bedridden individual

Multiple Simultaneous Surgical Procedures
If more than one eligible surgical procedure is perfonned at the same time, reimbursement for the most
extensive procedure is based on the full negotiated rate or provider's actual charge, whichever is less, and
reimbursement for the additional procedures is based on half of the negotiated rate or the provider's
actual charge, whichever is less.

Surgical procedures considered "incidental" to the principal surgery are not eligible for benefit
rein1bursement. (An "incidental" surgical procedure is one that is performed at the same time as a more
complex primary procedure and requires little additional physician resources, or is identified in the
primary procedure code.)

Surgical procedures that are 1nutually exclusive are not eligible ("mutually exclusive" procedures are
procedures that, according to medical practice standards, should not be performed on the same patient
on the same date of service). You are urged to contact the health plan administrator regarding questions
on n1ultiple, simultaneous surgical procedures before the surgery or to obtain a predetennination of
benefits.




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Nursing Care
Nursing care services must be skilled, provided through a licensed nursing agency, medically necessary
and ordered by a physician. Non-agency nurses are not eligible for coverage. Skilled home health nursing
care services consist of those services that 1nust be performed by a registered nurse or licensed practical
nurse and meet all of the following criteria for skilled nursing services:
    •    The service(s) must be ordered by a physician.
    •    The complexity of the service(s) requires a licensed, professional nurse in order to be safely and
         effectively performed and to achieve the desired medical result.
    •    The skilled nursing service(s) must be reasonable and necessary for the treatment of the illness or
         injury, and accepted standards of medical and nursing practice.
    •    The skilled nursing service(s) is not custodial in nature.

Only services that cannot be performed by a layperson are eligible, such as administration of medications
and monitoring of n1edical support systems or intravenous systems. Services considered primarily
custodial in nature by the health plan are not eligible. Custodial care includes:
    •    Care that provides a level of routine maintenance for the purpose of meeting personal needs and
         which can be provided by a layperson who does not have licensed or professional qualifications,
         skill or training.
    •    Homemaking services, such as 1neal preparation and housecleaning .
    •    Custodial care, such as but is not limited to, activities of daily living, help in walking, dressing,
         eating and routine care of a patient.
    •    Care of colostomy and ileostomy bags and indwelling catheters, gastrostomy tubes and routine
         tracheotomies.
    •     Routine dressing changes, cast care and routine care in connection with braces and similar
          devices.
    •    Respiratory therapy- gases (oxygen), routine administration of medical gases after a regimen of
         therapy has been established.

Note: Private duhJ nursing seniices rendered in a hospital setting are not covered.

For the IBM PPO, PPO Plus, IBM Exclusive Provider Organization and IBM PPO with HSA, IBM
Enl1anced PPO with HSA, nursing services rendered in the home are not covered unless approved by the
health plan administrator. Claims received for home health care services that have not been authorized
will be denied. A utilization review to determine if the treatments or services are 1nedically necessary and
eligible for reimbursement will be required. If some or all of the home health services are subsequently
determined not to be eligible under the terms of the IBM Medical Plan (for example, if it is not medically
necessary), you will be responsible for paying the cost of the services deemed not medically necessary.
Only skilled home health care services that are approved by the health plan are medically necessary and
n1eet criteria are eligible for benefits consideration. See "Precertification" earlier in this section for more
details.

Nutritional Counseling
Nutritional Counseling rendered by a licensed provider is covered for two visits for patients without a
chronic condition and is covered for four visits for patients with a chronic condition such as Crohn' s,
PKU, cancer, End Stage Renal Disease, Liver Disease, Diabetes, CHF, CAD, COPD, Asthma, Obesity,
eating disorders, n1etabolisrn disorders, hypertension, hyperlipidemia, anemia, Celiac disease, ALS, MS,
Lupus, metabolic syndrome, AIDS or Hepatitis or post bariatric surgery. No further visits will be
covered.



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Obstetrics
Obstetrics is eligible when performed by a physician in a hospital (inpatient or outpatient), clinic,
ambulatory surgical facility, birthing center or at home. Surgical procedures performed as part of an
office visit will be subject to the surgical charge and not considered separately. Services provided by a
physician acting as an assistant surgeon in cmnplex procedures may also be eligible if determined to be
medically necessary by the health plan.

Medical benefits for maternity charges billed by the attending physician/ obstetrician for prenatal visits as
well as the delivery fee are not reimbursable until after the termination of pregnancy.

Occupational Therapy
Occupational therapy provided by a certified occupational therapist is covered up to a maximum of 40
visits per calendar year when it is prescribed by a physician and necessary for the restoration of an
individual's ability to satisfactorily perform daily tasks when this ability was lost due to injury, illness or
surgery. Visits beyond 40 are subject to medical necessity review and must be pre-approved by the health
plan administrator. You should contact your health plan administrator before your 40 1" visit so that
medical necessity can be determined for future visits.

Clain1s received for moi'e than 40 visits that have not been authorized will be denied. A utilization review
to detern1ine if the treatments or services are medically necessary and eligible for reimbursement will be
required. If some or all of the services are subsequently determined not to be eligible under the terms of
the Plan (for example, if it is not medically necessary), you will be responsible for paying the cost of the
services deemed ineligible, including those services which are deemed not medically necessary.

Occupational therapy is not covered when it cannot reasonably be expected to be significantly restorative
when a maintenance level has been achieved, or for developmental delays. See the "IBM Special Care for
Children Assistance Plan" section.

Outpatient Hospital Services
Coverage is provided for eligible outpatient services performed in a hospital or approved ambulatory
surgical facilities. In some cases, laboratories and surgical or diagnostic suites within a hospital
building/ complex may be privately owned and operated. Facility fees incurred at these privately-owned
and operated suites are not eligible for coverage. You are urged to verify eligibility by contacting the
health plan administrator before obtaining services.

When you receive services from a hospital, but are not admitted as a registered bed patient, the services
listed below are generally eligible:
    •    Surgical procedures perfonned on an outpatient basis in the operating room or other surgical
         facility such as the emergency room of a hospital or an eligible ambulatory surgical center
    •    E1nergency room visits for medical emergencies as the result of a sudden and serious illness
         (cardiac arrest, convulsions, stomach pains, etc.) or accidental injury
    •    Diagnostic testing
    •    Physical therapy
    •    Observation room stays
    •    Chemotherapy /radiation
    •    Home dialysis for kidney failure will be eligible for consideration under hospital services subject
         to the same guidelines listed in "Medical Services and Supplies in Connection with Hospital
         Services" if the service is billed by an approved hospital and




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    •    Fees incurred by the actual donor for bone marrow transplants (after coordination with other
         plans) if the transplant procedure is not considered experimental or investigational. Note: Registn;
         fees for bone marrow transplants and testing for suitable bone marrow transplant candidates are not
          covered. Precertification, evaluation (to determine procedure is not considered experimental or
          investigational) and approvals are required before transplant. After approval, coverage begins
          and donor search/ fees would be covered. If the person does not get prior approval from the
         health plan administrator for the transplant, and the claims are submitted to the health plan
          administrator, the claims will be denied.

Pathology and Radiology (Lab and X-rays)
Eligible pathology and radiology services are covered when necessary for the diagnosis and treatment of
an illness or injury and rendered by an eligible provider.

Physical Therapy
Physical therapy rendered by a certified physiotherapist is covered up to a maximum of 40 visits per
calendar year when the treatinent is prescribed by a physician and necessary for the restoration of
function that was lost due to injury, illness or surgery. Therapeutic massage is eligible when rendered as
a component of physical therapy in the treatment of a medical condition and when performed by a
licensed provider. Visits beyond 40 are subject to medical necessity review and must be pre-approved by
the health plan administrator. You should contact your health plan administrator before your 40 111 visit so
that n1edical necessity can be determined for future visits. Claims received for more than 40 visits that
have not been authorized will be denied.

A utilization review to determine if the treatments or services are medically necessary and eligible for
reimbursement will be required. If some or all of the services are subsequently determined not to be
eligible under the terms of the IBM Medical Plan (for example, if it is not medically necessary), you will
be responsible for paying the cost of the services deemed ineligible, including those services which are
deemed not medically necessary to determine continued eligibility for benefits.

Physical therapy is not covered when it is being rendered to treat a chronic condition where rehabilitation
is not the goal, when the therapy has reached the maintenance stage or for developmental delays. See the
"IBM Special Care for Children Assistance Plan" section for details.

Pre-Admission Testing
Pre-adn1ission tests required by hospitals before an inpatient confinement (e.g., chest x-ray, urinalysis,
CBC) as well as tests related to outpatient surgery are eligible if they are performed and billed by an
eligible provider.

Preventive Care Services
Preventive Care Services that fall under the six categories shown below will be reiinbursed at 100% and
are not subject to the deductible if the service is billed as an eligible Preventive Care Service (and not as a
diagnosis for a condition) and is received from an in-network provider,

Services that are not Preventive Care Services and that are not eligible for 100 % benefit coverage and/ or
waiver of deductible may be eligible for coverage under nom1al Plan provisions. Note: An office visit before
a preventive service may not be eligible for 100% benefit coverage.




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Terms and Conditions:
  1. Any subsequent or follow-up diagnostic testing performed as a result offindings indicated by the Preventive
     Care Services will not be eligible for 100% reimbursement or waiver of the deductible.
  2. Services or itenis described in this section will not be covered or reimbursed under the Plan as Preventive Care
     Services if they are received by participants who have current symptoms or have been diagnosed with a medical
     condition associated with those services or items; instead, coverage for the services or items under the Plan will
     be considered under normal Plan provisions. This determination is nrnde by the health plan Administrator
     based on the information submitted in the claim for the item or service.
  3. Routine eye examinations, including prevenfive tests for visual acuity (refraction), color vision, glauconza,
     cataracts and field of vision bi; an eligible provider (ophthalmologist, optometrist or optician) and expenses for
     devices (for example, prescription eyeglasses, contact lenses) associated with correction of deficiencies, are not
     covered under the Plan, but may be covered under the IBM Vision Plan.
  4. The health plan Administrator may impose limitations on the frequency, method, treatment, or setting for
     Preventive Care Services provided under the Plan or described in any of t/1e categories below using reasonable
     medical nianagement techniques.

The IBM Plan covers services that are graded" A" or "B" by the United States Preventive Services Task
Force (USPSTF) as routine preventive care under the IBM PPO, IBM PPO Plus, IBM EPO, IBM PPO with
HSA, and IBM Enhanced PPO with HSA plan options. This list is updated on an ongoing basis by the
USPSTF. Please refer to https://www.uspreventiveservicestaskforce.org/Page/ Name/ uspstf-a-and-b-
recommendations for the most recent list and contact your medical plan administrator with any questions
you have. If you are enrolled in an HMO, you must contact the HMO directly to determine whether any
of these benefits are covered by the HMO.

 Topic                                        Description
 Abdominal aortic aneurysm screening: men     The USPSTF recommends one-time screening for abdominal aortic aneurysm
                                              by ultrasonography in men ages 65 to 75 years who have ever smoked.
 Bacteriuria screening: pregnant women        The USPSTF recommends screening for asymptomatic bacteriuria with urine
                                              culture in pregnant women at 12 to 16 weeks' gestation or at the first prenatal
                                              visit, if later.
 Blood pressure screening: adults             The USPSTF recommends screening for high blood pressure in adults aged 18
                                              years or older. The USPSTF recommends obtaining measurements outside of
                                              the clinical setting for diagnostic confirmation before starting treatment.
 BRCA risk assessment and genetic             The USPSTF recommends that primary care providers screen women who
 counseling/testing                           have family members with breast, ovarian, tubal, or peritoneal cancer with one
                                              of several screening tools designed to identify a family history that may be
                                              associated with an increased risk for potentially harmful mutations in breast
                                              cancer susceptibility genes (BRCA 1 or BRCA2). Women with positive
                                              screening results should receive genetic counseling and, if indicated after
                                              counseling, BRCA testing.
 Breast cancer screening                       Every 1 to 2 years, as determined by the patient's physician.
 Breastfeeding interventions                  The USPSTF recommends providing interventions during pregnancy and after
                                              birth to support breastfeeding.

                                              Costs for renting breastfeeding equipment or for purchasing an electric
                                              nonhospital grade breast pump or manual pump will be covered as a
                                              Preventive Care Service.

 Cervical cancer screening                    Women who have been sexually active and have a cervix. Note; The Plan also
                                              covers cervical testing for women who are not sexually active as part of the
                                              Well Adolescent (Female) Exam and Well Woman Exam described in the 6th
                                              category of Preventive Care Services.

 Chlamydia screening: women                    The USPSTF recommends screening for chlamydia in sexually active women
                                               age 24 years or younger and in older women who are at increased risk for
                                               infection.
 Colorectal cancer screening                   Adults, as determined by the patient's physician.




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 Topic                                              Description
 Depression screening: adolescents                  The USPSTF recommends screening for major depressive disorder (MOD) in
                                                    adolescents aged 12 to 18 years. Screening should be implemented with
                                                    adequate systems in place to ensure accurate diagnosis, effective treatment,
                                                    and appropriate follow-up.

 Depression screening: adults                       The USPSTF recommends screening for depression in the general adult
                                                    population, including pregnant and postpartum women. Screening should be
                                                    implemented with adequate systems in place to ensure accurate diagnosis,
                                                    effective treatment, and appropriate follow-up.
 Diabetes screening                                 Screening for Type 2 Diabetes Mellitus in Adults.

                                                    Asymptomatic adults with sustained blood pressure (either treated or
                                                    untreated) greater than 135/80 mm Hg.
 Falls prevention: older adults                     The USPSTF recommends exercise interventions to prevent falls in
                                                    community-dwelling adults 65 years or older who are at increased risk for falls.

 Gestational diabetes mellitus screening            The USPSTF recommends screening for gestational diabetes mellitus in
                                                    asymptomatic pregnant women after 24 weeks of gestation.

 Gonorrhea prophylactic medication: newborns        The USPSTF recommends prophylactic ocular topical medication for all
                                                    newborns to prevent gonococcal ophthalmia neonatorum.
 Gonorrhea screening: women                         The USPSTF recommends screening for gonorrhea in sexually active women
                                                    age 24 years or younger and in older women who are at increased risk for
                                                    infection.
 Healthy diet and physical activity counseling to   The USPSTF recommends offering or referring adults who are overweight or
 prevent cardiovascular disease: adults with        obese and have additional cardiovascular disease (GVD) risk factors to
 cardiovascular risk factors                        intensive behavioral counseling interventions to promote a healthful diet and
                                                    physical activity for GVD prevention.
 Hemoglobinopathies screening: newborns             The USPSTF recommends screening for sickle cell disease in newborns.
 Hepatitis B screening: nonpregnant                 The USPSTF recommends screening for hepatitis B virus infection in persons
 adolescents and adults                             at high risk for infection.

 Hepatitis B screening: pregnant women              The USPSTF strongly recommends screening for hepatitis B virus infection in
                                                    pregnant women at their first prenatal visit.
 Hepatitis G virus infection screening: adults      The USPSTF recommends screening for hepatitis G virus (HGV) infection in
                                                    persons at high risk for infection. The USPSTF also recommends offering one-
                                                    time screening for HGV infection to adults born between 1945 and 1965.
 Screening for Human Immunodeficiency Virus         Adolescents and adults at increased risk for HIV infection as determined by the
 (HIV)                                              patient's physician.

                                                    For all sexually active women, counseling and screening for HIV on an annual
                                                    basis (Effective January 1, 2013).

                                                    Pregnant women.

 Hypothyroidism screening: newborns                 The USPSTF recommends screening for congenital hypothyroidism in
                                                    newborns.

 Intimate partner violence screening: women of      The USPSTF recommends that clinicians screen for intimate partner violence
 reproductive age                                   in women of reproductive age and provide or refer women who screen positive
                                                    to ongoing support services.
 Screening for Iron Deficiency Anemia               For asymptomatic pregnant women, once during pregnancy.

 Lung cancer screening                              The USPSTF recommends annual screening for lung cancer with low-dose
                                                    computed tomography in adults ages 55 to 80 years who have a 30 pack-year
                                                    smoking history and currently smoke or have quit within the past 15 years.
                                                    Screening should be discontinued once a person has not smoked for 15 years
                                                    or develops a health problem that substantially limits life expectancy or the
                                                    ability or willingness to have curative lung surgery.

 Obesity screening and counseling: adults           The USPSTF recommends that clinicians ofter or refer adults with a body mass
                                                    index of 30 or higher (calculated as weight in kilograms divided by height in
                                                    meters squared) to intensive, multicomponent behavioral interventions.




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Topic                                            Description
Obesity screening: children and adolescents      The USPSTF recommends that clinicians screen for obesity in children and
                                                 adolescents 6 years and older and offer or refer them to comprehensive,
                                                 intensive behavioral inteiventions to promote improvements in weight status.

Osteoporosis screening: postmenopausal           The USPSTF recommends screening for osteoporosis with bone measurement
women younger than 65 years at increased         testing to prevent osteoporotlc fractures in postmenopausal women younger
risk of osteoporosis                             than 65 years who are at increased risk of osteoporosis, as determined by a
                                                 formal clinical risk assessment tool.

 Osteoporosis screening. women 65 years and      The USPSTF recommends screening for osteoporosis with bone measurement
 older                                           testing to prevent osteoporotic fractures in women 65 years and older.

 Phenylketonuria screening: newborns             The USPSTF recommends screening for phenylketonurla in newborns.

 Preec!ampsia: screening                         The USPSTF recommends screening for preeclampsia in pregnant women
                                                 with blood pressure measurements throughout pregnancy.

 Rh incompatibility screening: first pregnancy   The USPSTF strongly recommends Rh (D) blood typing and antibody testing
 visit                                           for all pregnant women during their first visit for pregnancy-related care.

 Rh incompatibility screening: 24-28 weeks'      The USPSTF recommends repeated Rh (D) antibody testing for all
 gestation                                       unsensitized Rh (D)-negative women at 24 to 28 weeks' gestation, unless the
                                                 biological father is known to be Rh (D)-negatlve.

 Sexually transmitted infections counseling      The USPSTF recommends intensive behavioral counseling for all sexually
                                                 active adolescents and for adults who are at increased risk for sexually
                                                 transmitted infections.

 Skin cancer behavioral counseling               The USPSTF recommends counseling young adults, adolescents, children,
                                                 and parents of young children about minimizing exposure to ultraviolet (UV)
                                                 radiation for persons aged 6 months to 24 years with fair skin types to reduce
                                                 their risk of skin cancer.

 Syphilis screening: nonpregnant persons         The USPSTF recommends screening for syphilis infection in persons who are
                                                 at increased risk for infection.
 Syphilis screening: pregnant women              The USPSTF recommends early screening for syphilis infection in all pregnant
                                                 women.
 Tobacco use counseling and interventions:       The USPSTF recommends that clinicians ask all adults about tobacco use,
 nonpregnant adults                              advise them to stop using tobacco, and provide behavioral interventions and
                                                 U.S. Food and Drug Administration (FDA)-approved pharmacotherapy for
                                                 cessation to adults who use tobacco.

 Tobacco use counseling: pregnant women          The USPSTF recommends that clinicians ask all pregnant women about
                                                 tobacco use, advise them to stop using tobacco, and provide behavioral
                                                 interventions for cessation to pregnant women who use tobacco.

 Tobacco use interventions: children and         The USPSTF recommends that clinicians provide interventions, including
 adolescents                                     education or brief counseling, to prevent initiation of tobacco use in school-
                                                 aged children and adolescents.
 Tuberculosis screening: adults                  The USPSTF recommends screening for latent tuberculosis infection in
                                                 populations at increased risk.

 Unhealthy alcohol use: adults                   The USPSTF recommends screening for unhealthy alcohol use in primary care
                                                 settings in adults 18 years or older, including pregnant women, and providing
                                                 persons engaged in risky or hazardous drinking with brief behavioral
                                                 counseling interventions to reduce unhealthy alcohol use.

 Vision screening: children                      Screening To Detect Amblyopia, Strabismus, And Defects In Visual Acuity (i.e.,
                                                 Screenings For Visual Impairment) for children younger than age 5.



The IBM Plan covers services that are graded" A" or "B" by the United States Preventive Services Task
Force (USPSTF) as routine preventive care under the IBM Managed Pharmacy Program. This list is
updated on an ongoing basis by the USPSTF. Please refer to
h.!l£s: // www. uspreventiveservicestaskforce.orgL..EMe / Name/ uspstf-a-and-b-recommendations for the
most recent list and contact your medical plan adnlinistrator with any questions you have. Please note that



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a presc,iption is required for coverage for each item listed below. If you are enrolled in an HMO, you must
contact the HMO directly to determine whether any of these benefits are covered by the HMO.

 Topic                                            Description
 Aspirin to prevent cardiovascular disease:       Men age 45 to 79 years when the potential benefit due to a reduction in
 men                                              myocardial infarctions outweighs the potential harm due to an increase in
                                                  gastrointestinal hemorrhage

 Aspirin to prevent cardiovascular disease:       Women age 55 to 79 years when the potential benefit of a reduction in ischemic
 women                                            strokes outweighs the potential harm of an increase in gastrointestinal
                                                  hemorrhage.

 Breast cancer preventive medications             The USPSTF recommends that clinicians engage in shared, informed decision
                                                  making with women who are at increased risk for breast cancer about
                                                  medications to reduce their risk. For women who are at increased risk for
                                                  breast cancer and at low risk for adverse medication effects, clinicians should
                                                  offer to prescribe risk-reducing medications, such as tamoxifen or raloxifene.

 Dental caries prevention: infants and children   Administration of oral fluoride supplementation to prevent tooth decay
 up to age 5 years
                                                  At currently recommended doses to preschool children older than 6 months of
                                                  age whose primary water source is deficient in fluoride.

 Felic acid supplementation                       The USPSTF recommends that all women who are planning or capable of
                                                  pregnancy take a daily supplement containing 0.4 to 0.8 mg (400 to 800 µg) of
                                                  folic acid.

 Screening for Iron Deficiency Anemia             For asymptomatic pregnant women, once during pregnancy.

 Preeclampsia prevention: aspirin                 The USPSTF recommends the use of low-dose aspirin (81 mg/d) as preventive
                                                  medication after 12 weeks of gestation in women who are at high risk for
                                                  preeclampsia.

 Statin preventive medication: adults ages 40-    The USPSTF recommends that adults without a history of cardiovascular
 75 years with no history of CVD, 1 or more       disease (CVD) (i.e., symptomatic coronary artery disease or ischemic stroke)
 CVD risk factors, and a calculated 10-year       use a low- to moderate-dose statin for the prevention of CVD events and
 CVD event risk of 10% or greater                 mortality when all of the following criteria are met: 1) they are ages 40 to 75
                                                  years; 2) they have 1 or more CVD risk factors (i.e., dyslipidemia, diabetes,
                                                  hypertension, or smoking); and 3) they have a calculated 10-year risk of a
                                                  cardiovascular event of 10% or greater. Identification of dyslipidemia and
                                                  calculation of 10-year CVD event risk requires universal lipids screening in
                                                  adults ages 40 to 75 years.

 Supplementation with iron                        Asymptomatic children aged 6-12 months who are at increased risk of iron
                                                  deficiency anemia.

 Tobacco use counseling and interventions:        The USPSTF recommends that clinicians ask all adults about tobacco use,
 nonpregnant adults                               advise them to stop using tobacco, and provide behavioral interventions and
                                                  U.S. Food and Drug Administration (FDA)-approved pharmacotherapy for
                                                  cessation to adults who use tobacco.



The following imn1unizations for routine use in children, adolescents, and adults that have in effect a
recomn1endation from the Advisory Committee on Immunization Practices of the Centers for Disease
Control and Prevention are available under the IBM PPO, IBM PPO Plus, IBM EPO, IBM PPO with HSA,
IBM Enhanced PPO with HSA. If you are emailed in an HMO, you must contact the HMO directly to
determine whether any of these benefits are covered by the HMO.
     •     Cholera vaccine
     •     Diphtheria
     •     (DTP) Diphtheria, Tetanus, Pertussis Hemophilus influenza B vaccine (HIB)
     •     Hepatitis A and Hepatitis B (HepA-HepB)
     •     Hepatitis A vaccine
     •     Hepatitis B vaccine


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   •     Human papilloma virus (HPV) vaccine (e.g. Gardasil)
   •     Influenza virus vaccine
   •     Measles vaccine
   •     (MMR) Measles, Mumps, Rubella
   •     Meningococcal polysaccharide vaccine
   ■     Mumps vaccine
   •     Pertussis
   •     Pneu1nococcal vaccine
    •    Poliovirus vaccine
    •    Rotavirus vaccine (e.g. Rotateq)
    •    Rubella vaccine
    •    Shingles (Zoster) vaccine for age 60 and over
    •    Tetanus
    •    Typhoid vaccine
    •    Varicella vaccine
    ■    Yellow fever vaccine

Preventive care services and screenings for infants, children and adolescents as provided for in the
comprehensive guidelines supported by the Health Resources and Services Administration available at
www.hrsa.gov.

Preventive care services and screenings for women provided for in the guidelines supported by the
Health Resources and Services Administration.

The following additional Preventive Care Services are available under the IBM PPO, IBM PPO Plus, IBM
EPO, IBM PPO with HSA, and IBM Enhanced PPO with HSA. If you are enrolled in an HMO, you must
contact the HMO directly to determine whether any of these benefits are covered by the HMO.

 Physical Exams and Tests                   Description
 Newborn Exam                               In addition to the screenings recommended for newborns by the United States
                                            Preventive Services Task Force described in Category 1, such as hearing
                                            testing, PKU screening, and sickle cell screening, the Newborn Exam includes
                                            state required congenital screenings, and testing of hemoglobin and hematocrit,
                                            glucose, bilirubin and galactose.

 Well Child Exam                            Includes screenings for hemoglobin and/or hematocrit, tuberculosis, lead and a
                                            urinalysis.
 Well Woman Exam                            Includes preventive care visit annually for adult women to obtain recommended
                                            preventive services that are age and developmentally appropriate, including
                                            preconception and preMnatal care*. Includes cervical (PAP) test, regardless of
                                            whether the woman is sexually active and includes human papillomavirus
                                            ("HPV") testing. Several visits may be included in the exam to the extent
                                            necessary to obtain all necessary preventive services, dependent on the
                                            woman's health status, health needs and other risk factors.

                                            * PreMnatal care includes preMnatal obstetrical visits, any lab services required by
                                            law to be covered as a Preventive Care Service, and any immunizations that
                                            have in effect a recommendation from the Advisory Committee on Immunization
                                            Practices and are listed above.




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 Physical Exams and Tests                    Description
 General Adult Exam                          In addition to the cholesterol, hypertension, and osteoporosis screenings
                                             recommended by the United States Preventive Services Task Force described in
                                             Category 1, the General Adult Exam includes lipid profile, CBC, routing
                                             multichannel blood test, glucose, EKG and hearing screening (not including
                                             audiometric testing). The General Adult Exam also includes bone mineral
                                             density tests that are performed in connection with any osteoporosis screening
                                             exam.
 Adult Cancer Screening                      Adult Cancer Screening includes:
                                                In addition to colorectal cancer screenings recommended by the United
                                                States Preventive Services Task Force (i.e., fecal occult blood testing,
                                                colonoscopy, or sigmoidoscopy), screen biopsy, polyp removal, anesthesia
                                                and facility charges in connection with a colonoscopy or sigmoidoscopy.
                                                Prostate cancer screening, including digital rectal exam (DRE).
                                                Skin cancer screening.
                                                Mammography (which is also recommended by the United States Preventive
                                                Services Task Force).


Questions on specific Preventive Care Services covered and any frequency or other limitations on these
services should be directed to your health plan using the Member Services number listed on your ID
card.

Reconstructive Surgery after Mastectomy
Coverage applies when the mastectomy itself is covered by the Plan and includes reconstructive surgery
of the breast on which the mastectomy is performed, reconstructive surgery of the other breast to produce
a symmetrical appearance and prostheses and complications of mastectomies, such as ly1nphedema.

Self-Donated Blood Donations
Processing, storage and administration charges for up to three pints of the patient's self-donated blood
for potential transfusion to the patient are eligible for coverage when the patient is scheduled for surgery.

Series of Surgical Treatments
In some instances, it may be necessary to receive a series of surgical treatments or several stages of
treatment in order to accomplish total repair or correction. You are urged to obtain a predetermination of
benefits from the health plan administrator in advance of each stage of treatment.

Speech Therapy
Speech therapy rendered by an eligible speech pathologist which is prescribed by a physician and an
integral part of a total rehabilitation program necessitated either by traumatic injury to the brain (for
example, accidental injury, stroke or brain surgery) or by the loss of or injury to an individual's larynx is
covered up to a maximum of 40 visits per calendar year. Visits beyond 40 are subject to medical necessity
review and must be pre-approved by the health plan administrator. You should contact your health plan
administrator before your 40 th visit so that medical necessity can be determined for future visits. Claims
received for more than 40 visits that have not been authorized will be denied.

A utilization review to determine if the treatments or services are medically necessary and eligible for
reimburse1nent will be required. If some or all of the services are subsequently determined not to be
eligible under the terms of the IBM Plan (for example, if it is not medically necessary), you will be
responsible for paying the cost of the services deen1ed ineligible, including those services which are
deemed not medically necessary.

Note: Speech therapy is not covered when rendered to treat a chronic condition where rehabilitation is not the goal,
when therapy has reached the maintenance state, to refine an individual's existing speech or to educate an individual




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whose speech has not yet developed, nor is myofnnctional therapy. (See the "IBM Special Care for Children
Assistance Plan" section for details.)

Telemedicine
Telemedicine is a "virtual visit" with a physician or other medical professional through your health
plan's telemedicine network via the telephone or through your computer. Contact your health plan
administrator to inquire about in-network telemedicine providers.

Temporomandibular Joint Dysfunction (TMJ)
In certain rare circumstances, surgical procedures for temporomandibular joint dysfunction (TMJ) may be
required and recommended by your provider. Generally, this will only be the case when conventional
dental treatment has already been tried and failed to correct the TM) dysfunction. In such cases, certain
surgical procedures may be eligible for coverage under the medical plan options. To determine if medical
benefits would apply for TM) expenses in your particular circumstance, you should consult the health
plan administrator before you incur any expenses. All other TM)-related services are not eligible for
coverage under the IBM Medical Plan.

Vision Therapy
Visual therapy services rendered by an optometrist to correct faulty optical fusion or poor coordination of
ocular muscles are eligible for coverage. Eligible charges for optometric services include:
    ■     Therapy directed at restoring eye muscle tone and movement after surgery.
    •     Therapy for faulty optical fusion to muscular imbalance.
    •     TI1erapy for amblyopia.
    •     Therapy for various forms of eye muscle derangement resulting in the diagnosis of diplopia,
          heterophoria or esotropia.

Visual training ad1ninistered to improve perceptive powers, either from the standpoint of concentration
or comprehension, without the objective of correcting an organic ilnpairment, are not eligible.

Wigs and Toupees
Coverage for wigs and toupees, up to an annual maximum of $2,000 per individual after the annual
deductible has been met, only for covered individuals who:
    11    Have suffered traumatic injuries, including serious burns.
    ■      Have certain medical conditions, such as alopecia (areata, totalis or universalis) and lupus.
    ■      Have experienced hair loss resulting from medical treatment, such as chen1otherapy and
           radiation treatment.




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Exclusions: What the IBM Medical Plan Does Not
Cover
While the n1edical plan options cover n1any services, there are some that are not covered even if your
physician or professional provider approves or recommends them. To ascertain if a service is covered,
you should caJI the health plan administrator to verify benefits. Services that are not covered by the
medical plan options include, but are not limited to, the following:
    •     Services received out-of-network, except in an emergency or as described under" Out-of-Network
          Medical Coverage."
    •     Expenses related to the completion of your claim form by a third party, medical testimony or
          medical records.
    •     Cosn1etic services are not eligible under the Plan, except for certain cosmetic surgeries and
          reconstructive surgery after mastectomy, as specified in "What's Covered Under the IBM Medical
          Plan."
    ;;    Custodial care services are not covered under the Plan. "Custodial" is defined as care that
          provides a level of routine maintenance for the purpose of meeting personal needs, and which
          can be provided by a layperson that does not have professional qualifications, skills or training.
          Custodial care also includes, but is not limited to:
               Care that does not require a licensed, skilled professional.
               Homemaking services such as meal preparation and housecleaning.
               Activities of daily living, including assistance in bathing, dressing, eating or toileting.
               Routine care such as help in transferring, walking, dressing or eating.
               Care of colostomy and ileostomy bags, indwelling catheters, gastrostomy tubes, routine
               tracheotomies, routine dressing changes, cast care and routine care in connection with braces
               and sllnilar devices.
               Respiratory therapy - gases (oxygen), routine administration of medical gases after a
               regimen of therapy has been established.
    •      Procedures that are dental in nature are not covered under the medical plan options, except in the
           case of treatment for accidental injury to sound natural teeth if the health plan administrator
           determines that accidental injury coverage applies. Non-surgical TMJ services are not covered
           under the medical plan options. A procedure is considered "dental in nature" if it primarily is
           concerned with the teeth, oral cavity and associated supporting structures of the teeth. It includes
           the prevention, diagnosis and treahnent of diseases and injuries of this area. The service may be
           covered under your dental option (if any). See the "Dental Coverage" section for more
           information.
    •      Therapies to treat a developmental delay or developmental disabilihj, including physical therapy,
           occupational therapy or speech therapy, are not eligible. See the "IBM Special Care for Children
           Assistance Plan" section if your child is being treated for a developmental delay for consideration
           of these charges.
    •      Educational or training services or supplies. A charge for a service or supply is not covered to the
           extent that it is determined by the health plan administrator to be educational or training in
           nature. Charges in cmmection with such a service or supply are also not covered. "Educational"
           indudes, but is not limited to




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               Services or supplies for which the primary purpose is to provide the person with any of the
               following:
               •   Training in the activities of daily living - does not include training directly related to
                   treatment of a sickness or injury that is expected to result in significant physical
                   improvement in the condition within two n1onths of the start of treatn1ent, or that
                   resulted from a previously denrnnstrated ability to perform those activities, which may
                   be eligible for coverage
               •   Instruction in scholastic skills such as reading and writing
               •   Preparation for an occupation and
               •   Treatment for learning disabilities;
               •   Cognitive therapy;
               •   Services or supplies provided to promote development beyond any level of function
                   previously demonstrated; and
              •    Services or supplies related to lifestyle or wellness programs .
    •     Out-of-network mental health and substance use charges in excess of 80% of the U&P rate. Any
          amount of the charges in excess of the U&P rate as determined by the health plan will not be
          considered in calculating benefits.
    •     Any excluded drug or service listed under the section "Exclusions Under the IBM Managed
          Pharmacy Program."
    •     Experimental or investigational services or supplies. A treatment or other service or supply (and any
          other services, supplies or equipment it requires) will generally not be covered if it is
          experimental or investigational. "Experimental or investigational" means the medical use of a
          service or supply is still under study and/ or is not yet recognized or accepted throughout the
          medical profession in the United States as safe and effective for diagnosis or treatment of the
          diagnosed condition. This includes, but is not limited to:
              All phases of clinical trials.
              All treatment protocols based on or similar to those used in clinical trials.
              Federal Food and Drug Administration (FDA) approved drugs, FDA treatment
              "investigational new drugs" and National Cancer Institute Group C drugs, when used for
              treatrn.ent indications other than those for which the drug's use is recognized throughout the
              medical profession in the United States.
    11    Routine foot care for removal of corns and calluses.
    •     The following are specifically excluded with respect to treah11ent of Gender Dysplwria:
              Reversal of genital surgery or reversal of surgery to revise secondary sex characteristics
              Sperm preservation in advance of hormone treatment or gender surgery
              Cryopreservation of fertilized embryos
              Voice n1odification surgery and
              Infertility
    •     Hair growth medications or treatments for the restoring, promotion or discouragement of hair
          growth (e.g. electrolysis) are not eligible.
    •     Homeopathic and naturopatltic treat,nents.
    •     Incontinence supplies are not eligible (e.g., Depends, diapers, etc.).




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   •      Charges incurred at an ineligible facilihJ and special units within facilities, including educational
          facilities, custodial care facilities, special schools, therapeutic schools, wilderness programs,
          nursing homes, rest homes and homes for the aged or other similar institutions. Charges for room
          and board in these facilities are not eligible under the IBM Medical Plan. Consult "What's
          Covered Under the IBM Medical Plan" to see if any charges incurred for medical services while
          in the facility are eligible for benefits.
       Other facility fees may not be eligible, including:
              Facility charges incurred as a result of treatment received from a freestanding pain
              management clinic or pain management departments affiliated/ associated with an acute
              care hospital are not eligible for coverage. Certain medical components may be eligible
              under "Medical Services" (e.g., physical therapy, etc.). You should contact your health
              plan to verify eligibility of such charges before incurring the expense.
              Facility fees incurred at privately-owned and operated laboratories and surgical or diagnostic
              suites within a hospital building/ complex may not be eligible for coverage. You are urged to
              verify eligibility by contacting your health plan administrator before obtaining services.
   ■      Charges for services which are not medically necessan;. A charge for a service or supply is not
          covered to the extent that it is not medically necessary for the treatment or diagnosis of an injury,
          illness or pregnancy or within the intent of the Plan provisions. Charges in connection with such
          a service or supply are also not covered. See "What's Covered Under the IBM Medical Plan" for
          the definition of medically necessary.
   •      Marital therapy is not eligible except through the Employee Assistance Program. See the IBM
          Managed Mental Health Care Program section for coverage details.
   •      Massage Therapy is not eligible, unless provided as part of physical therapy or chiropractic care.
   •      Medical equipment not eligible for coverage:
             Medical equipment that is deluxe rather than standard and features that are not medically
             necessary. Allowance for standard equipment will not be applied towards the cost of deluxe
              equipn1ent or features.
              Items that are of general use for non-therapeutic purposes (such as air conditioners, air or
              water purifiers, mattress/pillow covers, and so on), even if, in your case, it is prescribed for a
              medical condition.
              Items that are of general use for physical fitness (such as rowing machines, exercise bicycles,
              barbells, treadn1ills and so on)t even i( in your case, it is prescribed for a medical condition.
              Homes, vehicles (other than wheelchairs) or improve1nents or modifications to a home or
              vehicle.
              Common household first-aid items (such as gauze, adhesive tape, heating pads, hot water
              bottles and so on).
              Cosmetic items. Wigs and other hair pieces may be covered under certain circumstances as specified
              in "What's Covered Under the IBM Medical Plan."
              Equipment and supplies the health plan administrator determines are not within the
              intended scope of coverage or are otherwise ineligible.
              Back-up equipment is not eligible.
   •      Occupational injuries or illnesses that are covered under Workers' Compensation.




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   •    Pain Management Clinics. Facility charges incurred as a result of treatment received from a
        freestanding pain management clinic or pain management departments affiliated/ associated
        with an acute care hospital are not eligible for coverage. Certain n1edical components may be
        eligible under medical services (e.g., physical therapy, etc.). You should contact the health plan
        administrator to verify eligibility of such charges before incurring the expense.
   ■    Private duh; nursing sernices rendered in a hospital setting are not covered, since the hospital is
        expected to provide 24-hour n1edically necessary nursing care as a part of the services covered by
        the hospital's room charges.
   ■    Rest cures, or illness or injun; arising from an act of war if such act occurs while the patient is covered
        under the Plan. This provision does not apply to eligible care and services furnished in a Veterans
        Administration hospital in connection with a non-service-related disability.
   •    Surrogate Parenting is not covered.
   •    Technology-enabled psychotherapy sessions conducted via telephone, video conference, Skype or other
        mobile technologi; are not a covered benefit under the IBM Managed Mental Health Care Program
        without the prior approval of the mental health plan administrator.
   •    Vision exams, services and procedures for changes to visual refraction, including LASIK surgery
        or other eye surgeries, when the primary purpose is to correct 1nyopia, hyperopia or astigmatism.
        (See the "Vision Coverage" section for information about the IBM Vision Plan.)




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                                                                               IBM MENTAL HEALTH CARE PROGRAM



IBM Mental Health Care Program


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OUT-OF-NETWORK SERVICES
Mental health services will generally continue to be covered out-of-network. However, the Plan will not cover out-of-network, non-
urgent residential and day rehabilitation services received outside the covered IBMer's state of residence, or immediate bordering
state. (This will not apply to urgent care, students attending out-of-state schools or those with dual addresses.)

Contact Optum directly to learn more.



The Mental Health Care Program has three components:
     •    The Clinical Referral Line (CRL) is a 24-hour toll-free number that's answered by mental health
          clinicians who will assist you in accessing the mental health services provided by the IBM Mental
          Health Care Program including the Employee Assistance Program, the Managed Mental Health
          Care Program. The Clinical Referral Line is available to all employees, regardless of their medical
          plan option.
     •    The Employee Assistance Program (EAP) provides up to eight counseling sessions with an EAP
          clinician at no cost to you. The EAP is available to all employees regardless of their medical plan
          option.
     •    The Managed Mental Health Care (MMHC) Program provides more intensive outpatient and
          inpatient treatment to participants in the IBM PPO, IBM PPO Plus, IBM EPO, IBM PPO with HSA
          and IBM Enhanced PPO with HSA options through a qualified network of treatment providers
          and/ or facilities. In addition to face-to-face EAP and MMHC outpatient sessions, eligible
          me1nbers can also access care through Mind Virtual Health, which uses secure, web-based
          videoconferencing with an Optum provider of your choosing.


 MENTAL HEALTH PLAN ADMINISTRATOR
 For the IBM PPO, IBM PPO Plus, IBM EPO, IBM PPO with HSA and IBM Enhanced PPO with HSA, the administrator for the
 Managed Mental Health Care Program is Optum by United Behavioral Health, a managed behavioral health care organization.

 Clinical Referral Line
 The Clinical Referral Line ls available for precertification 24 hours a day, 365 days a year.

 Customer Service Availability
 Customer Services Representatives are available for claims and non-clinical inquiries Monday through Friday, 8 a.m. to 7 p.m.
 Eastern time, excluding holidays.

 You can reach Optum at 800-445-9720
 {TTY: Dial 711 and enter 800-445-9720



WHO IS ELIGIBLE
The Clinical Referral Line and Employee Assistance Program are available to all eligible employees and
their eligible family members, including HMO enrollees and employees, retiree supplementals and
long-term supplementals who have waived IBM medical coverage. The Managed Mental Health Care
Program is available only to participants enrolled in the IBM PPO, IBM PPO Plus, IBM EPO, IBM PPO



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with HSA and IBM Enhanced PPO with HSA. Note that other IBM-sponsored medical plans provide
mental health/ substance use benefits under the terms of their plans.

Employees enrolled in the IBM Global Assignee Medical Plan are not eligible for benefits through the
Employee Assistance Program or the IBM Managed Mental Health Care Program. Coverage for these
services is received through the IBM Global Assignee Medical Plan administered by Cigna Global Health
Benefits.

Managed Mental Health Plan Administrator
The administrator for the Managed Mental Health Care Program is Optum by United Behavioral Health,
a managed behavioral health care organization. For the HMOs, the individual health plan is the
administrator for mental health/ substance use benefits.

CLINICAL REFERRAL LINE
The Clinical Referral Line (CRL) is staffed by mental health professionals with clinical experience in the
areas of mental health care and substance use treatment. These clinicians are employed by Opium, and it
is their responsibility to ask you several questions regarding the clinical nature of your situation to
detern1ine what options are available to you based on the Plan provisions.

To access clinical services, precertify EAP and Mental Health Care Program care and/ or identify network
providers in your area, call the IBM-dedicated Clinical Referral Line 24 hours a day, 7 days a week at
800-445-9720. If care is medically necessary at the time of your call to the Clinical Referral Line, your care
will be precertified during your call. (See "MMHC Precertification" later in this section for more
information.)

Call the Clinical Referral Line To ...
    •    Review your clinical needs and discuss treatment options .
    •    Determine whether a provider is in the network at the time of the inquiry .
    •    Receive a referral to a local EAP clinician for a comprehensive assessment and, when appropriate,
         counseling.
    •    Identify a local EAP clinician, make an appointment with a local EAP clinician if requested or get
         information for the nearest psychiatric facility, en1ergency romn or treatn1ent provider if
         necessary. (See "MMHC Emergency Care Coverage" for more information.)
    •    Precertify your care before obtaining EAP treatment.
    •    Receive a referral to your local MMHC network provider, or HMO or other non-IBM health plan,
         when EAP counseling is not appropriate or has been exhausted.
    •    Precertify your care before obtaining treatment Any time you go to a new provider, facility or
         prograin, even if your EAP clinician or your current MMHC provider rec01nn1ended the new
         provider, you must call the Clinical Referral Line first to determine if precertification is required
         for any reimbursement under the IBM EPO option and for the highest level of reimbursement
         under the IBM PPO, IBM PPO Plus, IBM PPO with HSA and IBM Enhanced PPO with HSA
         options.
    •    Identify if a non-network MMHC provider may be eligible for payment under the Plan. (See
         "MMHC Provider Network.")
    •    Determine if the proposed treatment is reimbursable under the Plan .




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EMPLOYEE ASSISTANCE PROGRAM (EAP)

The EAP can help when you need assistance with a personal or work-related problem. In most cases,
issues can be resolved effectively within the EAP. Some people will require more specialized or longer-
term treatment. In these situations, the EAP clinician will assist you in com1ecting with an appropriate
MMHC provider, if eligible, or with your HMO or other group health coverage.

EAP clinicians are independently licensed mental health/ substance use-disorder treatment professionals
who are contracted with the Mental Health Care Program administrator.

The services of the EAP, include up to eight face-to-face or mind virtual health counseling sessions per
issue with an EAP clinician and a comprehensive evaluation and treatment plan, are provided at no cost
to you or your eligible family members. The EAP is not intended for long-term treatment of an ongoing
problem. Any sessions beyond the eight EAP sessions will not be covered. If you have completed EAP
sessions for one specific issue, you may use the EAP again for the same issue after a minimum wait of 90
days, regardless of the Plan Year as long as you have not been receiving ongoing treatment for this issue
through the mental health portion of your benefit.

The EAP can help you with a variety of issues including:
    •    Parenting concerns
    •    Marriage and family issues
    •     Alcohol and drug problems
    •    Stress related to financial and legal situations
    •    Emotional stress
    •    Improving communication at work or home
    •    Life crises
    •    Other personal issues

EAP services are entirely voluntary. EAP clinicians are not employees or contractors of IBM, nor are they
located on IBM premises. No one will be told of your participation in the EAP without your permission,
except as required by law in a situation dee1ned potentially life threatening by a clinician, or to review an
appeal initiated by you. See "Confidentiality" for more information.

If You Need Treatment Beyond the Eight EAP Sessions
I/You Are Eligible for the Managed Mental Health Care Program
If you are covered under the IBM PPO, IBM PPO Plus, IBM EPO, IBM PPO with HSA or IBM Enhanced
PPO with HSA and require further assistance beyond the EAP assessment, you may continue with your
current EAP provider, or you may be referred to a provider in the MMHC provider network. The EAP
clinician is allowed to provide treatment under the MMHC, but care must be precertified once it is
determined that the issue would involve support beyond the EAP assessment. If you are referred to a
MMHC provider by the EAP counselor, it is your responsibility to call the Clinical Referral Line to
precertify your care.

The decision to use a provider to whom you are referred through the EAP is your responsibility. Each
EAP clinician and each provider to whom referrals are made is responsible for the care they provide. The
EAP is not intended for long-term treatment of an ongoing problem.




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I/You Are Not Eligible for the Managed Mental Health Care Program
If you are eruolled in an HMO or opt-out of IBM coverage, you will need to contact your administrator
for additional treatment assistance beyond the eight EAP maximum visits and/ or EAP assessment,
whichever occurs first. The EAP clinician can assist you in contacting your HMO or other group health
coverage.

The decision to use a provider to whom you are referred through the EAP is your responsibility. Each
EAP clinician and each provider to whom referrals are made is responsible for the care they provide. The
EAP is not intended for long-term treatment of an ongoing problem.

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                                                                                                 ed lll.entalhealth and substance


                           IBM PPO and IBM PPO Plus           IBM PPO and IBM PPO Plus (Out-             IBM EPO (In-Network Only)
                           (In-Network)                       of-Network}
 Mental Health Care
 Program At-A-
 Glance
 Administrator              Optum by United Behavioral         Optum by United Behavioral                 Optum by United Behavioral
                            Health (under the IBM              Health (under the IBM Managed              Health (under the IBM
                            Managed Mental Health              Mental Health Care Program)                Managed Mental Health
                            Care Program)                                                                 Care Program)
 Annual Deductible          Shared with Medical 1              $2,800/$8,400                              Shared with Medical1
 Precertification for       Precertification is required       Precertification is required for           Precertification is required
 mental                     for inpatient services             inpatient services received out of         for inpatient services
 health/substance use       received in network; and you       network; otherwise, a $150 penalty         received in network; and you
 benefits                   will be responsible for all        will apply, and you wlll be                will be responsible for all
                            costs of care not deemed           responsible for all costs of care not      costs of care not deemed
                            medically necessary.               deemed medically necessary.                medically necessary.
 Annual Out-of-Pocket       Shared with MedicaI 1, 2           $17,550/$31,600                            Shared with Medical 1· 2
 Maximum
 Lifetime Benefit           Unlimited                          Unlimited                                  Unlimited
 Maximum (per
 person/combined with
 medican
 MMHC MENTAL
 HEALTH AND
 SUBSTANCE USE
 BENEFITS
 Inpatient Care             20% after medical                  45% after medical deductible               $1,200 copay per admission
                            deductible                         Precertification required   3, 4 , 5       Precertification required
                            Precertification required
 Outpatient Care            20%                                45% after medical deductible               25%
                            Precertification required for      Precertification required for non-         Precertification required for
                            non-routine services               routine services 4                         non-routine services
  1See annual deductibles and out-of-pocket maximums listed on the Medical Plan Options at a Glance page. Under the IBM
  PPO, IBM PPO Plus and IBM EPO options, medical and mental health/substance use services are subject to the deductible.
  Under the IBM PPO with HSA and IBM Enhanced PPO with HSA, medical, mental health/substance use services and non-
  preventive prescription drugs are subject to the deductible. For all plan options, eligible medical, mental health/substance use
  and prescription drug expenses accumulate to the out-of-pocket maximum.
  2 Mental health/substance use services will be covered at 100% once an individual's eligible out-of-pocket expenses (medical,
  mental health/substance use, prescription drugs or a combination of these) reaches the out-of-pocket maximum or once the
  family out-of-pocket maximum is reached.
  3 Precertification is required for inpatient services received out of network; otherwise, a $150 penalty will apply, and you will be

  responsible for all costs of care not deemed medically necessary.




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                                                                               IBM MENTAL HEALTH CARE PROGRAM


                           IBM PPO and IBM PPO Plus          IBM PPO and IBM PPO Plus (Out-               IBM EPO (In-Network Only)
                           (In-Network)                      of-Network)
 4 Outpatient treatment from an eligible out-of-network provider will be covered at 55% of the usual and prevailing rate, after the

 deductible.
 5 There is no coverage for out-of-network, non-urgent residential and day rehabilitation services received outside the IBMer's

 state of residence or immediate neighboring state. Exclusion does not apply to urgent care, students attending school out of
 state or those with dual addresses.




                                Optum by United Behavioral Health               Optum by United Behavioral Health (under the IBM
                                (under the IBM Managed Mental Health            Managed Mental Health Care Program}
                                Care Program)
 Annual Deductible              Shared with Medical1                            Shared with Medical 1
 Precertification for mental    Precertification is required for inpatient      Precertification is required for inpatient services
 healthtsubstance use           services received in network; and you will      received out of network; otherwise, a $150 penalty
 benefits                       be responsible for all costs of care not        will apply, and you will be responsible for all costs
                                deemed medically necessary.                     of care not deemed medically necessary.
 Annual Out-of-Pocket           Shared with Medical1·   2                       $16,550/$29,800
 Maximum
 Lifetime Benefit Maximum       Unlimited                                       Unlimited
 (per personfcombined with
 medical
 MMHCMENTAL
 HEALTH AND
 SUBSTANCE USE
 BENEFITS
 Inpatient Care                 25% after medical deductible                    45% after medical deductible
                                Precertification required                       Precertification required 3 · 4 • 5
 Outpatient Care                25% for office visits after medical             45% after medical deductible
                                deductible                                      Precertification required for non-routine services 4
                                30% for all other services after medical
                                deductible
                                Precertification required for non-routine
                                services
 1See annual deductibles and out-of-pocket maximums listed on the Medical Plan Options at a Glance page. Under the IBM
 PPO, IBM PPO Plus and IBM EPO options, medical and mental healthfsubstance use services are subject to the deductible.
 Under the IBM PPO with HSA and IBM Enhanced PPO with HSA, medical, mental healthfsubstance use services and non-
 preventive prescription drugs are subject to the deductible. For all plan options, eligible medical, mental health/substance use
 and prescription drug expenses accumulate to the out-of-pocket maximum.
 2Mental health/substance use services will be covered at 100% once an individual's eligible out-of-pocket expenses (medical,
 mental health/substance use, prescription drugs or a combination of these) reaches the out-of-pocket maximum or once the
 family out-of-pocket maximum is reached.
 3Precertification is required for inpatient services received out of network; otherwise, a $150 penalty will apply, and you will be

 responsible for all costs of care not deemed medically necessary.
 4Outpatient treatment from an eligible out-of-network provider will be covered at 55% of the usual and prevailing rate, after the

 deductible.
 5 There is no coverage for out-of-network, non-urgent residential and day rehabilitation services received outside the IBMer's
 state of residence or immediate neighboring state. Exclusion does not apply to urgent care, students attending school out of
 state or those with dual addresses.


MMHC In-Network Care
If you are enrolled in the IBM PPO, IBM PPO Plus, IBM PPO w /HSA or IBM Enhanced PPO with HSA
option, you have the choice to obtain care from either in-network or out-of-netvvork providers/facilities,
but you will receive the highest level of benefits when you obtain care from an in-network



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provider/ facility. Under the IBM EPO option, mental health/ substance use-disorder treatment is
available only from in-network providers/facilities. You must precertify non-routine in-network
inpatient and outpatient care by calling the Clinical Referral Line.

For reimbursement under the Plan, in-network care n1ust meet 1nedical necessity criteria and is subject to
review by the mental health plan administrator. You should verify in advance if the proposed facility and
progran1 n1eet the Plan's criteria for coverage - unless e111ergency care is needed. If a network provider,
facility, or treatment program fails to obtain precertification from the mental health plan administrator
before providing inpatient treatment, no benefits will be paid to the provider. Network providers may
not bill you or the Plan for care that has not been precertified. If this occurs, you are still responsible for
paying your deductible, coinsurance or copayment, whichever is applicable.




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    •    Iµpatieht   treatment,
    •    Residentiii!1:l'elitnient.
    • Partiii!Jiospit~Jkati~n/da.ftfeatirlent.
    • lrtteIJ"'iveoiitpat\iepl treatment.
    • putpatienttreatnie:nt.
Inpatient treatment and residential treahnent includes room and board in a semi-private room (a room
with two or more beds).

Covered services include:
    •    Diagnostic evaluations, assessn1ent and treahnent planning .
    •    Treatment and/ or procedures .
    •    Medication management and other associated treatments .
    •    Individual, family, and group therapy .
    •    Provider-based case management services .
    •    Crisis intervention .


MMHC In-Network - Outpatient Care
    •    IBM PPO, IBM PPO Plus Options: If you call the Clinical Referral Line and precertify non-routine
         care before receiving outpatient treatment from an in-network provider, your care will be
         covered at 80%. Routine outpatient care from an in-network provider will be covered at 80%
         without precertification. There is no limit on medically necessary, in-network outpatient care.
         Your provider must continue to certify ongoing non-routine care in order to continue to be
         reimbursed at the in-network level. If you fail to precertify in-network non-routine outpatient
         care by calling the Clinical Referral Line, you will receive no benefits. To determine if care is
         routine or non-routine, call the Clinical Referral Line. See "MMHC Precertification" for details.




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    •    IBM PPO with HSA and IBM Enhanced PPO with HSA options: If you call the Clinical Referral Line
         and precertify non-routine care before receiving outpatient treatment, your care will be covered
         at 75% for office visits after the deductible is met and 70% for all other services after the
         deductible is 1net. Routine outpatient care from an in-network provider will be covered at 75%
         after the deductible without precertification. There is no limit on 1nedically necessary, in-netvvork
         outpatient care. Your provider must continue to certify ongoing non-routine care in order to
         continue to be reimbursed at the in-network leve1. If you fail to precertify in-network non-routine
         outpatient care by calling the Clinical Referral Line, you will receive no benefits. To determine if
         care is routine or non-routine, call the Clinical Referral Line. See "MMHC Precertification" for
         details.
    •    IBM EPO Option: If you call the Clinical Referral Line and precertify non-routine care before
         receiving outpatient treatment from an in-network provider, your care will be covered at 75%.
         Routine outpatient care from an in-network provider will be covered at 75% without
         precertification. Your provider must continue to certify ongoing non-routine care in order to
         continue to be rein1bursed at the in-network level. Care received outside of the provider network
         will not be covered. If you fail to precertify outpatient care, you will receive no benefits. To
         determine if care is routine or non-routine, call the Clinical Referral Line. See "MMHC
         Precertification" for details.

MMHC In-Network - Inpatient Care
If you require inpatient care, your network provider/ facility will seek precertification of an inpatient or
alternative level of care admission on your behalf. The network provider/ facility must also precertify
ongoing care on your behalf. It is your responsibility to tell the network program/ facility that you are
covered under the IBM Managed Mental Health Care Plan administered by Optum. The administrator
will review the precertification request to determine if the treatment meets medical necessity criteria and
is the appropriate level of care. The administrator will then precertify your care for a certain number of
treatment days with no predetermined limit
    •    IBM PPO and PPO Plus Options: Once you satisfy the annual deductible, you are eligible for
         medically necessary unlin1ited inpatient treatment days for mental health and substance use care,
         covered at 80%.
    •    IBM PPO with HSA and IBM Enhanced PPO with HSA Options: Once you satisfy the annual
         deductible, you are eligible for unlimited medically necessary inpatient treatment days for
         1nental health and substance use care, covered at 75%.
    •    IBM EPO Option: After a $1000 copayment per admission, inpatient care is covered at 100% for
         unlimited medically necessary inpatient treatment days for mental health and substance use care.

If a network facility or treatment program fails to obtain precertification from the mental health Plan
Administrator before providing inpatient treatment, no benefits will be paid to the provider. Network
providers may not bill you or the Plan for care that has not been precertified. If this occurs, you are still
responsible for paying your deductible, coinsurance or copayment, whichever is applicable.

Important Terms
    •




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   •    Intensive outpatient treatnient - a structured outpatient 1nental health or substance-related and
        addictive disorders treatment program. The program may be freestanding or hospital-based and
        provides services for at least three hours per day, two or more days per week
   •    ~~~iJti•~~t~1~t~~~t~@~~~~w~~lflti:=jt~~~4R~~,~1~-1~J&                                                        2


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        pu.l>)ifi'J:i<?11.!i9r~.B8tme"l'lth~t.treailne11tfo~•-fl"tes911dit\011i~i"SOV:ei:ed•].1e~lj:h.~~,e~ecyice.




   •    Partial hospitalization/day treatment - a structured ambulatory program. The program may be
        freestanding or hospital-based and provides services for at least 20 hours per week
   •    Residential treatment- treatment in a facility established and operated as required by law, which
        provides 1nental health care services or substance-related and addictive disorders services. It
        must
            Provide a program of treatment, approved by the mental health/ substance-related and
            addictive disorders designee, under the active participation and direction of a physician and,
            approved by the mental health/ substance-related and addictive disorder designee;
             Have or n1aintain a written, specific and detailed treatment program requiring your full-time
             residence and participation; and
             Provide at least the following basic services in a 24-hour per day, structured setting:
             ■   Room and board.
             ■   Evaluation and diagnosis.
             •   Counseling.
             •   Referral and orientation to specialized c01nrnunity resources.
         A residential treatment facility that qualifies as a hospital is considered a hospital.
   •     Substance use services - covered health care services to diagnose and treat of alcoholis1n and
         substance-related and addictive disorders listed in the current edition of the Diagnostic and
         Statistical Manual of Mental Disorders, 5th Edition (DSM-5). The fact that a disorder is listed in this
         publication does not n1ean that treatment of the disorder is a covered health care service.
   ■     Transitional living - mental health care services and substance-related and addictive disorders
         services provided through facilities, group homes and supervised apartments which provide 24-
         hour supervision and are either:
             Sober living arrangements such as drug-free housing or alcohol/ drug halfway houses. They
             provide stable and safe housing, an alcohol/ drug-free environment and support for
             recovery. They may be used as an addition to ambulatory treatment when it doesn't offer the
             intensity and structure needed to help you with recovery.




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             Supervised living arrangements which are residences such as facilities, group homes and
             supervised apartments. They provide members with stable and safe housing and the
             opportunity to learn how to manage their activities of daily living. They may be used as an
             addition to treatment when it doesn't offer the intensity and structure needed to help you
             with recovery.
    •    Usual aud Prevailing (U&P) Rate: This is the reimbursement rate used by the administrator of your
         plan option to determine the maximum amount that is eligible for reimbursement of a treatment,
         service or supply. The method that the administrator of your plan option uses to determine the
         reimbursement rate may be based on a percentage of the current Medicare rates, FAIR health
         table, or other nationally recognized database. Amounts above 80% of the U&P rate are
         considered ineligible expenses and will not count toward either the annual deductible or annual
         out-of-pocket maximum.


MMHC Out-of-Network Care
If you are enrolled in the IBM PPO, IBM PPO Plus, IBM PPO with HSA, or !BM Enhanced PPO with HSA
option, you may generally continue to receive care from out-of-network providers. Keep in mind that out-
of-network care is reimbursed at a lower benefit than in-network care. You must precertify non-routine
out-of-network outpatient care and out-of-network inpatient care by calling the Clinical Referral Line.

Remember that there is no coverage for out-of-network, non-urgent residential and day rehabilitation
care received outside of your state of residence (or the immediate bordering state). This does not apply
to urgent care, students attending out-of-state schools or those with dual addresses. For those who
need to change facilities due to this coverage change, contact Optum directly to learn more.

For reilnbursement under the Plan, out-of-network care 1nust meet medical necessity criteria and is
subject to review by the mental health Plan Administrator. You should verify in advance if the proposed
facility and program meet the Plan's criteria for coverage - unless enlergency care is needed. You will be
responsible for paying 100% of charges with an out-of-network provider/facility if the care is determined
not to be medically necessary or if the charges, provider or facility is not eligible for benefits under the
Plan. See "MMHC Provider Network" and the definition of "Medical Necessity" later in this section for
more information.

There is no out-of-network coverage for the IBM EPO option.

lv1MlfC<J11fi,f-NitwC!rk(....;..CJ~tp9:firncfC":f"
Under the IBM PPO, IBM PPO Plus, IBM PPO with HSA or IBM Enhanced PPO with HSA options. If you
call the Clinical Referral Line and precertify non-routine care before receiving outpatient treatment from
an eligible out-of-network provider, your care will be covered at 55 % of the U &P rate after deductible.
Routine outpatient care from an eligible out-of-network provider will be covered at 55% of the U&P rate
after deductible without pre-certification. There is no limit on medically necessary, out-of-network
outpatient care. Your provider must continue to certify ongoing non-routine care in order to continue to
be reimbursed at the out-of-network level. If you fail to precertify out-of-network non-routine outpatient
care by calling the Clinical Referral Line, you will receive no benefits. To determine if care is routine or
non-routine, call the Clinical Referral Line. See "MMHC Precertification" for details.




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 ELtGI.BLE PROVIDERS

 EligibtEf ProV1aer~);'n;der:the_'-fv1MljG-'il1CJude:

        Licensed psychiatrists (MD-Board-Certified preferred)
        Doctoral-level licensed psychologists (PhD, PsyD, EdD)
        Licensed professional counselors (LPC)
        Licensed masters-level social workers (LCSW/LICSW)
        Licensed mental health counselors (LMHC)
        Licensed marriage and family therapists (LMFT and
        Licensed masters-level psychiatric nurses (APRN/RNCS).

 Due to the varying nature of provider credentials, you should call the Clinical Referral Line to verify that an out-of-network
 provider is eligible for reimbursement under the Plan. Claims are processed based on the actual provider of services, not on any
 supervision arrangement with another mental health care provider.

 Note: Pastoral counselors are not eligible for reimbursement under the Plan.



MMHC Out-of-Network - Inpatient Care
Under the IBM PPO, IBM PPO Plus, IBM PPO with HSA or IBM Enhanced PPO with HSA options, you
must call the Clinical Referral Line and precertify care before receiving out-of-network inpatient
treatment. If your care is deemed medically necessary, once you satisfy the annual deductible, your out-
of-network care will be covered at 55% of the U&P rate.

If you fail to precertify out-of-network inpatient care, you will receive no benefits. You will be responsible
for an additional $150 penalty if the care is determined to be medically necessary. Federal, state or
municipal facilities may be considered out-of-network and must be approved by the mental health plan.
See "MMHC Precertification" for details.

MMHC Out-of-Network Provider Review
lt is your responsibility to ensure the out-of-network provider/facility and treatment plan are eligible for
reimbursement under the Plan. Upon request, out-of-network programs will be reviewed by the mental
health Plan Administrator to determine if the program is accredited by the Joint Commission on
Accreditation of Healthcare Organizations (JCAHO) as either a hospital or freestanding substance use
program or accredited by the appropriate state agency as a substance use program. Programs and
facilities not meeting either of these criteria will not be eligible for benefit coverage under the Plan. (See
"MMHC Alternative Levels of Care" for criteria.)

MMHC Provider Network
The mental health plan maintains a nationwide network of participating providers. The contracted
network includes licensed psychiatrists (Board-Certified preferred), doctoral-level licensed psychologists,
licensed masters-level social workers, licensed professional counselors (LPC), 1narriage and family
counselors and licensed 1nasters-level psychiatric nurses for outpatient care, as well as treatment
progra1ns and facilities which provide a full continuum of intensive treahnent. All clinicians in this
network providing outpatient treatment must be licensed at the highest independent practice level, and
clinicians, treahnent progra1ns and facilities must meet credentialing requirements.

It's your responsibility to choose a provider. Selecting a provider who participates in the network will
result in a higher level of benefits. When choosing a provider, you should consider their eligibility and
network status because benefit payment will be determined by these factors. To obtain referrals or
information about programs that are part of the mental health plan's network or to verify your provider's
eligibility, call the Clinical Referral Line.



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Keep in mind that provider networks change from time to time. You should call the Clinical Referral Line
before obtaining services from the provider you have selected to find out whether that provider is in the
administrator's network, even if you have used the same provider in the past. Each provider, whether or
not in the mental health plan's network, is solely responsible for the care provided, and neither the
mental health plan nor IBM makes any representations regarding such care. Your selection of a provider
and verification of network or non-network status is your responsibility.

MMHC Precertification
To receive the n1aximum level of benefits available, you must precertify certain n1ental health/ substance
use care as explained below.

IBM PPO, IBM PPO Plus, IBM EPO, IBM PPO with HSA and IBM Enhanced PPO with HSA Options
Under the IBM PPO, IBM PPO Plus, IBM EPO, IBM PPO with HSA and IBM Enhanced PPO with HSA
options, you are required to call the Clinical Referral Line before obtaining in-network and out-of-
network inpatient and non-routine outpatient mental health/ substance use treatment. Routine outpatient
care does not require precertification. When you call, the mental health plan will recommend and certify
benefits for treatment which is determined to be clinically appropriate and medically necessary. This
decision is based on medical necessity guidelines. The Clinical Referral Line can also help you determine
if outpatient care is routine or non-routine.

Please note that if you are enrolled in the IBM EPO, the plan only allows in-network care.

When you call, identify yourself as an IBM participant.

If you do not precertify inpatient or non-routine outpatient care, you will receive no benefits. Only care
that is medically necessary will be covered. If the care is determined not to be medically necessary, you
will not receive benefits under the Plan.




    Not be rendered mainly for the convenience of the member, the member's family or the provider.
    Not be custodial care. (See 'What the IBM Medical Plan Does Not Cover" for a definition of custodial care.)

 Note: Determination of medical necessity does not guarantee benefit reimbursement. Benefit reimbursement under the MMHC
 Program is subject to plan provisions, member eligibility at the time seNices are rendered, annual deductibles, facility/treatment
 eligibility and lifetime maximums.




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PrecertiftJing Additional Sessions/Days
When you, or a treatment provider/facility, call to precertify inpatient in-network or out-of-network care,
the mental health plan will certify benefits coverage with a specified start and end date to be paid at the
in-network benefit level.

If you require additional treatment at the time that your precertification for non-routine outpatient visits
or inpatient days have been exhausted, or the certification end date occurs, your provider must contact
the mental health plan to certify the additional treatment. See "Mental Health Plan Administrator's
                                     11
Clinical Staff and Ongoing Reviews for more information.

The additional treatment will be reviewed by the mental health plan to determine continuing medical
necessity. If ongoing care is deemed medically necessary, it will be certified by the mental health plan.
Please keep in mind that certification does not guarantee benefits are available; if the member is not
eligible at the time of treatment.

When the IBM Medical Plan Is Secondary
If you have medical coverage through another group health plan or other coverage and the IBM Medical
Plan is secondary to that other coverage, you do not need to precertify mental health/ substance use care.
For Medicare-eligible participants, in order to receive the highest level of reimburse1nent, the
facility/ provider must accept Medicare and be in the Op tum network.

If Medicare is your primary coverage you must use providers and facilities that accept Medicare. When
you obtain services, such as 1nental health and/ or substance use services fron1 a provider or facility that
does not accept Medicare, those services are not eligible for any reitnbursement under the IBM Plan.

Note: Refer to "Coordinating IBM Medical Coverage with Medicare" in the Adnzinistrative Information section for
more information about coordination of benefits with Medicare.

Additional Covered Benefits Under the MMHC Program


  Service                           Benefits* (amount the Plan pays after your deductible)

                                    Inpatient and outpatient ECT require precertification in-network and out-of-network
  Electroconvulsive Therapy
                                    IBM PPO, IBM PPO Plus (Inpatient and Outpatient)
  (ECT)
                                    In-network: Facility, Physician, Anesthesia - 80%
                                    Out-of-network: Facility, Physician, Anesthesia - 55%


                                    PPO with HSA and IBM Enhanced PPO with HSA (Inpatient)
                                    In-network: Facility, Physician, Anesthesia - 75%
                                    Out-of-network: Facility, Physician, Anesthesia - 55%


                                    IBM PPO with HSA and IBM Enhanced PPO with HSA {outpatient)
                                    In-network: Facility, Physician, Anesthesia - 70%
                                    Out-of-network: Facility, Physician, Anesthesia-55%


                                    IBM EPO (Inpatient)
                                    In-network Facility: $1,200 copayment per admission
                                    In-network Physician and Anesthesia: 100%


                                    IBM EPO (Outpatient)
                                    In-network Facility, Physician and Anesthesia: 75%




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   Service                                Benefits* (amount the Plan pays after your deductible)

                                          Marriage counseling ls only eligible under the Employee Assistance Program. No
   Marriage and Family
                                          reimbursement will be received under the Managed Mental Health Care component of
   Counseling                             the Plan.

                                          Family counseling is eligible under the Employee Assistance Program and eligible for
                                          reimbursement under the Managed Mental Health Care component of the Plan.

   Medication Management                  Medication management visits with in-network providers are covered at:

   Sessions                               •   80% IBM PPO and IBM PPO Plus
                                          •   75% for IBM EPO, IBM PPO with HSA and IBM Enhanced PPO with HSA
                                          Visits with an out-of-network provider are covered at 55% of U&P rate*.

                                          Medication management is not covered under the Employee Assistance Program.

   Psychological Testing                  Precertified outpatient psychological testing is covered at 80% (IBM PPO, lBM PPO
                                          Plus) 75% (IBM EPO,IBM PPO with HSA and IBM Enhanced PPO with HSA), when
                                          received from an in•network provider.

                                          Precert!fied outpatient psychological testing is covered at 55% of the U&P rate when
                                          received from an out.of.network provider.

                                          If psychological testing is not precertified, you will receive no benefits.
                                         Psychological testing must be rendered by a licensed doctoraHevel psychologist
                                         (Ph.D.) or with the exception and/or certification of the mental health plan.
                                         Psychological testing for developmental, education or learning disabilities is not
                                         eligible under the Managed Mental Health Care Program. (Refer to the "Special Care
                                         for Children Assistance Program" for possible coverage.)

                                         Only one session for psychotherapy per day is eligible for payment under the Plan.
   Psychotherapy
                                         When a claim ls submitted for psychotherapy provided on an outpatient or an inpatient
                                         basis, benefits are payable for up to one session {maximum) for the same service on
                                         any given day. A session is defined by the Current Procedural Terminology (CPT)
                                         code billed by the provider. Most CPT procedure codes describe the service provided
                                         and the amount of time recommended for the session or service.
                                         However, benefits are payable for two different services on the same day.

* There is no out•of.network coverage for the IBM EPO option.




    •    Services performed in connection with conditions not classified in the current edition of the
         Diagnostic and Statistical Manual of Mental Disorders, 5 11• Edition (DSM-5).
    •    Outside of an initial assessment, services as treatments for a primary diagnosis of conditions and
         problems that may be a focus of clinical attention, but are specifically noted not to be mental
         disorders within the current edition of the Diagnostic and Statistical Manual of Mental Disorders, 5 11•
         Edition (DSM-5).
    •    Outside of initial assessment, services as treatments for the primary diagnoses of learning
         disabilities, conduct and hnpulse control disorders, pyromania, kleptomania, gan1bling disorder,
         and paraphilic disorder.
    •    Educational services that are focused on primarily building skills and capabilities in
         comn1unication, social interaction and learning.
    •    Out-of-network, non-urgent residential and day rehabilitation services received outside the
         IBMer' s state of residence or immediate bordering state. This exclusion does not apply to urgent
         care, students attending school out of state or those with dual addresses,
    •    Tuition or services that are school based for children and adolescents required to be provided by,
         or paid for by, the school under the Individuals with Disabilities Education Act



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     •     Outside of initial assessment, unspecified disorders for which the provider is not obligated to
           provide clinical rationale as defined in the current edition of the Diagnostic and Statistical Manual
           of Mental Disorders, 5 11' Edition (DSM-5).
     ■                                                                                                                     1·




MMHC Emergency Care Coverage
In the event of a mental health emergency, you should call 911 or ilmnediately go to the nearest
emergency romn. You, or your representative such as a family member or friend, must present your
medical plan ID card to identify yourself as a Plan participant. In an emergency, a network hospital must
seek certification of the care within 48 hours. If you go to an out-of-network hospital, either you or your
attending physician's office, or your representative such as a family member or friend, must call the
Clinical Referral Line to seek certification of care within 48 hours.

If you fail to obtain precertification within 48 hours of an out-of-nehvork inpatient admission, you will
receive no benefits. You will be responsible for an additional $150 penalty if the care is determined to be
medically necessary. In addition, you will be responsible for all charges for care deemed not medically
necessary by the Plan.


 HOW EMERGENCY IS DEFINED

 "Emergencies" are defined as severe psychiatric or substance use conditions which render you incapable of providing accurate
 benefits information at the time of admission to the hospital or incapable of following the provisions of the Plan. The mental
 health Plan will authorize benefit coverage for hospital admissions deemed medically necessary by the Plan.

 In these severe situations, administering appropriate treatment should occur immediately to ensure safety before determining
 whether care is eligible under the Plan.



Out-of-Network Emergency Care
Care at an out-of-network hospital will be certified as "in-network" during the stabilization period for an
emergency admission only following notification and if the patient accepts a transfer to a network facility
after the patient has been stabilized. If the patient does not accept the transfer to an in-network
facility/ treatment program, benefits will be paid at the out-of-network rate if care is precertified.

MMHC Alternative Levels of Care
Alternative levels of care may be approved by the mental health plan in lieu of inpatient treatment as
clinically-appropriate and cost effective. Alternative levels of care include residential treatment, group
homes, halfvvay house, partial hospitalization or intensive outpatient treatment.

Note: Wilderness progran1s, therapeutic schools, and non-medical facilities or their component sen1ices are not
eligible for reimbursement under the IBM Plan nor are they eligible for alternative level of care.

If an alternative level of treatment care is proposed, the mental health plan will:
 •       Determine if an alternative level of care is 1nedically necessary.
 •       Determine if alternative care is a clinically appropriate alternative to hospitalization.
 •       Approve an appropriate facility that meets the credentialing criteria for in-network reimbursement.




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Alternative Levels of Care Under the IBM PPO, IBM PPO Plus, IBM PPO with HSA, IBM Enhanced
PPO with HSA, and IBM EPO Options
To be eligible for the highest level of reimbursement under IBM PPO, IBM PPO Plus, IBM PPO with HSA,
IBM Enhanced PPO with HSA and IBM EPO options alternative levels of care must be precertified and
must receive case management review by the mental health plan. Alternative levels of care are subject to
the inpatient in-network and out-of-network benefit. If pre-certification is not obtained, you will receive
no benefits. Out-of-network services are subject to a $150.00 penalty if not precertified and deemed to be
medically necessary. Alternative levels of care only available in-network for IBM EPO option.

MMHC Benefit Payment
Benefit payment under the Managed Mental Health Care Program is subject to Plan provisions,
annual deductibles, coinsurance, copay1nents and lifetime rnaxhnums.

Annual Deductibles for Mental Health/Substance Use Treatment
    •     IBM PPO, IBM PPO Plus, IBM PPO with HSA and IBM Enhanced PPO with HSA Options: Mental
          health/ substance use charges are applied to the IBM PPO, IBM PPO Plus, IBM PPO with HSA
          and IBM Enhanced PPO with HSA medical deductibles (combined with medical services). See
          "Managed Mental Health Care Program At-A-Glance" chart for details.
    •     IBM EPO Option: A separate $1200 copayment applies per admission for mental health/ substance
          use in-network inpatient care. Coinsurance is also required for outpatient visits. See the "Non-
          Medicare-Eligible: Mental Health Care Program At A Glance" chart for details.

See "MMHC Precertification" for information about penalty for failure to precertify mental
health/ substance use admissions.

MMHC Out-of-Pocket Maximum
Managed Mental Health Care charges apply to the out-of-pocket maximum under the IBM PPO, IBM
PPO Plus, IBM PPO with HSA, IBM Enhanced PPO with HSA and IBM EPO options and are shared with
medica1. Once a participant reaches the plan's out-of-pocket 1naximum (medical, n1ental
health/ substance use or a combination of the two) or the family out-of-pocket maximum is reached,
remaining n1ental health/ substance use services will be covered at 100%.

MENTAL HEALTH PLAN ADMINISTRATOR
All mental health/substance use claim payments and member services are handled by the Managed
Mental Health Care Program administrator. As claims payer, the Mental Health Care Program
administrator is responsible for:
    •      All claims processing, including coordination of benefits and application of U&P rates within
           industry standards.
    11     Maintaining the provider network.
    •      Managing and certifying benefit reimbursement for treahnent under the IBM PPO, IBM PPO
           Plus, IBM PPO with HSA, IBM Enhanced PPO with HSA, and IBM EPO plan options.
    •      Managing care to assure appropriateness of treatment.




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Mental Health Plan Administrator's Clinical Staff and Ongoing Reviews
The mental health plan administrator employs licensed mental health/ substance use-disorder clinicians
to assist you, authorize and manage the ongoing treahnent plan for you. The clinical tean1 includes Life
Resource Counselors and Care Advocates. The clinical staff does not provide treatment directly to you
but rather coordinate, direct and evaluate ongoing care. The clinical staff help you navigate the mental
health/ substance use health care system, continue to provide you with guidance and have ongoing
contact with providers and facilities who deliver care to ensure adherence to current treatment plans.

The clinical team employed by the administrator will contact you to discuss treatment, and assist in
identifying other services covered under the IBM benefit plans that may be appropriate for you (e.g.
financial counseling, legal services, medical referrals, etc.) Also, you are encouraged to contact the clinical
team should you have any concerns you wish to discuss. The clinical team will communicate with your
provider periodically to assess progress toward stated goals and need for continuing care for all in-
network care. Care will continue to be certified in segments at the appropriate level for the length of time
it is determined to be medically necessary and clinically appropriate by the administrator.
Out-of-network care is subject to medical necessity review by the mental health plan administrator.
You will be responsible for 100 % of charges for treatment determined not to be medically necessary, or
for care rendered at an ineligible facility.

Care will not be paid by the Plan if it does not meet criteria for precertification, if you are not eligible
under the MMHC benefit at the time services are rendered or if benefits are exhausted.

Confidentiality
The mental health plan administrator maintains the confidentiality of all patient-specific clinical
information received from patients, their family 1nembers and their health care providers. Confidential
information will not be disclosed to IBM or others without your express written consent except when
required by law or to a third party contracted by IBM to review the program practices, including its
clinical records to evaluate the administrator. When the employee or their dependents utilize their mental
health benefit, the member who uses services will receive copies of letters, which certify or deny
reimbursement and the employee will receive copies of claims explanation of benefits/payment.

If you contact IBM with a concern about a claim or an appeal, IBM must have access to the relevant
information necessary to review the concern. In order for IBM to receive information regarding
utilization of services and/ or treatn1ent, the patient or legal guardian n1ust give written permission to
investigate the concern, which means IBM will have the right to review copies of relevant documents
generated in response to a certification request or benefit claim (e.g., certification letters and forms,
denial letters and Explanation of Benefits [EOB] statements). For information about appealing denied
benefits, see II Appeals" in the "Legal Inforn1ation" section.

RELATIONSHIP TO THE IBM SPECIAL CARE FOR CHILDREN ASSISTANCE PLAN




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                                                                IBM MANAGED PHARMACY PROGRAM



IBM Managed Pharmacy Program

ABOUT YOUR PRESCRIPTION DRUG COVERAGE
The IBM Managed Pharmacy Program is designed to help you control medical costs by providing you
and your eligible family members with specially-negotiated prices on prescription medications at
participating network pharmacies and through a mail-order service. The IBM Managed Pharmacy
Program is administered by CVS Caremark.

When you buy prescription drugs, you will pay a percentage of the cost, up to a per-prescription
maximum dollar limit. Limits vary by Plan and whether you purchase a generic or brand-name drug. If
your doctor prescribes medicines from a list of preferred brand-name and generic 1nedications, called the
Formulary Drug List, you will pay a lower percentage of the cost than if you purchase non-formulary
drugs. There is no annual deductible under the IBM Managed Pharmacy Program except for those
members enrolled in the IBM PPO with HSA, IBM Enhanced PPO with HSA plan option.

Per prescription maximums apply for traditional and specialty medications under the IBM Managed
Pharmacy Progra1n. Per prescription maximums refer to the maximum amount you will pay for a 30-day
or 90-day supply. Specialty medications are those that require special handling or administration, such as
chemotherapy and generally must be ordered through CVS Caremark's specialty care pharmacy. In most
cases, traditional n1edications do not require special handling.

The per prescription maximums are shown under "IBM Managed Pharmacy Program At-A-Glance."

For all plan options, the amounts you pay out-of-pocket for eligible covered medications accumulate to
your out-of-pocket maximum along with your eligible covered medical and mental health/ substance use
out-of-pocket costs. If you are enrolled in the IBM PPO with HSA or the IBM Enhanced PPO with HSA
plan option, you must meet your deductible before the IBM Managed Pharmacy Program will begin to
pay benefits (except for certain preventive medications). The deductible accumulates towards your out-
of-pocket maximum. If more than one person is enrolled, you must meet the family deductible before the
Plan begins to pay benefits.

Effective January 1, 2019, the Plan will not pay benefits for prescriptions purchased from an out-of-
network pharmacy except those purchased while traveling outside the US. The majority of pharmacies
in the US participate in CVS Caremark's pharmacy network. Visit www.caremark.com or call CVS
Customer Care to find a participating pharmacy.

For generic medications, at a participating retail pharmacy or through mail order, you will pay the
coinsurance, up to the generic per prescription maximun1 for both traditional and specialty drugs.

IBM continues to offer GenericsAdvantage, which is designed to help you take advantage of cost-saving
alternatives to brand-name prescription drugs. If you fill a new prescription with a brand-name drug
when a generic with the identical active ingredient (called a generic equivalent) is available, you will pay
the generic coinsurance plus the difference in cost between the brand-na1ne drug and the generic drug.
(The generic per prescription maximum will not apply as it usually would for CVS Caremark
participating pharmacies and mail-order prescriptions.) This additional cost will apply even if your
doctor has indicated "DAW" (" dispense as written") on the prescription and does not apply to your out-
of-pocket 111aximun1.

If your doctor believes that there is a medical reason for you to use the brand-name drug instead of the
generic and if you want to avoid paying the additional cost, your doctor can request a review by calling



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800-294-5979, Monday through Friday, 9:00 a.m. to 7:00 p.m., Eastern time. If the review is approved, you
will pay the usual brand-name coinsurance.

GenericsAdvantage has a feature for some brand name drugs. In son1e cases where a particular brand name
drug is comparably priced with a generic in the same class of drugs, prior authorization will not be
required for that brand drug. Prior authorization will still be required for other brand name drugs in that
class; otherwise they will not be covered. Members impacted by this feature will receive communication
from CVS Caremark as new drugs are added.

The eligibility of a prescription medication is subject to the terms of the IBM Managed Pharmacy
Program, whether purchased at a participating or non-participating pharmacy. Covered and excluded
medications under the Managed Pharmacy Program are defined later in this section.

There are three ways to purchase prescription drugs:
     •    At a CVS Caremark-participating retail pharmacy
     •    Through the CVS Caremark mail order pharmacy and
     •    Through a CVS retail pharmacy (CVS Pharmacy) under Maintenance Choice®


IBM MANAGED PHARMACY PROGRAM ADMINISTRATOR

The IBM Managed Pharmacy Program is administered by CVS Caremark.

Customer Service Availability
Representatives are available to assist you with claim questions or other inquiries 24 hours a day, 365 days a year. You can reach
CVS Caremark Customer Care at 855-465-0030 TTY: 800-863-5488. The CVS Caremark website is www.caremark.com.

For the fully-insured HMOs, the health plan ls the administrator for prescription drug benefits.


Who Is Eligible
All regular full-time and regular part-time employees, long-term supplemental employees, retiree
supplemental employees and their eligible family members who are enrolled in the IBM PPO, IBM PPO
Plus, IBM PPO with HSA, IBM Enhanced PPO with HSA, or the IBM EPO plan option are automatically
covered under the IBM Managed Pharmacy Program. Employees enrolled in a fully-insured HMO, or in
the IBM Global Assignee Medical Plan are not eligible to use this program, prescription coverage is
available through the corresponding medical plan.

ID Card
If you are eligible for the IBM Managed Pharmacy Program, you will receive a set of ID cards for
prescription drug coverage. The lD cards contain a unique me1nber ID number - which is not your
Social Security number. To ensure pharmacy benefit coverage use your card when purchasing drugs
from participating retail pharmacies or through the CVS Caremark mail order pharmacy, when calling
Customer Care or accessing the CVS Caremark web site. You can order additional ID cards by visiting
www.caremark.com, using the Caremark App or calling CVS Care1nark Customer Care.

The IBM Managed Pharmacy Program ID cards are in the name of the primary covered person. In most
cases this will be the active enlployee. Exceptions are ID cards for domestic partners and surviving
spouses.




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IBM MANAGED PHARMACY PROGRAM AT-A-GLANCE

                                        Participating Retail Pharmacies (up to 30-       CVS Caremark Mail Service,
                                        day supply)                                      Specialty Pharmacy or Maintenance
                                                                                         Choice (up to a 90-day supply)
You Pay:
Traditional and Specialty*
medications for the IBM PPO with
HSA and IBM Enhanced PPO with
HSA
Generic                                  10% of discounted cost after deductible 1, up    10% of discounted cost after
                                         to $20                                           deductible 1, up to $40
Preferred Brand                          30% of discounted cost after deductible 1, up    30% of discounted cost after
                                         to$115 ..                                        deductible 1 , up to $290**
Non-Preferred Brand                      50% of discounted cost after deductible 1, up    50% of discounted cost after
                                         to $220..                                        deductible 1 , up to $525**

Traditional and Specialty"
medications for the IBM PPO, IBM
PPO Plus and IBM EPO
Generic                                  10% of discounted cost, up to $20                10% of discounted cost, up to $40

Preferred Brand                          30% of discounted cost, up to $115"*             30% of discounted cost, up to $290**

Non-Preferred Brand                      50% of discounted cost, up to $220**             50% of discounted cost, up to $525**

 * Specialty Medications - Prescription medications that require special handling or administration (such as chemotherapy)
 must be ordered through CVS Caremark Specialty Pharmacy. You may be able to have the medication shipped to you or your
 doctor's office at no additional charge.
 ** Generics Advantage - If a generic with the identical active ingredient is available, and you choose the equivalent brand
 name drug instead, you will pay the generic coinsurance PLUS the difference between the generic and applicable brand name
 drug; per prescription maximums will not apply,
 Features
 Prescription Supply                     Up to a 30-day supply                             Up to a 90-day supply
 Retail Pharmacies                       Coverage only provided if purchased from         Coverage only provided if purchased
                                         CVS Caremark pharmacies or pharmacies            from CVS Caremark pharmacies or
                                         in their retail network.                         pharmacies in their retail network.

 When to Use                             For short-term, immediate medication needs        For long-term, maintenance
                                         {up to three fills)                               medications and specialty
                                                                                           medications

 Claim Forms                             Claim filed automatically when you use your       Claim filed automatically
                                         ID card at a participating pharmacy; you
                                         must file a claim if you do not present your
                                         ID card
 1Prescription drug charges (except for preventive medications) are subject to the annual medical deductible and apply toward
 the annual medical out-of-pocket maximum. lf more than one person is enrolled, the family deductible must be met before the
 plan will provide coverage for non-preventive medications. The deductible does not apply to preventive medications. A list of
 medications is available on www.caremark.com.


PREVENTIVE CARE SERVICES BENEFIT
IBM's Managed Pharmacy Program follows guidelines set by the US Preventive Services Task Force and
allows certain preventive medications to be available to you at no cost. These include certain
immunizations, contraceptive products and tobacco cessation products. The CVS Caremark Preventive
Drug List can be found on w,vw.caremark.com or by calling CVS Caremark Custon1er Care.




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IBM PPO WITH HSA AND IBM ENHANCED PPO WITH HSA PREVENTIVE DRUG
BENEFIT
The IBM PPO with HSA and IBM Enhanced PPO with HSA plan options have a high deductible health
plan (HDHP) preventive drug benefit applicable to those drugs listed on the CVS Caremark HDHP
Preventive Drug List, which differs from the Preventive Care Services benefit. Enrollees in this option
will pay the usual coinsurance for preventive n1edications (those used to prevent a condition from
occurring), even if the plan's deductible has not been met. The list of drugs considered preventive for the
HDHP plan options is available online at www.caremark.com or by calling CVS Caremark Customer
Care.

The CVS Caremark HDHP Preventive Drug List is designed to comply with the safe harbor established in
the Internal Revenue Code for high deductible health plans that cover preventive care prior to satisfaction
of a deductible (Preventive Care Safe Harbor) 26 USC§ 223(c)(2). It is based on guidance issued by the
United States Department of the Treasury (Treasury), Internal Revenue Service (IRS) in Notices 2004-23,
2004-50 and 2013-57 (Treasury Guidance). Under the Treasury Guidance, a drug or medication is
regarded as preventive if it meets any one of the following criteria:
    •    It is taken by a person who has developed risk factors for a disease that has not yet manifested
         itself or not yet become clinically apparent (i.e., asymptomatic). For example, the treatment of
         high cholesterol with cholesterol-lowering medications such as statins to prevent heart disease.
    ■    It is used to prevent the reoccurrence of a disease from which a person has recovered. For
         example, the treatment of recovered heart attack or stroke victinlS with angiotensin-converting
         enzyme (ACE) inhibitors to prevent a reoccurrence.
    •    It is used as part of procedures providing preventive care services specified in Treasury Notice
         2004-23, including obesity weight-loss and tobacco cessation programs.
    •    It is included in the preventive health services required to be covered with no cost-sharing under
         Section 2713 of the Public Health Service Act and any implementing regulations or guidance.


RETAIL PHARMACY PROGRAM
You may purchase up to a 30-day supply of covered medication from a participating retail pharmacy.
There is no coverage for prescriptions filled at pharmacies that do not participate in CVS Caremark's
retail network. You can fill prescriptions for long-term medications up to three times at a retail pharmacy
- your initial prescription plus two refills, for a total of three fills of your medication. This is not an
annual limit. After that, you generally must order your prescription through the CVS Caremark mail-
order program or obtain a 90-day supply at a retail CVS Pharmacy, or you will pay 100% of the cost
yourself.

Under CVS Caremark's Maintenance Choice program, participants can receive their 90-day prescriptions
for maintenance medications through the mail or at one of the CVS Pharmacy retail locations nationwide
for the same price as mail order. Note: This option is only available at retail CVS Pharmac,; locations.

Medications that are exempted from the mail-order program requirement are Schedule 2 Controlled
Substances, such as narcotics or drugs used to treat Attention Deficit Disorder, and compound
medications. These types of medications can be purchased at a retail pharmacy even if you take them on
a long-term basis, subject to the 30-day limit. Patients in nursing homes are also exempt from the mail-
order progra1n requirement. However, you nlust contact CVS Caremark to establish the exemption.




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A NOTE ABOUT FORMULARY DRUGS

You will pay a lower percentage of the cost if your doctor prescribes a medication from this list of preferred drugs. You'll still be able
to purchase non-preferred brand name medications but you will pay a greater share of the cost. For more information about the
formulary, or to learn which drugs are preventive or require prior authorization or Step Therapy, sign into www.caremark.com or
download the CVS Caremark app or call CVS Caremark Customer Support at 855-465-0030.



Participating Network Pharmacies
CVS Caremark contracts with a large network of chain and independent pharmacies across the United
States. These pharmacies agree to accept specially-negotiated prices on prescription drugs. When you and
your eligible family members use a participating pharmacy and show your pharmacy ID card, there are
no claim forms to file. All you have to do is pay your portion of coinsurance; those enrolled in a plan
option with an HSA will need to satisfy the deductible before the Plan will pay benefits. Generally, the
amount you pay for your medication applies to your annual out-of-pocket medical plan maximum.

To find a participating pharmacy in your area, log in to www.caremark.com or call CVS Caremark
Customer Care. Individuals who live in an area without convenient access to a network pharmacy can
ask their pharmacist to call CVS Caremark Customer Care to get information about joining the network.

How to Fill Your Prescription Under the Retail Program
When you need to fill a prescription at a participating retail pharmacy, simply follow these steps:
     •     Present your ID card to the pharmacist before the prescription is dispensed to ensure that your
           claim will be processed automatically and that you will be charged the correct coinsurance
           amount.
     •     Pay the pharmacist for your portion of the prescription at the time of purchase.
     •     If you fill a new prescription with a brand-name drug when a generic with the identical active
           ingredient (called a generic equivalent) is available, you will pay the generic coinsurance plus the
           difference in cost between the brand-name drug and the generic drug. This additional cost will
           apply even if your doctor has indicated "DAW" (" dispense as written") on the prescription and
           does not accumulate to your out-of-pocket maximum.

If You Don't Use Your ID Card at a Participating Pharmaci;
You should present your ID card to the pharmacist when you purchase your medication, so they can
confirm your eligibility for prescription coverage with CVS Caremark. If you do not have your ID card,
you may ask the pharmacist to contact CVS Caremark to confirm your eligibility. If you do not show your
ID card and they caimot confirm your eligibility, you can pay for the prescription in full and submit a
clain1 form to CVS Carenrnrk for reimburse1nent. Your reimbursen1ent wiII be based on the negotiated
price for the applicable type of medication (generic/ formulary brand-name or non-formulary brand-
name) and not the price you paid. To file a claim, follow the directions under "How to File a Claim for
Non-participating Pharmacies."

Non-participating Pharmacies
If you choose to have a prescription filled at a pharmacy that does not participate in CVS Caremark' s
network (a non-participating pharmacy), you must pay 100% of the pharmacy's actual charge at the time
you receive your medication. The Plan will not provide benefits for these expenses.

MAIL ORDER PHARMACY PROGRAM
The CVS Caremark Mail Order Pharmacy home-delivery program provides a convenient, cost-effective
way to purchase long-term prescription 1nedications. If you have a chronic condition, such as high blood
pressure, high cholesterol, heart conditions, arthritis, ulcers, asthma and diabetes, you should use the



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mail program to purchase your Jong-term prescriptions. Through the mail-order program, you may
receive up to a 90-day supply of the prescription medication. Orders will be delivered by mail, postage
paid, anywhere in the United States. You can request expedited shipping (for an additional fee) at the
time you place your order.

Please note that you can use the CVS Caremark Mail Order pharmacy and receive up to 90 days of
medication or you can get your 90-day supply at a retail CVS Pharmacy through Maintenance Choice. All
other 1nail service programs, such as AARP and online pharmacies, if part of the CVS Caremark
pharmacy network, will be treated as retail pharmacies and only 30 days of your medication will be
reimbursed, even if you purchase a greater quantity.


IF YOU TRAVEL OUTSIDE THE U.S.

If you are planning on being out of the country for an extended period of time and you need an additional supply of medications
before you leave the country, the Managed Pharmacy Program allows for a vacation supply of medication (up to 60 days through
retail and 180 days through the mail program). Additional supplies beyond 60 days are only covered through the mall-order
program. If you are using the mail-order program for the first time, you should allow for up to 14 days for delivery after receipt of your
prescription by the mail-order pharmacy.

There are no pa1iicipating pharmacies located out-side the U.S. Therefore, if you purchase medications while outside the U.S. you
must submit a claim to receive reimbursement and will be subject to the following level of reimbursement. Drugs purchased outside
the U.S. must have an exact American equivalent to be eligible for reimbursement. You will be reimbursed as follows:

     Generic medications: 30% of the full cost of the medication, up to a 30 day supply
     Brand name formulary medications: 40% of the full cost of the medication, up to a 30 day supply
     Brand name non-formulary medications: 50% of the full cost of the medication, up to a 30 day supply

NOTE: Not all medications can be taken or delivered into other countries, Please review limitations in the non-US country before
leaving.


How to Order New Prescriptions
     •    If you need your prescription imn1ediately, and wish to obtain your long-term medication:
                Your doctor may ePrescribe the prescription directly to a participating retail pharmacy. Be
                sure your doctor has your Member 1D number, which can be found on your ID card.
                Through mail order: Ask your physician to write two prescriptions - one for a 14-day
                supply to be filled at your retail participating pharmacy and a second to be filled by the CVS
                Caremark Mail Order Pharmacy (for up to a 90-day supply), with three refills.
               At a local CVS Pharmacy: You can take advantage of the Maintenance Choice® feature and
               fill your 90-day prescription there (with up to three refills), often picking up the prescription
               the same day.
     •     Or, you may mail your original prescription or refill slips together with the completed order form
           and required payment to the Mail Order Pharmacy. If you mail more than one prescription in the
           same envelope, be sure to include the correct coinsurance ainount for each. Order forms and
           envelopes are available from CVS Caremark Customer Care.
     ■      Your mail account balance cannot exceed $300. Once you reach this limit, medications will not be
           shipped until you pay your balance.
     e     CVS Caremark will pron1ptly process your order and send your medications, along with your
           invoice, to your home within approximately 14 days through U.S. Mail or United Parcel Service
           (UPS) along with instructions for refills. Medications requiring special handling will be shipped
           in accordance with established safety and security procedures. A signature may be required for
           certain medications. Check with CVS Care1nark Customer Care at the time you order.




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How to Order Refills
       •    You may reorder your prescription on or after the refill date indicated on the refill slip of your
            medication container or when you have used 75 % of your medication for non-controlled
            substances. The refill threshold is set to 80% for controlled (CII) substances. At no time can you
            refill if you have more than 30 days of medication on hand (mail and retail fills combined). You
            may order refills online through www.caremark.com, by phone or by mail. You'll need your
            Member 1D number, the prescription number, your credit card number and the expiration date to
            order a refill.
       •    To determine the amount of your payment, you can call CVS Caremark Customer Care or log in
            to www .caremark.c01n.
       •    You will need to provide the number of days' supply, dosage, strength, exact drug name and
            quantity.

Paying for Prescriptions Through the Mail-Order Program
You n1ay pay your coinsurance by check, credit card, debit card, money order, e-check, Health Care
Spending Account Health Debit Card or your Health Savings Account Debit Card (be sure to sign the
mail order form if paying by credit card). If your physician ePrescribes or faxes the prescription to the
Mail Order Pharmacy on your behalf, CVS Caremark will bill you later for your coinsurance unless you
set up automatic payment. Note that if you have an outstanding mail account balance of $300 or more,
CVS Caremark cannot ship your medication until you pay your balance. To set up automatic payment,
simply provide your credit or debit card number on the mail order form and complete the applicable
information. It is important to keep your contact inforn1ation up to date on www.caremark.c01n. If your
order exceeds $500, even if you have an automatic payment in place, CVS Caremark will contact you
(using the contact information in your profile) for confirmation of the order before shipping the
medication.


COMPOUND MEDICATIONS

Please note when purchasing a compound medication, claims are adjudicated using a different formula. Please contact CVS
Caremark for specific details.

If you submit a paper claim for one of these medications, you will need to include an itemized list of each ingredient including its
name, National Drug Code, price and quantity used. Formulary and non-formulary reimbursement levels apply. Formulary status is
determined by the status of the largest component in the compound. There is a separate Compound Claim Form available from
CVS Caremark.

Note
       all compound prescriptions greater than $300 in cost will require prior authorization
       costly proprietary topical compounding bases and bulk powders (that have not been proven to have additional benefits) will be
       excluded from coverage
       coverage for compounds will be limited to 30-day supplies

If the compound ingredients are not covered, you will be responsible for the full cost of the prescription. If the compound ingredients
are covered through prior authorization, you will pay your usual cost share. This is particularly important to remember if the
compounding pharmacy suggests you pay out-of-pocket for compounded prescriptions, then submit the claim through your benefit
plan for reimbursement. Please be aware that these claims also will be subject to review, and reimbursement is not guaranteed.



CVS CAREMARK MAINTENANCE CHOICE®
Maintenance Choice@ is a feature of the IBM Managed Pharmacy Progra111. You can continue to have
your 90-day supply of medications shipped directly to your home through mail order, or you can pick
them up at your local CVS Phannacy retail location for the same coinsurance. The choice is yours.

All of the medications, with an 84- to 90-day supply that you currently order through mail service are
eligible for this program.



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If you take several long-term medications, you have the flexibility to receive some through mail and
others at retail pick-up through your local CVS Pharmacy. You can transfer your mail-service
prescriptions to your local CVS Pharmacy by calling Customer Care at 855-465-0030 or signing on to
www.caremark.c01n.

If you need to obtain a new prescription, you can have the pharmacist at your local CVS Pharmacy
contact your doctor for a 90-day prescription. You can also ask your doctor to ePrescribe (or call) the CVS
Pharmacy with a 90-day prescription. Let the pharmacist know that your prescription benefit program
includes the Maintenance Choice@ feature.

Please note: some medications may not be eligible for 90-day supplies through Maintenance Choice due to state
regulations, such as Schedule 2 Controlled Substances (e.g., narcotics or drugs used to treat Attention Deficit
Disorda). Contact CVS Caremark Customer Care for more details.

COVERED MEDICATIONS
The following items are covered when prescribed by a physician and medically necessary:
    •     Federal legend drugs
    •     State restricted drugs
    •     Compounded medications of which at least one ingredient is a legend drug; (Note: new coverage
           rules apply; please see "Compound Medications" for details)
    •      Oral contraceptives, the contraceptive patch (Ortho EVRA), contraceptive devices and implants;
           contraceptive jellies, crea111s and foa111s with a prescription (Nate: Contraceptive devices and implants
           not available through the IBM Managed PharmactJ Program may be covered under the IBM Medical Plan.)
    •      Insulin
    •      Needles and syringes
    •      Certain over-the-counter diabetic supplies with a prescription
    •      Retin-A and Avita cream through age 34 (may be eligible beyond age 34 with prior authorization)
    •      Legend prenatal vitamins
    •      Legend vitamin D and K
    •      Legend folic acid
    11     Hematinic vitamins and
    •      Legend vitamin B12/ Cyanocobalamin.

Exclusions Under the Managed Pharmacy Program
    •      Non-federal legend drugs
    •      Topical fluoride products
    •      Yohimbine
    •      Allergy sera
    •      Therapeutic devices or appliances
    •      Drugs which are not considered medically necessary
    •      Drugs whose sole purpose is to promote or stimulate hair growth (for example, Rogaine,
           Propecia) or drugs for cosmetic purposes only (for example, Renova)
    ■      Immunization agents and vaccines
    •      Blood or blood plasma



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    ■     Drugs labeled "Caution - limited by federal law to investigational use," or experimental drugs,
          even though a charge is made to the individual
    •     Medication for which the cost is recoverable under any Workers' Compensation or Occupational
          Disease Law or any State or Governmental Agency or medication furnished by any other Drug or
          Medical Service for which no charge is 1nade to the n1ember
    •     Medication which is to be taken by or administered to an individual, in whole or in part, while he
          or she is a patient in a licensed hospitat rest home, sanitarium, extended care facility, skilled
          nursing facility, convalescent hospital, nursing home or similar institution which operates on its
          premises or allows it to be operated on its premises, a facility for dispensing pharmaceuticals
           (covered under the IBM Medical Plan)
    •     Any prescription refilled in excess of the number of refills specified by the physician, or any refill
          dispensed after one year from the physician's original order
    •     Charges for the administration or injection of any drug
    •     Medical devices and appliances
    11    Vitamins and minerals - except the foIIowing, which are covered: hematinics for the treahnent
          of anemia, prenatal vitamins, legend folic acid, legend vitamin B12/ Cyanocobalamin and legend
          vitamin D and K
    •     Over-the-counter medications, even when prescribed (except for certain diabetic supplies)
    •     Certain over-the-counter, non-essential medical supplies, including alcohol wipes and insulin
           pump batteries. For a complete list of excluded supplies, please contact CVS Caremark Customer
          Care
    •      Any other exclusions listed under "Exclusions: What the IBM Medical Plan Does Not Cover"
    11     Hon1eopathic, naturopathic treatments, minerals, nutritional supplements, dietetic foods, etc.
    •     Prescription drugs for which there is an over-the-counter equivalent available in the same
          strength and preparation, such as meclizine and ranitidine (Contact CVS Caremark Customer
          Care for a complete list)
    •      Drugs purchased in foreign countries which do not have an exact American equivalent and
    •      All medications in the Proton pump inhibitor class (generic and brand-name), such as
          lansoprazole, omeprazole, pantoprazole, Aciphex, Dexilan, Nexium and Zegerid for patients 18
           years of age and older
    •      Bulk chemicals which have not been determined to be safe and effective or medically necessary
           for topical administration (Contact CVS Caremark Customer Care for a complete list)
    •      Nasal steroids

FORMULARY DRUG LIST
The IBM Managed Pharmacy Program uses the CVS Caremark formulary drug list. A formulary is a list
of con1monly prescribed medications that have been shown to be clinically effective as well as cost
effective. If your doctor prescribes formulary medications, you can help control rising health care costs
while still maintaining high-quality care. The Formulary Drug List is available online at
www .caremark.com or by calling CVS Customer Care.

The CVS Caremark formulary drug list is reviewed and updated on a quarterly basis. When a generic
equivalent becomes available for a brand medication, that brand n1edication is automatically ren1oved
from the formulary. Additionally, products with egregious cost inflation that have readily-available,
clinically-appropriate and more cost-effective alternatives may be evaluated and potentially removed
from the formulary.



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Because the formulary list is subject to change, you should consult CVS Caremark before filling a
prescription to ensure you have the most current information.

If you choose to purchase a brand medication not on the formulary, you will be responsible for paying a
higher coinsurance. lf there is a clinical reason why you cannot take the fonnulary n1edication, you can
request an appeal through CVS Caremark by calling Customer Care. If the appeal is approved, you will
only be charged the formulary coinsurance. This approval is valid for as long as you are taking the
prescription.

Under the IBM Managed Pharmacy Program there may be times when you use a participating pharmacy
and are filling a prescription with a non-fonnulary brand-name drug. The pharmacist will receive a
message stating the status of the medication is non-formulary (or non-preferred). Your retail pharmacist
may decide to discuss with your physician whether an alternative drug listed on the formulary might be
appropriate for you. If your physician agrees, your prescription will be filled with the alternative drug. If
you prefer to have the originally-prescribed medication, you have the option to refuse the alternative
medication before it is filled and to request the pharmacist fill the prescription as it was originally
written. However, you will be responsible for paying the higher, non-forn1ulary brand-name coinsurance.

When you order through the mail-order program, the pharmacist may also decide to discuss with your
physician whether an alternative medication listed on the formulary might be appropriate for you. If
your physician agrees, your prescription will be filled with the alternative 1nedication and a confirmation
letter will be sent to you and your physician explaining the change.

Let your physician know if you have any questions about a change in prescription. Your physician
always makes the final decision about what medication to prescribe for you.

GENERIC DRUGS
Generic-equivalent medications contain the same active ingredients and are subject to the same rigid
Food and Drug Administration (FDA) standards for quality, strength and purity as their brand-name
counterparts. Generally, generic drugs cost less than brand-name drugs because they don't require the
same level of sales, advertising and development which are expenses associated with brand-name drugs.

Under the IBM Managed Pharmacy Program, CVS Caremark will periodically review medications and if
there is a generic available for the brand-name medication you are currently using, you may receive a
letter advising you of the generic availability.

GenericsAdvantage is a voluntary program and if you prefer to continue using the brand-name drug you
may do so. Your doctor should write Dispense as Written (DAW) on the prescription to prevent a switch
being made. Please note the specifics of this requirement may vary by state. Check with your doctor. If
you switch to a generic medication your coinsurance will be based on the generic price. If you remain on
the brand name drug, your coinsurance will be based on the GenericsAdvantage cost share provisions
described previously. Additionally, the amount you pay out-of-pocket equal to the difference in price of
the brand and generic medications will not accumulate to your deductible or out-of-pocket maximum.

For certain therapeutic classes, you 1nay be required to try generic medications before the plan covers
more expensive brand-name alternatives. This will apply even if you have been taking the brand-name
medication for son1e time. Please contact CVS Caremark Custon1er Care for a cmnpiete list of drugs in
this Generic Step Therapy Program.

If you switch to a generic medication your coinsurance will be based on the generic price. If you choose to
stay on the brand-na1ne medication, you will have to pay the 1nedication' s full price if you have not tried
the generic option(s) available to treat your condition. If your doctor feels you have a unique medical


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situation that requires you to keep taking the brand-name medication, ask him or her to call CVS
Caremark at 877-203-0003 to request prior authorization.

Please note for all brand-name drugs not on the Generic Step Therapy Program list, unless your doctor
writes "Dispense as Written" on your prescription, state laws may permit (or require) the pharmacist to
substitute a generic version of the prescribed drug if all prescription requirements are met.

DRUG MANAGEMENT PROGRAMS
Prior Authorization Program
The IBM Managed Pharmacy Program provides coverage for some medications only if they are
prescribed for certain uses. These 1nedications 1nust receive "prior authorization" before they can be
covered under the IBM Managed Pharmacy Program. The list of drugs requiring prior authorization
changes periodically. If you have a question on drug coverage, please call CVS Caremark Customer Care.

If you require a new prescription for a specialty medication, your doctor will first need to contact CVS
Caremark for authorization to confirm the treatment complies with standard clinical guidelines. This
requirement will help ensure you receive the proper drug, dose and treatment based on your diagnosis.

If the medication prescribed for you requires prior authorization, ask your physician to call the
Authorization Unit at CVS Caremark for instructions on how to initiate the review process. You can
obtain the phone number by calling CVS Caremark Customer Care. Otherwise, if you take a prescription
for one of these medications to a participating pharmacy without prior approval, the pharmacist can
initiate the review process on your behalf, or will provide you with the telephone number for your doctor
to call. This process typically takes two business days to complete. You and your physician will be
notified by mail when the review process has been completed.

If your medication is not approved for coverage under the IBM Managed Pharmacy Program, you will be
responsible for paying the full cost of the drug.

CVS Specialty Pharmacy
If you need covered prescription medications that require special handling or administration, like
chemotherapy drugs, you will need to order them through CVS Specialty Pharmacy or the CVS Site of
Care Program, part of the IBM Managed Pharmacy Program. By receiving covered prescription
medications this way, you may pay less for them overall. Additionally, you may be able to have them
shipped directly to you or your doctor's office at no additional charge. Contact CVS Specialty Customer
Service at 888-346-6578 to transfer a prescription or obtain more details.

Note: specialhJ drugs purchased at a retail pharmacy will not be covered. All specialh; drugs must be obtained
through the CVS SpecialhJ Pharmacy except as follows:
    •    Specialh; medications provided by your medical provider that are billed as part of your office visit
    ■    If a medication s manufacturer has an exclusive arra11geme11t with a specialhJ pharmaCJJ other tlzan CVS
                        I


         Caremark, that pharmaCJJ will fulfill your medication instead of CVS Specialty Pharmacy and you will
         have coverage under the Plan.

In addition, CVS Specialty's Drug Step Therapy program promotes the use of safe, equally effective, and
lower-cost preferred medications before using a higher-cost, non-preferred 111edication. You will be
required to try the preferred medication first. If you decide to take the non-preferred medication without
trying the preferred, you will have to pay the full price for the non-preferred medication. This rule covers
drugs to treat rheumatoid arthritis, multiple sclerosis, and infertility.




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Keep in mind, some specialty medications require a clinical review to be used for continued treatment or
when they are first prescribed. Contact CVS Caremark Customer Care for more information.

The IBM Managed Pharmacy Program includes CVS Caremark's Specialty Guideline Management
Progran1. For continued coverage of a medication in this program, a clinical review is required. CVS
Specialty will obtain the necessary clinical information from your doctor's office and conduct the review.
There is a chance the review will identify other options for treating your condition. If so, you and your
doctor will be notified.

Manufacturer's Coupons
There are times when you can decrease your copayrnent for a prescription drug by using a manufacturer
coupon for copay assistance. Note that you cannot use manufacturer coupons when purchasing
traditional medications through CVS Caremark mail order, and often cannot use them when you
purchase medications through Maintenance Choice at your retail pharmacy. However, CVS Specialty
mail order does accept manufacturer coupons, and they will assist you to find available coupons from the
manufacturer for your medication.

Note that if you are enrolled in the IBM PPO, IBM PPO Plus or IBM EPO plan option and you use a
n1anufacturer s coupon to purchase a specialty medication:
               1



    •    The amount of the coupon which is applied to your copay does not accumulate to your out-of-
         pocket nlaximum, and
    •     If the amount of the n1anufacturer s coupon exceeds the amount of your copayment for a given
                                            1



          medication, CVS Caremark will adjust the copay amount to get the most value out of the coupon;
          however, you will still be responsible for the same post-coupon copayment.


Infusion Therapy
Certain infused specialty therapy medications (e.g., Remicade and !VIG drugs), are covered under the
IBM Managed Pharmacy Program and obtained through CVS Specialty Pharmacy. CVS Specialty
Pharmacy will work with you and your physician to deliver your medication to where it is being
administered such as your home or a cost-efficient outpatient infusion center. Note that this excludes
chemotherapies, except Blincyto.

Dose Optimization Program
Certain long-term medications will be covered by the IBM Managed Pharmacy Program's dose
optimization feature, which nrnkes prescriptions available in a more convenient dosing regimen. For
example, you may be taking a 50 mg dose of a certain medication two times a day when there may be a
100 mg dose of the same medication that can be taken once a day.

Changing to one dose each day, when appropriate, can result in greater convenience and lower costs for
participants. CVS Caremark will contact your doctor and ask if dose optimization is right for you. If your
doctor approves, you will receive the optimized dose.

Drug Utilization Review -   Safe and Appropriate Use of Medications
By continually using participating pharmacies or by using the mail-order pharmacy, you also gain the
advantage of a prescription review. This confidential online syste1n allows the pharmacist access to
important infonnation, such as your individual drug history, the possibilities of interaction among various
drugs and how long it has been since your last prescription was filled. If the potential for drug-related
illness or incompatibility is flagged, an alert 1nessage is sent to the pharmacist who can then inform you to
check with your doctor or n1ake a professional judgment whether to dispense your prescription.




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Under the IBM Managed Pharmacy Retail Program there is a "refill-too-soon" feature which does not
allow a refill of medication until 75% of the original prescription has been used for non-controlled
substances. The refill threshold is set to 80% for controlled (CII) substances. This feature helps to prevent
overuse of 1nedication and purchase of more medication than is necessary. Additionally, under the mail-
order program your refill slip will indicate your earliest refill date. If you request a refill before the
earliest refill date, your refill request will be held and sent on the appropriate refill date.

There is also a coverage management program which has established appropriate threshold levels of
utilization (e.g. limit on number of doses) for specific drug therapy categories and payment will be
rejected at the point of sale (retail or mail) whenever the drugs being dispensed exceed those
predetermined limits or if you do not 1neet the clinical criteria to receive the 1nedication (determined by
the prior authorization review).

COORDINATION OF BENEFITS
It is a requirement under the Plan to provide information regarding any other coverage they may have. If
there is an indication that there is other primary coverage, payment in full will be required at the time of
purchase from a retail pharmacy and from the mail-order program. You must first file a claim with the
primary plan. When you receive the Explanation of Benefits (EOB) statement from the primary plan, fill
out the IBM Managed Pharmacy Claim Coordination of Benefits/Out-of-Network Claims form and attach
a copy of the EOB and your receipt and mail these documents to CVS Caremark at the address on the
form. Your claim will be processed according to the Plan's coordination of benefits provisions. See
"Coordinating Coverage" in the Administrative Information section.

If the primary coverage is also a card program, you should attach your receipt to a copy of the claim form
and mail to CVS Caremark for consideration of any additional benefit.

Special rules apply for coordination with Medicare Part D prescription drug plans. See "Coordinating
IBM Medical Coverage with Medicare."

OTHER IMPORTANT INFORMATION
Other features of the IBM Managed Pharmacy Program include keeping a profile of your medication
history and providing a toll-free number to speak with a pharmacist.

Prescription information of employees and their dependents is used by CVS Caremark and its affiliates to
administer the IBM Managed Pharmacy Program. As part of this administration, CVS Caremark
generally reports that information to the administrator of the IBM medical plan option that you selected,
and your Medical Plan administrator reports your medical information to CVS Caremark. Your
prescription and medical data is used to identify potential overuse, abuse and waste of particular
medications as well as appropriateness of the medications prescribed. CVS Caremark may send alerts to
prescribing physicians and dispensing pharmacists about the situations it identifies. CVS Caremark also
uses the prescription data gathered from claims submitted nationwide for reporting and analysis without
identifying individual patients.

CVS Caremark may also take other actions to address concerns it identifies with utilization of the IBM
Managed Pharmacy Program, including limiting you to the use of one retail pharmacy if your pattern of
utilization for a particular n1edication warrants it.




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                                                                                                 IBM DENTAL COVERAGE



IBM Dental Coverage

ABOUT YOUR DENTAL BENEFITS
IBM's dental coverage offers you a choice of options, fron1 basic dental coverage for preventive and basic
restorative care to n1ore comprehensive dental coverage. Your personalized Health Plan Detail Sheet will
reflect the options available to you.

IBM's two dental options:
     •     IBM Dental Basic option - provides basic coverage for preventive, diagnostic and basic
           restorative care only, up to a $500 annual benefit limit per covered person.
     •     IBM Dental Plus option - offers you the opportunity to increase your dental benefits to cover
           more extensive dental treatn1ent, including preventive, diagnostic, basic restorative, 1najor
           restorative and orthodontia care. Benefits under the Dental Plus option are limited to $2,000 per
           covered person per year; orthodontia care is limited to a lifetime maximum up to $2,500 per
           covered person.

A summary of dental benefits is provided below. For detailed information on covered services and
procedures please refer to the MetLife Dental Certificate of Insurance and CDT Code Procedure Type List
available on www.metlife.com/mybenefits. To verify coverage and for information on any specific
procedure, you should contact a MetLife customer service representative.


IBM DENTAL BASIC AND IBM DENTAL PLUS ADMINISTRATOR

The IBM Dental Basic and Dental Plus options are administered by MetLife.

Customer Service Availability
Representatives are available to assist you with claim questions or other inquiries Monday through Friday from 8:00 a.m. to
11 :00 p.m., Eastern time. The Voice Response Unit (VRU) for claims inquiries is available 24 hours a day, 7 days a week.

You can reach MetLife at 800-872-6963 (TTY: 800-843-2896) or www.metlife.com/mybenefits



Who Is Eligible
All regular full-time and regular part-time employees and their eligible family members are eligible for
the IBM Dental Basic and IBM Dental Plus options.

If you and your eligible family members are living outside of the U.S. and Puerto Rico, you will be
eligible for dental benefits reimbursement for eligible services but at the out-of-network level only since
there are no network providers outside of the U.S. and Puerto Rico.

Employees enrolled in the IBM Global Assignee Medical Plan will receive their dental coverage through
Cigna Global Health Benefits.

ID Card
If you enroll in the IBM Dental Basic or IBM Dental Plus options, you will receive an ID Card, which will
remain good for as long as you are enrolled in the IBM Dental Basic or IBM Dental Plus options. New
cards will not be sent each year. If your card is lost or damaged, call MetLife member services to request a
replacement card or log onto www.metlife.c01n/n1ybenefits to print one.




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                                                                                                        IBM DENTAL COVERAGE


IBM DENTAL PLAN COVERAGE AT-A-GLANCE


IMPORTANT NOTE

If there is a discrepancy between the information in this section and the certificate of coverage for this plan, the terms of the
certificate will govern.

For a copy of the certificate of coverage, or if you have questions, you can reach MetLife at 800-872-6963 (TTY: 800-843-2896) or
www.metllfe.com/mybenefits



                                              IBM Dental Basic                               IBM Dental Plus

   Annual Deductible
                           In-Network         None                                           None
                           Out-of-Network     None                                           None

   Annual Maximum Benefit                     $500 per covered person                        $2,000 per covered person 1

   Lifetime Maximum Benefit                   No limit                                       No limit

   Orthodontia Lifetime Maximum               Not applicable                                 Up to $2,500 per covered person

   Level of Care                              The Plan Pays
                                              In-Network              Out-of-Network2        In-Network

                                              Out-of-Network2                                Out-of-Network2

   Preventive Treatment                       100% of the             100% of U&P rate       100% of the            100% of U&P rate
                                              negotiated fee for                             negotiated fee for
       Routine oral exams                                                                    eligible charges
                                              eligible charges
       Routine cleanings
       X-rays
       Fluoride treatments
       Space maintainers
       Sealants

   Basic Restorative Treatment'               80% of the              80% of U&P rate        80% of the             80% of U&P rate
                                              negotiated fee for                             negotiated fee for
   ■   Amalgam and composite fillings                                                        eligible charges
                                              eligible charges

   Major Restorative Treatment'               Not covered             Not covered            65% of the             65% of U&P rate
                                                                                             negotiated fee for
       Crowns and bridgework                                                                 eligible charges
       Dentures
       Extractions
       lmplants3
       Inlays and onlays
       Oral surgery that is dental in
       nature
       Periodontal services, including
       periodontal scaling and root
       planing
       Endodontics, including root canals




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                                                                                                    IBM DENTAL COVERAGE


                                              IBM Dental Basic                              IBM Dental Plus

  Orthodontia                                 Not covered            Not covered            50% of the            50% of billed fee rate
                                                                                            negotiated fee for
       Examinations
                                                                                            eligible charges
       Diagnostic procedures
       Appliances, including removable,
       fixed and minor or intermediate
       appliances
  1Orthodontic   charges do not count towards the annual maximum benefit.
  2 You   are responsible for 100% of any charges above the U&P rate.
  3A   pretreatment estimate is recommended for implants and implant-related services before work is done.
  4 There   are replacement and frequency limitations for some services. Contact the administrator of your dental option for details.


Usual and Prevailing (U&P) Rate
The usual and prevailing rate for out-of-network dental services is defined as the maximun1 fee taking
into consideration the following:
    •       The fee that an individual dentist most frequently charges the majority of patients for a similar
            service or dental procedure.
    •       The range of usual fees charged for the service or procedure by dentists for the performance of a
            similar service or dental procedure within the same locality.
    •       Special circumstances or complications requiring additional thne, skill and experience in
            connection with that particular dental service or procedure.

MetLife shall determine U&P rate information in all cases. Keep in mind the U&P rate may be different
than the amount charged by an out-of-network dental provider. If the charge for services is more than the
U&P rate set by the Plan, you will have to pay your provider the amount that exceeds the U&P rate, in
addition to the applicable deductible and coinsurance.

QUALITY CARE INITIATIVE
IBM and the IBM Dental Plan participate in various programs that are designed to encourage health care
providers to deliver efficient, safe, effective quality care to IBM employees and retirees and their spouses
and dependents. Under these programs, health care providers who are determined to employ
recomn1ended practices in their administration of health care generally are rewarded through per capita
incentives paid from the Plan's trust as additional fees for services provided. IBM employees and retirees
are not responsible for payment of the quality care incentives.

HOW THE IBM DENTAL PLAN WORKS
Under the IBM Dental Basic and IBM Dental Plus options, you can visit any licensed dentist of your
choice, but you will receive the highest level of coverage when you obtain services from a dentist who is a
member of MetLife' s network.




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                                                                                                  IBM DENTAL COVERAGE



IF YOU SWITCH FROM THE IBM DENTAL PLUS TO THE IBM DENTAL BASIC OPTION

If you change your enrollment from the IBM Dental Plus option to the IBM Dental Basic option during annual enrollment or in the
middle of the year due to a qualified status change, dental treatment "in progress" at the time of your enrollment change will become
ineligible for coverage 60 days after your IBM Dental Plus option coverage ends unless the services continue to be eligible under
the IBM Dental Basic option.

For example, if your child is receiving orthodontia treatment under the IBM Dental Plus and you change enrollment to the IBM
Dental Basic, that treatment will no longer be covered since orthodontia care is not a covered service under the IBM Dental Basic
option.

The applicable annual maximum carries over to/ from Dental Basic and Dental Plus when plan changes occur during the same
calendar year. For example, if you make a mid~year plan change to Dental Basic from Dental Plus and you've already used $200
towards your annual maximum under Dental Plus, you will have $300 remaining towards your new annual maximum under Dental
Basic ($500) for the remainder of the plan year.



In-Network Providers
You can take advantage of negotiated rates when you receive treatment from a participating MetLife
network dentist. Plus, your network dentist will submit your claim to MetLife for you so there are no
claim forms to fill out. Additionally, you are not required to pay an annual deductible for in-network
treatment.

When you receive services from a MetLife participating dentist, benefit payments are based on the
dentist's negotiated fees. When making an appointment, tell the dentist's office that you are a MetLife
dental plan participant. By making the dentist's office aware that you are a network plan participant, you
will receive the negotiated rates and avoid later billing adjustments from an in-network provider.

If you use a provider who practices at 1nore than one location, the provider may not participate in the
network in all of their locations. Prior to obtaining any dental service, you should verify the provider's
network participation at the location you visit by contacting MetLife. Also, if a member of a dental
practice is a participating MetLife network dentist, it is possible that other dentists in that practice are not.

Since participating providers can join and leave the network at any ti1ne, it's a good idea to confirm that
your dentist is currently a network provider prior to receiving treatment. You can obtain a list of current
network participating providers through www.metlife.com/mybenefits or by calling MetLife.

Geographic Areas
The negotiated fees charged by participating dentists reflect differences in negotiated dental charges by
geographic area. Each participating MetLife network dentist agrees to accept a geographically-based
negotiated rate as payment in full. That fee determines what the dentist will charge for services to eligible
IBM employees. These geographically-based negotiated rates are not published to employees, but you
may contact MetLife for reimbursement rates for specific procedures.


PAYING FOR DENTAL SERVICES

At the time you receive dental services, your dentist may require you to pay the amount of your copayment or the full negotiated fee.
Your copayment is the difference between the amount of the dentist's charges, up to the U&P rate if you visit an out~of~network
provider, and the percentage paid by MetLife for that type of service.



Out-of-Network Providers
You may visit any appropriately-licensed dentist of your choice. However, if that dentist is not a
participating MetLife network dentist, reimbursement will be based on a percentage of the U&P rate. If




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you receive treatment from an out-of-network dentist, you may be responsible for filing your own claims.
See "How to File a Claim" in the Administrative Information section for 1nore information.

Pretreatment Estimate of Benefits
If your dentist recommends substantial treahnent (in excess of $200), you should request a pretreatment
estimate of benefits from MetLife by having your dentist submit a claim form with an explanation of the
treatment plan and relevant clinical information, e.g., x-rays or narrative. MetLife will estimate your
eligible benefits in advance, and may also suggest an alternative treatment method (see next page). A
MetLife pretreatment estimate is valid for one year from the date issued. Estin1ates and authorizations
must be in writing from MetLife and will not be given over the phone by Customer Service
Representatives. Estimates will assume no other coverage and will not include information about prior
services that may impact benefits reimbursements because of frequency limits or plan limitations.

Please note that a pretreatment estllnate is not a claim determination or a guarantee of payment, which
cannot be made until after a claim is submitted and processed. For example, actual payment for dental
work you receive 1nay be less than the pretreatment estimate, because of Plan limitations (such as
frequency limits and annual and lifetin1e maxllnums) in effect when services are performed. Pretreahnent
estilnates assume you do not have any other dental coverage - actual payments will be less if there is
other dental coverage that is primary. No benefits are payable for services performed after termination of
coverage.

If you do not obtain a pretreatment estimate, or choose a treahnent not authorized for benefits by
MetLife, you will be responsible for any difference in cost between the suggested alternative treahnent,
if any, and the treatment you receive.


PRETREATMENT ESTIMATE FOR IMPLANTS AND RELATED SERVICES

A pretreatment estimate is recommended for implants and other related services prior to work being done, in order to be eligible for
any benefits. You and your dentist will each receive written notification of the benefits available for these services under the IBM
Dental Plan.



Alternative Benefits
MetLife reserves the right to suggest an alternative treahnent method if their review determines that there
is more than one appropriate method to treat the patient's condition than the one being recom.mended or
performed by the dentist. If an alternative method is identified, benefits will be based on the least costly
generally-acceptable procedure for a specific treatment (i.e., restoring tooth to original function without
incurring additional expense).

Examples of alternative benefits include, but are not limited to, the following services. Other services may
also be subject to this provision:

   Dental Service                                Aftemativo Treatment
   Fillings: Inlays, Onlays and Crowns           If a tooth can be repaired by a less costly method than an inlay, onlay or crown,
                                                 the dental benefits will be based on the least costly generally-accepted method
                                                 of repair. Replacement of existing crowns, inlays and onlays - once every
                                                 seven years. When fillings with contiguous surfaces (surfaces that touch) are
                                                 rendered on the same day, the contiguous suriace(s) will only receive one
                                                 benefit per tooth.
   Crowns, Pontics and Abutments                 Veneer materials may be used for front teeth or bicuspids; however, the dental
                                                 benefits for molars will be based on a full cast restoration.




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  Dental Service                          Alternative Treatment

  Bridgework and Dentures                 Dental benefits will be based on the least-costly method of treating the entire
                                          dental arch which still provides a functioning level. In some cases, removable
                                          dentures may serve as well as fixed bridgework. If dentures are replaced by
                                          fixed bridgework, the dental benefits will be based on the cost of a replacement
                                          denture unless adequate results can be achieved only with fixed bridgework.

  Implants and Related Services           Due to the fact that implants and related services are costly, a pretreatment
                                          estimate is recommended prior to work being done in order to be eligible for any
                                          benefits. The first phase of this type of work is generally not subject to the
                                          alternative benefit provisions; benefits will either be approved or denied. The
                                          second phase of treatment generally is subject to the alternative benefit
                                          provision. An alternative benefit for the final restoration over the implant will be
                                          determined and may be reimbursed upon final completion of the work.


Emergency Care Under the IBM Dental Plan
If emergency dental treatment is required, contact your dentist. Charges will be considered for
reimbursement in accordance with the percentage rates previously described if eligible under your dental
option.

WHAT'S COVERED UNDER THE IBM DENTAL PLAN
Generally, dental services (including most oral surgery) are eligible for benefits to the extent that they are
necessary and appropriate for dental health and are considered eligible procedures under the IBM Dental
Basic and IBM Dental Plus options. The most common procedures for each dental service type are
included in the sum1nary that follows. To verify coverage and for specific infonnation on any procedure,
especially those not noted below, you should contact a MetLife customer service representative, as there
are replacement and frequency limitations that may apply.

All eligible services will be reimbursed by the Plan you are enrolled in and your employment status
(active or retired) at the time the service is completed. These payments apply to eligible services wherever
they are performed, such as the dentist's office or the hospital. Please check with your health plan
regarding precertification of your hospital stay.

The annual nrnximurn carries over to/from Dental Plus and Dental Basic when plan changes occur
during the same calendar year. If you reach your annual maximum under IBM Dental Plus or IBM Dental
Basic, no further dental benefits claims will be payable for that year. The annual maximum restarts on
January 1'1 of the following year for services incurred during that same year.

Preventive Treatment
    •     Cleanings, two per calendar year.
    •     Oral examinations, including but not liniited to routine or problem focused examinations, two
          per calendar year.
    •     X-rays, one con1piete full-mouth x-ray series or panoran1ic x-ray per 60 months.
    •     Topical fluoride treatments, once per calendar year.
    •     Sealants, one per tooth per lifetime.

Basic Restorative Treatment
    •     A1nalgam and composite fillings.




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Major Restorative Treatment (Dental Plus only)
     •    General anesthesia, treahnent will be reviewed by MetLife for dental necessity. Coverage may be
          combined with the benefit for other services rendered on the same day.
     •    Caps, crowns, implants, inlays and onlays.
     •    Replacement of existing etowns, inlays or onlays, once every seven years.
     ■    Endodontic treabnent, including root canals.
     ■    Extractions, including anesthesia and routine postoperative care.
     ■    Implants. A pretreatlnent estimate is recmnmended for ilnplants and other related services prior
          to work being done, in order to be eligible for any benefits. You and your dentist will each receive
          written notification of the benefits available for these services under the IBM Dental Plan.


BENEFIT DETERMINATION GUIDELINES FOR GENERAL ANESTHESIA/IV SEDATION


Benefits may be available, as determined by the dental plan, for general anesthesia/IV sedation when it is performed in conjunction
with the following dental procedures:

     The surgical extraction of two or more teeth completed on the same date.
     When three or more standard extractions of teeth are completed on the same date.
     The closure of an oral antral fistula.
     The surgical exposure of an impacted tooth that Is to be retained for orthodontic purposes if orthodontics is covered by the
     Plan.
     When two or more implants are placed and the implants have been approved for benefits.
     When a standard tooth extraction and a surgical tooth extraction are completed on the same date.

There may be occasions where benefits for general anesthesia/IV sedation are available when a patient has unique needs or where
there are clinical situations that warrant its use because local anesthesia administration would not suffice. Some examples include:

     Mentally or physically disabled covered individuals.
     Age of patient - up to seven years - unmanageable
     Patient with spastic disease.
     Infection at injection site where local anesthetic would normally be administered.
     Allergy to local anesthesia.
     Failure of local anesthesia to control pain.
     Extent of surgery - complicated surgical procedures that occur in multiple quadrants of the oral cavity on the same date.




     ■    Periodontal treatment:
               Scaling and root planing are limited to one per quadrant per 24 months. The clinical
               parameters used for rendering a benefit determination, based on submitted docun1entation,
               are as follows: pathologic periodontal pocket depth of 4 mm or greater and evidence of the
               loss of periodontal ligament attachment (bone loss).
               Osseous surgery up to four quadrants within a 36-month period.
               Periodontal procedures (periodontal maintenance) are limited to four per calendar year (this
               includes adult and child prophylaxis) and are only payable when there is a history of
               qualifying periodontal therapy, in at least two different quadrants.
               Local chemotherapy agents used in conjunction with non-surgical periodontal therapy
               (scaling and root planing). are limited to one per tooth, and for a limited number of teeth that
               have pocket depth between 6 mm and 8 nun and bleed probing, and have had no
               chemotherapeutic agent applied for at least the prior 12-month period, as determined by the
               Plan's Dentist Consultants.




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             Local chemotherapy agents used in conjunction with periodontal maintenance therapy (post
             scaling and root planing or osseous surgery) are limited to one per tooth for a limited number
             of teeth that show increasing pocket depths between 5 mm and 8 mm and have had no
             chemotherapeutic agent applied for at least the prior 12-month period. Benefits may be
             available based on review of the clinical documentation by the Plan's Dentist Consultants,
             when there is a history of completed active periodontal therapy.
    •    Creation of bridgework and dentures, including six months post-placement care, once every
         seven years.
    ■    Relining existing bridgework or dentures, no coverage is available during the first six months
         following the date of the insertion of the prosthesis; thereafter, no limit.
    •    Replacement of existing dentures or bridgework. For treatment to be eligible the following
         conditions must be 1net
             The existing denture or bridgework was installed at least seven years prior to its replacement
             or
             The replacement is required to replace one or more natural teeth extracted after placement of
             the original denture/bridge and the appliance cannot be made serviceable or
             The existing denture or bridgework is temporary and cannot be made permanent, and
             replacement by a permanent denture/bridge occurs within 12 months from the date of initial
             installation of the temporary denture/bridge.
Note: Any dental treatment for dentures or b,idgework received under the IBM Dental Plan will be treated as ifit
·was received under the IBM Dental Plus Plan. For example, if a covered individual received dentures or bridgework
less than seven years ago under the IBM Dental Plan and that individual is now covered under the IBM Dental
Plus option, new dentures or bridgework may not be replaced until seven years have passed. Tempormy dentures
are not a covered expense.
     • Temporomandibular joint dysfunction (TMJ)-related charges:
             X-rays, up to six views, (considered a diagnostic procedure)
             TMJ appliance
             TMJ office visits/ treatments, up to 10 per year, including eligible services of other providers
             for associated treatment and MR!s are only covered if determined to be dentally necessary.

You are strongly urged to contact MetLife to be aware of what the IBM Dental Plus option will cover
before you or your eligible dependent receive services in conjunction with TMJ. TMJ-related surgical
charges not covered under the IBM Dental Plus option may be eligible for IBM Medical Plan benefits in
certain rare circumstances. See "What's Covered Under the IBM Medical Plan."

Major Restorative Benefits If You Retire
If you retire while covered under the IBM Dental Plus option, you and each covered individual will be
eligible for 50% reitnbursen1ent for major restorative services. If you are retiring and have work in
progress, your services will be reitnbursed based on the plan you are enrolled in and your employment
status (active or retired) at the time the service is completed. You may want to check with MetLife
regarding your individual circun1stances.

ORTHODONTIC TREATMENT (IBM DENTAL PLUS)




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Orthodontic treatment is covered under the IBM Dental Plus option for each eligible covered individual
up to a lifetime maximum of $2,500. The administration of the orthodontic benefit differs from that of
other dental services. Here's how:
    ■    When submitting a claim for con1prehensive orthodontic treatment, it is only necessary to submit
         the claim once, at the beginning of the active treatment period. However, additional information
         may be requested periodically to verify that you or your dependent is still receiving active
         treatment. Payment will be made to you or the dentist, as indicated on the claim form.
    •    After the active treatment phase has commenced - placement of the bands upon the teeth - 25%
         of the total orthodontic charge will be considered the banding fee. Benefits will be paid at 50% of
         the banding fee and will be made upon submission of the claim form.
    •    After subtracting the banding fee, the remaining charge for eligible services while the bands are
         on the teeth will be divided by the number of months of treatment that the orthodontist indicates
         is required. (Charges include necessary appliances, diagnostic casts, x-rays and subsequent
         monthly visits while the bands are on the teeth.)
    •    You will receive a monthly reimbursement check equal to 50% of this calculated monthly
         amount. Payment for active treatment will end when bands are removed, the patient reaches the
         lifetime orthodontia maximum or if no longer covered by the IBM Dental Plus option, whichever
         occurs first, and no further rehnbursement will be 1nade.
    •    Rein1bursement will be paid in n1onthly installments over the course of the treahnent, thus the
         full rein1burse1nent will not be received until conclusion of the active treatment has been reached.
         Monthly benefits will be sent automatically to you or to your dentist, per your designation on the
         claim form.
    •     MetLife will confirm treatment periodically.

Automatic payment will cease if you or your covered family member are no longer covered by the IBM
Dental Plus option.

Orthodontic Benefits If You Retire
If you are retiring and have work in progress, your services will be reimbursed based on the plan you are
emolled in and your employment status (active or retired) at the time the service is completed. You may
want to check with MetLife regarding your individual circumstances.

WHAT THE IBM DENTAL PLAN DOES NOT COVER
    •    Treatment for accidental injury to sound natural teeth is not covered by MetLife. However, if you
         are enrolled in the IBM PPO, IBM PPO Plus, IBM EPO or the IBM PPO with HSA, IBM Enhanced
         PPO with HSA options, you may be eligible for medical benefits if the health plan determines
         that accidental injury coverage applies.
    •     Charges for cosmetic dental services.
    •     Charges for educational programs (such as training in plaque control, nutritional guidance or
          myofunctional therapy).
    •     Experimental, investigational or unproven treahnent or procedures.
    •     Incidental dental procedures. An incidental dental procedure is one that is performed at the same
          time as a 1nore complex primary procedure and requires little additional dental resources, and in
          the dental industry, generally identified to be part of the primary procedure code.
    •     When multiple procedures are done on the same tooth on the san1e day, MetLife will reimburse
          only for the most complex procedure done for that date of service.
    •     Nitrous oxide.



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                                                                                 IBM DENTAL COVERAGE


    •    Prescription drugs are not covered under the Dental Plan; however, eligible 1nedications
         prescribed by your dentist may be covered under your IBM Medical Plan option (IBM PPO, IBM
         PPO Plus, IBM EPO, IBM PPO with HSA or the IBM Enhanced PPO with HSA). If you are
         enrolled in an HMO, contact your HMO to determine how prescriptions for dental treatment are
         covered.
    •    Protective athletic mouth guards.
    ■    The cost of replacing lost or stolen prosthetic devices, including space maintainers.
    ■    Retainers are not covered as a separate benefit, but are included under orthodontia services.
    •    Reimbursen1ent of courses of treatment for patients whose treatment was completed before their
         coverage began is not covered.
    •    Charges for oral surgery that are determined to be dental in nature, and exceed the U&P rate, are
         not eligible for reimbursement under the IBM Medical Plan options.
    •    Te1nporary dentures.
    •    Services not performed or prescribed by a licensed dentist

COORDINATION OF BENEFITS
If you or an eligible family member has other group health plan coverage in addition to IBM coverage,
IBM medical and dental benefits will be coordinated with the other coverage to avoid duplication of
payment. When the IBM Plan's responsibility for benefits is secondary to that of the other coverage, the
IBM Plan will not pay a benefit for an eligible expense until the other coverage has paid, and the IBM
Plan will take the covered expense and subtract what the primary carrier paid, then issue benefits based
on the plan percentage. amount which would normally apply will be reduced by the amount the other
coverage paid.

See "Coordinating Coverage" in the Administrative Information section for more information.

WHEN COVERAGE ENDS
When a person ceases to be eligible for dental coverage through IBM, continuation coverage can be
obtained, in certain circumstances, through the Transitional Medical Program (TMP) for a limited time.
See "Transitional Medical Program (TMP)" in the Administrative Information section for more details.




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                                                                                 IBM VISION COVERAGE



IBM Vision Coverage

ABOUT YOUR VISION BENEFITS
If you are eligible, you have two options for vision coverage in which you can enroll: the IBM Vision Plan
offered by Anthem Blue View Vision or the EyeMed Vision Discount Plan, provided by EyeMed Vision
Care.


 IBM VISION PLAN ADMINISTRATOR

 Anthem Blue View Vision is the administrator of the IBM Vision Plan.

 You can reach Anthem Blue View Vision at 855-765-4552

 EYEMED VISION DISCOUNT PLAN

 You can reach EyeMed Vision Care at 855-245-0621.



Who Is Eligible
All regular full-time, regular part-time and long-term supplemental employees and their eligible family
members are eligible for the IBM Vision Plan or EyeMed Vision Discount Plan. Employees enrolled in the
IBM Global Assignee Medical Plan will receive their vision coverage through Cigna Global Health
Benefits.

IBM's dependent eligibility guidelines pertain to all benefit options under the IBM Personal Benefits
program, including vision policy, and are not subject to any state laws mandating coverage for anyone
not included in IBM's list of eligible dependents.

ID Card
If you enroll in the IBM Vision Plan, you will receive an ID card, which will remain good for as long as
you are enrolled in this plan. New cards will not be sent each year.

IBM VISION PLAN
The IBM Vision Plan is designed to encourage you to maintain your vision through regular eye
exaininations and to help you with vision care expenses for required glasses or contact lenses. The routine
eye exams covered through the IBM Vision Plan are designed to maintain your visual heath as well as
detect heath conditions that could impact your overall health. The routine eye exams through the IBM
Vision Plan are not designed to cover the treatment or monitoring of existing health conditions.

Benefits for the IBM Vision Plan are provided by Anthem BlueView Vision through a fully-insured vision
policy, which offers coverage for services fron1 both network providers and vision providers who are not
in the network.

Enrollment in the IBM Vision Plan provides benefits for eye exams and eyewear both within and outside
the Anthem Blue View Vision network.

EyeMed Vision Discount Plan
The EyeMed Vision Discount Plan, provided by EyeMed Vision Care™ is available to you and your
eligible dependents at no cost. This plan gives you access to savings of up to 40% on frames, lenses, lens
options and contact lenses, and a discount on an annual eye exam at EyeMed Vision Care network




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                                                                                 IBM VISION COVERAGE


provider locations. No enrolhnent or 1D card is required to access the discounts, you just need to go to a
participating provider and ask for the EyeMed Discount.

For more information, visit www.eyemed.con1. Click on Member Login, scroll down to Discount Plan
Members and choose letter "I" for the IBM Discounts, then click on the IBM Vision Discounts link

When Coverage Ends
If you, or an enrolled family member, cease to be eligible for vision coverage through IBM, continuation
coverage can be obtained, in certain circumstances, through the Transitional Medical Program (TMP) for
a limited time. See "Transitional Medical Program (TMP)" in the Administrative Information section for
more details.




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                                                                                IBM FLEXIBLE SPENDING ACCOUNTS



IBM Flexible Spending Accounts
Flexible spending accounts provide an easy way to set aside money for certain eligible expenses while
reducing your taxable income. There are two Flexible Spending Accounts described in this section:
     •    The Health Care Spending Account (HCSA).
     •    The Dependent Care Spending Account (DCSA).

Eligible employees may elect to participate in the Health Care Spending Account, the Dependent Care
Spending Account, neither or both accounts.

WHO IS ELIGIBLE FOR FLEXIBLE SPENDING ACCOUNTS
You are eligible to elect coverage under the Flexible Spending Accounts if, at the time of enrollment, you
are an active regular full-time employee, regular part-time employee or long-term supplemental
employee who is eligible to participate in the IBM Personal Benefits Program, paid from the IBM payroll,
and subject to U.S. tax laws. (Supplemental employees and retiree supplemental employees are not
eligible to participate.)

An employee who is on a leave of absence and working as a supplemental employee will become eligible
to elect coverage only when he or she returns to regular full-time or regular part-time status.


FLEXIBLE SPENDING ACCOUNTS ADMINISTRATOR

The administrator for the HCSA and for the DCSA is Acclaris.

Customer Service Availability
Acclaris representatives are available to assist you with claim questions Monday through Friday from 8:00 a.m. to 8:00 p.m., Eastern
time.

You can reach an Acclaris representative at 888-880-2775 or on1ine at www.acclarisonline.com.



Health Care Spending Account
Employees who are enrolled in the IBM PPO with HSA, IBM Enhanced PPO with HSA are not eligible to
participate in the Health Care Spending Account.

Dependent Care Spending Account
You can participate in the DCSA only if dependent care is necessary for you and your spouse to work or
for you to work and your spouse to attend school full-time.

ABOUT THE HEALTH CARE SPENDING ACCOUNT (HCSA)
The HCSA allows you to contribute a fixed amount of money (minimum of $10/month up to $2,650 per
year) from your pay in pretax dollars and claim reimbursements from the account for eligible out-of-
pocket health care expenses. These expenses, which you might otherwise have to pay with after-tax
dollars, include deductibles, copayments and other medical, dental, vision and hearing expenses that are
not reimbursed under your health plan or other coverage.

You can also claim reimbursements for expenses incurred by your spouse and eligible dependents, even
if they are not enrolled under your benefits coverage. An eligible dependent is anyone you can properly
claim as a dependent on your federal tax return. (If you and your spouse file separate tax returns, you
cannot claim expenses for your spouse under your HCSA.) Due to IRS regulations, the Health Care



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                                                                                 IBM FLEXIBLE SPENDING ACCOUNTS


Spending Account cannot reimburse expenses for a domestic partner who does not meet the applicable
tax law definition of" dependent."

The HCSA is "front-loaded". Employees are eligible for the total annual election on the first day of
participation. However, reimbursements can be clailned only for eligible expenses you incur while
covered under the HCSA. If your total contributions exceed your total reimbursements for eligible
expenses incurred during a coverage period or any grace period that may apply immediately following
the coverage period, you must forfeit the remaining amount, as required by federal law.

HOW THE HEALTH CARE SPENDING ACCOUNT WORKS
Contributions
When you enroll in the HCSA, you may elect to contribute up to an annual maximum, currently $2,650
(minimum election of $10 per month). The amount you are permitted to contribute is determined by the
IRS. Contributions to your HCSA are deducted from your pay on a pretax basis each pay period before
federal incon1e, Social Security and, in most cases, state and local income taxes are calculated and
withheld. Consult your personal tax advisor for information specific to your jurisdiction.

When you elect to participate in the HCSA, you agree to participate for the entire plan year. You may not
change your contribution during the year, except if you experience a qualified status change that allows
you to make a mid-year change (see "Changing Coverage Due to a Qualified Status Change" in the
"Administrative lnformationu section).

If your spouse is also enrolled in a health care spending account through his or her employer, each of you
may contribute up to the maximu1n amount allowed by your respective plans; however, you may claim
reimbursement for an eligible expense fron1 one or the other of the plans only. Duplicate reimbursement
for the same expense is not allowed.


IMPORTANT INFORMATION FOR IBM COUPLES

If you and/or your spouse are participating in the HCSA and one of you terminates participation in the HCSA due to a qualified
status change, there will be no carryover of unused HCSA contributions from the terminating participant's account to the other
spouse's account.

For example, let's say you participate in the HCSA at a contribution rate of $50 per month ($600 for the year) and you take a leave
                                                                                                                         th
of absence on June 25th , causing you to terminate participation in the HCSA. Your HCSA coverage period ends June 30 (the last
                                                                                             th
day of the pay period in which you terminate). Only expenses incurred on or before June 30 will be eligible for reimbursement
under your HCSA account.

If your spouse enrolls in the HCSA effective July 1st and contributes $50 per month (your spouse may enroll in HCSA within 30 days
following your qualified status change), only expenses incurred on or after July 1st will be eligible for reimbursement under the new
HCSA account.



Your Coverage Period and Election Changes
Your" coverage period" is a continuous period, within the plan year, throughout which your rate of
contribution remains constant. Normally, your coverage period ends on December 31 st · If your monthly
contribution to the HCSA stays the same throughout the plan year, you will have a single 12-month
coverage period. For eligible expenses incurred during a coverage period, you may receive
reimbursements up to the" coverage period amount." This amount is calculated by multiplying your rate
of contribution times the number of pay periods in the plan year from the start of the coverage period.




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If you elect the HCSA during the annual enrollment period, your coverage starts on January 1st of the
following plan year.


WHEN CONTRIBUTIONS ARE DEDUCTED FROM YOUR SALARY

Due to payroll cycles there may be a delay in your salary adjustment.

Treatment for new hires is explained in "Enrolling in Your Benefits as a New Hire" in the Personal Benefits Program section.



If you enroll in the HCSA or change your deduction during the plan year as the result of a qualified
status change (see "Changing Coverage Due to a Qualified Status Change" in the Administrative
Information section), your coverage period and deductions are effective on the first day of the month
following the date of your phone call to the IBM Benefits Center - Provided by Fidelity.

Your prior coverage period and coverage period ainount will end the preceding day. Each continuous
                                                                                                  1
period for which your monthly contribution amount is the san1e will be considered a separate ' coverage
period." Coverage periods are treated separately, so expenses are applied against the particular coverage
period in effect at the time the expense was incurred. For exan1ple, if you have a baby, you can increase
your HCSA amount. However, it's very important to know that since the increase in your HCSA is
effective the first of the month following your call to the IBM Benefits Center after the baby's birth,
expenses incurred for the birth of the baby will not be eligible under your new coverage period.


REDUCING HCSA CONTRIBUTIONS TO ZERO

If you stop contributing to the HCSA prior to December 31 st of the plan year due to a qualified status change, you cannot be
reimbursed for expenses incurred after changing your contributions nor qualify for a grace period. In that case, you may claim
reimbursement only for eligible expenses incurred during the portion of the plan year for which you actually made contributions to
the HCSA.



For any grace period, expenses are applied against the coverage period amount for the particular
coverage period in effect immediately before the start of the grace period.

EXAMPLE: CHANGING YOUR HCSA CONTRIBUTION DURING THE YEAR
Let's say you elect to contribute $20 a month ($240 a year) to the HCSA. You contribute $20 per month
from January through March for a total of $60 contributed to date. During this time period, you also
incurred $200 in eligible health care expenses, for which you've already received reimbursement.

In March, you have a baby and elect to increase your HCSA contribution to $100 per month. To calculate
your new eligible HCSA balance for the remainder of the plan year, you add together the actual
contributions made during the first coverage period (January through March) to the new contributions
for the second coverage period (April through December). This new amount will be reduced by the
amount you've already received in reimbursements ($200) for a new total available balance of $760, as
shown in the table below. Note: Since the change is effective the first of the month following your call to
the IBM Benefits Center, expenses incurred for the birth of the baby will not be eligible under your new
coverage period. Expenses incurred during the first coverage period can only be reimbursed against the
first coverage period an1ount. Expenses incurred during the second coverage period can only be
reimbursed against the second coverage period amount.




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    Example of Calculating a New HCSA Balance When There Are Two Coverage Periods

    Contribution Amount for 1st Coverage Period                                                                                 $20 x 3 months = $60

    (January - March)

    Contribution Amount for 2 nd Coverage Period                                                                            $100 x 9 months = $900
    (April - December)
                 ····-···••.•····
    New HCSA Annual Amount                                                                                                        $60 + $900 = $960
    (1 st Coverage Period plus 2 nd Coverage Period)

    Less any reimbursements received during 1"1 Coverage Period                                                                          $960 - $200
                                                                      ···············L .................................... .
    Equals New HCSA available balance during the 2     nd
                                                            Coverage Period:                                                                   $760


Keep in mind that if your reimbursement for expenses incurred during the coverage periods during the
plan year does not reach the amount you have contributed during the plan year, the remaining amount
will be forfeited. You will not receive a refund, nor will you carry over any unused portion of your
coverage to another plan year, unless a grace period applies immediately following the second coverage
period. See "Health Care Spending Account Grace Period."

REIMBURSEMENTS
After you incur an eligible health care expense that is not reimbursable by your health care plans or any
other coverage, you may submit a claim to Acclaris for reimbursement from your account. You will be
reimbursed for the lesser of the amount of the eligible expense or the coverage period balance amount

You n1ay receive reimbursen1ents only for expenses incurred during the coverage period or any grace
period that may apply immediately following the coverage period. An expense for a service or item is
considered "incurred" on the date the service is rendered, regardless of date of billing, date of payment or
date the item is provided.

You 1nay not receive reimbursement for expenses incurred during a period in which you were not
contributing to the P]an. However, you may receive reimbursement for expenses incurred during a grace
period that applies immediately following a coverage period, even if you are not contributing to the Plan
during that grace period as outlined in the "Health Care Spending Account Grace Period" section.

Eligible Expenses Incurred by Your Spouse and Eligible Dependents
You may receive reimbursement fr01n your account for eligible health care expenses incurred by your
spouse and eligible dependents, even if they are not enrolled in other IBM benefits coverage. An eligible
dependent is anyone you claim as a dependent on your federal tax return, including:
    •     Your spouse, only if you jointly file your Federal Income Tax Return.
    •     Children or relatives in your household for whom you provide over 50% of support during the
          calendar year in which you make contributions to the account.
    •     Due to IRS regulations, HCSA cannot reilnburse expenses for domestic partners, except those
          who meet the applicable tax law definition of" dependent"

Health Debit Card for Health Care Spending Account
For Health Care Spending Account participants, a Health Debit Card will be provided. The Health Debit
Card program is administered by Acclaris. The Health Debit Card enables you to pay for qualified
medical, dental or vision expenses at the doctor's office, hospital or lab in addition to prescription drugs
at the pharmacy.




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When you use the Health Care Debit Card, your Health Care Spending Account will be debited for
qualified expenses that are eligible for reimbursement under the Health Care Spending Account. This
eliminates the need to file claims to receive reimbursement for these eligible expenses.

The IBM Health Debit Card can be used at both UAS (IIAS is a certification system used by Merchants to
identify eligible healthcare products) and 90% retailers (a retailer where at least 90% of the products sold
are eligible health care spending account expenses as defined by the IRS). This means that the transaction
will be approved for payment at the point of sale regardless of whether the retailer is IIAS or 90%. Swipes
at an IIAS retailer are substantiated at the point of sale and do not require receipts. Swipes at 90%
retailers cannot be substantiated at the point of sale. Since the IRS requires ALL expenses to be
substantiated, you must provide a receipt for any debit card purchases at a 90% retailer. For a listing of
90% and IIAS merchants, please visit https://www.sig-is.org.

Continuing Your Participation if You Leave the Company
If you leave the Company during the year (or otherwise cease to meet the HCSA participation criteria),
you may be eligible to continue your coverage for the rest of the year by making contributions on an
after-tax basis. You could then receive reimbursements for expenses incurred after the status change and
perhaps avoid forfeiture of unused contributions. Contact the IBM Benefits Center - Provided by Fidelity
for further information.

FORFEITURE OF UNUSED CONTRIBUTIONS
By law, the Health Care Spending Account carries a "use it or lose it" provision. If your total
contributions for any particular coverage period exceed your total reimbursements for eligible expenses
incurred during that coverage period, you will forfeit the difference. You cannot receive a refund. IBM
will use any forfeited amounts to offset expenses of administering the Health Care Spending Account for
its employees.

ELIGIBLE EXPENSES UNDER THE HEALTH CARE SPENDING ACCOUNT
Generally, expenses for health care services and supplies are eligible for reimbursement if they are for
medical care; considered tax-deductible by the IRS; not reimbursable by a benefits plan, an HMO,
insurance or any other source; and incurred by you, your spouse or eligible dependents during your
coverage period.

Examples of eligible services and supplies recognized by the IRS, at the time of publication of this
document, include:

    •     Acupuncture
    •     Alcoholism treatment
    •     A1nbulance services
    •     Armual deductible
    •     Artificial limbs
    •     Birth prevention surgery
    •     Braille books and magazines for a visually-impaired or blind person
    •     Car equipped for a disabled person
    •     Chiropractic services
    •     Cholesterol kits
    •     Christian Science practitioner
    •     Contact lenses, saline solution and enzyme cleaner



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   •     Co payments
   •     Crutches
   •     Custodial care in an institution or nursing home
   •     Deductibles under medical, dental and vision plans
   •     Doctors' fees
   •     Drug addiction treatment
   •     Eyeglasses (including prescription sunglasses)
   •     Service animal
   •     Hearing aids and hearing care
   •     Hospital services
   •     Insulin
   •     Laboratory fees
   •     Legal sterilization procedures
   •     Lodging for medical care away from home (up to $50/ day per person, up to two people)
   •     Nicotine gum, patches and other smoking cessation aides
   •     Nursing services
   •     Organ transplants
   •     Orthodontic treatment
   •     Oxygen and oxygen equipment
   •     Photo-refractive surgery
   •     Physical exams
   •     Prescription drugs (if not taken for cosmetic purposes, e.g., hair growth)
   •     Prescription drugs to alleviate nicotine withdrawal
   •     Psychiatric treatment
   •     Psychologists' fees
   •     Radial keratotomy /PRK/LASIK
   •     Smoking cessation program
   •     Social workers' fees
   •     Special equipment for the deaf or hard of hearing
   •     Special homes or schools for the mentally or physically disabled
   •     Transportation, primary for and essential to, medical care
   •     Wheelchairs
   •     Weight-loss programs (requires a doctor's statement confirming physician-diagnosed obesity,
         diabetes or hypertension). The cost of reduced-calorie food and weight-loss programs for
         improvement of general health are not eligible and
   •     X-ray fees .




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IRS PUBLICATION 502: MEDICAL AND DENTAL EXPENSES

For more information about eligible health care expenses, consult your personal tax advisor or read IRS Publication 502, Medical
and Dental Expenses, available at www.irs.gov.

Please note that Publication 502 is intended for use on individual Federal Income Tax Returns and in some cases details in
Publication 502 may not apply to flexible spending accounts such as the HCSA. If there is a conflict between any item in the HCSA
section of thls document and Publication 502, this section will govern.



Over-the-Counter Drugs and Medications
Under the Patient Protection and Affordable Care Act, over-the-counter medications are no longer
eligible for reimbursement under health care flexible spending accounts (FSAs) and health savings
accounts (HSAs) unless prescribed by a physician or other medical provider.

INELIGIBLE EXPENSES UNDER THE HEALTH CARE SPENDING ACCOUNT
Examples of services and supplies that are not eligible for reimbursement, as defined by the IRS, include
but are not limited to:
     •     Any expense for the betterment of general health
     •    Any portion of an expense that has been reimbursed (or is reimbursable) by a company's health
          care plan, HMO, insurance or any other source
     •    Condoms
     •    Cosmetic medical or dental services and care (including prescription drugs)
     •    Cosmetics, toiletries and related items
     •     Dancing or swimming lessons
     •     Dietary supplements
     •     Family or marriage counseling
     •     Funeral and burial expenses
     •     Health club dues
     •     Herbal and homeopathic remedies/medicines
     •     Long-term care insurance premiums
     •     Maternity clothes
     •     Meals and lodging expenses while receiving medical care away from home
     •     Nutritional supplements
     •     Over-the-counter drugs and 1nedications without a prescription
     •     Pregnancy tests
     •     Premiums for health insurance or other health care coverage (for example, your monthly
           conh·ibutions for IBM medical or HMO or an insurance policy purchased on your own)
     •    Toiletries, such as toothpaste and vitamins
     •     Vitamins and nutritional supplements available over-the-counter and
     •     Weight-loss programs for general health purposes .

HOW TO FILE A HEAL TH CARE SPENDING ACCOUNT CLAIM
For specific claim instructions including claim submission deadlines, see "How to File a Clain1" in the
Administrative Information section.



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Health Care Spending Account Grace Period
IBM provides a grace period for Health Care Spending Account participants. The grace period allows
employees actively participating in HCSA on December 31 to submit claims for eligible expenses incurred
through March 15 of the following year - instead of the previous plan year end date of December 31.
These eligible expenses can be reimbursed using your HCSA contributions that remain unused (if any)
from your coverage period in effect as of December 31. You are not required to participate in the Health
Care Spending Account for the current plan year in order to take advantage of the grace period for the
previous plan year. (In other words, if you participate in the HCSA in 2019, you may submit claims
through March 15, 2020.)

If you are participating in the Health Care Spending Account, you must indicate on the Health Care
Spending Account Claim Form if the expenses incurred during the grace period should be reimbursed
from your previous yeaf's contributions or your current year contributions. Otherwise, your current year
contributions (if applicable) will be used to reimburse any eligible expenses incurred from January 1 of
the previous plan year through March 15 of the current plan year.

If your medical plan option participates with the Health Debit Card, please note that only current plan
year contributions can be applied to any eligible prescription drugs you purchase with the card. If you
wish to use your previous plan contributions to pay for prescription drugs purchased during the grace
period, you will need to pay for them using another form of payment. You must then submit a claim for
reimbursement, checking the box on the claim form indicating the expense should be reimbursed from
your previous year's contributions, instead of using your Health Debit Card.

IBM PPO with HSA, IBM Enhanced PPO with HSA Participants
If you enroll in the IBM PPO with I-ISA, IBM Enl1anced PPO with I-ISA as your medical option, were a
participant in the Health Care Spending Account on December 31 of the previous year and had a zero
balance remaining in your HCSA, you are eligible to make contributions to your I-ISA beginning January
1. If you had a balance remaining in your HCSA, you cannot begin making contributions until April lof
the year after you enroll as the IRS considers your HCSA balance" other coverage." IRS rules prevent you
from participating in I-ISA while you have other coverage. You may, however, contribute up to the full
year I-ISA contribution limits between April 1 and December 31.

HEALTH CARE SPENDING ACCOUNT TESTING
In order to meet federal requirements for favorable tax treatment, the Health Care Spending Account
must maintain certain relationships of eligibility, participation and utilization between highly and non-
highly compensated employees. In the event it should become necessary, IBM may take actions to
maintain the tax-favored status, such as limiting the contributions of highly-compensated employees. If
the account does not meet IRS guidelines, certain employees may not be able to contribute the full annual
amount they elected on a tax-free basis. You will be contacted if this affects you.

The Plan may be modified or discontinued in the future at IBM's discretion. Circumstances which may
lead to such action include possible tax law changes or legislative regulatory requirements.

ABOUT THE DEPENDENT CARE SPENDING ACCOUNT (DCSA)
The Dependent Care Spending Account (DCSA) allows you to contribute a fixed amount of money
(minimum of $20 per month, up to $5,000 per year) from your pay in pretax dollars to help pay for work-
related dependent care expenses. These expenses, which you might otherwise have to pay with after-tax
dollars, include before- and after-school care programs for school-age children under age 13, day care
center services and home care services for a dependent who is incapable of self-care and day can1p
expenses. Please note that Dependent Care Spending Account benefits described in this section are not
subject to ERISA, the federal law governing employee benefits.



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For purposes of the Dependent Care Spending Account, eligible dependents generally include:
    •    Children under age 13 whom you are entitled to claim as exemptions on your federal income tax
         return and
    •     Any dependent age 13 or older whom you are entitled to claim for federal income tax purposes,
          who is in your household at least eight hours a day, and who is physically or mentally incapable
          of self-care.

Reimbursements can be claimed only for eligible expenses you incur while covered under the DCSA. If
your total contributions exceed your total reimbursements for eligible expenses incurred during a
coverage period or any grace period that may apply immediately following the coverage period, you
must forfeit the remaining amount, as required by federal law.

HOW THE DEPENDENT CARE SPENDING ACCOUNT WORKS
Contributions
When you enroll in the DCSA, you may elect to contribute up to an annual maximum, currently $5,000
(minimum election of $20 per month). However, if you are married and you and your spouse file separate
federal income tax returns, each of you can contribute a maximum of $2,500 per year. In no case may your
contribution exceed your earned incon1e or that of your spouse, whichever is less.

If your spouse is a full-time student or was disabled for at least five months during the year, there is a
special rule to detennine his or her annual income. To figure the incon1e in such a case, deternline your
spouse's actual taxable income, if any, earned each month that he or she is a full-tin1e student or was
disabled. Then, for each month, compare this amount to $200 if you are claiming expenses for one
dependent, or $400 if you are claiming expenses for two or 1nore dependents. The an1ount you use to
determine your spouse's annual incon1e is the greater of the actual taxable income or these assumed
amounts of $200 or $400.

Contributions to your DCSA are deducted from your pay on a pretax basis each pay period before federal
income, Social Security and, in most cases, state and local incon1e taxes are calculated and withheld.
Consult your personal tax advisor for infornrntion specific to your jurisdiction.

When you elect to participate in the DCSA, you agree to participate for the entire plan year. You may not
change your contribution during the year, except if you experience a qualified status change that allows
you to make a mid-year change (see "Changing Coverage Due to a Qualified Status Change" in the
Administrative Information section).

If your spouse is also enrolled in a dependent care spending account through his or her employer, each of
you 1nay contribute up to the maximum an1ount allowed by your respective plan; however, you may
clain1 reimburse1nent for an eligible expense fr01n one or the other of the plans only. Duplicate
rein1bursement for the same expense is not allowed.




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 IMPORTANT INFORMATION FOR IBM COUPLES

 If you and/or your spouse are participating in the DCSA and one of you terminates participation in the DCSA due to a qualified
 status change, there will be no carryover of unused DCSA contributions from the terminating participant's account to the other
 spouse's account.

 For example, let's say you participate in the DCSA at a contribution rate of $50 per month ($600 for the year) and you take a leave
                                                                                                                            th
 of absence on June 25 th , causing you to terminate participation in the DCSA Your DCSA coverage period ends June 30 (the last
 day of the pay period in which you terminate). Only expenses incurred on or before June 30 th will be eligible for reimbursement
 under your DCSA account.

 If your spouse enrolls in the DCSA effective July 1s1 and contributes $50 per month (your spouse may enroll in DCSA within 30
 days following your qualified status change), only expenses incurred on or after July 1st will be eligible for reimbursement under the
 new DCSA account.



Your Coverage Period and Election Changes
Your coverage period" is a continuous period, within the plan year, throughout which your rate of
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contribution remains constant. Normally, your coverage period ends on Dece1nber 31 st - If your monthly
contribution to the DCSA stays the same throughout the plan year, you will have a single 12-month
coverage period. For eligible expenses incurred during a coverage period, you may receive
reimbursements up to the "coverage period amount." This amount is calculated by multiplying your rate
of contribution times the number of pay periods in the plan year from the start of the coverage period.


 WHEN CONTRIBUTIONS ARE DEDUCTED FROM YOUR SALARY

 Due to payroll cycles, there may be a delay in your salary adjustment.

 Treatment for new hires is explained in "Enrolling in Your Benefits as a New Hire" in the Personal Benefits Program section.



If you elect the DCSA during the annual enrollment period, your coverage starts on January 1st of the
following plan year.

If you enroll in the DCSA or change your deduction during the plan year as the result of a qualified status
change (see "Changing Coverage Due to a Qualified Status Change" in the Administrative Information
section), your coverage period and deductions are effective on the first day of the month following the
date of your phone call to the IBM Benefits Center - Provided by Fidelity.

Your prior coverage period and coverage period ainount will end the preceding day. Each continuous
period for which your monthly contribution an1ount is the same will be considered a separate" coverage
period." Coverage periods are treated separately, so expenses are applied against the particular coverage
period in effect at the time the expense was incurred. For example, if you have a baby, you can increase
your DCSA amount.

REIMBURSEMENTS
After you incur an eligible dependent care expense, you may submit a claim to Acclaris for
reimbursement from your account. You will be reimbursed for the lesser of the amount of the eligible
expense or the coverage period balance amount.

You nrny receive rein1bursernents only for expenses incurred during the coverage period. An expense for
a service or item is considered "incurred" on the date the service is rendered, regardless of date of billing
or date of payment.




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You may not receive reimbursement for expenses incurred during a period in which you were not
contributing to the Plan.


 REDUCING DCSA CONTRIBUTIONS TO ZERO

 If you stop contributing to the DCSA prior to December 31 st of the plan year due to a qualified status change, you cannot be
 reimbursed for expenses incurred after changing your contributions nor qualify for a grace period. In that case, you may claim
 reimbursement only for eligible expenses incurred during the portion of the plan year for which you actually made contributions to
 the DCSA.



Eligible Dependents for Dependent Day Care Expenses
You may receive reimbursement fron1 your account for eligible dependent care expenses incurred by the
following members of your household:
    •     A child under age 13 whom you claim as a dependent for federal income tax purposes.
    •    A spouse or dependent, mentally or physically incapable of self-care (i.e., cannot dress, clean or
         feed himself or herself; or requires the constant attention of another individual to prevent injury
         to that person or others). Note: If you are using the Dependent Care Spending Account for an adult
         dependent, the adult dependent must live with you at least half the year to be an eligible dependent.

If you are unsure of a dependent's qualification, you should consult your personal tax or financial
advisor.

Special rules apply to children of separated or divorced parents (consult your personal tax advisor for
details).

Due to IRS regulations, the DCSA will not reimburse expenses for the care of domestic partners, except
those who meet the applicable tax law definition of" dependent." By law we cannot treat an employee
with a domestic partner as "married" for purposes of determining the employee's maximum allowable
contribution to the DCSA.

Spend-Down Provision if You Leave the Company
If you leave the Company during the year you will no longer contribute to the DCSA. The amount
contributed to DCSA while actively employed can be reimbursed for qualified dependent care expenses
incurred after termination of employment through the end of the plan year, December 31st. To be eligible,
expenses incurred must allow a participant or spouse to work. The reimbursement request forn1 must
include confirmation that you and your spouse are employed, looking for work, or attending school full-
time

FORFEITURE OF UNUSED CONTRIBUTIONS
By law, the Dependent Care Spending Account carries a "use it or lose it" provision. If your total
contributions for any particular coverage period exceed your total rein1bursements for eligible expenses
incurred during that coverage period, you will forfeit the difference. You cannot receive a refund. IBM
will use any forfeited amounts to offset expenses of administering the Dependent Care Spending Account
for its employees.

ELIGIBLE EXPENSES UNDER THE DEPENDENT CARE SPENDING ACCOUNT
Generally, expenses for dependent care are eligible for reimbursement if they are for work-related
dependent care of an eligible dependent; considered deductible by the IRS and incurred during your
coverage period. If you are married, your spouse nmst also work unless he or she is a full-hnie student or
incapable of self-care.



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Examples of eligible expenses recognized by the IRS at the time of publication of this document include:
    •     Before- and after-school care programs for school-age children under age 13 .
    •     Day care center services (centers with more than six children must comply with all state and local
          regulations).
    •     Home care service for a dependent that is incapable of self-care .
    •     Day camp expenses .


 IRS PUBLICATION 503: CHILD AND DEPENDENT CARE EXPENSES

 For more information about eligible dependent care expenses, consult your personal tax advisor or read IRS Publication 503, Child
 and Dependent Care Expenses, available at www.irs.gov.

 Please note that Publication 503 is intended for use on individual Federal Income Tax Returns and in some cases details in
 Publication 503 may not apply to flexible spending accounts such as the DCSA. If there is a conflict between any item in the DCSA
 section of this document and Publication 503, this section will govern.



INELIGIBLE EXPENSES UNDER THE DEPENDENT CARE SPENDING ACCOUNT
Examples of dependent and child care expenses that are not eligible for reimbursement, as defined by the
IRS, include, but are not limited to:
     •     Care provided by an individual or agency not furnishing a Social Security or taxpayer
           identification nu1nber, unless the organization is tax-exempt.
     •     Care provided by your child, if under age 19, or by someone you claim as a dependent on your
           federal tax return.
     •     Care not related to your employment, such as non-work-related baby-sitting costs or expenses
           that enable you or your spouse to do volunteer work.
     •     Care on days when you are on vacation, except if your provider charges you to 11 keep your slot
           open 11 on days that your dependent is not present.
     •     Transportation expenses .
     •     Convalescent or nursing home costs .
     •     Educational expenses, such as tuition or books .
     •     Overnight camp expenses .
     •     Care for a domestic partner .

Note: Expenses for education are not eligible. However, charges for preschool and nursen; school are eligible only to
the extent they are for custodial care of the child rather than education. For advice on what portion of the charges
can be attributed to child care in your specific case, contact your personal tax advisor.

HOW TO FILE A DEPENDENT CARE SPENDING ACCOUNT CLAIM
For specific clain1 instructions, including claim submission deadline, see "How to File a Claim" in the
Administrative Information section.

Acclaris will reimburse your submitted claims to the extent that money is available in your account. As a
result, you n1ay receive partial reimbursen1ents until your claim is paid in full. Reimbursements will be
made directly to you and not to the service provider.

You may submit claims for reimbursement as often as you like for dependent care provided within the
plan year, but only after the services have actually been provided. A minimum claim of $25 is required.



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                                                                  IBM FLEXIBLE SPENDING ACCOUNTS


With each submission, you will need to attach a fully completed claim form along with a statement from
the care provider which includes the date or period of service, the amount of the charge and the
provider's name and Social Security or taxpayer identification number (unless the organization is tax
exempt and this is noted on the statement). In most cases, claims will be processed within 3 business days
from receipt.

A run-out period from January 1st through June 30 th of the following year is provided to allow time for
any outstanding claims from the previous year to be received and processed. Claims postmarked after
June 30th for expenses incurred in the preceding plan year will be ineligible for reimbursement.

Account and claim payment information is available on the Acclaris web site or by calling Acclaris
customer service.

Claims for services provided during the period you participated in the Plan (i.e., through the last day of
the pay period for which the DCSA deduction was made) will be processed until your DCSA balance is
depleted or until the following June 30th, whichever occurs first. Any money remaining in your DCSA
account after that date will be forfeited. Reimbursed expenses are not eligible for reimbursement under
any other plan. If you leave the IBM payroll during the plan year, for example, through an unpaid leave
of absence, retirement or separation, your DCSA contributions will stop. Expenses for services provided
during the period in which you were not contributing to the Plan are not eligible for reimbursement. If
your participation ends before the end of the plan year - for example, if you leave IBM - you may be
reimbursed for eligible expenses incurred after you leave and through the end of the plan year. (You can
only submit eligible expenses that allow you and your spouse to work.)

FEDERAL TAX CREDIT
Expenses eligible under the DCSA are the same as those expenses eligible under the Child and
Dependent Care Expenses Form 2441 of your federal income tax return. If you currently use the federal
tax credit, you may be able to increase your savings by using the DCSA instead. Or, you may gain most
from a combination of DCSA and the federal tax credit to the allowable limits. Your decision should be
made after careful planning.

DEPENDENT CARE SPENDING ACCOUNT TESTING
ln order to meet federal requirements for favorable tax treatment, the Plan must maintain certain
relationships of eligibility and usage between highly and non-highly compensated employees. In the
event it should become necessary, IBM may take actions to maintain this tax-favored status, such as
limiting the contributions of highly compensated employees. If the Plan does not meet IRS guidelines,
certain employees may be limited from conh·ibuting the full aimual amount they elected. You will be
contacted if this affects you.

The Plan may be modified or discontinued by IBM in the future based on the impact of possible tax law
changes or legislative require1nents.

TAX REPORTING
Your annual DCSA contribution is not included in your total wages, but this amount will be included on
your federal W-2 form, indicated as "DCB" (Dependent Care Benefit). When filing your federal return,
you will be required to report "DCB" and related expenses on Form 2441.




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                                                        IBM SPECIAL CARE OF CHILDREN ASSISTANCE PLAN



IBM Special Care of Children Assistance Plan
ABOUT THE SPECIAL CARE FOR CHILDREN ASSISTANCE PLAN
The IBM Special Care for Children Assistance Plan (SCCAP) is designed to help you meet expenses for
certain treatment and therapy outside the scope of the coverage available under the IBM medical, dental,
vision and behavioral health plan options for eligible children with mental, physical or developmental
disabilities. "Outside the scope of coverage available" is treatment ineligible for any coverage under the
IBM medical and dental plan options, or other coverage such as an HMO. In some cases, it is difficult to
determine if services are outside the scope of coverage. In such cases, an Explanation of Benefits (EOB)
indicating services are not covered services under the medical, dental, vision or behavioral health plans
may be required for new or renewal requests for services.

You are eligible for this assistance only after you have received all aid available to you and your child
from federal, state and other sources and that aid has been exhausted. Each case is individually reviewed
to determine eligibility for assistance. If there is a mental health component of your child's developmental
diagnosis, it should first be reviewed by the mental health claims administrator of your medical plan.


 FOR MORE INFORMATION ABOUT THE PLAN

 Call the IBM Benefits Center to request a Special Care for Children Assistance Plan brochure and application package, which
 includes information on the Plan, instructions for completing your application and the required forms.



Upon approval, SCCAP will cover a portion of the eligible charges incurred, up to a $50,000 lifetime
maximum benefit, until the last day of the month in which the child turns age 26, or is no longer eligible
under the IBM Plan, whichever occurs first.

WHO IS ELIGIBLE
Dependent children are eligible for benefits under the IBM SCCAP. For a definition of dependent
children, see "Eligibility" in the About the Personal Benefits Program section. Please note that if your
child becomes a ward of the state, the child is no longer considered an eligible dependent, and benefits
are not payable.

When Your Child Turns Age 26
Even if a child is eligible for continuous coverage under the IBM Plan beyond the age of 26, the child will
not be eligible for benefits under the IBM SCCAP beyond midnight on the last day of the month in which
the child's 26 th birthday occurs.

HOW THE PLAN WORKS




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                                                             IBM SPECIAL CARE OF CHILDREN ASSISTANCE PLAN


Reimbursement under the IBM SCCAP will be determined as follows:

   Reimbursement Rates

   Annual Family Deductible*                                         $150

   Separate from the IBM Medical Plan deductible

   Lifetime Maximum                                                  $50,000 per eligible child


   Treatment or Seivice                                              Reimbursement

   Day Care or Residential Care Facility                             80% of 75% of eligible charges

   Outpatient Facility, Clinic or Independent Practitioner           80% of eligible charges

   Special Devices                                                   80% of eligible charges
  A $150 annual family deductible is applied after the reimbursement amount is established. Only expenses incurred in the same
  calendar year can be applied to your annual deductible, and all claims must be approved and received by the health plan by
  December 31st of the following year.


Medical and dental co-pays, co-insurance, deductibles, out-of-network charges, etc. are not eligible for
reimbursement under SCCAP.

Outside Assistance
Outside assistance may be available from federal, state or other sources (such as a local school district or
county department of social services). Such assistance is generally funded by tax revenues to which both
you and the Company contribute. Therefore, the objective of SCCAP is to provide an extra benefit after
you have received all other assistance to which you are already entitled,

In applying for such assistance, IBM benefits should not be considered in calculating the amount to be
paid by you. Eligible charges will be reimbursed under the IBM SCCAP only if those charges are payable
by you irrespective of the existence of this Plan.

The following calculations are used to determine benefit reimbursement when outside assistance is
received:

  How SCCAP Reimbursement Is Calculated When There's Outside Assistance

  Treatment                                           Reimbursement Calculation

  Clinic and Outpatient Services                      Eligible charges minus the amount of outside assistance received
  Reimbursed at 80% of eligible charges

  Day and Residential Special Facilities Care         lf outside assistance equals or exceeds the initial 25% reduction:
  Reimbursed at 80% of 75% of eligible charges        •   Eligible charges minus the amount of outside assistance received,
                                                          and the 25% reduction will not be applied

                                                      lf outside assistance is less than the initial 25% reduction:
                                                          Outside assistance will not be used in the reimbursement calculation,
                                                          and the initial 25% reduction will be applied to the entire amount of
                                                          eligible charges



WHAT IS COVERED UNDER THE PLAN
Eligible Treatment Facilities
Eligible treatment facilities may include licensed clinics, day or residential special care facilities, special
education facilities for the learning-disabled child and camps (where the program offered is medically


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oriented and is part of the child's continued treatment for mental, physical or developmental disabilities).
In order to be eligible for reimbursement, the care must be determined to be appropriate and the facility
must meet both "1" and "2/' and either "3" or" 4" below:
    1. Is medically oriented and operated under the supervision of a physician, psychiatrist or licensed
        Ph.D. clinical psychologist primarily for the rehabilitation or remediation of the child's condition
        of mental, physical or developmental disability.
    2. Has a pla1med program for the rehabilitation or remediation of the diagnosed mental, physical or
        developmental disability which has been reviewed and approved and is supervised by a
        physician, psychiatrist or licensed Ph.D. clinical psychologist.
    3. Has the approval of or meets minimum standards of applicable professional associations (for
        example, American Medical Association, American Psychiatric Association).
    4. Is licensed or certified by or has the specific approval of applicable governmental agencies (for
        example, state or federal departments of health and/ or mental hygiene).

Note: If a facilih/ s program is not under the direct supervision of a physician, psychiat1ist or clinical psychologist,
the child's physician or psychiatrist must provide a letter of supervision indicating s/he will continue to be involved
with the supervision of the child's treatrnent and review the child's progress on a regular basis.-For a school to be
eligible, the school must offer a bona fide learning disabilihJ program.

Independent Practitioners and Eligible Conditions
Charges for necessary care and treatment by an independent practitioner will be considered for
reimbursement when the practitioner is licensed or certified to practice in his or her particular field and
when the practitioner is providing services for the child's diagnosed mental, physical, developmental or
learning disabilities. The following are examples of some typical practitioners whose services are eligible
under the Plan along with some typical conditions they may treat:
    •    Independent speech pathologist or audiologist who holds a certificate of clinical competence in
         speech-language pathology or audiology from the American Speech-Language-Hearing
         Association and/ or licensed by the state to practice speech-language pathology or audiology.
         Typical conditions requiring treatment from a speech pathologist or audiologist are speech
         impainnents, articulation disorders, n1yofunctional disabilities and tongue thrust associated with
         orthodontia.
    •    Nutritionists or dietitians who are certified as Registered Dietitians (RD) by the American
         Dietetic Association. Typical conditions requiring treatment from a nutritionist or dietitian are
         eating disorders such as anorexia nervosa and bulimia nervosa.
    •     Licensed/Certified/Registered physical or occupational therapists. Typical conditions requiring
          treatment from a licensed/ certified/registered physical or occupational therapist are cerebral
          palsy and other related neurmnuscular disorders with functional impairment or" developmental
          delay."
    •    Treatment by an orthodontist, when the orthodontia is part of an overall treatment program
         which includes the surgical correction of orthognathic or orofacial abnormalities.
    •    Treatment by an optometrist for visual hnpairments, where the condition is diagnosed as
         progressive myopia.
    •    Treatment for a diagnosed learning disability when rendered by a learning disability specialist.
         The practitioner must have a degree in education, hold a state license or certification to teach,
         with a background in special education and working with special needs children for a minimun1
         of five years or have a master's degree in special education and hold a state license or certification
         to teach.
    •     Academic tutoring is not eligible for coverage under the Plan. Therefore, in order to make a
          distinction between a bona fide learning disability of a slow learner who may require academic



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         tutoring, it is a requirement of the Plan that the child undergoes psychological or psych-
         educational testing to support the learning disability condition. The results of this evaluation
         must be submitted as part of the Special Care application and must include a clearly documented
         diagnosis before any treatment program can be approved for benefits.
             The psychological testing must be administered by an independent psychiatrist, psychologist
             or school psychologist who is not affiliated with the provider of services.
             Approved cases require periodic psychological or psycho-educational testing every three
             years to evaluate the necessity for continuance of coverage.
             Charges for the psychological testing are eligible for benefits under the Plan if the reason for
             the testing is to determine whether a learning disability exists, regardless of the test results. If
             the reason for the psychological testing is other than to ascertain whether the child is learning
             disabled, charges may be eligible for benefits under the Managed Mental Health Care
             Program under the IBM Plan or any other health coverage you may have.
Note: Claims for psychological testing must first be submitted to the Managed Mental Health Care Program to
determine if any chmges are eligible under this program. Charges not eligible under the Managed Mental Health
Care Program that are determined to be related to a learning disability can then be considered under SCCAP.
SCCAP will not reimburse the deductible or the difference between in-network and out-of-network charges deemed
to be eligible under the Managed Mental Health Care Program.

Note: Holistic, homeopathic and naturopathic ti•eatments are not eligible under the SCCAP. Wilderness Programs
are also not eligible.for reimbursement under the SCAAP or the IBM Plan

Special Devices
Special devices will be considered for eligibility under the Plan only if the devices are:

    •    Prescribed by a physician and
    •    Provide either direct medical treatment of the child's condition of mental, physical or
         developmental disability or the device must improve the life functioning of the child by
         enhancing the ability to see, conununicate or use his or her limbs.

For example, charges for a special vision aid (such as a prism) for severe loss or impairment of sight will
be considered for reimbursement if ineligible under the employee's medical plan option. Charges for
correction of nearsightedness, farsightedness or astigmatism are not eligible. (See the "IBM Vision Plan
regarding routine examinations for the prescription or fitting of eyeglasses.)

Hearing Aids
Hearing aid devices may be eligible for IBM Medical Plan coverage as described in the "IBM Medical
Coverage" section.

If a hearing aid benefit is not available through the employee's medical plan, hearing aids are eligible for
coverage under SCCAP. Hearing aids will be reimbursed under SCCAP at 80%, after a $150 annual
deductible, up to an individual annual maximum of $400, including repairs and batteries.

HOW TO APPLY FOR SPECIAL CARE BENEFITS
    1.   To apply for Special Care for Children Assistance Plan benefits, contact the IBM Benefits Center -
         Provided by Fidelity and request a SCCAP application package, which includes information on
         the Plan, instructions for completing your application and the required forms. SCCAP claim
         forms are available on NetBenefits. You must apply for coverage before submitting any claims.
    2.   Once you receive the application package, complete, sign and submit the following forms:



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             Statement of Child's Physician, Psychiatrist or Clinical Psychologist - this form is required.
             This is sometimes called the doctor's recommendation form.
             Statement of Independent Practitioner or Special Care Facility - this form is completed by
             the independent provider or facility providing the treahnent.
    3.   It may be necessary to provide additional documentation depending on the services being
         rendered:
             For remediation for a learning-disabled child a psychological or psycho-educational
             evaluation must be submitted. These evaluations are considered valid for three years from
             the date of testing, and reevaluations n1ust be presented for continuation of assistance.
             Psychological evaluations are employed to assess the cognitive development of children and
             to determine if a delay in development or a learning disability exists. Some of the tests
             included in a psychological evaluation are Stanford-Binet Form L-M (S-B), Wechsler
             Intelligence Scale for Children-Revised (WISC-R), Wechsler Preschool and Primary Scale of
             Intelligence (WPPSI) and the Bender Visual Motor Gestalt Test and Woodcock-Johnson.
             When service is being rendered by a clinic, day or educational facility, a brochure describing
             the facility program and services must be provided and must demonstrate the facility has a
             program to treat the diagnosis.
             The license or certificate of clinical competence is required for speech therapists/pathologists
             or audiologists who are in independent practice.
             A brochure describing the device and its usage, and documenting that the device treats the
             diagnosis is required when applying for special devices.
    4.   Complete all forms and send them together with any required additional documentation to the
         IBM Benefits Center al the address listed on the forms in the application package. Incomplete
         forms or missing information (missing signature, diagnosis, date of service, provider credentials,
         etc.) will be returned. This will delay the review process.
    5.   Special Care for Children Assistance Plan benefits are considered on an annual basis. You must
         reapply for coverage each year.
If approved, you will receive an authorization for benefits. You may submit bills for charges before
services are rendered when payment in advance is a requiren1ent of the facility. However, you should not
submit bills prior to 30 days from the start date or 30 days prior to the date the fees are due.

Only expenses incurred in the same calendar year can be applied to the annual deductible. All approved
claims for benefits and supporting documentation must be received by Anthem Blue Cross and Blue
Shield by December 31" of the year after the charges were incurred. It is the employee's responsibility to
submit claims to Anthem.

Where advance reimbursement has been made and your child is subsequently withdrawn from the
program or where fees are reduced, you must advise the IBM Benefits Center, since you are responsible
for any overpayments 1nade.

You have a responsibility to ensure the accuracy and validity of all bills submitted for payment, to pay
the providers of service the an1ount due them on a timely basis and to advise IBM of any discounts or
price adjustments made by the providers.

Note: EligibilihJ of services other than those desoibed above should be discussed with the SCCAP Administrator at
the IBM Benefits Center - Provided In; FidelihJ

The chart below docunzents which forms need to be completed for various services.



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 SERVICES                                                 SCCAP FORMS
 Psychological Evaluation
                                                          ...   Doctor Form
                                                                Provider Form and/or paid invoice
                                                                EOB (Explanation of Benefits) denying services from
                                                                Behavioral Benefits Carrier, OR Pre-authorization
                                                                Denial Letter from the Carrier
                                                            .   Doctor Form


                                                          ...
 Occupational, Physical Therapy or Speech Evaluation
                                                                Provider Form
                                                                EOB tExnlanation of Benefits) from Medical Carrier
 Treatment for a learning disability
                                                          ..    Doctor Form
                                                                Provider Form
                                                                Current Neuro-Psvch Evaluation
 Therapy for a developmental disorder
                                                          ...   Physician Form
                                                                Practitioner Form
                                                                Other documents mav be reauired uoon review
 Therapy when diagnosis is both developmental and
 mental disorders                                         ...   Doctor Form
                                                                Provider Form
                                                                EOB (Explanation of Benefits) from mental health
                                                                carrier
                                                            .   Doctor Form
 Special Care Facility
                                                            .   Provider Form
                                                            .   Evaluation (if facility is for treatment of learning
                                                                disability, an evaluation is also required)
                                                            .   Documentation on how the facility treats the diagnosis
                                                            .   Other documents mav be reauired upon view
                                                            .   Doctor Form
 Special Device
                                                            .   Provider Form and/or Invoice
                                                            .   Documentation on how the device treats the diagnosis
                                                            .   Other documents may be required upon review



CONVERTING YOUR COVERAGE
There is no conversion privilege under the Plan. Individuals who lose eligibility for coverage may
purchase equivalent coverage for a time through the Transitional Medical Program (TMP) administered
by the IBM Benefits Center - Provided by Fidelity. For more information, see "Transitional Medical
Program (TMP)" in the Administrative Information section or contact the IBM Benefits Center.




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                                                  IBM ADOPTION AND SURROGACY ASSISTANCE PROGRAM



IBM Adoption and Surrogacy Assistance Program
ABOUT THE IBM ADOPTION AND SURROGACY ASSISTANCE PROGRAM
The IBM Adoption and Surrogacy Assistance Progran1 provides some financial assistance toward
expenses incurred in the attempt to either adopt a minor child/ children or have a child/ children through
surrogacy. Your eligibility for coverage begins on your first day of employment. IBM pays 100% of
eligible expenses related to the adoption of a minor child/ children or the attempts to have a
child/ children through surrogacy, up to a lifetime maximum of $20,000 per family. Note that under
current tax law, only $14,080 of this amount can be excluded from your income.

Transition Rule- If you adopted a child on or after November 1, 2016, all eligible expenses related to the
adoption of that child, are eligible for reimbursement, up to the lifetime maximum of $20,000.
Furthermore, any incurred adoption or surrogacy expenses on or after Nove1nber 1, 2016, irrespective of
placement of a child, is also eligible for reimbursement, up to the lifetime maximum of $20,000. These
expenses must be submitted no later than December 31of the year after the year the expenses were
incurred or the year the child was placed. Any additional eligible expenses you submit, when combined
with expenses previously submitted, cannot exceed the lifetitne maximum of $20,000.


 ADOPTION AND SURROGACY ASSISTANCE PROGRAM ADMINISTRATOR

 The administrator for the Adoption and Surrogacy Assistance Program is Acclaris.

 Customer Service Availability
 Acclaris representatives are available to assist you with claim questions Monday through Friday from 8 a.m. to 8 p.m., Eastern
 time.

 You can reach an Acclarls representative at 888-880-2775 or online at www.acclarlsonline.com. Forms can be submitted to
 Acclaris PO Box 25171, Lehigh Valley, PA 18002-5171




Who Is Eligible
You're eligible if you are a regular full-time or part-time IBM employee, or an active IBM employee on
leave of absence with benefits, or an IBM employee on disability (Long Term Disability or Medical
Disability Income Plan). Reimbursement claims must be submitted no later than December 31 of the year
after the year in which expenses are incurred; otherwise no benefit will be payable.

Note: I/you and your spouse are both IBM employees, only one of you may submit a claim. The plan provides
reimbursement up to $20,000 lifetime maximum per family.

How the Program Works
The IBM Adoption and Surrogacy Assistance Program provides some financial assistance toward
expenses incurred in the adoption of minor children. For eligibility under the program, the child must be
below the age of majority (as defined by the law of the state in which the adoption occurs) on the date of
placement. The Adoption and Surrogacy Assistance Program covers the adoption of:
     ■     Unrelated n1inor children
    •     Foreign minor children
     ■    Minor children of relatives
    •     Minor stepchildren




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                                             IBM ADOPTION AND SURROGACY ASSISTANCE PROGRAM


    •    Minor twins or multiple children
    •    The progra111 also covers surrogacy arrangements and embryo adoptions .

Note: Adopted children will be eligible for IBM health benefits once they've been placed in your home. A child is
considered "placed" wizen the adoptive parent(s) or parents through a surrogate receive legal custody of the child.
You have 30 days from the date of this placement to add 11011r new dependent to your IBM health coverage.

WHAT'S COVERED UNDER THE PROGRAM
    •     Application fee
    •     Adoption or surrogacy agency fees
    •     Placement fees
    •     Lawyers and other required legal fees
    •     Medical expenses of the surrogate, including In Vitro Fertilization (!VF), whether or not the !VF
          attempt results in a birth
    •     Hospital expenses while both birth mother and infant are in the hospital
    •    Temporary foster care charges (immediately preceding placement with adopting family

There need not be a legal placement of a child in order for the above expenses to be eligible for
reimbursement.

WHAT'S NOT COVERED UNDER THE PROGRAM

Ineligible expenses include personal items for the child, travel expenses, voluntary donations or
contributions and legal fees to obtain guardianship or custody of one's own child.

How to Apply for Reimbursement
For information or to receive an IBM Adoption and Surrogacy Assistance Progra1n claim form, contact
the IBM Benefits Center or access w3. Claim forms are also available on NetBenefits or frmn the Acclaris
website.

You may submit your claim form as soon as incur eligible expenses. Submit one claim form for each
adopted child/ child through surrogate.

If you and your spouse are both IBM employees, only one of you may submit a claim. The plan provides
reimbursement up to $20,000 lifetime maximum per family.

To file a claim:
Complete the claim form and attach all itemized bills and supporting documentation (including proof of
payment). Submit these to Acclaris at the address on the form.

    •     All claims and supporting documents must be received by Acclaris no later than December 31 st of
          the following year in which the expense was incurred; otherwise, there will be no benefit
          payable.
    •     Reimbursement of eligible claims will be provided monthly to active employees via their pay; to
          other eligible individuals (employees on leave of absence with benefits or MDIP /LTD) via check
          mailed directly to the home address. Actual payment of claims will be made following your
          receipt of an Explanation of Benefits (EOB) statement from Acclaris. All questions regarding
          claim payments should be directed to Acclaris.



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                                         IBM ADOPTION AND SURROGACY ASSISTANCE PROGRAM


Notes:
    •    The IBM Adoption and Surrogacy Assistance Program is not a qualified plan for purposes of the
         Internal Revenue Code. All adoption and surrogacy expenses which are reimbursed under the
         program are reported to the IRS by IBM as compensation subject to the appropriate federal, state
         and local withholding taxes. Therefore, when you receive your W-2 for the previous tax year, box
         13 is not populated with a "T" because it is taxable income.
    •    Under tax law, you may be able to receive tax-favored treatment for qualified adoption expenses.
         You n1ay want to consult your personal tax advisor prior to incurring adoption expenses and
         submitting for reimbursement under IBM's Adoption Assistance Program.




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                                            PERSONAL FINANCIAL PLANNING - IBM MONEY SMART



Personal Financial Planning - IBM MoneySmart
ABOUT IBM MONEY SMART
IBM MoneySmart is an innovative program providing financial education and planning for all U.S.
employees. The program was designed specifically for IBM employees and includes
    •    One-on-one telephone counseling with a Money Smart Coach
    •    Educational webinars - informative and most only 30 minutes long
    •    Interactive Web portal - online modeling and planning tools

By partnering with two leading financial services firms - The Ayco Company, L.P., a Goldman Sachs
Company, and Fidelity Investments - IBM MoneySmart can help you take charge of your financial
future.

Financial Planning -   A Shared Responsibility
Much as we would like to believe that our employer and the government will take care of our financial
future, it just isn't so. Today, n1ore than ever, United States e111ployees are becoming active partners with
their employers and the federal government to develop comprehensive financial strategies. These
responsibilities must be shared, for example:
    •    Employer (IBM): provides a broad package of benefits and programs that serves as the
         foundation for meeting many of your personal objectives.
    •    Federal Governn1ent: provides incon1e tax incentives and direct payment programs, such as
         Social Security payments.
    •    Individual (You): actively manages his or her financial future. Understands personal objectives to
         design a well-thought-out financial plan. Consults with professional financial planners, as
         needed. Stays current on government regulations since tax rules change often and can affect areas
         such as college education funds, retiren1ent planning and estate accumulation.

WHO IS ELIGIBLE
All IBM U.S. based regular full-time and regular part-time employees (including those on a leave of
absence or on international assigmnent), Supplemental 2 and Retiree Supplemental employees are
eligible for the IBM MoneySmart program. Additionally, certain employees who have separated from
IBM (and certain other individuals) may continue to receive one-on-one counseling from both Fidelity
Investments and The Ayco Company for 120 days past the employee's last day of work (or death), limited
to the following:
    •    retired employees who registered for the program before they retired
    •    employees affected by a resource action
    •    surviving spouse and dmnestic partners of deceased employees

Surviving spouse and domestic partners will have access to MoneySmart coaches for the 120-day
extension period if the employee had registered with the Money Smart program prior to his or her death.
Retired employees will have access to Money Smart coaches for the 120-day extension period if the
employee had registered with the MoneySmart program prior to his or her retirement. If an employee
leaves IBM as the result of a resource action, they will have access to MoneySmart coaches for the 120-day
extension period. If they had not previously registered, Ayco will ensure they register over the phone
prior to providing services.




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                                               PERSONAL FINANCIAL PLANNING - IBM MONEY SMART


IBM MONEYSMARTSERVICES
Money Smart offers IBMers a highly personalized experience. Every employee - from novice to savvy
investor - will find something of value in the program's offerings. You can attend an educational
sen1inar, schedule confidential, one-on-one financial counseling sessions with a Money Smart Coach
trained on IBM benefits and use the helpful resources and tools on the MoneySmart Portal.

Coaching
Provides IBM employees the opportunity for unlimited one-on-one counseling over the phone with IBM
MoneySmart coaches. Highlights include:
    •     Coaches trained in IBM programs and benefits
    •     Confidential
    •     No preparation required
    •     Unlimited access
    •     Your spouse/domestic partner can ca11 with your permission

Topics You Might Discuss with your Money Smart Coach:
    •     Prioritizing your financial issues
    •     General financial planning concerns
    •     Cash flow and personal goal setting
    •     Insurance
    •     Estate planning
    •     Income taxes
    •     Investment planning
    •     IBM benefit plans
    •     Retirement income planning - if you are nearing retiren1ent, your Money Smart Coach will
          connect you with a retirement specialist

Webinars
Educational webinars available on a variety of topics. Most webinars are generally only 30 minutes long
and you can sign up for one or more at a time through the IBM MoneySmart portal. Spouses/ domestic
partners are invited to attend.

Web Portal
This IBM MoneySmart portal includes online modeling and planning tools. Access the MoneySmart portal
to view and sign up for any upcoming financial planning webinars. The portal is available 24/7 and is
easily accessible through w3 by going to http://w3.ibm.com/hr/us/moneysmart.

HOW TO GET STARTED
Register at http://w3.ibm.com/hr / us/moneysmart,
Or
schedule a one-on-one phone consultation with a MoneySmart Coach.

For broad based financial counseling, call an Ayco coach at 877-543-7678 (hearing impaired: 866-217-8694)
Monday-Friday, 9 am to 8 pm Eastern time.

For retirement planning, call a Fidelity coach at 800-976-1054 (hearing impaired 800-544-0118) Monday-
Friday, 8 am to 8 pm, Eastern time.


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Legal Information
YOUR RIGHTS UNDER HIPAA
The Department of Health and Human Services has issued federal regulations regarding the privacy of
individual health records. These regulations are part of the Health Insurance Portability and
Accountability Act of 1996 ("HIP AA"). The purposes of this law (referred to as the "Privacy Rule") are to
standardize and safeguard the transmission of protected health information, to protect the privacy of
individual health information and to allow individuals to access their medical records.

The HIP AA Privacy Rule applies to the IBM Medical and Dental Benefits Plan for Regular Full-time and
Regular Part-time Employees (the "Plan"), including the Plan's medical, dental, vision, employee
assistance and health care spending account programs. The Privacy Rule is effective as of April 14, 2003.

Health Information Protected by the HIPAA Privacy Rule
The HIP AA Privacy Rule applies to "Protected Health Information" (PHI). PHI is individually-
identifiable health information that is created or received as part of administering the Plan. PHI includes
information that (1) identifies, or can be used to identify, you, (2) is created or received by a health care
provider, health plan, or employer, and (3) relates to your past, present and future physical or mental
condition, and the provision of health care and payment for that care.

Uses and Disclosures of Protected Health Information by the Plan
The Plan may use or disclose PHI for purposes of treatment, payment, health care operations or as
authorized by you. Information may also be disclosed in order to comply with federal, state or local law
and to avert a safety threat to you or the public. When protected information is used or disclosed, even
for purposes of treatment, payment or health care operations, only the minimum amount of information
determined necessary to achieve the task will be used or disclosed.

Your Rights Under the HIPAA Privacy Rule
    •     Your protected health information will be kept private and will not be used or disclosed other
          than as permitted under the HIPAA Privacy Rule or as required by law.
    •     Your protected health inforn1ation will not be used for unrelated purposes, such as making
          employment-related decisions or decisions related to other IBM benefit plans, unless specifically
          authorized by you or as required by law. (You may limit or revoke an authorization at a later
          time.)
    •     You have the right to inspect and obtain a copy of certain designated medical records, if such
          records are maintained by the Plan, and to request changes to those records.
    •     You have the right to request a listing of the Plan's uses and disclosures of your PHI (other than
          for purposes of treatment, payment and healthcare operations as described above).
    •     You have the right to request a restriction or limitation on how the Plan can use or disclose your
          private 1nedical inforn1ation for purposes of treatment, pay1nent or health care operations. The
          Plan will consider but is not required to agree to your request.
    m     You have the right to request that the Plan's communications with you about your PHI are made
          in a certain way or at a certain location if your request states that comn1unication in another
          nrnnner may endanger you. The Plan will accomn1odate reasonable requests.
    •     You have the right to be notified if the plan discovers a breach of unsecured PHI.




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If you wish to request an opportunity to inspect or obtain a copy of your PHI, an amendment of your
PHI, a listing of the Plan's uses and disclosures of your PHl, a restriction or limitation on uses and
disclosures of your PHI or a particular means of com1nunication, and your request pertains to PHI
maintained by the Plan at the IBM Benefits Center - Provided by Fidelity, submit your request in writing
to:

     IBM Benefits Center
     PO Box 770003
     Cincinnati OH 45277-1060

For requests pertaining to PHI 111aintained by a Plan Adn1inistrator for a medical, dental, vision or other
option within the Plan, submit your request in writing to the applicable plan(s) at their address listed in
"Plan Funding and Administration Chart" later in this section.

IBM's Responsibilities Under the HIPAA Privacy Rule
The Plan may disclose PHI to IBM, as the Plan Sponsor, for purposes of administering the Plan. In order
to receive this information, IBM must certify to the Plan that it will: (a) comply with the HIP AA Privacy
Rule, (b) only use and disclose PHI as required by law or for the permitted purposes described on the
previous page, (c) only use and disclose the minin1urn amount of information detennined necessary to
achieve the task and (d) report to the Plan any violations of these requirements.

Any disclosure of PHI by the Plan to IBM will be limited to only those IBM employees who are directly
involved in the administration of the Plan (which may include employees in the Human Resources/
Benefits, Internal Audit/Business Controls and Legal functions with responsibility for matters relating to
Plan administration) and to those subcontractors of IBM who have been retained for purposes of
administering the Plan (such as a health Plan Administrator for one of the Plan options). Unless
authorized by you or required by law, these employees and subcontractors will only use or disclose PHI
for purposes related to treatment, payment or health care operations under the Plan and will implement
reasonable and appropriate security measures to protect the information. Any employee who uses or
discloses PHI for any other purpose will be subject to disciplinary action. The Plan will notify you in the
event of any breach involving unsecured PHI. The Plan is prohibited from using or disclosing protected
health information that is genetic information about an individual for underwriting purposes.

Additionally, IBM has agreed to: (a) make its internal practices, books and records relating to the use and
disclosure of PHI received from the Plan available to the Department of Health and Human Services for
purposes of determining compliance by the Plan with the HIPAA Privacy Rule, and (b) if feasible, return
or destroy all PHI received from the Plan and retain no copies of PHI when it is no longer needed or, if
not feasible to return or destroy PHI, to safeguard and limit the use and disclosure of the PHI as required
by law and (c) implement administrative, physical, and technical safeguards (within the meaning of 45
C.F.R. § 164.304) that reasonably and appropriately protect the confidentiality, integrity, and availability
of electronic PHI (as defined in 45 C.F.R. § 160.103) that IBM creates, receives, maintains, or transmits on
behalf of the Plan.

Concerns About the Handling of Your Protected Health Information
If you believe your rights under the HIP AA Privacy Rule have been violated, you may file a written
complaint with the Plan or with the Department of Health and Human Services.

The plan has designated at Chief Privacy Officer at IBM, who is responsible for developing,
communicating and enforcing the necessary procedures for ensuring the privacy of PHI. The IBM Chief
Privacy Officer is the Plan's first point of contact for handling a complaint. The IBM Chief Privacy Officer
will investigate the details of your complaint, and will respond to you with the results of the



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investigation. To file a complaint with the Plan, please contact: IBM Chief Privacy Officer 1 New Orchard
Road, Armonk NY 10504 Attn: HIPAA Privacy. All complaints must be submitted in writing. You will
not be penalized or otherwise retaliated against for filing a complaint.

You may also contact the Departn1ent of Health and Human Services at the Office of Civil Rights for the
region where the alleged violation occurred. Contact information for regional offices of the Office of Civil
Rights is available at https://www.hhs.gov/ ocr /about-us/ contact-us/index.html.

Additional Information
A complete description of your rights under the HIPAA Privacy Rule, including examples of permitted
uses and disclosures of PHI, can be found in the Plan's Health Information Privacy Notice. The Notice
was distributed to all employees covered by the Plan on October 11, 2013 (or upon becoming eligible,
whichever is later). A copy of the Notice is also available on w3, NetBenefits or by calling the IBM
Benefits Center - Provided by Fidelity.

CLAIMS
In order to receive benefits under the plans described in this book, you or your health care provider must
submit a claim to the Claims Administrator for the applicable health plan under which you are seeking a
benefit. For the IBM Medical and Dental Benefits Plan for Regular Full-time and Regular Part-time
Employees, you 1nust submit your claim to the Claims Ad1ninistrator for the particular medical, vision, or
dental option under which you are seeking a benefit. For ease of discussion in this section, these plan
options are also referred to as "plans." For purposes of this section, a" claim" means (1) a request for a
plan to pay benefits covered under the plan or (2) a request for the plan to reinstate your coverage after a
rescission of coverage (i.e., a retroactive cancellation of your coverage for reasons other than your failure
to timely pay contributions toward the cost of coverage). Requests for a determination regarding whether
you or another person are eligible to participate in a plan must be subn1itted to the Plan Administrator in
accordance with the procedures described in "Eligibility".

Each plan described in this book provides an internal claim and appeal process administered by the
Claims Administrator and Appeals Administrator for the particular plan and the IBM Plan
Administrator. If the plan under which you are seeking a benefit is subject to the Patient Protection and
Affordable Care Act (the formal title of the federal health reform law) and is not" grandfathered" under
the Act, claims that are denied on final internal appeal are eligible for external review by an independent
review organization. (See "Plan Funding and Administration Chart" to determine whether your plan is
subject to the Patient Protection and Affordable Care Act)

Claims for Non-Health Benefits
For claims for benefits that are not health benefits, unless special circumstances require an extension of
time for processing the clain1, the Clain1s Administrator will notify you or your authorized representative
of its decision within 90 days after the Claims Administrator receives the claim. If an extension is
necessary, the Claims Administrator will notify you or your authorized representative before the
expiration of the initial 90-day period. The notice will indicate the circumstances requiring the extension
and the date by which the Clain1s Ad1ninistrator expects to render a decision. In no event may the
extension exceed 90 days from the end of the initial period.

You or your authorized representative may file a written appeal with the Appeals Administrator for the
plan within 60 days after receiving notice of a denied claim for non-health benefits. (See "Plan Funding
and Administration Chart" for the plans' appeals addresses.) Appeals received after this time will not be
eligible for review under the internal appeals procedures.




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"Post-Service" Health Claims
Post-service health claims are claims for health benefits that did not require advance approval from the
plan.

The Claims Administrator will provide notice of the plan's final decision within 30 days after receipt of a
post-service health claiin. However, if the Claims Administrator needs 1nore time to make a
determination due to matters beyond its control, the Claims Administrator wi11 notify you or your
representative of the need for additional time within 30 days after receiving the clailn. This notice will
include the reason for the extension and the date a detern1ination can be expected, which will be no more
than 45 days after receipt of the claim. If more time is needed because necessary information is missing
from the claim, the notice will also specify what information is needed, and you or your representative
must provide the specified information within 45 days after receiving the notice. The determination
period will be suspended on the date the Claims Administrator sends such a notice of missing
information and will resume on the date you or your representative responds to the notice.

You or your authorized representative may file a written appeal with the Appeals Administrator for the
plan within 180 days after receiving notice of a denied post-service health claim. (See "Plan Funding and
Administration Chart" for the plans' appeals addresses.} Appeals received after this time will not be
eligible for review under the internal appeals procedures.

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    'Pre-Service" Health Claims
Pre-service health claims are claims for health benefits that require advance approval from the plan.

The Claims Administrator will provide notice of the plan's final decision within 15 days after receipt of
the pre-service health claim. However, if the Claims Administrator needs more time to make a
determination due to matters beyond its control, the Claims Administrator will notify you or your
representative of the need for additional time within 15 days after receiving the claim. This notice will
include the reason for the extension and the date a detennination can be expected, which will be no more
than 30 days after receipt of the clain1. If more time is needed because necessary information is 1nissing
from the claim, the notice will also specify what information is needed, and you or your representative
must provide the specified information within 45 days after receiving the notice. The determination
period will be suspended on the date the Claims Administrator sends such a notice of missing
information and will resume on the date you or your representative responds to the notice.

You or your authorized representative may file a written appeal with the Appeals Administrator for the
plan within 180 days after receiving notice of a denied pre-service health claim. (See "Plan Funding and
Administration Chart" for the plans' appeals address.) Appeals received after this time will not be
eligible for review under the internal appeals procedures.

"Urgent Care" Health Claims
Urgent care health claims are claims for health benefits which if not received (1} could seriously
jeopardize your life, health, or ability to regain maximum function or (2) in the opinion of the attending
physician, cause you severe pain which cannot be managed without the requested services. If the
attending physician determines the claim is an urgent care health claim, the Claims Administrator will
treat the claim as an urgent care health claim.

The Claims Administrator will evaluate and respond to urgent care health claims within 72 hours after
receiving the urgent care health dain1. However, if necessary information is missing from the claim, the
Claims Administrator will notify you or your representative within 24 hours after receiving the claim to
specify the information that is needed. You or your representative must provide the specified information
to the Claims Administrator 48 hours after receiving the notice. The Claims Administrator will notify you
or your representative of the expedited benefit determination within 48 hours after you or your


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representative responds to the notice or within 48 hours after requesting the information, whichever
occurs first. Expedited notices of determinations may be provided orally, followed within three (3) days
by written or electronic notification.

Upon receiving notice of a denied claim for urgent health benefits, you or your authorized representative
may file an expedited appeal with the Appeals Administrator of the applicable plan orally, by phone or
by facsimile.

Concurrent Care Health Claims
These are health claims to extend the approval for an ongoing course of treatment that has already been
approved. You or your representative n1ust submit a concurrent care health claim to the Claims
Administrator at least 24 hours prior to the expiration of the approved period of time or number of
treatments. When you or your representative submits a concurrent care health claim, the Claims
Administrator will notify you or your representative of the determination within 24 hours after receiving
the request.

You or your authorized representative may file a written appeal with the Appeals Administrator for the
plan within 180 days after receiving notice of a denied concurrent care health claim. Appeals received
after this time will not be eligible for review under the internal appeals procedures.

Notification of Denial
If a claim for plan benefits is denied in whole or in part, the Claims Administrator for the applicable plan
denying the claim will send you a written notice of the denial. This notice will include (1) the specific
reasons for the denial; (2) references to the provisions of the plan on which the denial is based; (3) a
description of additional 1naterial or information necessary to perfect the claim and an explanation of
why the material or information is needed; and (4) an explanation of the procedure to appeal the denial,
including the time limit applicable to such procedure, and a statement of your right to bring a civil action
under section 502(a) of ERISA if fhe clain1 is denied upon review.

In addition to the information required above, a notice denying a claim for health benefits will include the
following additional information: (i) information sufficient to identify fhe claim involved, including, to
the extent available, the date of service, the health care provider, the claim amount (if applicable), and a
staten1ent describing the availability, upon request, of the diagnosis code and its corresponding meaning,
and the treatment code and its corresponding meaning, (ii) fhe denial code and its corresponding
meaning, and a description of the standard, if any, that was used in denying the claim, (iii) a description
of the plan's procedure for requesting external review of clain1s, including information regarding how to
initiate an external review, (iv) contact information for any applicable office of health insurance consumer
assistance or ombudsman established by the Department of Labor to assist individuals with the internal
claims and appeals and external review procedures, (v) upon request and free of charge, a copy of any
internal rule, guideline, protocol or other similar criterion that was relied upon in making the adverse
determination regarding your claim, and an explanation of the scientific or clinical judgment for a
determination that is based on a 1nedical necessityr experilnental treatment or other similar exclusion or
limit, (vi) in the case of a health claim involving urgent care, a description of the expedited review process
applicable to such claitnr and (vii) such other information as the Clain1s Administrator determines is
required by the Patient Protection and Affordable Care Act or other applicable law.

Note: The items described in (i), (ii), (iii), (iv), and (vii), may not be included in a notice responding to your claim
for health benefits under a plan that is exempt from the Patieut Protection and Affordable Care Act or is
"grandfathered" under the Act. (See "Plan Funding and Administration Chart" to determine whether your plan is
exempt from, or is "grandfathered" under, the Patient Protection and Affordable Care Act.) In addition, these items
may not be included in a notice responding to your claim for health benefits under a plan that is subject to the
Patient Protection and Affordable Care Act before January 1, 2012.



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APPEALS
If your claim for benefits is denied, in whole or in part, you have the right to appeal the denial. An
authorized representative may file the appeal on your behalf. There is only one level of appeal for denials
of (1) urgent care health claims and (2) claims that are not for health benefits. IBM has a two-step internal
appeals procedure for denials of health claims that are not urgent care health claims.

If your claim is subject to two levels of appeal, (1) the level-one appeal follows your initial claim denial
and the level-two appeal follows the level-one appellate decision, and (2) except for claims under SCCAP,
you must exhaust both levels of appeal before you have a right to bring a civil action or pursue an
external review of the decision (if external review is available - see the "External Review'' section, below).
For claims under SCCAP you must exhaust only the level-one appeal before you have a right to bring a
civil action.

The level-one appeal (or the appeal for claims that are entitled to only one appellate review) will be
administered by the Appeals Administrator for the applicable plan. (See "Plan Funding and
Administration Chart" for the plans' appeals addresses.) The level-two appeal will be administered by
the IBM Plan Administrator except for Active Dental Appeals, which will be administered by the
applicable plan.

For those enrolled in a plan option through Via Benefits, level one appeals regarding HRA claim denials
or other HRA-related disputes will be handled by Via Benefits. The level-two HRA claim appeal will be
administered by the IBM Plan Administrator. Appeal instructions will be sent to you by Via Benefits. For
all other appeals, those should be directed to the health plan in which you are enrolled.

Filing An Appeal
A request for appeal must be filed with the Appeals Administrator or the IBM Plan Administrator, as
applicable. Except as described in the following paragraph for appeals regarding urgent care health
claims, the request for appeal must be in writing and include the reason why you feel your claim should
be approved, any information supporting your appeal, and any information required by the Appeals
Adn1inistrator or the IBM Plan Administrator, as applicable. You may submit written com1nents,
documents, records, and other information relating to the claim. The Claims Administrator or Appeals
Administrator, as applicable, will provide you, upon request and free of charge, reasonable access to, and
copies of, all docun1ents, records, and other information relevant to your claim.

You may submit an oral or written request for an expedited appeal of a denial of an urgent care health
claim. For an expedited appeal of an urgent care health claim, all necessary information will be
transmitted between you and the Appeals Administrator by telephone, facsimile, electronic mail, or other
available similarly expeditious methods.

Deadline for Filing An Appeal
An appeal for a claim denial for benefits other than health benefits must be filed within 60 days after you
or your authorized representative receives notice of the initial claim denial. For an appeal related to a
claim for health benefits, the 60-day period will be extended to 180 days. If you (or your authorized
representative) fail to file a request for an appeal by the applicable deadline, you will have waived your
right to appeal the denial.

Appeal for Denial of Non-Health Benefits
For appeals for benefits that are not health benefits, unless special circun1stances require an extension of
time for processing the appeal, the Appeals Administrator will notify you or your authorized
representative of its decision within 60 days after the Appeals Administrator receives the written request
for appeal. If an extension is necessary, the Appeals Administrator will notify you or your authorized



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representative before the expiration of the initial 60-day period. The notice will indicate the circumstances
requiring the extension and the date by which the Appeals Administrator expects to render a decision. In
no event may the extension exceed 60 days from the end of the initial period.

Appeal for Denial of Health Benefits
Post-Service Health Appeals
The Appeals Administrator will respond in writing with a decision within 30 calendar days after it
receives an appeal for a post-service health clain1 determination. After receiving notice of a denied post-
service health claim on appeal, you or your authorized representative may file a written appeal with the
IBM Plan Administrator within 180 days. Notification of the final decision by the IBM Plan Administrator
will be provided within 30 calendar days after it receives the request for appeal.

Pre-Service Health Appeals
The Appeals Administrator will respond in writing with a decision within 15 calendar days after it
receives an appeal for a required pre-service health clain1. After receiving notice of a denied pre-service
health claim on appeal, you or your authorized representative may file a written appeal with the IBM
Plan Administrator within 180 days. Notification of the final decision by the IBM Plan Administrator will
be provided within 15 days after receipt of the request for appeal.

Urgent-Care Health Appeals
The Appeals Administrator will respond orally to an appeal of an urgent care health claim with a
decision within 72 hours, followed up in writing. This is the final step in IBM's internal appeals process
for urgent care health claims. (See the "External Review" section below to determine whether you may
subn1it the decision to an independent review organization for external review.)

Concurrent Care Appeal
An appeal of a concurrent care health claim denial will be classified as either an urgent care health claim,
a post-service health claim, or a pre-service health claim, depending on the nature of the claim. Based on
this classification, the applicable deadlines described above for urgent care health claims, post-service
health claims, or pre-service health claims will apply to the concurrent claim appeal.

Procedures for Making Decision on Appeal
A decision on appeal will take into account all con1ments, documents, records, and other information
submitted by you or your authorized representative relating to the claim, without regard to whether the
information was submitted or considered in the initial benefit determination or level-one appeal decision.
The Appeals Administrator's or IBM Plan Administrator's, as applicable, review of a claim will not afford
deference to the initial claim denial decision or any level-one appeal decision and will be made by
someone who was not involved in the initial claim decision.

If the plan has denied an appeal for health benefits based on a medical judgment (e.g., medical necessity,
experimental/investigational), the Appeals Administrator or IBM Plan Administrator, as applicable, will
consult with a health care professional with appropriate training and experience in the relevant field,
who is not the individual who was consulted in connection with the initial claim denial or level-one
decision regarding the claim or a subordinate of such individual. In this case, you may be asked to
complete a Release of Information (ROI) allowing the health care professional to review your medical
records and contact your physician.




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By filing an appeal for health benefits with the IBM Plan Administrator (or, as a result of a filing on your
behalf by your authorized representative), you acknowledge that the IBM Plan Administrator may
receive and use information from the applicable plans related to your claim for benefits, for purposes of
reviewing and rendering a decision on your appeal. The Health Insurance Portability and Accountability
Act (HIPAA) rules will apply to the IBM Plan Administrator's use of such information (see "Your Rights
Under HIP AA").

If the applicable plan is subject to the Patient Protection and Affordable Care Act and is not
"grandfathered" under the Act, the Appeals Administrator will notify you of any (1) new or additional
evidence considered, relied upon, or generated by the plan in connection with your claim or (2) any new
or additional rationale for denying your claim, sufficiently in advance of issuing the notice of its
determination to give you or your authorized representative an opportunity to respond.

Effect of Decision on Appeal
The decision of the Appeals Administrator for (1) urgent care health claims, (2) claims that are not for
health benefits, and (3) appeals for benefits under SCCAP (if you choose not to pursue a level-two appeal
for your SCCAP claim), is final and binding on all parties, including you and any of your beneficiaries
under the plan. The decision of the IBM Plan Administrator for non-urgent care appeals or voluntary
level-two appeals for benefits under SCCAP is final and binding on all parties, including you and any of
your beneficiaries under the plan.

Notification of Determination on Appeal
If an appeal for plan benefits is denied in whole or in part, the Appeals Administrator for the applicable
plan deciding a single level or level-one appeal or the IBM Plan Administrator deciding a level-two
appeal will send you a written notice of its determination. This notice will include (1) the specific reasons
for the decision, (2) references to the provisions of the plan on which the decision is based, (3) a statement
that you are entitled to receive, upon request and free of charge, reasonable access to, and copies of, all
documents, records, and other information relevant to your claim for benefits, and (4) a statement that
you might have a right to bring a civil action under section 502(a) of ERISA after exhaustion of the final
appeal.

In addition to the information required above, a notice denying an appeal for health benefits will include
the following additional information: (i) information sufficient to identify the claim involved, including,
to the extent available, the date of service, the health care provider, the claim amount (if applicable), and
a statement describing the availability, upon request, of the diagnosis code and its corresponding
meaning, and the treatment code and its corresponding meaning, (ii) the denial code and its
corresponding meaning (if available), and a description of the standard, if any, that was used in denying
the appeal and a discussion of the decision, (iii) a description of the plan's procedures for appealing a
level-one appeal and requesting external review of claims, including the time limits applicable to such
procedures and how to initiate such procedures, (iv) contact information for any applicable office of
health insurance consumer assistance or ombudsman established by the Department of Labor to assist
individuals with the internal claims and appeals and external review procedures, (v) upon request and
free of charge, a copy of any internal rule, guideline, protocol or other similar criterion that was relied
upon in making the adverse determination regarding your claim, and an explanation of the scientific or
clinical judgment for a determination that is based on a medical necessity, experimental treatment or
other similar exclusion or limit, (vi) if required under section 503 of ERISA, the following statement: "You
and your plan 1nay have other voluntary alternative dispute resolution options, such as n1ediation. One
way to find out what may be available is to contact your local U.S. Department of Labor Office and our
state insurance regulatory agency," and (vii) such other information as the Appeals Administrator or IBM
Plan Administrator determines is required by the Patient Protection and Affordable Care Act or other
applicable law.



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Note: The items described in /i), (ii), (iii) (regarding the external review process), (iv), and (vii), may not be included
in a notice responding to your appeal for health benefits under a plan that is exempt from the Patient Protection and
Affordable Care Act or is "grandfathered" under the Act. (See" Plan Funding and Administration Chart" to
determine whether your plan is exempt from, or is "grandfathered" under, the Patient Protection and Affordable
Care Act.) In addition, these items may not be included in a notice responding to your claim for health benefits
under a plan that is subject to the Patient Protection and Affordable Care Act before January 1, 2012.

EXTERNAL REVIEW
If you are not satisfied with the final decision on internal review or if you do not timely receive a decision
on internal review, you may be able to request an external review of your claim by an independent third
party, an independent review organization (!RO), who will review the denial and issue a final decision.
IROs are separate companies that are not controlled by or associated with IBM, the Claims
Administrators, or the Appeals Administrators.

Note: The Extemal Review process described in this section applies to IBM's health plans that are subject to the
Patient Protection and Affordable Care Act and are not grandfathered under the Act. External review is not
available for IBM's health plans that are exempt from, or are grandfathered under, the Patient Protection and
Affordable Care Act. (See "Plan Funding and Administration Chart" to determine whether your health plan is
subject to the Patient Protection and Affordable Care Act.)

Types of External Review
There are two types of external review: Standard External Review and Expedited External Review.

Standard External Review:
You may request a Standard External Review, if you satisfy all of the following:
     ■     your claim does not relate to your failure to meet the requirements for eligibility under the terms
           of the Plan, (claims for eligibility under the plan are not subject to external review) and
     •    your clahn (if filed for external review on or after Septen1ber 20, 2011), involves n1edical
          judg1nent or a rescission of coverage (i.e., a retroactive cancellation of your coverage for reasons
           other than your failure to timely pay contributions toward the cost of coverage) and
     ■     you were covered under the health plan at the time the health care item or service was requested
           or, in the case of retrospective review, at the time the health care iten1 or service was provided
           and
     •     you (1) completed all levels of internal appeal for the claim denial (for reasons other than
           eligibility) and the claim denial was upheld or (2) during the internal claim or appeal process, the
           Claims Administrator, Appeals Administrator, or IBM Plan Administrator failed to adhere to the
           procedures outlined in the "Claims and Appeals" sections, provided that your claim will not be
           eligible for external review due to such a failure if the failure was de minin1is, and (a) did not
           cause prejudice or harn1 to your claim, (b) was attributable to good cause or due to 1natters
           beyond the control of the Claims Administrator, Appeals Administrator, or IBM Plan
           Administrator, and (c) occurred in the context of an ongoing, good faith exchange between you
           and the Claims Administrator, Appeals Administrator, or IBM Plan Adn1inistrator and
     ■     you provide all of the information and forms required to process an external review of your
           claim.




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Expedited External Review:
If you have met the eligibility criteria for a Standard External Review, you may be eligible to file an
Expedited External Review if you satisfy one of the following requirements:
    •     If you receive a claim denial that:
          1.   is for an urgent care claim that involves a medical condition for which the timefra1ne for
               completion of an expedited internal appeal would seriously jeopardize your life or health, or
               would jeopardize your ability to regain maximum function and

          2.   you have appealed the denial of the urgent claim to the appropriate Appeals Administrator.

    •     If you receive a final internal appeal decision and either:
          1.   the appeal involves urgent care for a medical condition for which the timeframe for
               completion of a standard external review would seriously jeopardize your life or health, or
               would jeopardize your ability to regain maximum function or

          2.   the final decision on appeal concerns an admission, availability of care, continued stay, or
               health care item or service for which you have received emergency services but have not
               been discharged from a facility.

How to Request an External Review
IBM's external review process is managed by !PRO (Independent Peer Review Organization). !PRO
maintains contracts with at least three (3) IROs to review eligible external review requests and assigns
requests among the IROs on a random and unbiased basis. The IROs are independent from the Claims
Administrators, Appeals Administrators, and IBM and only the IROs make External Review
detern1inations.

To file a request for a Standard External Review, you or your authorized representative should send a
letter to !PRO (at the address shown below) with (1) your name, telephone number and ID Number, (2)
the claim number, (3) the date of service, (4) a description of your claim, (5) a copy of the denial letter and
(6) any other information requested by !PRO:

                                                     !PRO
                                              Corporate Programs
                                               1979 Marcus Ave.
                                         Lake Success, NY 11042-1002
                                    Attention: IBM External Review Process

To file a request for an Expedited External Review, please contact !PRO by phone (516-326-7767 ext. 223),
by facsimile (516-326-1034) or by e-mail (tgiorgio@ipro.org). You should provide (or will be asked to
provide) all of the information required above for a Standard External Review and any other information
you would like to have considered in connection with the Expedited External Review. !PRO will
determine whether your claim is eligible for Expedited External Review.

Your request for an External Review must be received by !PRO within four months after the receipt of a
notice of the denial of your final internal appeal. If no date corresponds to the date that is four months
after the date of receipt of such a notice, then the request must be filed by the first day of the fifth month
following the receipt of the notice. For example, if the date of receipt of the notice is October 30, because
there is no February 30, the request must be filed by March 1. If the last filing date would fall on a
weekend or Federal holiday, the last filing date is extended to the next day that is not a Saturday, Sunday,
or Federal holiday.




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The External Review Process
Standard External Review Process
Within five business days from the receipt of the request for a Standard External Review, !PRO will
complete a preliminary review of your request in order to determine your eligibility for an External
Review. Within one business day after con1pletion of the preliminary review, IPRO will issue you or your
authorized representative (and the independent review organization) a written notification of your
eligibility for an External Review. If your request is complete but not eligible for External Review, the
notice will include the reasons for ineligibility. If your request is incomplete, the notice will describe the
information or materials needed to make the request complete. You will have an opportunity to complete
the request within the four-month filing period, provided that if this period has already ended, you will
be given 48 hours to respond to the request.

!PRO will assign an eligible and complete External Review request to an !RO to conduct the appeal. The
!RO will notify you that it has been assigned to review your claim and will give you the opportunity to
submit, within 10 days after receiving the notice, additional information for the !RO to consider. The !RO
will forward any information that you submit to the IBM Plan Administrator or the Appeals
Ad1ninistrator for its consideration (or re-consideration).

Within five business days after the External Review request has been assigned to an !RO, the Claims
Administrator, Appeals Administrator, and/ or IBM must provide to the !RO the documents and any
information considered in making the claim denial and appeal denial. If the Claims Administrator,
Appeal Administrator or IBM fails to timely provide the information, the !RO may terminate the External
Review and reverse the claim or appeal denial in your favor.

The !RO will review all of the information and documents timely received and it will not be bound by
any decisions or conclusions reached during the claims and internal appeals processes. The IRO also will,
to the extent the information and documents are available and the !RO considers them appropriate,
consider other sources of information including, but not limited to, your medical records, your health
care professional's recommendations, the terms of the Plan, appropriate practice guidelines, and clinical
review criteria.

The !RO will provide, to you and the Plan, written notice of its decision within 45 days after it receives
the request for the External Review. Upon receipt of a notice of a final External Review decision reversing
the final adverse benefit determination, the Plan will provide coverage or payment for the claim.

Expedited External Appeals.
As soon as possible upon receipt of the request for an expedited External Review, !PRO will complete a
preliminary review of your request in order to determine your eligibility for an Expedited External
Review. As soon as possible after completion of the preliminary review, !PRO will issue you or your
authorized representative a written notification of your eligibility for an Expedited External Review. If
your request is complete but not eligible for Expedited External Review, the notice will include the
reasons for ineligibility. If your request is incomplete, the notice will describe the infornrntion or materials
needed to make the request complete and you will have an opportunity to complete the request.

Upon a determination that a request is eligible for an Expedited External Review, !PRO will assign the
request to an IRO for review and will transmit all necessary documents and information to the IRO. The
!RO will provide notice to you and the Plan of the final External Review decision as expeditiously as
possible, but no later than 72 hours after the !RO receives the request for the Expedited External Review.
If the notice is not in writing, the !RO will follow-up with a written decision within 48 hours after
providing notice. Upon receipt of a notice of a final External Review decision reversing the decision on
internal appeal, the Plan will provide coverage or payment for the claim.




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For both Standard and Expedited External Review, please note that the determination of the assigned
!RO is final and binding on the Plan, you, and the Claims and Appeals Administrators .

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 art! not.sa~fiedwiththe .out,ome ofthe internal appeals process:. Before bringing an action, you
 generally must have submitted both a level-one and level-two appeal for non-urgent care claims and a
 level-one appeal for urgent care claims and claims under SCCAP. However, if the Claims Administrator,
 Appeals Administrator, or IBM Plan Administrator fails to follow the internal claims and appeals
 procedures, in certain circumstances you will be deemed to have exhausted the internal claims and
 appeals process before receiving a final decision on appeal. If you believe such a failure has occurred,
 within 60 days of the failure you must notify the administrator your claims and you may request an
explanation of whether the violation is insignificant or otherwise would not result in a deemed
exhaustion of the internal claims and appeals procedures.

The health plan may also offer you other voluntary alternative dispute resolution options, such as
mediation.

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No Applical,!e .Qlaim (i!~ definedinPars1graph(A),. below) m~ybe filed \n any'coµrt or in any other
forum until you have exhausted the claims procedures described in the "Claims and Appeals" sections.
An Applicable Claim must be filed in a court described in Paragraph (B), below, within the Applicable
Limitations Period prescribed by Paragraphs (C) and (D), below. No Applicable Claim may be filed after
the Applicable Limitations Period.

(A)         An" Applicable Claim" is:

            (1)      a claim or action to recover benefits allegedly due under the provisions of a plan or plan
                     option covered under this book (hereinafter, a "Plan") or by reason of any law

            (2)      a claim or action to clarify rights to future benefits under the terms of a Plan

            (3)      a claim or action to enforce rights under a Plan or

            (4)      any other claim or action brought by a person who is, seeks to be, or is a successor to a
                     current or former(!) employee (within the meaning of ERISA section 3(6)) of the
                     Company, (II) participant (within the meaning of ERISA section 3(7)), or (III) beneficiary
                     (within the meaning of ERISA section 3(8)) that-

                     (a)     relates to a Plan and

                     (b)     seeks a remedy, ruling, or judgment of any kind against a Plan, the Plan
                             Administrator, the Company, or a fiduciary (within the meaning of ERISA
                             section 3(21)) or a party in interest (within the meaning of ERlSA section 3(14))
                             with respect to the Plan.

(B)         A court described in this Paragraph (B) includes one of the following courts:

            (1)      the United States District Court for the district in which the Plan is principally
                     ad1ninistered, which is currently New York State



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        (2)      in the case of an action brought by an individual plaintiff, the United States District Court
                 for the district in which the plaintiff resides or

        (3)




        If an Applicable Claim is filed in a court other than a court described in this Paragraph (B), the
        Plan, all parties to such action that are related to the Plan (such as Plan fiduciaries,
        administrators, or parties in interest), and the alleged Plan participants and beneficiaries must
        take all necessary steps to have the action removed to, transferred to, or re-filed in a court
        described in this Paragraph (B). This Paragraph (B) is waived if no party invokes it within 120
        days of the filing of a putative class action or the assertion of class action allegations.

(C)     The" Applicable Limitations Period" for any Applicable Claim will begin on the following date
        (the "Limitations Start Date"):

        (1)




        (2)      In the case of any other Applicable Claim, the earliest date on which you or your
                 beneficiary, if applicable, knew or should have known of the material facts on which
                 such clain1 or action is based, regardless of whether you or your beneficiary was aware of
                 the legal theory underlying the Applicable Clain1.

(D)     ]'A ,'\pp!js~gle,tM1t~£8&J??'~ll~.fb; il;1¥1'pp1\capkClitpn 1¥P}A1:?9%1h<;.ses9n~,aI111fY~;~'\ry
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(E)     The Applicable Limitations Period replaces and supersedes any limitations period that otherwise
        might be deemed applicable under state or federal law in the absence of this Section ("Time Limit
        on Commencing Litigation and Forum for Litigation"). A claim or action filed after the expiration
        of the Applicable Limitations Period shall be deemed time-barred, except that:

        (1)      The Plan Administrator has discretion to extend the Applicable Limitations Period upon
                 a showing of exceptional circumstances that, in the opinion of the Plan Administrator,
                 provide good cause for an extension. The exercise of this discretion is com1nitted solely to
                 the Plan Administrator, and is not subject to review.

        (2)      The Applicable Limitations Period will apply to a claim governed by section 413 of
                 ERISA only to the extent permitted by law.




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(F)         In the event an Applicable Claim is brought by or on behalf of two or more claimants, the
            requirements of this Section ("Time Limit on Commencing Litigation and Forum for Litigation")
            will apply separately with respect to each claimant.

NOTICE REGARDING IBM'S GRANDFATHERED HEALTH PLANS
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not all, pf the. requirement~ under the Affordable Care Act.

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plai;i'' 11nder the.Affor.4ableGare Act:As permitted by the Affordable Care Act, a grandfathered health
 plan can preserve certain basic health coverage that was already in effect when the law was enacted. A
 grandfathered health plan means that the plan may not include certain consumer protections of the
 Affordable Care Act that apply to other plans, for example, the requirement for the provision of
 preventive health services without any cost sharing. However, grandfathered health plans must comply
with certain other consun1er protections in the Affordable Care Act, for example, the elimination of
lifetime dollar limits on essential health benefits.

If you have questions regarding which protections apply and which protections do not apply to a
grandfathered health plan, and what might cause a plan to change from grandfathered health plan status,
please contact the health plan directly; contact information is available in the Contact Directory on
NetBenefits (or on your Health Plan Detail Sheets if you receive print enrollment materials by mail). You
may also contact the Employee Benefits Security Administration, U.S. Department of Labor, at
866-444-3272 or dot.gov I ebsa/healthreform. This Web site has a table summarizing which protections do
and do not apply to grandfathered health plans.

Chart of Claims Administrators and Appeals Administrators for IBM Medical and Dental Benefits Plan for
Regular Full-time and Regular Part-time Employees and IBM Global Assignee Plan •· Subject to the Patient
Protection and Affordable Care Act


      Health Plan                           Claims Administrator                   Appeals Administrator

      IBM PPQ; IBM PPO Plus; IBM EPO; IBM PPO with HSA. IBM Enhanced PPO with HSA
      Anthem Blue Cross and Blue Shield    Anthem Blue Cross and Blue Shield       Anthem Blue Cross and Blue Shield
      120 Monument Circle                  P.O. Box 105187                         P.O. Box 105568
      Indianapolis, IN 46204               Atlanta, GA 30348                       Atlanta, GA 30348
      Aetna, Inc.                          Aetna, Inc.                             Aetna, Inc.
      Attn: IBM Account Manager            P.O. Box 981109                         Attn: IBM Appeals Unit
      151 Farmington Ave.                  El Paso, TX 79998-1109                  P.O. Box 14463
      Hartford, CT 06115                                                           Lexington, KY 40512
      IBM PPO; IBM PPO Out-of-Area; IBM PPO Plus; IBM PPO Plus Out-of-Area; IBM EPO; IBM PPO with HSA, IBM Enhanced
      PPO with HSA; IBM PPO with HSA. IBM Enhanced PPO with HSA Out-of-Area
      UnitedHealthcare Insurance Company   UnitedHealthcare Insurance Company      UnitedHealthcare Insurance Company
      450 Columbus Blvd.                   P.O. Box 740800                         P.O. Box 740816
      Hartford, CT 06115                   Atlanta, GA 3037 4-0800                 Atlanta, GA 30374-0816

      Managed Mental Health Care Program: IBM PPO; IBM PPO Plus; IBM EPO
      Optum                                 Optum                                  Optum
      425 Market Street                     P.O. Box 30755                         Appeals Department
      141h Floor                            Salt Lake City, UT 84130-0755          P.O. Box 30512
      San Francisco, CA 94105                                                      Salt Lake City, UT 84130-0512




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  Health Plan                                Claims Administrator                  Appeals Administrator

  IBM Managed Pharmacy Program: IBM PPO; IBM PPO Plus: IBM EPO
  CVS Caremark                               CVS Caremark                          Appeals Department
                                             P.O. Box 52136                        P.O. Box 52084
                                             Phoenix AZ. 85072-2136                Phoenix, AZ 85072-3092

  Global Assignee Plan
  Cigna                                      Cigna                                 Cigna
  300 Bellevue Parkway                       P.O. Box 15050                        Attn: Appeals Department
  Wilmington, DE 19809                       Wilminglon, DE 19850-5050             P.O. Box 15800
                                                                                   Wilmington, DE 19850


Chart of Claims Administrators and Appeals Administrators for all other plans covered by this About Your
Benefits booklet -- Subject to the Patient Protection and Affordable Care Act Exempt from or Grandfathered
Under the Patient Protection and Affordable Care Act


   Health Plan                               Claims Administrator                  Appeals Administrator

   !_BM Dental Plus and Dental Basic Plans
   Metropolitan Life Insurance Company       Metropolitan Life Insurance Company   Metropolitan Life Insurance Company
   One Madison Ave.                          P.O. Box 981282                       P.O. Box 981282
   New York, NY 10010                        El Paso, TX 79998-1282                El Paso, TX 79998-1282

   IBM Vision Plan and EyeMed Vision Discount Plan
  Anthem BlueView Vision.                    Anthem BlueView Vision                Anthem BlueView Vision.
  555 Middle Creek Parkway                   Attn: OON Claims                      555 Middle Creek Parkway
  Colorado Springs, CO 80921                 P.O. Box 8504                         Colorado Springs, CO 80921
                                             Mason, OH 45040-7111

   Flexible Spending Accounts (HCSA and DCSA)
  Acclaris                                   Acclaris Reimbursement Center         Acclarls
   P.O. Box 25171                            P.O. Box 25171                        Attn: Appeals Review
   Lehigh Valley, PA 18002-5171              Lehigh Valley, PA 18002-5171          P.O. Box 25171
                                                                                   Lehigh Valley, PA 18002-5171

  Adoption Assistance Program
  Acclaris                                   Acclaris Reimbursement Center         Acclaris
   P.O. Box 25171                            P.O. Box25171                         Attn: Appeals Review
   Lehigh Valley, PA 18002-5171              Lehigh Valley, PA 18002-5171          P.O. Box 25171
                                                                                   Lehigh Valley, PA 18002-5171

   IBM Special Care for Children Assistance Plan (SCCAP)
   Anthem Blue Cross and Blue Shield         Anthem Blue Cross and Blue Shield     Anthem Blue Cross and Blue Shield
   120 Monument Circle                       P.O. Box 5012                         P.O. Box 5012
   Indianapolis, IN 46204                    Middletown, NY 10940-9021             Middletown, NY 10940-9021


QUALIFIED MEDICAL CHILD SUPPORT ORDERS
A Qualified Medical Child Support Order (QMCSO) or National Medical Support Notice (NMSN), is an
order issued by a state court or agency which requires the non-custodial parent (IBM employee), who
does not have custody of his or her natural or adopted children, to provide medical coverage for the
children under the IBM group health plans and pay the premiums related to the child's enrollment. The
order allows the custodial parent to act on the child's behalf by speaking to the benefits carrier to discuss
claims, select a primary care physician (PCP) and request the benefits cards sent to the child's home
address.




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Once the IBM Benefits Center - Provided by Fidelity approves or qualifies the Order as meeting ERISA
guidelines, IBM is required by law to enroll the child (if not currently enrolled) in the employee's health
plans and advise all benefits Plan Administrators of the child's enrollment and the named alternate payee
(custodial parent) for the child. Based on the order, benefits may be paid directly to a named alternate
payee (custodial parent), or to a legal guardian of the child, including a child support enforcement
agency.

If you have been designated as an alternate payee in the order, please contact the IBM Benefits Center for
any questions or information you need regarding the QMCSO. For further information regarding
QMCSOs you may also view the U.S. Department of Labor's compliance guide at:
https://www.dol.gov/sites/ defau It/files/ ebsa/ about-ebsa/ our-activities/ resource-
center /publications/qualified-medical-child-support-orders.pdf.

YOUR RIGHTS UNDER ERISA
On September 2, 1974, the Employee Retirement Income Security Act of 1974 ("ERISA") was enacted,
establishing federal controls over most employee pension and welfare benefit Plans. As a participant in
the plans covered in this book, you are entitled to certain rights and protections under ER.ISA.

Receive Information About Your Plan and Benefits
ERISA provides that all plan participants shall be entitled to:
    •    Examine, without charge, at the Plan Administrator's office and at other specified locations, such
         as work sites, all documents governing the Plan, including insurance contracts and a copy of the
         latest annual report (Form 5500 Series) filed by the Plan with the U.S. Department of Labor and
         available at the Public Disclosure Room of the Employee Benefits Security Administration.
    •    Obtain, upon written request to the Plan Administrator, copies of documents governing the
         operation of the Plan, including insurance contracts and the latest annual report (Form 5500
         series) and an updated summary plan description. The Plan Administrator may make a
         reasonable charge for the copies.
    •    Receive a summary of the Plan's annual financial report for plans that are required to have such a
         report. The Plan Administrator is required by law to furnish each participant with a copy of this
         annual summary report for plans that are required to have such a report.


Continue Group Health Care
    ■    Continue health care coverage for yourself, spouse or dependents if there is a loss of coverage
         under the Plan as a result of a qualifying event. You or your dependents may have to pay for
         such coverage. Review this summary plan description and the documents governing the Plan on
         the rules governing your COBRA continuation coverage rights.

Prudent Actions by Plan Fiduciaries
In addition to creating rights for plan participants, ERISA imposes duties upon the people who are
responsible for the operation of the plans covered in this book which are governed by ERISA. The people
who operate the Plan, called "fiduciaries" of the Plan, have a duty to do so prudently and in the interest
of you and other plan participants and beneficiaries. No one, including your employer, or any other
person, may fire you or otherwise discrhninate against you in any way to prevent you from obtaining a
welfare benefit or exercising your rights under ERISA.




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Enforcing Your Rights
If your claim for a welfare benefit is ignored or denied, in whole or in part, you have a right to know why
this was done, to obtain copies of documents relating to the decision without charge and to appeal any
deniat all within certain thne schedules. You cannot sell, transfer or assign the value of your benefit
under the health plan.

Under ERISA, there are steps you can take to enforce the above rights. For instance, if you request a copy
of plan documents or the latest annual report from the Plan and do not receive them within 30 days, you
n1ay file suit in a federal court. In such a case, the court may require the Plan Administrator to provide
the materials and pay you up to $110 a day until you receive the materials, unless the materials were not
sent because of reasons beyond the control of the Plan Administrator.

If you have a claim for benefits which is ignored or denied, in whole or in part, you may file suit in a state
or federal court. In addition, if you disagree with the Plan's decision or lack thereof concerning the
qualified status of a medical child support order (QMSCO), you may file suit in federal court.

If it should happen that plan fiduciaries misuse the Plan's money, or if you are discriminated against for
asserting your rights, you may seek assistance from the U.S. Department of Labor, or you may file suit in
a federal court. The court will decide who should pay court costs and legal fees. If you are successful, the
court may order the person you have sued to pay these costs and fees. If you lose, the court may order
you to pay these costs and fees, for example, if it finds your claim is frivolous.

Assistance with Your Questions
If you have any questions about your Plan, you should contact the Plan Administrator. If you have any
questions about this statement or about your rights under ERISA, or if you need assistance in obtaining
documents from the Plan Administrator, you should contact the nearest office of the Employee Benefits
Security Administration, U.S. Department of Labor, listed in your telephone directory or the Division of
Technical Assistance and Inquiries, Employee Benefits Security Administration at:
    Division of Technical Assistance and Inquiries, Employee Benefits Security Administration
    U.S. Department of Labor
    200 Constitution Avenue N.W.
    Washington, D.C. 20210

You may also obtain certain publications about your rights and responsibilities under ERISA by calling
the publications hotline of the Employee Benefits Security Administration.

It is anticipated that most questions can be answered by the IBM Benefits Center - Provided by Fidelity.

YOUR RIGHTS UNDER NMHPA
The Newborns' and Mothers' Health Protection Act provides that group health plans and health
insurance issuers generally may not, under federal law, restrict benefits for any hospital length of stay in
connection with childbirth for the mother or newborn child to less than 48 hours following a vaginal
delivery, or less than 96 hours following a cesarean section. However, federal law generally does prohibit
the 1nother' s or newborn's attending provider, after consulting with the mother, from discharging the
mother or her newborn earlier than 48 hours (or 96 hours, as applicable). In any case, plans and issuers
may not, under federal law, require that provider to obtain authorization from the Plan or the insurance
issuer for prescribing a length of stay not in excess of 48 hours (or 96 hours).




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YOUR RIGHTS UNDER WHCRA
The Women's Health and Cancer Rights Act (WHCRA) requires that all group health plans that provide
medical and surgical benefits with respect to a n1astectomy to provide coverage for:
    ■   Reconstruction of the breast on which the mastectomy has been performed.
    •   Surgery and reconstruction of the other breast to produce a symmetrical appearance.
    •   Prostheses and treatment of physical complications of all stages of mastectomy, including
        lymphedema.

These services must be provided in a mam1er determined in consultation with the attending physician
and the patient. This coverage may be subject to a1mual deductibles, copayments and coinsurance
provisions applicable to other such medical and surgical benefits provided under the applicable IBM
Medical Plan option. Please refer to the applicable At-A-Glance chart for information regarding
deductibles, copayments and coinsurance under the IBM Medical Plan option In which you are enrolled.

For Information regarding the HMO options, please contact the HMO directly. If you would like more
information on the Women's Health and Cancer Rights Act benefits, call the IBM Benefits Center.

YOUR RIGHTS UNDER USERRA
If you are serving in the military and are covered under the Uniformed Services Employment and
Reemployment Rights Act of 1994 (USERRA), you will continue to participate and be eligible to receive
benefits under the Plan in accordance with USERRA rules and regulations.

PLAN DISCLOSURE INFORMATION
ERISA also requires cmnpanies to disclose certain detailed information to you so that you have it
available for reference purposes. If you need additional Information, you are encouraged to call the IBM
Benefits Center - Provided by Fidelity. If you have questions regarding coverage and claim payments,
you can obtain more information fron1 the individual Claim Administrators.

Plan Year
The records of all of the plans covered in this book are kept on a calendar-year basis, beginning
January 1 st and ending Dece1nber 31 st of each year, which is in each case, the plan year.

Plan Sponsor
The plans covered in this book are sponsored and n1aintained by International Business Machines
Corporation. The Plans covered In this book have been established by International Business Machines
Corporation, Armonk, NY. The Employer Identification Number (EIN) assigned to IBM is #XX-XXXXXXX.

Plan Administrator
The Plan Administrator for each of the plans covered in this book is a committee which consists of three
or more executive level employees appointed by action of the IBM Retirement Plans Committee. The
address for the Plan Administrator is:

Office of the Plan Administrator
IBM Benefits Center - Provided by Fidelity
PO Box 770003
Cincinnati, OH 45277-1060

Telephone: 866-937-0720 (TTY: 800-426-6537); outside the U.S. call 919-784-8646.




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Agent for Service of Legal Process
Service of legal process may be made upon the Plan Administrator.
Plan Funding and Administration
The IBM Medical and Dental Benefits Plan for Regular Full-time and Regular Part-time Employees is self-
funded and fully insured and regulated by federal law. The role of the insurance companies that
administer the individual medical options within the Plan is not to insure the Plan but to provide
administrative services under contracts with IBM and the Plan. These companies are referred to in this
booklet as "health plan" or "plan administrator." Eligibility for coverage of dependents, health care
providers, facilities and treatments and supplies is determined solely by the provisions of the Plan. State
or local laws mandating coverage for certain dependents, providers, facilities, treatments, etc., do not
apply to the Plan. Final discretion and authority to interpret the provisions of the Plan rest with the Plan
Administrator.

See the chart below of the funding and administration of the other plans covered by this booklet

Trustee for the IBM Medical and Dental Benefits Plan for Regular Full-time and Part-time Employees
The Plan trustee is:

JPMorgan Chase Bank
4 New York Plaza, 17th Floor
New York, NY 10004

RIGHT TO MODIFY OR TERMINATE IBM BENEFIT PLANS
IBM reserves the right, at its discretion, to an1end, change or terminate any of its benefits plans,
programs, practices or policies, as the Company requires. Nothing contained in this book shall be
construed as creating an express or implied obligation on the part of IBM to maintain such benefits plans,
programs, practices or policies.

IBM's benefit plans may be amended by written resolution of the Board of Directors or any Conunittee to
which the Board has delegated power. The Retirement Plans Committee is authorized to amend any plan
which is funded through a trust, including the IBM Medical and Dental Benefits Plan for Regular Full-
time and Regular Part-time Employees. All other benefit plans may be amended by the IBM chief human
resources officer or other IBM executive by means of a written instrument, such as the text of a plan, a
summary plan description, a trust agreement, an insurance contract or insurance certificate, an
adn1inistrative services contract, the administrative docun1ents and procedures for a plan, an electronic
1nediu1n notice, a hard copy bulletin board notice or an am1ouncement letter or written materials that are
approved by said chief human resources officer or other IBM executive and n1aintained with the records
of the affected benefit plan.




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PLAN FUNDING AND ADMINISTRATION CHART

  Official Plan                 Type of          Benefits Type      Claims Administrator             Funding
  Name and Type                 Administration

  Plan Name:              519   Plan                IBM PPO         Anthem Blue Cross and Blue       Self-insured by
  IBM Medical and               Administration                      Shield                           IBM and
                                                    IBM PPO Plus
  Dental Benefits Plan          and Contract                        Aetna, Inc.                      funded by
                                Administration      IBM EPO                                          employee and
  for Regular Full-time
  and Regular Part-                                 IBM PPO with                                     employer
  time Employees                                    HSA                                              contributions
                                                    I BM Enhanced
  Plan Type:                                        PPOwith HSA
  Medical                                           IBM PPO         UnitedHealthcare Insurance
                                                                    Company
                                                    IBM PPOOut-
                                                    of-Area
                                                    IBM PPO Plus
                                                    IBM PPO Plus
                                                    Out-of-Area
                                                    IBM EPO
                                                    IBM PPOwith
                                                    HSA
                                                   IBM PPOwith
                                                   HSA Out-of-
                                                   Area
                                                    IBM Enhanced
                                                    PPO with HSA
                                                    IBM Enhanced
                                                    PPO with HSA
                                                    Out-of-Area
                                                 Managed Mental     Optum Health
                                                 Health Care
                                                 Program
                                                 IBM Managed        CVS Caremark
                                                 Pharmacy
                                                 Program
                                                 Health Care        Acclaris
                                                 Spending Account
                                                 Special Care for   Anthem Blue Cross and Blue
                                                 Children           Shield
                                                 Assistance Plan
                                                 Dental Plus and    Metropolitan Ufe Insurance       Fully Insured
                                                 Dental Basic       Company

  Plan Name:                    Plan                                Anthem BlueView Vision           Fully Insured
  IBM Vision Plan               Administration                      EyeMed Vision
                                and Contract
  EyeMed Vision
                                Administration
  Discount Plan


  Plan Type:
  Vision Care
  Plan Name:              508   Plan                                                                SelfMinsured by
  IBM Special Care              Administration                                                      IBM with no
  for Children                  and Contract                                                        employee
  Assistance Plan               Administration                                                      contributions


  Plan Type:
  Special Care




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